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                                     1:18-cv-1873-CFC


                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


                             In re Orexigen Therapeutics, Inc., et al.,
                                             Debtors.


                 McKesson Corporation, Inc. and McKesson Specialty Arizona, Inc.,
                                          Appellants.

                                               v.

 Orexigen Therapeutics, Inc., The Baupost Group Securities, L.L.C., EcoR1 Capital Fund, L.P.,
       EcoR1 Capital Fund Qualified, L.P., Biotechnology Value Trading Fund OS, LP,
              BiotechnologyValue Fund LP, Biotechnology Value Fund II, LP,
               Investment 10, LLC, MSI BVF SPV LLC, and Roadrunner Co.,
                                          Appellees.


       On Appeal from the United States Bankruptcy Court for the District of Delaware;
In re Orexigen Therapeutics, Inc., et al., Bankruptcy Case No. 18-10518 (KG); BAP No. 18-58


           APPENDIX IN SUPPORT OF APPELLANTS’ ANSWERING BRIEF


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Dated: January 30, 2019                             Counsel to Appellants McKesson Corporation
                                                    and McKesson Specialty Arizona, Inc.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re                                                 Chapter 11

Orexigen Therapeutics, Inc.,                          Case No. 18-10518 (__)

                       Debtor. 1


                        DECLARATION OF MICHAEL A. NARACHI
                          IN SUPPORT OF FIRST DAY RELIEF


               I, Michael A. Narachi, hereby declare under penalty of perjury, pursuant to

section 1746 of title 28 of the United States Code, as follows:

               1.      I have served as the President and Chief Executive Officer of Orexigen

Therapeutics, Inc. (the “Debtor” or “Orexigen”) since March 31, 2009. In this capacity, I have

become familiar with the Debtor’s day-to-day operations, business, and financial affairs.

               2.      On the date hereof (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

thereby commencing the above captioned case (the “Chapter 11 Case”) and filed the motions

described herein requesting certain relief (the “First Day Pleadings”). I submit this declaration

(the “Declaration”) on behalf of the Debtor in support of the Debtor’s chapter 11 petition and the

First Day Pleadings.

               3.      The Debtor is operating its business and managing its property as debtor in

possession pursuant to Bankruptcy Code sections 1107(a) and 1108.




1
 The last four digits of the Debtor’s federal tax identification number are 8822. The Debtor’s mailing
address for purposes of this Chapter 11 Case is 3344 North Torrey Pines Court, Suite 200, La Jolla, CA,
92037.
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               4.      The First Day Pleadings seek, among other things, to ensure the

continuation of the Debtor’s cash management system and other business operations without

interruption and establish certain other administrative procedures to promote a smooth transition

into the Chapter 11 Case.

               5.      Except as otherwise indicated herein, all of the facts set forth in this

Declaration are based upon my personal knowledge, information supplied to me by other

members of the Debtor’s management or professionals, information learned from my review of

the relevant documents, or my experience and knowledge of the Debtor’s operations and

financial condition and the biotech and pharmaceutical industry generally. If called as a witness,

I could and would testify to the facts set forth in this Declaration. I am authorized to submit this

Declaration on behalf of the Debtor.

               6.      This Declaration is divided into three parts. Part I provides background

information about the Debtor, its business operations, its corporate and capital structures, and the

circumstances surrounding the commencement of the Chapter 11 Case. Part II summarizes the

DIP Facility (as defined below) and sets forth the relevant facts in support of the DIP Motion.

Part III sets forth the relevant facts in support of each of the First Day Pleadings.

                                      I.   BACKGROUND

A.     The Debtor’s Formation

               7.      Orexigen was incorporated on September 12, 2002 under the laws of the

State of Delaware and commenced operations in 2003. Orexigen wholly owns non-debtor

Orexigen Therapeutics Ireland, Limited (“Orexigen Ireland”), which in turn wholly owns non-

debtor Orexigen Therapeutics Ireland, LLC (“Orexigen LLC”). Orexigen Ireland was formed as

a limited company on June 25, 2013 under the laws of the Republic of Ireland. Orexigen LLC

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was formed as a limited liability company on October 13, 2015 under the laws of the State of

Delaware.

B.     The Debtor’s Business

              8.      Orexigen is a biopharmaceutical company focused on the treatment of

obesity. Its sole commercial product, Contrave® (naltrexone HCL/bupropion HCL), is approved

in the United States by the U.S. Food and Drug Administration (“FDA”), as an adjunct to a

reduced-calorie diet and increased physical activity for chronic weight management in adults

with an initial body mass index of 30 kg/m 2 or greater (obese), or 27 kg/m 2 or greater

(overweight) in the presence of at least one weight-related co-morbid condition. The American

Medical Association designated obesity as a disease in 2013. In 2016 the CDC reported that

36.5% of adults (approx. 91 million) suffered from obesity. Obesity is a chronic, relapsing and

complex condition requiring ongoing management in order to maintain weight-loss. Contrave®

is a unique and proprietary combination of two generic drug components, each of which has

already received regulatory approval for other indications and has been commercialized in the

United States and in a majority of the member countries of the European Union. The drug was

approved by the FDA in 2014 and is the only approved medicine for chronic weight management

that is believed to work on two areas of the brain—the hypothalamus to reduce hunger and the

mesolimbic reward system to help control cravings. The drug is the number one prescribed

weight-loss brand in the United States with over 2.3 million prescriptions written to date which

equates to approximately 800,000 patients. In Europe, the drug has been approved under the

brand name Mysimba™ (naltrexone HCl/ bupropion HCl prolonged release). The drug is also

approved in South Korea, Canada, Lebanon and the United Arab Emirates.




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               9.      Orexigen’s primary activities since incorporation include recruiting

personnel, conducting research and development, including four Phase 3 clinical studies prior to

FDA approval and ongoing post-marketing required studies, raising capital, overseeing the

manufacturing, marketing and commercialization of its drug product in the United States, and

establishing and supporting partnerships to commercialize the drug outside of the United States.

The drug was originally launched in the United States by Orexigen’s former partner, Takeda

Pharmaceutical Company Limited (“Takeda”), in 2014. In March 2016, Orexigen repurchased

the commercial rights to the drug in the United States and in August 2016 became solely

responsible for commercializing Contrave® within the United States. Outside of the United

States, Orexigen has been commercializing the drug through a network of distribution partners

since 2015 and the drug has been launched in 24 countries.

               10.     Orexigen has experienced losses since its inception, and as of September

30, 2017, had an accumulated deficit of $765.6 million, primarily due to the cost of product

clinical development. Orexigen continues to incur losses, and its ability to successfully transition

to profitably is dependent upon achieving a level of revenues adequate to support Orexigen’s

cost structure and/or reducing Orexigen’s cost structure. Orexigen projects it could be profitable

by 2019 under its existing operating model and based on its current revenue forecasts. A

successful patent litigation involving a challenge by a generic manufacturer was recently held in

U.S. District Court of Delaware and confirmed exclusivity for Contrave® in the United States

until 2030. Orexigen is actively developing a revised operational plan with the objective of

maintaining operations that enable continued prescription supply and support of patients while

quickly achieving and maintaining profitability.




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C.     The Debtor’s Corporate and Capital Structure

               11.    Orexigen is a publicly traded company with its shares listed on The

NASDAQ Global Select Market under the ticker symbol “OREX”. Orexigen Ireland is a wholly

owned foreign subsidiary of Orexigen and Orexigen LLC is a wholly owned subsidiary of

Orexigen Ireland. The following is an organizational chart showing the organizational structure

of the foregoing entities with nondebtor entities shaded in gray and the Debtor entity in white:

                                             Orexigen
                                              (DE)



                                        Orexigen Ireland
                                           (Ireland)



                                         Orexigen LLC
                                             (DE)


               12.    As of the Petition Date, the Debtor’s capital structure consisted of the

following:

       The 2016 Secured Notes

               13.    In March 2016, Orexigen closed an offering of $165 million in aggregate

principal amount of 0% Convertible Senior Secured Notes due 2020 (the “2016 Secured Notes”),

related warrants to purchase up to 21,999,999 shares of the Orexigen common stock (the

“Warrants”), and 219,994 shares of Series Z Non-Convertible Non-Voting Preferred Stock (the

“Series Z Preferred Stock”), to qualified institutional buyers and accredited investors (the “2016

Secured Note Purchasers”) pursuant to a securities purchase agreement (the “2016 SPA”), dated

March 15, 2016, by and between the Debtor and the Secured Note Purchasers. The offering was

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led by funds managed by The Baupost Group, L.L.C. (collectively, “Baupost” and together with

the other beneficial holders of the 2016 Secured Notes, the “Prepetition Secured Noteholders”),

which, prior to the offering, was the holder of approximately 18.1% of outstanding Orexigen

common stock.

              14.     The 2016 Secured Notes were scheduled to mature on July 1, 2020, unless

earlier repurchased, redeemed or converted in accordance with that certain Indenture, dated as of

March 21, 2016, by and between the Debtor, as Issuer, and U.S. Bank National Association, as

Trustee (in such capacity, the “Prepetition Indenture Trustee”), governing the issuance of the

2016 Secured Notes (the “2016 Indenture”).

              15.     In connection with the offering of the 2016 Secured Notes, the parties

entered into a Security Agreement (the “Security Agreement” and together with the 2016

Secured Notes, 2016 Indenture and related documents, the “Secured Note Documents”), dated

March 21, 2016, by and between Orexigen, the guarantors party thereto from time to time, and

U.S. Bank National Association, as the collateral agent (in such capacity, the “Prepetition

Collateral Agent”), pursuant to which Orexigen granted a first-priority security interest in

substantially all of its current and future assets, including a pledge of 65% of its equity of

Orexigen Ireland (the “Prepetition Collateral”), to secure its obligations under the 2016

Indenture. Orexigen Ireland and Orexigen LLC are not guarantors of the Notes.

              16.     The 2016 Indenture provides that, upon the occurrence of certain

fundamental changes or adverse events related to the regulatory approval for its drug product and

commercialization, including net sales of Orexigen, as described in the 2016 Indenture, holders

of the 2016 Secured Notes will, at their option, have the right to require Orexigen to repurchase

for cash all or a portion of its 2016 Secured Notes at a repurchase price equal to 100% of the

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aggregate principal amount of the 2016 Secured Notes. In particular, under the 2016 Indenture a

fundamental change is deemed to occur if consolidated net product sales (a non-GAAP measure

defined in the 2016 Indenture as Orexigen’s net sales plus aggregate net sales by Orexigen’s

distributors outside the United States) are less than $100 million for fiscal year 2017 (the “Net

Sales Milestone”). As discussed below, Orexigen anticipates narrowly missing this Net Sales

Milestone, further precipitating the need for Orexigen to file this Chapter 11 Case.

               17.     Pursuant to sections 6.01 and 6.02 of the 2016 Indenture, an event of

default occurred upon the Debtor’s voluntary filing of this Chapter 11 Case and 100% of the

principal of, and accrued and unpaid interest, if any, on all 2016 Secured Notes automatically

became immediately due and payable. As of the Petition Date, the 2016 Secured Notes had an

outstanding principal balance remaining of $165 million.

       The 2013 Notes

               18.     In December 2013, Orexigen issued $115 million in aggregate principal

amount of 2.75% Convertible Senior Notes due 2020 (the “2013 Notes”) in an offering to

qualified institutional buyers conducted in accordance with Rule 144A under the Securities Act

of 1933, as amended.

               19.     Prior to the Petition Date, the 2013 Notes were scheduled to mature on

December 1, 2020, unless earlier repurchased or converted in accordance with the terms of that

certain Indenture, dated as of December 6, 2013, by and between Orexigen, as Issuer, and

Wilmington Trust National Association, as Trustee (the “2013 Indenture”). The 2013 Notes are

the Debtor’s senior, unsecured obligations and rank senior in right of payment to any of the

Debtor’s indebtedness that is expressly subordinated in right of payment to the 2013 Notes; equal

in right of payment to any of Debtor’s unsecured indebtedness that is not so subordinated,

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including the 2017 Exchange Notes (defined below); and effectively junior in right of payment to

any of the Debtor’s secured indebtedness (including the 2016 Secured Notes) to the extent of the

value of the assets securing such indebtedness; and are structurally junior to all indebtedness and

other liabilities (including trade payables) of the Debtor’s subsidiaries.

               20.     In December 2016, Orexigen repurchased approximately $35 million in

face value of outstanding 2013 Notes for approximately $10 million in open-market transactions.

In February 2017, Orexigen exchanged approximately $49.6 million in aggregate principal

amount of the 2013 Notes for an equal principal amount of 2017 Exchange Notes (as discussed

below). In November 2017, Orexigen agreed to exchange approximately $5 million in principal

amount of the 2013 Notes for 1.6 million shares of Orexigen common stock.

               21.     Orexigen pays 2.75% interest per annum on the principal amount of the

2013 Notes semi-annually in arrears in cash on June 1 and December 1 of each year. Pursuant to

sections 7.01 and 7.02 of the 2013 Indenture, an event of default occurred upon Orexigen’s

voluntary filing of the Chapter 11 Case and 100% of the principal of, and accrued and unpaid

interest, if any, on all 2013 Notes automatically became immediately due and payable. As of the

Petition Date, the 2013 Notes had an outstanding principal balance of $25.343 million.

       The 2017 Exchange Notes

               22.     In February 2017, Orexigen entered into an indenture, dated as of

February 23, 2017 (the “2017 Indenture”), with U.S. Bank National Association, as trustee,

governing Orexigen’s new 2.75% Convertible Exchange Senior Notes due 2020 (the “2017

Exchange Notes”). Approximately $49.6 million in aggregate principal amount of the 2013

Notes were exchanged for an equal principal amount of 2017 Exchange Notes. The 2017

Exchange Notes are the Debtor’s senior, unsecured obligations and rank senior in right of

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payment to any of the Debtor’s indebtedness that is expressly subordinated in right of payment to

the 2017 Exchange Notes; are equal in right of payment to any of the Debtor’s unsecured

indebtedness that is not so subordinated, including the 2013 Notes; are effectively junior in right

of payment to any of the Debtor’s secured indebtedness (including the 2016 Secured Notes) to

the extent of the value of the assets securing such indebtedness; and are structurally junior to all

indebtedness and other liabilities (including trade payables) of the Debtor’s subsidiaries.

               23.     The 2017 Exchange Notes bear interest at a fixed rate of 2.75% per year,

payable semi-annually in arrears on June 1 and December 1 of each year, beginning June 1,

2017. Interest on the 2017 Exchange Notes accrues from December 1, 2016.

               24.     Prior to the Petition Date, approximately $9.2 million of principal value of

the 2017 Exchange Notes had been voluntarily converted into approximately 800,000 shares of

common stock and $1.4 million in cash. In addition, in November 2017, Orexigen agreed to

exchange approximately $1.5 million of principal value of 2017 Exchange Notes for

approximately 500,000 shares of Orexigen common stock.

               25.     Pursuant to sections 7.01 and 7.02 of the 2017 Indenture, an event of

default occurred upon the Debtor’s voluntary filing of the Chapter 11 Case and 100% of the

principal of, and accrued and unpaid interest, if any, on the 2017 Exchange Notes automatically

became immediately due and payable. As of the Petition Date, the 2017 Exchange Notes had an

outstanding principal balance of $38.942 million.

       Other Unsecured Debt

               26.     In addition to the 2013 Notes and the 2017 Exchange Notes, the Debtor

had unsecured obligations, as of the Petition Date, in the amount of approximately $38,000,000

consisting of accounts payable to various trade creditors.

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         Orexigen Common and Preferred Stock

               27.     Since its inception, Orexigen has raised capital investment through

numerous equity offerings totaling approximately $798,693,376.

               28.     On April 26, 2007, Orexigen completed its initial public offering (“IPO”)

and sold 7,000,000 shares of common stock at a price of $12 per share to the public. The

aggregate net proceeds received by Orexigen from the IPO, net of underwriting discounts and

commissions and offering expenses, was $84 million. Orexigen remains a publicly traded

company with its shares listed on The NASDAQ Global Select Market.

               29.     In connection with the 2016 Secured Notes, Orexigen issued 219,994

shares of Series Z Preferred Stock. The Series Z Preferred Stock is not convertible and does not

pay or accrete dividends. The Series Z Preferred Stock is entitled to a liquidation preference

upon a fundamental change.

               30.     As of December 31, 2017, there were 18,887,033 shares of Orexigen

common stock issued and outstanding and 219,994 shares of Series Z Preferred Stock issued and

outstanding. On March 9, 2018, the closing price of Orexigen common stock was $1.40 per

share.

         Assets and Intercompany Receivables

               31.     The Debtor has total assets of approximately $271.1 million consisting of

cash, inventory, receivables, intellectual property and general intangibles.

               32.     The Debtor has various intercompany agreements with Orexigen Ireland,

including a license agreement and a Platform Contribution Transaction Agreement (“PCTA”).

Per the PCTA, Orexigen Ireland is obligated to make annual payments of $14,561,320 each year




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to Orexigen on August 31st from 2015 to 2019. As of December 31, 2017, Orexigen Ireland was

obligated to the Debtor under the PCTA in an approximate amount of $29 million.

               33.    The Debtor also has provided various loans to Orexigen Ireland since

2015. As of December 31, 2017, the outstanding debt balance due from Orexigen Ireland to

Orexigen is $58.5 million (the “Intercompany Loans”). The Intercompany Loans are due and

payable at five years from the various loan dates with interest rates ranging from 1.22% to

1.95%. Interest only payments are due on December 31st of each year.

               34.    Additionally, in an effort to pool their resources to further develop and

commercialize the drug product in countries outside of the U.S., Orexigen and Orexigen Ireland

share certain development and clinical costs. Orexigen performs certain services for Orexigen

Ireland including, but not limited to, general, administrative, marketing, accounting, regulatory

approval support, and supply chain, manufacturing and quality support. The services performed

by Orexigen are billed to Orexigen Ireland for reimbursement. As of December 31, 2017,

Orexigen Ireland owed the Debtor approximately $5.5 million on account of these services.

               35.    In total, the outstanding intercompany balance as of December 31, 2017 is

$93 million in favor of the Debtor.

D.     U.S. Drug Commercialization

               36.    Contrave® was launched in the United States in October 2014 by

Orexigen’s collaboration partner, Takeda. In September 2010, Orexigen had entered into a

collaboration agreement with Takeda to develop and commercialize Contrave® in the United

States (as well as Canada and Mexico). Effective September 2013, the Debtor and Takeda

entered into an amendment to the collaboration agreement pursuant to which Takeda assumed

the responsibility to package the drug for commercial sale in the United States, Canada and

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Mexico.    Under the terms of the original collaboration agreement, Orexigen received a

nonrefundable upfront cash payment of $50 million and additional payments totaling $100

million that were earned between the execution of the collaboration agreement and the first

commercial sale of the drug in the United States.

               37.    In July 2015, Orexigen entered into a restated collaboration agreement

(the “Restated Collaboration Agreement”), which amended and restated the original

collaboration agreement that the parties first entered into in September 2010. In addition to the

Restated Collaboration Agreement, the parties also simultaneously agreed to a mutual release to,

among other things, any claims or potential claims among the parties. However, due to a change

in its overall business focus and objectives, in late 2015, Takeda began to adjust its priorities

away from the commercialization and marketing of Contrave®.

               38.    In March 2016, Orexigen entered into a separation agreement with Takeda

that terminated the Restated Collaboration Agreement and related agreements (the “Separation

Agreement”).    The termination of the Restated Collaboration Agreement was effective on

August 1, 2016 in connection with which certain rights and assets were transferred from Takeda

to Orexigen. In connection with the Separation Agreement, Orexigen made a $60 million

payment for the acquisition of the drug product and related business and paid an additional $15

million in January 2017.     After the termination of the Restated Collaboration Agreement,

Orexigen assumed full responsibility for the commercialization of Contrave® in the United

States

               39.    During the transition period from Takeda to Orexigen from March to

August 1, 2106, Orexigen devoted resources to build a U.S. commercial infrastructure. On

August 1, 2016, Orexigen relaunched the drug with an effective and efficient U.S. commercial

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organization, including 160 contract sales representatives, focused on the highly concentrated

20,000 health care practitioners who write the majority of prescriptions for branded and generic

anti-obesity medicines.

                40.     Following the successful relaunch of its commercial organization,

Orexigen launched a direct-to-consumer program with broadcast and digital marketing to

patients in December 2016. In addition, Orexigen launched partnerships with two telemedicine

partners, offering an innovative solution for patients to consult with a physician and, if

appropriate, receive a prescription on-line. As a result of these commercial initiatives, Orexigen

sales in the U.S. grew approximately 60% in 2017, as compared to 2016.

                41.     In December 2017, Orexigen launched its commercial campaign for the

weight-loss season, 2 with a greater focus on more cost-efficient and targeted direct-to-consumer

networks such as digital and social media. Through the first two months of 2018, prescriptions

for Contrave® have increased by approximately 21% over the same period in 2017.

                42.     As described in greater detail in the Customer Program Motion, today the

Debtor’s commercialization and distribution of Contrave® is currently effected through a

complex distribution and customer program network that is absolutely essential to driving

increased prescription volumes and revenue, which includes: (a) a complex distribution network

that utilizes a third party logistics provider to manage finished goods inventory and perform

distribution and order-to-cash services and wholesaler arrangements to facilitate the distribution

of inventory through numerous channels, including retail pharmacies; (b) the payment of rebates

to managed care organizations (“MCO”) and pharmacy benefit managers (“PBM”) to gain access

to a significant base of employees covered by the employer’s insurance programs, which requires

2
 In the weight loss industry, a significant amount of annual net sales typically derive from sales between
January and June of each year.
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systems and controls for data processing and administration; (c) the provision of contracted

and/or calculated discounted rates on the product for distributors, Governmental Entities (defined

below) and 340B Covered Entities (defined below); (d) the pricing calculations, data processing

and payment of Medicaid rebates; and (e) a return policy for expired or damaged product.

E.     Drug Commercialization Outside the U.S.

               43.    Orexigen has numerous distribution agreements for its drug product in

various countries and regions all over the world, including South Korea, Central and Eastern

Europe, Western Europe, Australia and New Zealand, South Africa, Canada, the Middle East and

Latin America. Approximately 94% of the potential global obesity market is subject to a

distribution agreement, with the drug already commercially available in 23 countries in Europe,

the Middle East and South Korea. Net revenue from sales to partners outside of the U.S. totaled

approximately $13 million in 2017.

               44.    Specifically, Orexigen Ireland has entered into distribution agreements,

local regulatory approval has been obtained and the product has been launched in (a) South

Korea with Kwang Dong Pharmaceutical Company, Ltd.; (b) 19 countries in Central and Eastern

Europe with Valeant Pharmaceuticals Ireland; (c) Spain with Laboratorios Farmacéuticos Rovi,

S.A.; (d) in Italy with Bruno Farmaceutici S.p.A; (e) the UK and Ireland with Consilient Health

Ltd; (f) Germany, France and Austria with Cheplapharm Arzneimittel GmbH, (launched in

Germany); and (g) the Nordic countries, with Navamedic ASA.

               45.    In addition, Orexigen has entered into distribution agreements with

partners in other regions and is working with these partners to obtain the necessary regulatory

approvals to permit drug commercialization and subsequent product launches: (a) in the Middle

East (covering the countries of Saudi Arabia, the United Arab Emirates, Kuwait, Oman, Qatar,

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Bahrain, Lebanon, Jordan, Iraq, Iran and Egypt), Orexigen has entered into a distribution

agreement with Biologix FZCO; (b) in Australia, New Zealand and South Africa, Orexigen has a

distribution agreement with iNova Pharmaceuticals (“iNova”); (c) in Canada, Orexigen entered

into a distribution agreement with Valeant Pharmaceuticals Ireland; and (d) in Latin America,

Orexigen has entered into a distribution agreement with Merck KGaA, Darmstadt, Germany

(covering the countries of Brazil, Mexico, Argentina, Chile, Bolivia, Paraguay, Uruguay,

Colombia, Ecuador, Peru, Venezuela, Honduras, Guatemala, Dominican Republic, Nicaragua,

Panama, Costa Rica, Belize and El Salvador).

               46.     In parallel, Orexigen is continuing partnership discussions for its drug

product in other markets in the EU and other territories outside the United States, but its ability

to generate revenue for the foreseeable future will depend primarily on its commercial success in

the United States.

F.     Events Leading to the Chapter 11 Case

               47.     In 2010, after completion of the extremely thorough and costly clinical

development program, an Advisory Committee to the FDA recommended the marketing

approval of Contrave®. However, the FDA added a new but ambiguous requirement to produce

new safety data from a large clinical trial prior to approval. After reducing Orexigen’s staff to 16

people to pursue a formal dispute resolution process with FDA, Orexigen gained clarity from the

FDA a year later on the specific safety hurdle and study parameters required for approval.

Following that clarity, Orexigen raised an additional $90 million in equity capital and $115

million in convertible debt from the 2013 Notes to help fund the safety assessment and continue

the regulatory process. After meeting the required safety assessment, Orexigen ultimately gained

regulatory approval for Contrave® from the FDA in 2014. The US commercialization launch by

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Orexigen’s partner, Takeda, began later that year. Orexigen also gained regulatory approval for

Contrave® from the European Medicines Agency (EMA) in early 2015.

                48.   In late 2015 and early 2016, due in large part to a shift in the overall

strategic business focus of Takeda, Orexigen recognized an opportunity to potentially acquire

Contrave® and implement a different and innovative set of commercialization strategies to drive

continued growth of prescription volumes (and ultimately net sales). Although Orexigen

executed the acquisition agreement in March 2016, through the nearly 5-month transitional

period from Takeda to Orexigen, which was completed in August 2016, sales declined

precipitously. Weekly prescription volume in August 2016 was approximately 19% lower than

when Orexigen’s acquisition of Contrave® was announced in March 2016.

                49.   Orexigen’s innovative commercialization plan required significant capital

investment to return the product to a growing prescription volume trajectory and deliver the

greatest long-term value to its investors. As a result of these significant investments made with

the objective of driving growth, Orexigen incurred significant losses and required additional

capital to provide a bridge to profitability, which was projected to occur in 2019. Recognizing

the need to address its debt and to raise additional capital, management took steps throughout

2017 to attempt to strengthen Orexigen’s balance sheet and pursue a variety of sources to meet

its capital needs.

                50.   In February 2017, Orexigen executed a transaction that exchanged

approximately $50 million of the 2013 Notes to the 2017 Exchange Notes. The 2017 Exchange

Notes included a significantly lower conversion price as well as a mandatory conversion feature,

which were designed with the intent of achieving conversions of the 2017 Exchange Notes based

on an assumed continuation of stock price growth that was observed at the start of 2017.

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Although approximately $9.2 million of those notes were converted and retired, further debt

reduction through conversions was hindered by the ensuing stock price weakness.

                51.    In March 2017, Orexigen established a $20 million controlled equity

offering, which ultimately yielded only approximately $2.4 million of net proceeds as a result of

the low trading volume and stock price weakness. Orexigen also pursued a non-dilutive Asset

Based Loan (“ABL”), signing a term sheet with a lender for a $25 million facility. However,

because closing the ABL required majority consent from the Prepetition Secured Noteholders

and because it was a potential hindrance to a necessary restructuring involving a waiver of the

Net Sales Milestone, the ABL was never completed. In November 2017, in an effort to further

reduce its level of debt, Orexigen exchanged $6.5 million of unsecured notes for approximately

2.1 million shares of common stock.

                52.    In large part due to Orexigen’s innovative commercialization plan,

Orexigen recorded total net sales of $87.9 million in 2017. Although net sales in 2017 by

Orexigen’s distributors outside of the United States are not yet available, Orexigen estimates that

such partner-reported net sales were approximately $10.1 million, bringing the total consolidated

net sales in 2017 to approximately $98 million—a significant increase from 2016 but falling

short of projected net sales, and insufficient to satisfy the Net Sales Milestone in the 2016

Indenture.     At the end of 2017, Orexigen had approximately $46 million in cash, cash

equivalents, and marketable securities on its balance sheet and was facing a near-term liquidity

crisis.

G.        The Prepetition Restructuring Efforts

                53.    In parallel with its efforts detailed above, Orexigen also began exploring

potential strategic alternatives for maximizing the value of its business and began discussing

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those strategic alternatives with Baupost, its largest Secured Noteholder. The goal was to

leverage the operating expenses necessary to support Orexigen’s commercialization efforts

through the purchase of additional complementary assets or, in the alternative, partner

Contrave® with assets through the sale of Orexigen or its assets to a strategic partner.

               54.     In April of 2017, Orexigen retained Torreya Partners (“Torreya”) as its

investment banker to assist it with a potential transaction. Following public announcement of the

engagement, Orexigen and Torreya met with numerous potential parties between August and

November 2017. A virtual data room was made available containing extensive information

about Orexigen, including documents describing Orexigen’s business and financial results in

considerable detail, and potential purchasers had the opportunity to conduct due diligence via the

virtual data room, as well as through meetings with Orexigen management.

               55.     During this marketing process, however, it became apparent that there

were various uncertainties that were inhibiting successful completion of the process. One of

these uncertainties related to the status of a patent infringement litigation involving Orexigen.

In June 2017, a trial was held in U.S. District Court of Delaware regarding a challenge by a

generic manufacturer against Orexigen and certain patents relating to Contrave®.           With a

decision expected in a few months, many potential partners delayed significant diligence until a

judgement was issued. On October 13, 2017, Orexigen received a favorable decision, which

confirmed exclusivity for Contrave® in the United States until 2030.

               56.     Also during this time, Orexigen was in discussions with the FDA

regarding the study design for a cardiovascular outcomes trial, a post-market requirement that

was part of the original approval for Contrave® in the U.S. Such studies are typically extremely

large and costly, with traditional trial designs requiring $250 to $400 million to complete. In

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early 2017, Orexigen submitted to the FDA a protocol synopsis for an innovative study design

involving a Bayesian statistical analysis approach, which essentially uses previously obtained

data in combination with a significantly smaller and more efficient new study to complete the

post marketing requirement. Such a design would be novel and potentially precedent-setting for

this type of cardiovascular outcomes study and therefore the FDA required considerable time and

further consultation with Orexigen prior to issuing an opinion. In February 2018, the FDA

notified Orexigen of its approval of Orexigen’s proposed study synopsis. With an estimated

budget of $88 million to $108 million, the new study design represented significant cost savings

of more than $100 million to Orexigen’s operating model.

               57.     The pending patent lawsuit and the pending FDA review likely served as

deterrents to potential interested partners or purchasers and, as a result, Orexigen did not receive

any feasible bids that could satisfy its current debt structure. Throughout this marketing process,

Orexigen met with its Prepetition Secured Noteholders to update them on the progress of its

marketing efforts.

               58.     Although Orexigen remained positive about its longer-term prospects and

its ability to ultimately maximize value, it continued to be concerned with its highly levered

capital structure and inability to generate positive free cash flow in the near term. In addition, it

became increasingly apparent that Orexigen may be unable to satisfy the Net Sales Milestone in

the 2016 Indenture. In November 2017, Orexigen retained Perella Weinberg Partners (“PWP”)

to provide general financial advisory services and expand Orexigen’s efforts to evaluate potential

strategic alternatives, including assisting Orexigen in any potential restructuring, sale transaction

or financing transaction. One of Orexigen’s goals in hiring PWP was to gain assistance with

addressing the 2016 Secured Notes, possibly through a refinancing, an extension of the maturity

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or a conversion of the 2016 Secured Notes to new debt or equity. Orexigen and PWP continued

to frequently communicate with the Prepetition Secured Noteholders regarding a potential

restructuring or financing transaction. Given that the Prepetition Secured Noteholders constitute

Orexigen’s only outstanding secured debt, Orexigen believed (and continues to believe) that the

Prepetition Secured Noteholders’ input and cooperation is invaluable to its restructuring efforts

and this Chapter 11 Case.

               59.    As discussed above, Orexigen and its advisors actively pursued numerous

strategic options including raising new capital investment, obtaining an ABL, or entering into a

consensual restructuring with its Prepetition Secured Noteholders, including a waiver in the Net

Sales Milestone in the 2016 Indenture. Although Orexigen gained the support of a majority of

its Prepetition Secured Noteholders, including Baupost, Orexigen was unable to obtain the

unanimous consent of the Prepetition Secured Noteholders required to waive the Net Sales

Milestone or otherwise engage in a meaningful out of court restructuring.

               60.    While continuing to evaluate strategic alternatives with the assistance of

its financial advisors, in December 2017, Orexigen engaged restructuring professionals at Ernst

& Young LLP (“EY”) to assist it in refining its business plan and examining the possibility of

further cost reductions throughout late 2017 and early 2018, including through reductions in

force both at Orexigen and its independent sales consultants. Orexigen remained hopeful that it

could achieve a strategic transaction that would provide value for all stakeholders, including

holders of its equity. Additionally, Orexigen implemented a reduction in force of 10 regional

sales managers and 110 independent sales contractors, effective February 2, 2018.

               61.    Orexigen ultimately concluded that given that (a) it was highly levered, (b)

it was unlikely to satisfy the $100 million Net Sales Milestone in the 2016 Indenture, (c) it faced

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significant challenges in achieving positive free cash flows in the near term, and (d) it was

unable to obtain unanimous Secured Noteholder consent for a consensual restructuring of its

debt, the business likely would not be viable on a stand-alone basis absent a strategic transaction

or a restructuring of its debt. To that end, Orexigen formalized discussions with Baupost and

certain other Prepetition Secured Noteholders (together constituting approximately 93% of the

2016 Secured Notes) pursuant to non-disclosure agreements (“NDA”), regarding, among other

things, a restructuring of the debt or a potential auction sale process. Orexigen, subject to these

NDAs, further informed Baupost and other Prepetition Secured Noteholders of the details of

Orexigen’s business circumstances and the strategic alternatives available based on its efforts

over the prior six months. In January 2017, Orexigen, Baupost and certain other Prepetition

Secured Noteholders mutually agreed that, among the strategic alternatives to be considered,

Orexigen could pursue an auction sale process that could be implemented through the filing of a

chapter 11 case.

               62.    Orexigen believed that on account of the significant investments it had

made and intellectual “know-how” it had acquired in commercialization, patent protection,

equipment, and development process, there might be significant value to a purchaser, particularly

one with synergies to Orexigen’s business. Therefore, Orexigen conducted a second marketing

process, in parallel with discussions with PWP, EY and the Prepetition Secured Noteholders, as

an additional option to maximize value. To that end, PWP developed a list of potentially

interested parties and solicited such parties’ interest in a sale transaction. PWP contacted 86

potential buyers, including financial buyers, privately-held specialty pharmaceutical companies,

and a number of publicly-traded pharmaceutical companies. Approximately 23 of the parties

contacted by PWP entered into NDAs with Orexigen to further explore the potential purchase of

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Orexigen’s business. Among other things, the buyers were granted access to the virtual data

room already established by Orexigen as part of the previous sale process. Orexigen established

February 7, 2018 as the deadline for submitting non-binding preliminary proposals.               The

marketing process did not yield a credible preliminary proposal from a party willing to serve as

stalking horse purchaser in an in-court auction sale process. Several parties, however, expressed

interest in bidding at any potential 363 auction sale.

                                  II.   THE DIP FACILITY

               63.     As part of the first day relief, the Debtor filed the Motion For Entry of

Interim and Final Orders, (I) Approving Debtor-in-Possession Financing Pursuant To 11 U.S.C.

§§ 105(a), 362, and 364, Fed. R. Bankr. P. 2002, 4001 and 9014, and Local Bankruptcy Rule

4001-2 (II) Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. §§ 105, 361, 362, and 363

of the Bankruptcy Code (III) Granting Adequate Protection and Super-Priority Administrative

Claims; (IV) Scheduling A Final Hearing; and (V) Granting Related Relief (the “DIP Motion”).

The DIP Motion seeks authority for the Debtor, on the terms set forth in that certain Debtor in

Possession Credit and Security Agreement dated March 12, 2018 (the “DIP Loan Agreement”) to

obtain postpetition financing in an aggregate principal amount of up to $70,350,000, consisting

of (i) up to $35,000,000 of New Money Loans, 3 (ii) $35,000,000 of Roll-Up Loans and (iii) a

$350,000 Upfront Fee (collectively, the “DIP Facility”), from certain lenders party to the DIP

Loan Agreement (the “DIP Lenders”), of which, upon entry of and pursuant to the Interim DIP

Order (1) up to $7,500,000 of New Money Loans may be borrowed by the Debtor; (2) up to

$7,500,000 of Roll-Up Loans may be incurred, which the Roll-Up Lenders will be deemed to

have made to the Debtor at the same time and in the same amount as each New Money Loan is

3
 Capitalized terms not otherwise defined in this section have the meaning ascribed to them in the DIP
Loan Agreement.
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borrowed during the interim period; and (3) the Debtor will incur the Upfront Fee to the DIP

Lenders (which will be deemed capitalized and added to the principal of the DIP Loans).

Automatically upon entry of the Final DIP Order, the balance of the $35,000,000 Roll-Up

Facility will be deemed borrowed.

               64.     The terms of the DIP Facility also require the Debtor to complete a sale of

its assets in accordance with certain milestones. To maximize the value of its estate, and in

compliance with the milestones under the proposed DIP Facility, the Debtor will file a motion

seeking authority to conduct an auction process (the “Sale Motion”) by which the Debtor will

solicit offers and ultimately seek approval to sell substantially all of its assets to the bidder with

the highest or otherwise best offer. The Debtor also reserves the right to appoint a stalking horse

purchaser of its assets and to modify its auction and sale procedures accordingly. The Debtor also

will seek authority to retain PWP to serve as its investment banker to assist with conducting the

marketing and sale of its assets. In order to maximize the likelihood of success of the sales

process, the parties have also agreed to include in the Carve-Out from the collateral of the DIP

Administrative Agent (defined below) for the benefit of the DIP Lenders, the Debtor’s Key

Employee Incentive Plan (“KEIP”) and Key Employee Retention Plan (“KERP”) as well as the

fees and expenses of the Debtor’s professionals. 4

               65.     I believe the financial terms and covenants of the DIP Facility are standard

and reasonable for financing of this kind. Based on the extensive negotiations that took place, I

believe that these are the only terms on which the DIP Lenders will provide the financing. As

the DIP Facility proceeds are necessary and the best financing available at this time, I believe

that sufficient justification exists for agreeing to these provisions.         Moreover, it is my

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  The Debtor intends to file a motion seeking Court approval of the KEIP and KERP in conjunction with
the Sale Motion and proposed bidding procedures within 3 business days following the Petition Date.
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understanding that the DIP Lenders would not have been amenable to providing financing

without the heavily bargained-for protections contained in the DIP Loan Agreement.

A.     Marketing The DIP Facility

               66.    Prior to the Petition Date, the Debtor, with the assistance of PWP and its

other professionals, worked diligently to identify sources of working capital financing to

determine if they could obtain postpetition financing on the most favorable terms or conditions

available. PWP reached out to more than 30 parties for postpetition financing proposals, with

three parties ultimately submitting indicative proposals. All three indicative proposals sought to

prime the Prepetition Secured Noteholders, who refused to consent to priming liens.

               67.    Subsequently, certain holders of the Prepetition Secured Notes agreed to

provide DIP financing on more attractive terms to the Debtor than the other indicative proposals.

Certain of these holders made it clear, however, that they would not provide the required

financing or consent to adequate protection provisions regarding their prepetition liens without

(i) a roll up of a portion of the outstanding principal balance of the Prepetition Secured Notes,

and (ii) milestones related to the Debtor’s sale of its assets under section 363 of the Bankruptcy

Code. After lengthy, arms’-length negotiations and trading numerous drafts of proposed term

sheets, the parties settled on the arrangement described above and other terms described in the

DIP Motion.

               68.    One critical element of the negotiations was the inclusion of the payment

of the Debtor’s contemplated KEIP and KERP (both of which have been approved by the

Debtor’s Board of Directors) into the Carve-Out from the secured liens and obligations under the

DIP Facility, which are necessary both to ensure that management is properly incentivized to

support and drive an auction process that will yield the highest and best offer for the benefit of

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the Debtor’s estate and to retain non-management employees to continue work on the Debtor’s

business plan and preserve its value as a going concern. The parties ultimately agreed that the

way to ensure the payment of the KEIP and KERP was to include the program in the Carve-Out

under the DIP Loan Agreement. Although the parties understand such a structure is atypical, it is

necessary here because the Debtor faces a unique set of circumstances that justifies their

inclusion into the Carve-Out. The Debtor, as a small biopharmaceutical company, depends on

the successful commercialization of its product to become profitable. Following the reacquisition

of its product from its former partner, the Debtor relaunched its product in August 2016. To

fund the build of its commercial infrastructure and relaunch its product, the Debtor needed

secured debt to be added to its capital structure, which is now dominated by secured debt.

Moreover, given the Debtor’s expected cash flows, a traditional debt-for-equity plan of

reorganization seems unfeasible. Therefore, a section 363 sale is the primary, if not exclusive,

vehicle available to the Debtor to maximize the value of its assets for its creditors and to

continue the Debtor’s business and preserve jobs.       The Debtor has already run two sales

processes prepetition but was unable to secure a stalking horse bid before running very tight on

liquidity, and therefore the DIP Facility is necessary to bridge the Debtor to the completion of a

sale.   Finally, in light of the recent resignation of the Debtor’s Chief Financial Officer

immediately before the filing of the Chapter 11 Case, there is a credible concern that without

iron-clad assurances that the KEIP and KERP (if approved) will be part of the Carve-Out, other

senior executives and employees will do the same. Based on these peculiar facts, the DIP

Lenders agreed to include the KEIP and KERP in the Carve-Out.

               69.    Following extensive negotiations regarding these issues, and given the

Debtor’s working capital needs and the means by which the Debtor will seek to maximize the

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value of its assets, the DIP Lenders ultimately agreed to provide the DIP Financing on more

attractive terms to the Debtor than the other indicative proposals. The Lenders have offered to

provide the DIP Facility to address the Debtor’s anticipated working capital needs during the

pendency of this Chapter 11 Case. The DIP Lenders are Required Holders because they hold in

the aggregate the requisite amount of Prepetition Secured Notes, and as such consent to the

priming of the liens securing the Prepetition Secured Notes.

               70.     In their capacity as Prepetition Secured Noteholders, the DIP Lenders

already have a vested interest in seeing the value of the Debtor’s business preserved and

maximized. One or more of the DIP Lenders made inquiries with other Prepetition Secured

Noteholders regarding participation in the DIP Facility, but not all Prepetition Secured

Noteholders were willing to commit the significant amounts of additional capital contemplated

under the DIP Facility.

               71.     The Debtor requires access to liquidity from the DIP Facility and use of

cash collateral in order to facilitate a smooth transition into chapter 11, to avoid serious

impairment of its business operations, to operate the Debtor’s cash-intensive business in the

ordinary course, and to implement an auction process to maximize the value of the Debtor’s

assets. A contested priming or adequate protection fight could have proved devastating to the

Debtor’s business and to the contemplated auction process, subjecting the Debtor to a significant

risk of being unfinanced or underfinanced for an extended period of time, especially in light of

the Debtor’s low liquidity position as of the Petition Date.

               72.     As discussed above, the Debtor and its advisors considered a variety of

potential transactions, including refinance and sale options. Based on all of the factors described

herein, the Debtor deemed that it was in the best interests of its business to commence the Chapter

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11 Case and effectuate a sale to maximize the value of its assets. The Debtor also has determined

that the DIP Facility presents the only viable mechanism for providing the liquidity that the

Debtor requires to continue its operations during the Chapter 11 Case. In addition, the Debtor has

determined that a prompt and open sale of its assets in which all interested buyers are encouraged

to participate is the best way to maximize value for its estate under the circumstances.

B.     The Terms of the DIP Facility are Fair and Reasonable

               73.     The proceeds of the DIP Facility are sized to support the Debtor through

the anticipated pendency of the Chapter 11 Case and preserve and promote the health and

viability of the business. Moreover, I believe that the financial terms and covenants of the DIP

Facility are standard and reasonable for financing of this kind. Based on the negotiations that

took place, I believe that these are the only terms on which the DIP Lenders will provide the

financing. In addition, I am generally aware that terms similar to those included in the DIP Loan

Agreement have been approved in other recent and/or ongoing cases.

               74.     It is my further understanding that any alternative financing arrangement,

including arrangements provided by other potential DIP lenders, likely would have led to a

lengthy and almost certain value-destroying priming fight. Moreover, I understand that the DIP

Lenders would not have been amenable to providing financing without the bargained-for

provisions. In the course of negotiations with the DIP Lenders, the Debtor explored whether the

DIP Lenders would provide the DIP Facility with lower or no associated fees and free from

procedural milestones. The DIP Lenders made clear that they would not be willing to provide

the DIP Facility on more favorable terms.

               75.     Accordingly, the Debtor and its advisors—recognizing the absence of

better competing proposals and the benefits to be provided under the DIP Facility—determined

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in their sound business judgment that the terms of the DIP Loan Agreement were and remain

superior to any other set of terms reasonably available to the Debtor at this time. I therefore

believe that the DIP Facility provides the Debtor with the best, most feasible and most value-

maximizing financing option available at this time.

C.     The Terms of the Debtor’s Cash Collateral Use are Fair and Reasonable

               76.      In addition to the DIP Facility, the Debtor requires the continued use of

cash collateral (as defined in section 363(a) of the Bankruptcy Code, the “Cash Collateral”). The

Prepetition Collateral Agent has consented to the Debtor’s continued use of Cash Collateral and

the Adequate Protection Package (as defined below), subject to the terms of the form of order

approving the DIP Facility on an interim basis (the “Interim DIP Order”).

               77.      I believe that continued access to Cash Collateral will (i) ensure that the

Debtor has access to sufficient working capital to, among other things, pay its employees,

vendors, and suppliers, (ii) enable the Debtor to continue honoring its prepetition obligations

under and in accordance with the “first-day” orders entered by the Court, and (iii) satisfy

administrative expenses incurred in connection with the commencement of the Chapter 11 Case.

D.     The Adequate Protection Package is Justified under the Circumstances

               78.      The Debtor and the Prepetition Collateral Agent have agreed that the

Debtor will provide the following primary forms of adequate protection: (the “Adequate

Protection Package”):

           •   The Prepetition Collateral Agent, for the benefit of the Prepetition Secured
               Noteholders, shall be granted, effective and perfected as of the Interim DIP Order
               Entry Date and without the necessity of the execution of mortgages, deeds of
               trust, security agreements, pledge agreements, control agreements, financing
               statements or other agreements, a valid and perfected security interest in and lien
               on all assets of the Debtor and in the same relative priority and to the same extent,
               priority, enforceability, unavoidability and validity applicable to the respective
               Prepetition Secured Parties’ Prepetition Liens in the Pledged Collateral, which
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               liens and security interests are junior and subordinate only to (i) the Carve-Out,
               (ii) the DIP Liens, (iii) the DIP Obligations, (iv) the Super-priority Claims of the
               DIP Administrative Agent, and (v) the Permitted Exceptions.

           •   Pursuant to and upon the entry of the Final DIP Order, the Prepetition Collateral
               Agent, on behalf of the Holders, shall be granted, subject to the Carve-Out, an
               allowed Super-priority Claim junior only to the Super-priority Claim of the DIP
               Administrative Agent and any Permitted Exceptions; provided that the Trustee
               and the Prepetition Collateral Agent and Holders shall not receive or retain any
               payments, property or other amounts in respect of such Super-priority Claim
               unless and until the DIP Obligations have indefeasibly been paid in cash in full.

           •   The Debtor shall make current cash payments payable under the Prepetition Note
               Documents to the Trustee or the Prepetition Collateral Agent for all professional
               fees and expenses incurred by the Trustee or Prepetition Collateral Agent in
               connection with enforcement of the Prepetition Note Documents and the Chapter
               11 Case, subject to the delivery of a Fee Notice, as defined in, and in the manner
               set forth in the Interim DIP Order.

           •   The Debtor shall (a) provide the Trustee and its advisors with unaudited quarterly
               financial statements within sixty (60) calendar days after the conclusion of each
               quarter, and (b) shall provide the Trustee with any other reporting as reasonably
               required by the Required DIP Lenders.

               79.    The Adequate Protection Package will adequately protect the Prepetition

Secured Noteholders’ interests in the Prepetition Collateral from diminution in value caused by

the Debtor’s use of the Cash Collateral, as well as for any decline in, or diminution of, the value

of the Prepetition Secured Noteholders’ liens or security interests under any of the Secured Note

Documents.

E.     The DIP Facility Was Negotiated in Good Faith

               80.    The Debtor and its advisors have determined that the DIP Lenders offered

the most viable option for obtaining the postpetition financing the Debtor requires. I believe that

the DIP Loan Agreement is the result of the Debtor’s reasonable and informed determination that

the DIP Lenders offered the most favorable terms on which to timely obtain needed postpetition




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financing, and reflective of arms’-length, good faith negotiations between the Debtor, the DIP

Administrative Agent, and DIP Lenders.

F.     The Debtor Requires Immediate Access to the DIP Facility and Cash Collateral

               81.     The Debtor and its estate will suffer immediate and irreparable harm if the

interim relief requested in the DIP Motion is not granted, including authorizing the Debtor’s use

of Cash Collateral and borrowings (or deemed borrowings) of up to $15.35 million under the

DIP Loan Agreement. I further believe that the commencement of the Chapter 11 Case will

materially increase demands on the Debtor’s free cash as a result of, among other things, the

costs of administering the Chapter 11 Case and addressing key customers’ concerns regarding

the Debtor’s financial health and ability to continue operations.

               82.     The Debtor has an immediate need for access to liquidity to, among other

things, continue the operation of its business in an orderly manner, maintain business

relationships with customers and vendors, pay employees and satisfy other working capital and

operational needs—all of which are necessary to preserve and maintain the Debtor’s going-

concern value and, ultimately, effectuate a successful restructuring.           Based on these

circumstances, the Debtor requires the interim funding provided by the DIP Facility to avoid

immediate and irreparable harm to its operations, business and estate.

                             III.    FIRST DAY PLEADINGS

               83.     Concurrently with the commencement of the Chapter 11 Case, the Debtor

has filed, and requests this Court’s approval for, a number of proposed orders (the “First Day

Orders”), which the Debtor believes are necessary to enable it to operate with a minimum level

of disruption and loss of productivity. The Debtor requests that each of the First Day Orders be

entered as critical elements in stabilizing and facilitating the Debtor’s operations during the

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pendency of the Chapter 11 Case. A description of the relief requested and the facts supporting

each of the First Day Orders is set forth below.

A.     Administrative and Procedural Matters

               84.      The Debtor has filed three “administrative” pleadings that seek to (1) to

retain Kurtzman Carson Consultants (“KCC”) as claims and noticing agent, (2) extend the time

for the Debtor to file its schedules and statements, and (3) an equity and claims trading

procedures motion. The Debtor’s attorneys have explained to me the customary practices with

regard to the requested relief in chapter 11 business reorganization cases and the rationale for

these pleadings.

                     Application to Appoint KCC as Claims and Noticing Agent

               85.      It is my understanding that the Debtor is applying (the “Section 156(c)

Application”) for entry of an order appointing KCC as claims and noticing agent in this Chapter

11 Case. I understand that such appointment is required by the rules of this Court. Moreover, I

believe that such relief is prudent in light of the thousands of creditors, potential creditors and

parties in interest to whom certain notices will be sent.

               86.      I believe that KCC’s retention is the most effective and efficient manner of

noticing these creditors and parties in interest of the filing of the Chapter 11 Case and of other

developments in this Chapter 11 Case. Moreover, I am informed that KCC has acted as the

claims and noticing agent in numerous cases of comparable size, including several large

bankruptcy cases pending in both this District and in other districts. Moreover, in compliance

with the Protocol for the Employment of Claims and Noticing Agents Under 28 U.S.C. § 156(c)

of the United States Bankruptcy Court for the District of Delaware, the Debtor obtained and




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reviewed engagement proposals from three other Court-approved claims and noticing agents to

ensure selection through a competitive process.

               87.     As more fully detailed in the Section 156(c) Application, I understand that

KCC will engage in certain Claims and Noticing Services, including, but not limited to,

transmitting, receiving, docketing and maintaining proofs of claim filed in connection with this

Chapter 11 Case. KCC will also work with the office of the Clerk of the United States

Bankruptcy Court for the District of Delaware to ensure that its methodology conforms with all

of the Court’s procedures, the Local Bankruptcy Rules and the provisions of any order entered

by this Court. Moreover, I am informed that the Section 156(c) Application pertains only to the

work to be performed by KCC under the Clerk of the United States Bankruptcy Court for the

District of Delaware delegation of duties permitted by 28 U.S.C. § 156(c) and Local Bankruptcy

Rule 2002-1(f). 5

               88.     Accordingly, I believe that retention of KCC, an independent third party

with significant experience in this role, to act as an agent of the Court, is in the best interests of

the Debtor and its estates and creditors.

                        Extension of Time to File Schedules and Statements

               89.     It is my understanding that the Debtor is requesting that the Court extend

the time by which the Debtor must file its schedules of assets and liabilities and statements of

financial affairs (the “Schedules and Statements”) to thirty two (32) days after the current

deadline. It is my understanding that the Local Bankruptcy Rules automatically extended the

Debtor’s deadline twenty-eight (28) days because the Debtor filed a creditor matrix containing



5
 The Debtor also intends to file an application to retain KCC to perform certain administrative services
pursuant to Bankruptcy Code section 327.
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more than two hundred (200) creditors. Thus, the Debtor is requesting the Court to extend the

deadline to file Schedules and Statements to May 11, 2018 (the “Filing Deadline”).

                90.     Given the substantial burdens already imposed on the Debtor’s

management by the commencement of this Chapter 11 Case, the limited number of employees

available to collect the information, the competing demands upon such employees and the time

and attention that the Debtor must devote to the Chapter 11 process, the Debtor may be unable to

complete its Schedules and Statements by the current deadline imposed by the Bankruptcy Rules

and the Local Bankruptcy Rules. I also believe that the relief requested is in the best interest of

the Debtor, its estate, creditors and other parties in interest.

                91.     Accordingly, I believe that “cause” exists to extend the current deadline

imposed by Bankruptcy Rule 1007(c) for an additional thirty two (32) days, until the Filing

Deadline. The requested extension will enhance the accuracy of the Debtor’s Schedules and

Statements and avoid the necessity of substantial subsequent amendments.

                                     Trading Procedures Motion

                92.     The Debtor has generated, and is currently generating, a significant

amount of Tax Attributes for U.S. federal income tax purposes. The Debtor has experienced

losses from the operation of its business, having failed to post positive net earnings since its

inception. As a result, the Debtor estimates that its utilizable federal income tax net operating

losses are approximately $350 million to $400 million (“NOLs”), consisting of approximately

$200 million of NOLs through 2016 and $150 million to $200 million of NOLs generated during

2017, and it expects to have incurred additional NOLs since then through the Petition Date,

which amounts could be even higher when the Debtor emerges from chapter 11. The Debtor’s

Tax Attributes are a valuable asset because the Debtor generally can carry forward its Tax

Attributes to reduce or eliminate its income tax liability, thereby potentially freeing up funds to
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meet working capital requirements and service debt. In particular, the Tax Attributes may be

available to the Debtor to offset taxable income generated by ordinary course activity and other

transactions completed during the course of the Chapter 11 Case. Additionally, the Debtor can

carry forward the NOLs and credits to reduce its future tax liability, thereby potentially

recovering cash for the benefit of its estate.

                93.     It is my understanding that the Debtor’s ability to use its Tax Attributes,

however, could be severely limited under Section 382 of title 26 of the United States Code as a

result of the trading and accumulation of its equity securities and claims against the Debtor prior

to consummation of a chapter 11 plan. The Debtor thus seeks to establish procedures for

continuously monitoring the trading of its equity securities and provide notice of the potential

that it will seek certain sell-down procedures for claims so that the Debtor can preserve its ability

to seek substantive relief at the appropriate time, particularly if it appears that additional trading

may jeopardize the use of its NOLs under Section 382. Therefore, I submit that the relief

requested in the Trading Procedures Motion is appropriate and in the best interests of the

Debtor’s estate, its creditors and other parties in interest.

B.      Motion to Continue Cash Management System

                94.     The Debtor seeks entry of an interim order, pending the entry of a final

order or the interim order becoming a final order, authorizing, but not directing, the Debtor to

continue to operate its existing cash management system in the day-to-day operation of its

businesses, and to honor certain prepetition obligations in accordance with the operation of the

cash management system. Specifically, the Debtor requests authority to: (a) continue to use,

with the same account numbers, each of its existing bank accounts; (b) treat the bank accounts

for all purposes as accounts of the Debtor as debtor in possession; and (c) conduct banking

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transactions by all usual means and debit the bank accounts on account of all usual items and

payment instructions.

                95.     Additionally, the Debtor seeks authority to: (a) use, in their present form,

all business forms (including check stock, letterhead, purchase orders, and invoices) and other

correspondence and documents related to its bank accounts, without reference to the Debtor’s

status as debtor in possession; and (b) continue intercompany transactions between and among

the Debtor and is nondebtor affiliates in the ordinary course of business and in accordance with

transfer pricing agreements and historical practices. The Debtor further requests authority for its

banks to: (i) continue to maintain, service, and administer its bank accounts; (ii) debit its bank

accounts in the ordinary course of business on account of (a) all checks drawn on its bank

accounts that are cashed at its banks or exchanged for cashier’s checks by the payees thereof

prior to the Petition Date, (b) all checks or other items deposited in one of the bank accounts at

the banks prior to the Petition Date that have been dishonored or returned unpaid for any reason,

together with any fees and costs in connection therewith, and (c) all undisputed prepetition

amounts outstanding as of the date hereof, if any, owed to any bank as fees or service charges for

the maintenance of any aspect of the applicable cash management system.

                96.     Further, the Debtor requests that the Court grant interim and final waivers

of the requirements of section 345(b) of the Bankruptcy Code. The Debtor also requests that,

upon entry of the interim order, the Court schedule a final hearing on the motion to consider the

relief requested on a final basis.

                                     The Cash Management System

                97.     The Debtor maintains an integrated cash management system (as

described herein, the “Cash Management System”), comprising four accounts (the “Bank

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Accounts”) at two financial institutions. Attached as Exhibit C to the Cash Management Motion

is a table identifying the Bank Accounts, along with the financial institutions at which they are

held (the “Banks”), and the last four digits of each Bank Account number.

               98.     The Cash Management System is centrally managed for the Debtor out of

the Debtor’s U.S offices in San Diego, California, and all funds in the Bank Accounts are

denominated and held in U.S. Dollars. The Debtor uses the Cash Management System in the

ordinary course of business to collect, transfer, and disburse funds generated from its operations

and to facilitate cash monitoring, forecasting, and reporting. The Debtor’s treasury department

maintains daily oversight of the Cash Management System and implements cash management

controls for entering, processing, and releasing funds.       Additionally, the Debtor regularly

reconciles books and records to ensure that all transfers are accounted for properly.

                                       The Bank Accounts

               99.     U.S. customer payments are made to an account receivable lockbox

account at Silicon Valley Bank in the name of Orexigen Therapeutics, Inc. (the “AR Account”).

The AR Account is swept daily into a general checking account at Silicon Valley Bank in the

name of Orexigen Therapeutics, Inc. (the “Checking Account”). The Checking Account is also

swept daily into a sweep account at Silicon Valley Bank in the name of Orexigen Therapeutics,

Inc. (the “Sweep Account”), which holds excess cash and investments in U.S. Short-term

Treasury and government securities. Funds are transferred from the Sweep Account to the

Checking Account as necessary for disbursements to fund payroll and operations.

               100.    The Debtor also maintains a holding account at U.S. Bank (the “Holding

Account”) for excess cash and investments in short-term U.S. Government securities. The

Holding Account is managed by Wells Fargo. The Debtor transfers funds, as necessary, from the

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Checking Account and also the Debtor’s non-debtor affiliates transfer funds from foreign

accounts to the Holding Account.

               101.     A diagram illustrating the foregoing Cash Management System is attached

as Exhibit D to the Cash Management Motion.

                                     Bank and Investment Fees

               102.     The Debtor pays on average approximately $850 per month in bank and

investment fees incurred in connection with the Bank Accounts (the “Bank Fees”). The Debtor

pays the Bank Fees as they come due on a rolling basis over the course of each month, typically

by direct debit. The Debtor estimates that there are no outstanding Bank Fees as of the Petition

Date.

                                         Business Forms

               103.     As part of the Cash Management System, the Debtor utilizes numerous

preprinted business forms (the “Business Forms”) in the ordinary course of its business. The

Debtor also maintains books and records to document, among other things, receipts and

expenses. To minimize expenses to its estate and avoid confusion on the part of employees,

customers,   vendors,     and   suppliers   during    the   pendency     of   this   Chapter    11

Case, the Debtor requests that the Court authorize its continued use of all correspondence and

business forms (including, without limitation, letterhead, purchase orders, invoices, and

preprinted checks) as such forms were in existence immediately before the Petition Date and

thereafter, without reference to the Debtor’s status as debtor in possession, rather than requiring

the Debtor to incur the expense and delay of ordering entirely new business forms as required

under the U.S. Trustee Guidelines.




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C.     Payment of Employee and Payroll Obligations and Certain Taxes

       Employee Salary and Expense Obligations

                  104.      The Debtor has approximately 111 employees in the U.S. (the

“Employees”) that conduct its normal business, including executive, management, financing and

accounting, information technology, legal, and actuarial services.

       (i)        Payroll

                  105.      All Employees are paid twice monthly, on the 15th and last day of each

month. If either of these days falls on a weekend or holiday, employees are paid the day before

the weekend or holiday. All required tax deductions and voluntary deductions are withheld

automatically from paychecks.            The Debtor’s twice monthly Employee-related payroll

obligations equal approximately $865,000. The Debtor pre-funded ADP (defined below) on

March 9, 2018 with the amounts necessary to satisfy the Employee-related payroll obligations

due on March 15, 2018 to ensure that payroll would be processed on time. Although the Debtor

does not anticipate owing any money on account of prepetition wages and salaries, out of an

abundance of caution, the Debtor is seeking authority, but not direction, to pay prepetition

Employee-related payroll obligations in an aggregate amount not to exceed $100,000 in the

interim period.

       (ii)       Payroll Servicers

                  106.      Debtor utilizes ADP, LLC (“ADP”) as payroll service provider for

Employees. ADP performs all services related to the Debtor’s Employee payroll, including

payroll deductions and tax withholdings. Each payroll period, the Debtor pre-funds ADP with

the amounts necessary to satisfy the Debtor’s payroll obligations two (2) business days in

advance of the pay date. ADP then processes direct deposit transfers or checks. The services

that ADP provides are critical to the smooth functioning of the Debtor’s payroll system. ADP is
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responsible for ensuring that (i) Employees are paid on time, (ii) appropriate deductions are

made, (iii) payroll reporting is accurate, and (iv) appropriate amounts are remitted to the

applicable taxing authorities and other payees. The Debtor pays ADP approximately $2,000 per

month for the aforementioned services (the “Payroll Maintenance Fees”). As of the Petition

Date, the Debtor estimates that it owes ADP approximately $4,000 on account of prepetition

Payroll Maintenance Fees. The Debtor seeks authority to pay all Payroll Maintenance Fees in

the ordinary course, including all prepetition fees.

       (iii)   Payroll Deductions and Tax Withholdings

               107.    ADP deducts certain amounts from Employees’ paychecks, including,

without limitation: (i) pre-tax, optional contributions to health and dependent care, as described

in detail below; (ii) other pre-tax and after-tax deductions payable pursuant to certain of the

Employee benefit plans discussed below; (iii) certain amounts related to federal, state, and local

income taxes, social security taxes, Medicare taxes, and taxes imposed by the law; (iv) matching

payments on account of social security and Medicare taxes and, subject to certain limitations,

additional amounts based upon a percentage of gross payroll for, among other things, state and

federal unemployment insurance and (v) other miscellaneous deductions. The Debtor estimates

that ADP withholds, on average, approximately 54% of each payroll in payroll deductions and

tax withholdings from Employees’ paychecks, collectively. The Debtor pre-funds payroll

deductions and tax withholdings to ADP two (2) business days in advance of the pay date. The

Debtor’s average liabilities twice-monthly for payroll deductions and tax withholdings total

approximately $467,000. The Debtor estimates that, as of the Petition Date, its liability for

payroll deductions and tax withholdings is in the approximate amount of $30,000. The Debtor is

seeking authority, but not direction, to remit prepetition payroll deductions and tax withholdings

in an aggregate amount not to exceed $30,000 in the interim period.
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               108.    In the ordinary course of processing payroll for the Employees, the Debtor

may also be required by law, in certain circumstances, to withhold from certain Employees’

wages amounts for various garnishments, such as tax levies, child support, and other court-

ordered garnishments. Each pay cycle, the Debtor withholds such amounts from applicable

Employees’ paychecks and remits them to the appropriate authorities or entities on a monthly

basis. On average, the Debtor withholds approximately $2,000 in garnishments per month from

Employees’ wages and salaries and estimate that, as of the Petition Date, it holds approximately

$3,000 in prepetition garnishments that have not yet been remitted. The Debtor seeks authority

to continue garnishing Employee wages in accordance with applicable law.

       (iv)    Expense Reimbursement

               109.    In the ordinary course of business, the Debtor reimburses Employees for

certain expenses incurred while performing their duties.        Reimbursable expenses include

payments for travel, lodging, reimbursable meals, business meals and entertainment, and other

business-related activities.   Non-executive staff (below Vice President-level) are entitled to

expense reasonable and necessary business-related expenses while traveling on authorized

company business. Travel expenses higher than those outlined in the Employee Handbook must

be pre-approved by the Chief Financial Officer (“CFO”). Executive Staff (Vice President-level

and above) must also follow guidelines as outlined in the Employee Handbook; however,

expenses higher than those outlined must be approved by either the CFO or respective Vice

President.    Employees submit expense reports via SAP Concur (“Concur”) when needed.

Reports are then automatically routed to the Employee’s respective manager for review and

electronic approval. Once approved by the manager, the expense report is routed to Accounts

Payable for review. Accounts Payable reviews and processes the report for payment. Payment

files are processed every day by Concur at 6:00 pm Pacific. Concur then transfers the funds to
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the Employee approximately two (2) business days after the payment file is processed (e.g., if a

payment file is processed on Monday, a corresponding ACH payment is made to the Employee

on Wednesday).

              110.    The Debtor estimates that, on average, it is charged $210,000 in Employee

expense reimbursements per month. As of the Petition Date, the Debtor believes it is obligated

to pay for approximately $150,000 in outstanding prepetition expense reimbursements.

        Employee Benefits

              111.    The Debtor also provides Employees with access to health and other

benefit plans. For Employees, benefit plans include the following (along with a notation as to

whether the Debtor or the Employee pays the applicable premium or cost):

                 Benefit Plan                                 Premiums Paid By
                   Medical                                    Orexigen Pays 85%
                    Dental                                    Orexigen Pays 85%
                    Vision                                    Orexigen Pays 85%
             Basic Life Insurance                            Orexigen Pays 100%
  Basic Accidental Death & Dismemberment                     Orexigen Pays 100%
             Voluntary Insurance                             Employee Pays 100%
 Voluntary Accidental Death & Dismemberment                  Employee Pays 100%
         CIGNA Long-Term Disability                          Orexigen Pays 100%
         CIGNA Short-Term Disability                         Orexigen Pays 100%
             Orexigen 401(k) Plan                           Orexigen and Employee
     CONTRAVE Self-Funded Drug Plan                          Orexigen Pays 100%


              112.    The Debtor is the primary contract party with the applicable coverage

provider on the foregoing U.S. benefit programs, and is also the sponsor of the Orexigen 401(k)

Plan.

        (i)   Medical, Dental and Vision Plans

              113.    The Debtor offers coverage to eligible Employees, their spouses, and their

dependents for medical, dental, vision, and other related benefits. All full-time Employees are

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eligible for these benefits (subject to the terms, conditions, and limitations of each program).

Part-time employees may be eligible for the benefits package at the sole discretion of the Debtor

(subject to the terms, conditions, and limitations of each program).

               114.   Debtor offers medical, dental, and vision insurance plans to eligible

Employees through CIGNA Health and Life Insurance Co. (“CIGNA”). The Debtor offers both

OAP and HMO medical plans. The Debtor initially pays 85% of the monthly premiums under

the medical, dental and vision plans for each eligible U.S. Employee and his or her spouse and

dependents.

               115.   In an average month, Debtor pays approximately $160,000 in premiums

under the medical, dental and vision plans. As of the Petition Date, the Debtor does not owe any

prepetition premiums under these plans.

       (ii)    Life and Accidental Death and Dismemberment & Long-Term and Short-Term
               Disability Insurance

               116.   All of the Debtor’s full-time Employees and their eligible dependents

receive basic life insurance and accidental death and dismemberment coverage (“AD&D”), plus

long-term (“LTD”) and short-term disability (“STD”) insurance. The Debtor initially funds

100% of the premiums under these plans for Employees. In an average month, Debtor pays

approximately $15,000 in premiums under these plans, payable monthly in advance. As of the

Petition Date, the Debtor does not owe any prepetition premiums under these plans. The AD&D

benefit is equivalent to 100% of an Employee’s salary up to a maximum of $200,000 (amounts

greater than $200,000 will require a health statement). STD includes an elimination period of

zero (0) days for an accident and seven (7) days for a sickness. The benefit pays 66.67% of an

employee’s weekly earnings, up to a weekly maximum of $2,500. LTD includes an elimination



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period of 90 days. The benefit pays 66.67% of an employee’s monthly earnings, not to exceed

$10,000 per month.

               117.   Eligible Employees may purchase supplemental personal insurance

coverage. Participating Employees pay premiums for supplemental insurance through payroll

withholding, which is then remitted to the appropriate provider. Employees may purchase

additional life and AD&D insurance in $10,000 increments, not to exceed $300,000 (guarantee

issue amount $100,000). Spouses and children of employees may also purchase additional life

and AD&D insurance.

       (iii)   COBRA Medical, Dental and Vision Coverage

               118.   Former Employees are entitled to continue to participate in the Debtor’s

healthcare, dental and vision insurance coverage pursuant to the Consolidated Omnibus Budget

Reconciliation Act of 1986 (as amended, “COBRA”) for up to 18 months following the end of

their employment (such coverage, the “COBRA Coverage”). Former Employees who elect to

participate in the COBRA Coverage must pay a set amount, dependent on which type of plan

they elect (i.e., family or individual) to the Debtor’s healthcare insurance provider. The Debtor

currently has ten (10) former employees terminated prepetition that are currently entitled to

participate in COBRA Coverage at the Debtor’s cost for up to three (3) months past the Petition

Date at a total cost of approximately $15,200 per month including fees to IGOE Administrative

Services (“IGOE Fees”). Additionally, one former employee is entitled to participate in COBRA

Coverage at the Debtor’s cost for up to nine (9) months past the Petition Date at a cost of

approximately $1,000 per month including IGOE fees. The COBRA Coverage amounts billed to

and paid by the Debtor for the months of January, February and March 2018 averaged

approximately $4,000 per month.


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       (iv)    Workers’ Compensation Insurance

               119.   Debtor maintains a workers’ compensation insurance policy that covers all

Employees. The Debtor requests authority to continue the workers’ compensation insurance

policy in the ordinary course of business in its motion to maintain insurance programs, filed

contemporaneously with this Motion.

       (v)     Paid Time-Off Benefits

               120.   Employees accrue paid vacation days based on position and years of

service (see the chart below for details). Employees in the part-time category (less than 30 hours

a week) may accrue vacation time on a pro-rata basis with written approval of the Debtor.

Temporary employees do not accrue vacation. Employees begin to accrue vacation on their start

date, and are eligible to utilize the benefit as work schedules permit. Once the maximum accrual

cap is reached (in accordance with the chart below), vacation will no longer be accrued until the

accrued vacation drops below the cap. No Employee is permitted to use vacation time prior to

actual accrual without the written approval of his or her manager. The Debtor does not “cash

out” Employees for unused accrued vacation time at the end of the calendar year or at any other

time while Employees remain employed by the Debtor. Upon termination, Employees are paid

for accrued and unused vacation time that has been earned through the last day of work. The

Debtor, from time to time, may require Employees to use vacation on specified days, with

advanced written notice. Vacation time does not accrue while an Employee is on unpaid leave.

As of the Petition Date, the Debtor’s liability for accrued vacation time is estimated at

approximately $1,000,000. Under sections 507(a)(4) and 507(a)(5) of the Bankruptcy Code,

certain obligations related to wages, salaries, commissions, vacation, severance, sick leave, and

employee benefit plans are accorded priority in payment in an amount not to exceed $12,850 for

each employee to the extent such amounts accrued within 180 days of the petition date. As of the
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Petition Date, the Debtor estimates that approximately 64 Employees had accrued vacation time

that exceeded the priority cap totaling approximately $460,000. The remaining balance of

accrued vacation time estimated by the Debtors at approximately $540,000 however is not a

current cash-payment obligation as the Debtor’s policy states that it is only to be paid out upon

the Employee’s termination.

              121.    The following is a chart that summarizes the Debtor’s paid time-off

benefits:

                                                        Annual Accrual          Maximum
                        Years of     Hours Accrued
       Position                                         Rate Number of       Accrual Cap in
                        Service      per Pay Period
                                                              Days                Days
 Vice President and 1 to 3 years   6.67 hours         20 days               30 days
 above
                    4 to 10 years* Depends on       20 days PLUS            An amount
                                   years of service accrual of 1            equivalent to 1.5
                                                    additional day/ each    times your then
                                                    year of service; cap    applicable annual
                                                    at 30 days              accrual rate**
 Those employees 1 to 3 years      5 hours          15 days                 22.5 days
 below the title of
 Vice President
                    4 to 10 years* Depends on       15 days PLUS            An amount
                                   years of service accrual of 1            equivalent to 1.5
                                                    additional day/ each    times your then
                                                    year of service; cap    applicable annual
                                                    at 22.5 days            accrual rate**

 *Effective on your anniversary date.
 **For example, if you have an annual accrual rate of 25 days, your maximum accrual cap
   will be 37.5 days.

              122.    Each calendar year, eligible Employees receive five (5) paid sick days,

and eligible offshore employees receive ten (10) paid sick days. Unused sick days do not roll

over to the next calendar year.      The full amount of sick leave will be granted at the

commencement of employment, and thereafter on January 1 of each year. Unused sick leave will
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expire on December 31 of each year. Accrued but unused paid sick leave does not carry over

from year-to-year and will not be paid out at any time, including upon termination of

employment.

               123.    Eligible Employees are also afforded paid time off each year of up to ten

(10) days for bereavement and up to ten (10) days for jury duty. Employees are not disciplined

for taking time off to perform their duties as volunteer firefighters, peace officers, or emergency

rescue personnel.     Employees may use any accrued vacation for these community service

activities; otherwise, this time is unpaid. Employees are paid for official holidays. Employees

are also eligible for unpaid leaves of absence consistent with the Uniformed Services

Employment and Reemployment Rights Act and other applicable federal and state laws. Other

paid or unpaid leaves of absence may be granted upon prior approval of the Debtor’s chief

executive officer.

       (vi)     Employee Wellness and Development Programs

               124.    Debtor provides employees with a Wellness Program to encourage

Employees to strive for good health both as individuals and collectively as a team. This plan

does not include direct payment from the Debtor.          Instead, if an Employee opts-in, that

Employee’s medical, dental, and vision benefits are 85% covered (as opposed to 75% covered if

the employee does not opt-in). As of the Petition Date, the percentage of Employees that opt-in

to this program is nearly 100%.

       (vii)   Contrave® Self-Funded Drug Plan

               125.    The Debtor provides Employees with a Contrave® Self-Funded Drug

Program through Ridgeway. The payment to Ridgeway averages $2,000 per quarter

encompassing a $7 per order processing fee plus the cost of the product.


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       (viii) Retirement Plans

               126.   Debtor sponsors a 401(k) retirement savings plan for the benefit of eligible

Employees and former Employees. All such Employees who have completed three months of

service (and are over the age of 21) are eligible to participate in the 401(k) plan. Employees may

enter the plan on the first of the month after eligibility.     Employees may choose either a

traditional 401(k) account or a Roth 401(k) account. Employees who elect to participate in the

traditional plan may defer up to 100% of their compensation on a pre-tax basis. The limit (as of

2018) is $18,500 in one calendar year for participants under the age of 50. If the employee is 50

years or older, they may elect to defer an additional $6,000 for the calendar year, for a maximum

of $24,500.

               127.   Employees who elect to participate in the Roth 401(k) program may elect

to defer up to 100% of their compensation on a post-tax basis. The limit (as of 2018) is $18,000

in one calendar year for participants under the age of 50. If the employee is 50 years or older,

they may elect to defer an additional $6,000 for the calendar year, for a maximum of $24,000.

Adjusted gross income limits as set forth for Roth IRA accounts do not apply for the Roth

401(k). Regarding vesting for both plans, the Debtor can make a matching contribution of $0.50

on every $1.00 contributed by an employee up to 6.0% of an Employee’s annual salary. This

matching contribution is determined by the Debtor’s Board of Directors which reserves the right

to change it at any time. Employee contributions are vested immediately at 100%. Debtor

contributions, however, are subject to the following vesting schedule (vesting starts from the date

of hire, where one (1) year vesting is equal to 1,000 hours per year): 25% after one (1) year of

service; 50% after two (2) years of service; 75% after three (3) years of service; and 100% after

four (4) years of service. The plan is administered by Nationwide Insurance, and the Debtor

pays a quarterly fee of $1,000. The Debtor remits payment for the plan to Nationwide Insurance
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on a twice- monthly basis in line with the Debtor’s pay cycle. The Debtor’s average twice-

monthly payment for the plan is approximately $84,000. As of the Petition Date, the Debtor does

not owe any amounts for the plan.

       Debtor’s Independent Contractor Obligations

               128.    In addition to its Employees, the Debtor relies on services from 21

independent contractors (the “Independent Contractors”) and a contractor provided by an

employment agency (the “Agency Contractor”) (together, the “Contractors”). 6

               129.    The Independent Contractors are individual service providers that, for the

most part, receive a 1099 and have a SSN for their tax ID. They are also known as temporary

employees or “temps” and provide usual and customary business service in support of the Debtor

for a limited period of time (no longer than twelve (12) months). The Independent Contractors

perform work in absence of an Employee (such as covering a leave of absence), during a

temporary period of vacancy, and/or during period of increased work volume or other similar

business necessity. They may work onsite or offsite and may be converted to an Employee at the

Debtor’s discretion.

               130.    The Debtor retains the Agency Contractor through an employment agency

(the “Agency”) to provide temporary support needed. The Agency bills the Debtor for work

provided by the Agency Contractor and charges fees as an addition to each worker’s applicable

hourly rate.   The Debtor remits compensation to the Agency on account of the Agency

Contractor’s services upon services rendered.




6
  The Debtor is contracted with Syneos Health (formerly inVentiv) for 50 salespeople. This contracted
sales organization (“CSO”) is paid monthly and also is paid incentive compensation five months in
arrears.
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               131.    As of the Petition Date, the Debtor estimates it may owe the Independent

Contractors $330,000 in the aggregate for prepetition services provided. As of the Petition Date,

the Debtor estimates it may owe the Agency approximately $15,000 in the aggregate for

prepetition services provided by the Agency Contractor. The Debtor therefore seeks the

authority, but not the direction, to pay $345,000 on account of prepetition Contract-related

Obligations in the interim period. The Debtor believes it is necessary to pay the obligations

owed to the Contractors so that they will continue to assist with the Debtor’s staffing needs as

needed.

D.     Motions for Payment of Other Critical Business Expenditures

                                             Insurance

               132.    In the ordinary course of its business, the Debtor maintains an insurance

program (the “Insurance Program”) that provides coverage for, among other things: commercial

general liability; property and casualty; automobile liability; employers responsibility; accidental

death and dismemberment; commercial property; international operations; crime and theft;

directors, officers, and organizational liability; insurance company professional liability; workers

compensation; and umbrella liability (collectively, the “Policies”).

               133.    The Policies are essential to the preservation of the value of the Debtor’s

business, property and assets. Not only are some of the Policies required by various regulations,

laws, and contracts that govern the Debtor’s commercial activities, but I have also been advised

by counsel that section 1112(b)(4)(C) of the Bankruptcy Code provides that “failure to maintain

appropriate insurance that poses a risk to the estate or to the public” is “cause” for mandatory

conversion or dismissal of a chapter 11 case.

               134.    Moreover, I have been advised by counsel that the Operating Guidelines

for Chapter 11 Cases by the Office of the United States Trustee for the District of Delaware (the
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“U.S. Trustee Guidelines”) require the Debtor to maintain insurance coverage throughout the

pendency of the Chapter 11 Case. For the policy period of 2017 to 2018, as of the Petition Date,

the Debtor believes that it was substantially current on amounts owed under the Policies and the

AFCO financing arrangement. Out of an abundance of caution, however, the Debtor seeks

authorization to make payments attributable to the prepetition period (plus any unforeseen

deductible payment amounts for prepetition claims). The Debtor seeks authorization to make

monthly payments in accordance with the AFCO financing arrangement as each payment comes

due. The payment is $76,000 per month.

                 135.   I believe that the coverage types, levels and premiums for these Policies

are neither unusual in amount nor in number in relation to the extent of the business operations

conducted by the Debtor, and they are similar to businesses of comparable size and type to those

of the Debtor.

                 136.   If the Debtor is unable to make any outstanding payments that may be

owed on account of the Policies or AFCO financing arrangement, I have been advised by counsel

that the Debtor’s insurance providers (the “Insurance Providers”) may seek relief from the

automatic stay to terminate such Insurance Policies. If that were to happen, the Debtor would be

required to obtain replacement insurance on an expedited basis and at a significant cost to the

estates. If the Debtor is required to obtain replacement insurance, this payment would be likely

greater than what the Debtor currently pays. Even if the Debtor’s Insurance Providers were not

permitted to terminate the agreements, it is my opinion that any interruption of payment would

have a severe, adverse effect on the Debtor’s ability to obtain future policies at reasonable rates.

                 137.   In light of the importance of maintaining insurance coverage with respect

to its business activities and preserving liquidity by financing its insurance premiums, I believe it

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is in the best interest of the Debtor’s estates to receive Court approval to honor the Debtor’s

obligations under the Policies and AFCO financing and, as necessary, renew or enter into new

such agreements.

                138.    In sum, through the Insurance Motion, the Debtor requests entry of an

order authorizing, but not directing, the Debtor (i) to continue to pay monthly financing

payments to AFCO and (ii) renewing or replacing insurance arrangements in the ordinary course

of business without further order of the Court and (iii) related relief. Though the Debtor believes

that it does not owe any prepetition Policy premiums or other obligations on the Policies, the

Debtor also requests, out of an abundance of caution, permission to make all payments required

to continue its Insurance Program, including payment of any prepetition premiums, deductibles,

or other obligations under the Policies and, to the extent applicable, engage and pay insurance

brokers in the ordinary course of business. The Debtor wishes to pay the appropriate parties up to

$250,000, and $100,000 on an interim basis, to be allocated at the Debtor’s discretion without

prejudice to seek additional relief on an emergency basis. Further, if the Court grants the relief

sought in the Insurance Motion, the Debtor requests that all applicable banks and other financial

institutions be authorized, when requested by the Debtor in its discretion, without any duty of

inquiry or liability to any party for following the Debtor’s instructions, to receive, process,

honor, and pay any and all checks drawn on the Debtor’s accounts to pay amounts owed under

the Insurance Program, whether those checks are presented prior to or after the Petition Date, and

to make other transfers, provided that sufficient funds are available in the applicable accounts to

make the payments.

                139.    I believe that all of the relief requested in the Insurance Motion is in the

best interest of the Debtor, its estates, creditors and other parties in interest. I also believe that all

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of the relief requested in the Insurance Motion is necessary to preserve and enhance the value of

the Debtor’s estate for the benefit of all creditors, and that absent the relief sought in the

Insurance Motion, a failure to pay any Insurance Obligations or to permit the Debtor to renew,

revise, extend, supplement, change or enter into new insurance policies, as needed in its business

judgment, will immediately threaten the continued operation of the Debtor and, consequently,

the Debtor’s estates. Therefore, it is my opinion that the potential harm and economic

disadvantage that would stem from the cancellation of the Insurance Policies, and failure to

renew the Insurance Policies or revise, extend, supplement, change or enter into new insurance

arrangements as needed in its business judgment, are grossly disproportionate to the amount of

the Insurance Obligations, and the costs to renew, revise, extend, supplement, change or enter

into new insurance coverage.

                                              Taxes

               140.   The Debtor incurs taxes in the ordinary course of business, primarily

comprising of income (federal and state), state franchise taxes, and property taxes on owned and

leased property (the “Taxes”). Additionally, the Debtor is currently the subject of an audit of its

2015 income tax returns by the Internal Revenue Service (the “IRS Audit”).

               141.   In the most recently concluded calendar year, the Debtor incurred

approximately $337,000 in tax liabilities payable to various authorities. As of the Petition Date,

the Debtor estimates that it is required to remit approximately $42,000 in prepetition taxes, of

which approximately $2,000 is estimated to fall due within 30 days of the Petition Date.

               142.   In addition to Taxes, the Debtor incurs business license, compliance and

regulatory fees and other similar assessments (the “Assessments”). Laws and regulations in

jurisdictions in which the Debtor operates require the Debtor to pay fees to obtain a range of

business licenses and permits from a number of different authorities.           The methods for
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calculating amounts due for such licenses and permits, and the deadlines for paying such

amounts, vary by jurisdiction.

                 143.   In the most recently concluded fiscal year, the Debtor incurred

approximately $340,000 in fee liabilities payable to various authorities. As of the Petition Date,

the Debtor estimates that they are required to remit approximately $5,000 in prepetition

Assessments, of which approximately $2,000 are estimated to fall due within 30 days of the

Petition Date.

                 144.   It is my belief that the continued payment of the Taxes on their normal due

dates will ultimately preserve the resources of the Debtor’s estate, thereby promoting its

prospects for maximizing the value of its estate. If such obligations are not timely paid, it is my

understanding that the Debtor will be required to expend time and money to resolve a multitude

of issues related to such obligations, each turning on the particular terms of each Taxing

Authority’s applicable laws. The Debtor desires to avoid unnecessary disputes with the Taxing

Authorities and expenditures of time and money resulting from such disputes over a myriad of

issues that are typically raised by such entities as they attempt to enforce their rights to collect

taxes. Accordingly, I believe that the Debtor could suffer irreparable harm if the prepetition

Taxes are not paid when they become due and payable.

                 145.   Additionally, the Taxing Authorities may cause the Debtor to be audited if

Taxes are not paid immediately. Such audits will unnecessarily divert the Debtor’s attention

away from its efforts to maximize value, including the conduct of its business and the sale

process. If the Debtor does not pay such amounts in a timely manner, the Taxing Authorities may

attempt to revoke the Debtor’s licenses, suspend the Debtor’s operations and pursue other




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remedies that will harm the estates. In all cases, the Debtor’s failure to pay Taxes could have a

material adverse impact on its ability to operate in the ordinary course of business.

               146.    I have also been advised that the federal government and many states in

which the Debtor operates have laws providing that the Debtor’s officers, directors or other

responsible employees could, under certain circumstances, be held personally liable for the

payment of certain Taxes. In such event, collection efforts by the Taxing Authorities would be

extremely distracting for the Debtor and its directors and officers in its efforts to bring the

Chapter 11 Case to an expeditious conclusion.

                                       Customer Programs

               147.    The Debtor’s customers are mainly wholesalers (the “Wholesalers”), who

sell the Debtor’s products primarily to retail drug stores in the U.S. In addition, the Wholesalers

sell the Debtor’s product to hospitals and clinic patients of the U.S. Department of Veterans

Affairs (the “DVA”), the U.S. Department of Defense (the “DOD”), Indian Health Services

(“IHS”), 340B Covered Entities (defined below), and recipients of Medicaid benefits, including

State Pharmaceutical Assistance Programs (“SPAPs”), that each receive Contrave® at a reduced

price. The Debtor also sells product at a discount directly to certain Customers including

specialty distributors, direct retail accounts and pharmacies (the “Specialty Distributors”). The

Debtor’s financial support programs are each designed to help offset the costs of Contrave®. In

addition, the cost to the patient of the Debtor’s products is subsidized by private insurance plans

via managed care organizations (“MCOs”) and prescription benefit managers (“PBMs”) with

which the Debtor has special pricing arrangements. Further, the Debtor’s products are currently

covered under Medicaid and are available to authorized users of the General Services

Administration’s Federal Supply Schedule (“Federal Supply Schedule”), including SPAPs, the

DVA, the DOD, IHS, the Coast Guard and the Public Health Service (collectively, the
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“Governmental Entities” and         together with Wholesalers and MCOs, and PBMs, the

“Customers”).

                148.   Through the Customer Programs, the Debtor provides, among other

things, (a) discounted rates on the Debtor’s product for purchases made by patients covered by

health insurance; and, (b) discounted rates on the Debtor’s product related to patients eligible for

certain federal and State government programs. The Debtor’s Customer Programs are common

and typical of those in the pharmaceutical industry, critical to the Debtor’s ability to serve its

Customers and essential to the Debtor’s business and growth.            During fiscal year 2017,

approximately ninety-six percent (96%) of the Debtor’s unit sales ultimately went to patients

who received the Debtor’s product pursuant to a Customer Program.             Approximately four

percent (4%) of the patients who received one of the Debtor’s products received it from

Specialty Distributor sales channels that are not part of these Customer Programs and,

consequently, are not subject to the relief sought in this Motion.

                149.   Therefore, the success and viability of the Debtor’s business, and

ultimately the Debtor’s ability to preserve and maximize value for creditors through this Chapter

11 Case, including the sale process, are fundamentally dependent upon the continuation of the

Customer Programs and honoring the Debtor’s obligations thereunder. Maintaining ordinary

course relationships with Customers is integral to preserving the value of the business. The

Debtor submits that any value-maximizing outcome to this Chapter 11 Case will, of necessity,

involve the Debtor being able to continue its ordinary course operations and, thus, the Customer

Programs.

                150.   Through the Customer Programs, the Debtor provides, among other

things, (a) discounts on the products for the DVA, the DOD, IHS, 340B Covered Entities

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(defined below) and Specialty Distributors; (b) Medicaid (including SPAPs) Rebates; (c) rebates

to supplement employer and patient costs via MCOs and PBMs; and (d) a return policy on

purchases of the product. The Debtor’s Customer Programs are common and typical of those in

the pharmaceutical industry. Therefore, if the Debtor is to stay competitive, it is critical that the

Debtor be authorized to continue the Customer Programs and honor prepetition obligations

associated with the Customer Programs. The following are general descriptions of the Debtor’s

principal Customer Programs.

   A. Customer Discounts via Wholesalers and MCOs/PBMs

               151.    The Debtor has contracts with Wholesalers to sell its product at wholesale

acquisition cost (“WAC”), which is the base price determined by the Debtor in its sole discretion

and adjusted from time to time. The contracts with Wholesalers provide for industry-standard

discounts, such as the “prompt pay” discount, which affords a two percent (2%) discount to

Wholesalers for paying their invoice within the payment terms of the contract. Further, the

Wholesalers charge the Debtor fees for handling its products and processing retail channel orders

as well as for product returns (“Wholesaler Fees”). These fees and returns are normally taken as

credits against future payments by the Wholesalers to the Debtor; however, a limited portion of

Wholesalers prefer their Wholesaler Fees to be paid by check instead of taken as credits against

future payments. Those Wholesalers who prefer to be paid by check represent less than 1% of

the total Wholesaler Fees paid by the Debtor annually. Similar to the Wholesaler payment

timing noted above, any prepetition balance owing to these Wholesalers paid by check could be

setoff against prepetition balances owing from these Wholesalers to the Debtor.

               152.    With respect to MCOs/PBMs, the Debtor enters into agreements with

MCOs and PBMs to gain access to patients covered by insurance and establish a formulary

position for its product within the MCOs/PBMs network of coverage. MCOs and PBMs submit
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Rebate claims to the Debtor based on agreed upon Rebate percentages between the MCO/PBM

and the Debtor and volume of claims. MCOs/PBMs remit invoices and claim level detail to the

Debtor for their Rebate claims either monthly or quarterly, depending on their arrangement with

the Debtor. Absent approval to continue making the Rebates to MCOs and PBMs there is a

potential risk that they will attempt to reduce Contrave®’s tier of coverage or remove it from the

formulary entirely, which would result in an inability to access a substantial market of covered

patients and offer those covered patients the ability to participate in the discount programs likely

resulting in significantly reduced prescriptions and ultimately revenue. For the avoidance of

doubt, the Debtor does not intend to pay any prepetition amounts owed to any MCOs or PBMs

who reduce the Debtor’s tier of coverage.

               153.    Thus, (as described in more detail below), if the Debtor has contracted

with certain Customers that acquire the product, or subsidize the price to the patient, for a lower

agreed upon contract price than the WAC, then either (i) the Wholesaler will receive payment for

the product from particular Government Entities at the lower contracted price, and the

Wholesaler will chargeback the Debtor for the price difference to the WAC price originally paid

(“Chargebacks”) or, (ii) in the case of patients that utilize insurance, the MCOs, or PBMs, will

receive a rebate from the Debtor for formulary placement (“Rebates”). 7 These price differences

are resolved through (i) credits for Chargebacks attributed to such Wholesaler in the Debtor’s

accounts receivable system and are applied against subsequent payments for product made by the

Wholesaler, or (ii) Rebates paid to such MCOs/PBMs based on claims generated by patients

using insurance (collectively, the “Discount Programs”).



7
  Formulary placement allows the Debtor better positioning of the product within the organizations
covered by the MCOs/PBMs, effectively increasing access to the Debtor’s product.
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               154.    Given that Wholesalers continue to owe the Debtor for subsequent product

purchases, they will simply reduce their next payment to the Debtor for the Chargebacks they’ve

incurred. Further, because purchases and Chargebacks happen through the accounts receivable

system on a daily basis, it is difficult for the Debtor to determine with precision the actual

amount of outstanding Chargebacks at any particular time. These Chargebacks generally do not

result in an actual payment of cash to the Wholesaler except for the less than 1% noted

previously who prefer to be paid by check, or in other rare circumstances, such as where the

Debtor is ending its relationship with a particular Wholesaler and the amount of the Chargeback

has not yet been fully applied against subsequent orders. This same mechanism of setoff applies

for Wholesaler Fees and Returns (discussed below).

               155.    By offering customary prompt pay discounts and Wholesaler Fees to

Wholesalers, the Debtor is able to incentivize the Wholesalers to enter into contracts with the

Debtor. In addition, allowing Wholesalers to set off prompt pay discounts, Wholesaler Fees,

Chargebacks and Returns against amounts owing to the Debtor is a customary practice in the

pharmaceutical industry.      The Debtor believes that the failure to continue to allow the

Wholesalers to purchase the product with the customary prompt pay discounts and Wholesaler

Fees, or to allow for continued set off of prompt pay discounts, Wholesaler Fees, Chargebacks,

and Returns against amounts owing to the Debtor, will result in such Customers ceasing to (a)

enter into purchase agreements with the Debtor or (b) purchase the Debtor’s product. Any

interruption in purchases by Wholesalers will likely have a devastating impact on the Debtor’s

ability to continue to sell its product and be detrimental to its revenue stream.

               156.    In sum, the Debtor seeks authority to continue the Discount Programs in

the ordinary course of business. The Debtor’s average monthly liabilities for the Discount

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Programs are as follows: (i) Wholesaler Fees of approximately $1.0 million, (ii) Chargebacks to

Wholesalers of approximately $400,000 and (iii) Rebate claims to MCOs/PBMs of approximately

$900,000. The Debtor estimates that as of the Petition Date, (i) approximately $2.2 million is

outstanding for prepetition Wholesaler Fees with approximately $1.3 million due in the interim

period, (ii) 400,000 is outstanding for prepetition Chargeback claims with the entirety due in the

interim period, and (iii) with respect to Rebate claims from MCOs/PBMs, approximately $2.6

million in outstanding prepetition Rebates with approximately $850,000 due in the interim period.

The Debtor seeks the authority, but not the direction, to allow Wholesalers to continue to setoff

Wholesaler Fees and Chargebacks against the Debtor’s accounts receivable in the ordinary course

and pursuant to prepetition customary terms between the Debtor and Wholesalers, and to pay

Rebate claims to MCOs and PBMs when they become due in the ordinary course of business.

   B. Government Programs

               157.   The Medicaid Drug Rebate Program (“MDRP”) is a health program that

includes the Centers for Medicare & Medicaid Services (“CMS”), State Medicaid Agencies, and

participating drug manufacturers to help offset the Federal and State costs of most outpatient

prescription drugs dispensed to Medicaid patients. In order to participate in MDRP, the Debtor

is required to enter into agreements with two other Federal programs in order to have their drugs

covered under Medicaid: A pricing agreement for the 340B Drug Pricing Program (the “340B

Program”) and a master agreement with the Secretary of Veterans Affairs for the Federal Supply

Schedule. Each of these programs requires the Debtor to sell Contrave® at a substantial discount

to WAC to the applicable Customers. In addition to MDRP, the Debtor also participates in

SPAPs, which are intended to aid low-income elderly or persons with disabilities who do not

qualify for MDRP.


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                158.    Federal Supply Schedule. The Federal Supply Schedule collectively

includes the Governmental Entities, and provides the maximum amount that can be charged to

these Governmental Entities for pharmaceuticals based on a specific mandated formula set

annually. The Debtor was awarded a Federal Supply Schedule contract (the “FSS Contract”) in

exchange for the Debtor providing federally mandated pricing to the Governmental Entities.

Participants under the Federal Supply Schedule place orders for the product through Wholesalers

who purchase the product from the Debtor and then ship the product directly to the hospitals and

clinics. In accordance with the Federal Supply Schedule, in 2018, the Debtor charged member

patients $154.39 per 120ct bottle of Contrave®, a discount of approximately thirty-six percent

(36%) to the Debtor’s current WAC price of $241.73 per 120ct bottle. 8 If the price of the

product offered through the FSS Contract is lower than the WAC price, the Wholesaler will

Chargeback the Debtor for the difference. The Debtor expects that the Contrave® discount will

remain the same or increase in the future, contingent on price changes.

                159.    The Debtor seeks authority to continue operating pursuant to the FSS

Contract in the ordinary course of business.            The Debtor’s average monthly liability for

Chargebacks related to the FSS Contract is approximately $10,000, though Chargebacks and

purchases are reconciled through the Debtor’s accounts receivable and do not generally result in

cash payment.      The Debtor seeks authority to allow Wholesalers to continue to setoff

Chargebacks related to the FSS Contract against the Debtor’s accounts receivable in the ordinary

course of business.


8
  The 2018 Federal Supply Schedule price includes The Industrial Funding Fee (“IFF”), a fee that is
required to be added to a Federal Supply Schedule price to reimburse the VA National Acquisition Center
for the costs incurred in operating the Federal Supply Schedule program. The IFF applicable to the VA
FSS contract is 0.5 percent (0.5%) of total sales related to the Federal Supply Schedule program. The IFF
payment is due 60 days following the end of each reporting quarter.
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               160.    340B Covered Entities. Certain hospitals and health care facilities (the

“340B Covered Entities”) provide the majority of their services to low income patients and

receive payments from CMS to cover the costs of providing care to uninsured patients. Pursuant

to the 340B Program, the Debtor provides its product to 340B Covered Entities at a discounted

price set by statute, which is calculated on a quarterly basis. 340B Covered Entities submit a

request for the product to one of the Debtor’s Wholesalers and the Wholesaler fulfills that

request and then submits a Chargeback to the Debtor for the difference between the price that the

Wholesaler paid and the discounted price that the 340B Covered Entities paid for the product.

               161.    The Debtor’s average monthly liability for Chargebacks related to the

340B Program is approximately $390,000, but Chargebacks and purchases are reconciled

through the Debtor’s accounts receivable and do not generally result in a cash payment. By this

Motion, the Debtor seeks authority to continue the 340B Program in the ordinary course of

business and to apply any prepetition Chargebacks that may be outstanding against prepetition

accounts receivable and, if necessary, against subsequent orders of the Debtor’s products in the

ordinary course of business.

               162.    Medicaid Rebates. MDRP covers certain outpatient drugs, including the

Debtor’s product, and requires the Debtor to enter into a national rebate agreement with the

Secretary of the Department of Health and Human Services in exchange for Medicaid coverage

of its product. The Debtor’s Wholesalers provide the product to a retail pharmacy to be

utilized by a Medicaid patient. Individual states collect product utilization data on the use of the

product and send the Debtor a report and invoice. The Debtor is then responsible for paying a

rebate (“Medicaid Rebate”) on the product for each time that the product was dispensed to

Medicaid patients. The amount of the Medicaid Rebate due for each unit of the individual

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product is based on a statutory formula. The Debtor pays the Medicaid Rebates to each State

MDRP or SPAP on a quarterly basis, and the amount is shared between the states and the federal

government to offset the overall cost of the prescription drugs under the Medicaid program. As of

the Petition Date, the Debtor estimates that approximately $250,000 has been accrued but has

not been invoiced for Medicaid Rebates with approximately $150,000 due in the interim period.

While this amount is not yet due and payable, it may become due and payable over the course of

this Chapter 11 Case.

                163.    The Debtor’s participation in the FSS Contract and the 340B Program

requires the Debtor to participate in the MDRP and pay Medicaid Rebates. As a result, if the

Debtor fails to fulfill its obligations under the MDRP, including payment of the Medicaid Rebates

as they become due, it risks becoming excluded from all federal programs. As such, honoring

Medicaid Rebates is integral to the Debtor’s business, and the Debtor cannot risk the substantial

harm that could arise from the failure to pay the Medicaid Rebates, including denial of coverage

and damage to the Debtor’s relationship with its Customers. Such a result would irreparably

impair the Debtor’s efforts to conduct its business during this Chapter 11 Case and maximize

value. Consequently, the Debtor requests authorization to continue to make Medicaid Rebates

pursuant to the MDRP and SPAPs during this Chapter 11 Case as related to both prepetition and

postpetition sales of its products.

                164.    In addition, as noted above, the Debtor offers mandated price discounts as

part of the FSS Contract and the 340B Program. These price discounts are honored by

Wholesalers who, in turn, Chargeback the price difference between the discounted price and the

WAC back to the Debtor. These Chargebacks are normally taken as credits against future

payments by the Wholesalers to the Debtor. Thus, there will be prepetition amounts for these

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Chargebacks, which are going to be setoff against payments of prepetition receivables. The

Debtor estimates the total prepetition Chargebacks at approximately $400,000, which would be

entirely setoff against the Debtor’s prepetition accounts receivables and all in the interim period.

   C. Sales Return Program

               165.    In the ordinary course of business, the Debtor’s Customers may be unable

to sell products it purchased from the Debtor because the product expires, the product is

damaged and unsellable, there is a drop in demand, or for some other reason. Accordingly, the

Debtor allows its Customers to return the expired and damaged products (a “Return”) to the

Wholesalers in exchange for credit within a limited time before and after the date of expiration

(the “Sales Return Program”). Purchasers of Contrave® may return the expired product within

six (6) months prior to and twelve (12) months after the expiration date, and may return damaged

goods if the Debtor is notified of the damaged goods within five days of receipt of the damaged

goods. Credits are then issued by the Debtor to the Wholesaler based on its purchase history and

can be used to offset any amounts the Wholesaler owes the Debtor.

               166.    As of the Petition Date, the Debtor estimates that there is approximately

$70,000 in potential Returns of the Debtor’s product, which would be setoff against the Debtor’s

prepetition accounts receivable entirely in the interim period.       To maintain its Customers’

goodwill and continued business, the Debtor seeks authorization to honor any prepetition Return

requests and obligations under the Sales Return Program that occur postpetition in the ordinary

course of business.

               167.    The ability of the Debtor to maximize the value of its business and its

inventory is dependent on continuing the Customer Programs. Any delay in honoring the

Debtor’s obligations thereunder could severely disrupt the Debtor’s efforts to maximize its value.

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Any failure to honor prepetition Customer obligations, even for a brief period of time, may drive

away valuable Customers, thereby harming the Debtor’s efforts to maximize the value of its

inventory. Accordingly, the Debtor seeks authorization to continue the Customer Programs.

   D. Managed Services Operations

               168.    The Debtor utilizes CIS by Deloitte (“CIS”) to provide managed services

operations that include government price calculations, Medicaid and SPAPs claim validation and

processing, MCO and PBM claim validation and processing, contract administration, and dispute

resolution. Once Rebates or Medicaid Rebates have been validated and processed, CIS makes a

funding request to the Debtor sufficient to fund payments to Medicaid, SPAPs, MCOs and

PBMs, as applicable, in accordance with their terms of payment. As of the Petition Date, there is

approximately $650,000 of outstanding funding requests from CIS pertaining to Rebates due

(these amounts are already reflected in the prepetition balances for Rebates noted above). CIS

provides these ongoing services daily and such services are an integral part of the Debtor’s

management of access to a significant segment of its target market. As of the Petition Date,

there is approximately $100,000 accrued and outstanding from CIS pertaining to its services with

$50,000 due in the interim period. Any interruption in CIS’s services will likely have a

devastating impact on the Debtor’s ability to continue to sell its product and be detrimental to its

revenue stream. Therefore, the Debtor seeks permission to continue paying CIS its service fees

in the ordinary course, including any service fees that may have arose prepetition.

                                             Utilities

               169.    In connection with its business operations, the Debtor obtains electricity,

natural gas, and telephone and telecommunication services (collectively, the “Utility Services”)

through approximately seven accounts that it has with various utility companies and other

providers (each a “Utility Provider” and, collectively, the “Utility Providers”). The Debtor has
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filed a motion requesting that the Court approve the Debtor’s proposed form of adequate

assurance of postpetition payment (the “Proposed Adequate Assurance”) to the Utility

Companies, as that term is used in Bankruptcy Code section 366, approving procedures for

resolving any objections by the Utility Providers relating to the Proposed Adequate Assurance

and prohibiting the Utility Providers from altering, refusing, or discontinuing service to, or

discriminating against, the Debtor.

               170.    I believe that any interruption in Utility Services, even for a brief period of

time, would cause the Debtor to no longer be able to operate its business and the Debtor could

suffer irreparable harm. Such an interruption would undoubtedly impede the Debtor’s efforts to

maximize the value of its business. In my opinion, it is critical that Utility Services continue

uninterrupted during the Chapter 11 Case. I believe that the procedures the Debtor has proposed

for the Utility Providers adequately protect the rights that I have been advised are provided to the

Utility Providers under the Bankruptcy Code, while also protecting the Debtor’s need to continue

to receive, for the benefit of its estate, the Utility Services upon which its business depends on.

                                          Critical Vendors

               171.    The Debtor continues to do business with vendors whose goods and

services are essential to the Debtor’s operations (the “Critical Vendors”). By this Motion, the

Debtor seeks entry of an order granting it authority to make payments on account of the

prepetition claims of the Critical Vendors (the “Critical Vendor Claims”), not to exceed an

aggregate amount of $1,000,000 on an interim basis and $1,500,000 on a final basis (for both

interim and final periods, the “Critical Vendor Claims Cap”).

               172.    The Debtor has categorized its Critical Vendors into three subsets for

purposes of this Motion and seeks different interim and final caps on payments to such

categories of Critical Vendors on account of their prepetition claims. First, the Debtor has
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Critical Vendors on account of manufacturing, supply and service provider arrangements with

the Debtor (the “Critical Supply and Service Vendors”). The Debtor is seeking authority to pay

such Critical Supply and Service Vendors up to $600,000, and $300,000 on an interim basis.

Second, the Debtor has Critical Vendors that are owed approximately $600,000 on account of

certain warehousing and freight arrangements with the Debtor (the “Critical Warehouse and

Freight Vendors”). The Debtor wishes to pay such Critical Warehouse and Freight Vendors up to

$600,000, and $500,000 on an interim basis. Third, the Debtor has Critical Vendors that are

foreign suppliers of goods and services that are owed approximately $300,000 on account of

goods and services provided to the Debtor (the “Critical Foreign Vendors”). The Debtor wishes

to pay such Critical Foreign Vendors up to $300,000 and $200,000 on an interim basis.

              173.    The Debtor seeks the authority to pay, in its sole discretion and business

judgment, all or a portion of the Critical Vendor Claims. The Debtor estimates the maximum

amount needed to pay the Critical Vendor Claims is the amount of the Critical Vendor Claims

Cap. Of this amount, the Debtor estimates the maximum amount needed to pay Critical Vendor

Claims before the final hearing is $1,000,000. The Critical Vendor Claims Cap represents the

Debtor’s best estimate as to how much must be paid to such creditors to continue an

uninterrupted supply of critical goods and services. The Debtor may pay less than the requested

amount. The Debtor further requests that the Court grant the Debtor the authority to allocate the

forgoing amounts at the Debtor’s discretion without prejudice to seek additional relief on an

emergency basis, and subject to an agreement to receive terms consistent with Customary Trade

Terms (as defined herein) from the Critical Vendors.

              174.    In an exercise of business judgment, the Debtor has determined that

continuing to receive specialized goods and services from the Critical Vendor Claimants is

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necessary to operate and restructure its business as a going concern and to maximize value. If

granted discretion to satisfy Critical Vendor Claims, as requested in the Critical Vendor Motion,

the Debtor will assess, case by case and in real time the benefits to the estate of paying Critical

Vendor Claims and pay such claim only to the extent the estate will benefit. Without this relief,

the Debtor believes that the Critical Vendor Claimants would cease providing goods and services

to the Debtor or otherwise take action to impede the Debtor’s restructuring – a dire result for the

Debtor and its stakeholders.

               175.    The Debtor believes that most of its vendors will continue to do business

with the Debtor after commencement of this Chapter 11 Case because doing so simply makes

good business sense. I, however, anticipate that certain vendors that supply goods or services

that are necessary to the Debtor’s business will: (a) refuse to deliver goods and services without

payment of its prepetition claims; (b) refuse to deliver goods and services on reasonable credit

terms absent payment of prepetition claims, thereby requiring the Debtor to use even greater

liquidity and increase its operating costs; or (c) suffer significant financial hardship, such that the

Debtor’s non-payment of its prepetition claims could have a significant negative impact on a

Critical Vendor’s business and therefore its ability to supply the Debtor with needed goods and

services.

               176.    Accordingly, the Debtor requests the Court’s authority to pay the

prepetition Critical Vendor Claims because payment of such claims is necessary to an effective

businesses, the Debtor used the following criteria: (a) whether the vendor in question is a “sole

source” provider; (b) whether quality requirements or other specifications prevent the Debtor

from obtaining a vendor’s products or services from alternative sources within a reasonable

timeframe; (c) whether a vendor meeting the standards of (a) or (b) is likely to refuse to ship

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product to the Debtor postpetition if its prepetition balances are not paid; (d) whether a vendor

would suffer significant financial hardship absent the Debtor’s payment of prepetition claims; (e)

the degree to which replacement costs (including, pricing, transition expenses, professional fees

and lost sales of future revenue) exceed the amount of a vendor’s prepetition claim; (f) whether

an agreement exists by which the Debtor could compel a vendor to continue performing on

prepetition terms; and (g) for foreign vendors specifically, whether the vendor lacks minimum

contacts with the United States such that the vendor may not be subject to the jurisdiction of this

Court or the provisions of the Bankruptcy Code that otherwise protect the Debtor’s assets and

business operations, or may simply be confused by the chapter 11 process.

                177.    I am confident that this process has appropriately identified only those

vendors that meet some or all of the foregoing stringent guidelines and that, if the Debtor failed

to pay for the vital goods and services it provided prepetition, would likely cease to provide them

in the future. It is my opinion that the cessation of such goods or services would adversely

impact the Debtor’s ability to reorganize, and any efforts to replace such good or services would

distract the Debtor from the chapter 11 process more generally, at the expense of the Debtor’s

creditors and other parties in interest.



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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

OREXIGEN THERAPEUTICS, INC.,                        Case No. 18-10518 (KG)

                              Debtor.1              Requested Hearing Date:
                                                    April 11, 2018 at 10:00 a.m. (ET)
                                                    Requested Objection Deadline:
                                                    April 9, 2018 at 4:00 p.m. (ET)


           DEBTOR’S MOTION PURSUANT TO 11 U.S.C. §§ 361, 363, 503 AND
             105(A) FOR AUTHORITY TO ENTER INTO A STIPULATION
                     GRANTING ADEQUATE PROTECTION TO
            McKESSON SPECIALTY ARIZONA, INC. AND ITS AFFILIATES

                Orexigen Therapeutics, Inc., the debtor and debtor-in-possession in the above-

captioned case (the “Debtor”), hereby moves (the “Motion”), pursuant to sections 105, 361, 363

and 503 of title 11 of the United States Code (the “Bankruptcy Code”), as supplemented by

Rules 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

for entry of an order (the “Order”), substantially in the form attached hereto as Exhibit 1

authorizing the Debtor to enter into a stipulation (the “Stipulation”, and together with the Order,

the “Stipulation and Order”), granting adequate protection to the McKesson Specialty Arizona,

Inc. and its affiliates (“McKesson”, and together with the Debtor, the “Parties”) with respect to

the replenishment of the Reimbursement Funds and the continuation of the LoyaltyScript®

Program (both as defined below). In support of this Motion, the Debtor respectfully represents

as follows:




1
         The last four digits of the Debtor’s federal tax identification number are 8822. The Debtor’s
         mailing address for purposes of this Chapter 11 Case is 3344 North Torrey Pines Court,
         Suite 200, La Jolla, CA 92037.


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                                         JURISDICTION

                1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2).

                2.     The statutory predicates for the relief requested herein are sections 105,

361, 363, and 503 of the Bankruptcy Code, as supplemented by Bankruptcy Rules 4001 and

9014. The Debtor consents pursuant to Local Rule 9013-1(f) to the entry of a final order by the

Court in connection with this Application to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

                                         BACKGROUND

                3.     On March 12, 2018 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (this “Chapter 11 Case”). The Debtor

continues to operate its business as debtor in possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code. No party has requested the appointment of a trustee or examiner. On

March 27, 2018, the Office of the United States Trustee for the District of Delaware (the “U.S.

Trustee”) appointed an official committee of unsecured creditors in this Chapter 11 Case (the

“Committee”).

                4.     The Debtor is a biopharmaceutical company focused on the treatment of

obesity and the commercialization of a single pharmaceutical drug for chronic weight

management. The Debtor’s assets include certain rights related to the development and sale of

Contrave® (the “Covered Drug”), a drug approved by the Food and Drug Administration for

chronic weight management in certain adults. Additional details regarding the Debtor’s business

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and the facts and circumstances supporting the relief requested herein are set forth in the

Declaration of Michael A. Narachi in Support of First Day Relief [D.I. 3] (the “First Day

Declaration”) and incorporated herein by reference.

              5.      As of the Petition Date, the Debtor was and remains a party to agreements

with McKesson (collectively, the “Program Service Agreement”)2 related to the purchase and

distribution of the Covered Drug and the distribution and processing of the Debtor’s

LoyaltyScript® that provide the Debtor’s customers with an array of discounts off of the purchase

price of the Covered Drug through retail pharmacies (the “LoyaltyScript® Program”).

              6.      The Debtor believes that the LoyaltyScript® Program is critically

necessary for the success and viability of the Debtor’s business and its ability to preserve and

maximize value for creditors. In general, the LoyaltyScript® Program provides discounts to

patients for the purchase of the Covered Drug that the patients receive at the pharmacy, right at

the point of sale. The Debtor designed the LoyaltyScript® Program to provide patients with an

immediate discount on the Covered Drug with a minimum amount of paperwork and delay and

without requiring mail-in forms or the like. To implement the LoyaltyScript® Program, the

Debtor engaged McKesson to provide technical support and to manage the LoyaltyScript®

Program.

              7.      In general, and as set forth with greater specificity in the Program Service

Agreement, the Debtor has the sole responsibility to select the criteria for, and the other terms

and conditions of, the LoyaltyScript® Program.         McKesson implements the LoyaltyScript®

Program as designed by the Debtor and coordinates with the retail pharmacies to insure that the

2
       The terms and conditions of the Program Service Agreement and the LoyaltyScript® Program are
       confidential and proprietary. To the extent necessary, the Parties will file the Program Service
       Agreement under seal.

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LoyaltyScript® Program works as intended and the Debtor’s customers receive their immediate

discounts on the Covered Drug.      In performing its obligations under the Program Service

Agreement, McKesson is solely administering the LoyaltyScript® Program as directed by the

Debtor. Among its tasks, McKesson uses funds provided by the Debtor in the ordinary course of

business to reimburse the pharmacies for discounts extended to patients (the “Reimbursement

Funds”).

              8.      McKesson asserts that it holds a prepetition claim against the Debtor in the

amount of approximately $9.1 million (the “McKesson Prepetition Claim”) for continuing to pay

third parties on account of obligations paid by McKesson under the LoyaltyScript® Program

before the Petition Date without reimbursement from the Debtor.

              9.      Given the importance of the LoyaltyScript® Program, the Debtor

negotiated for and obtained funding from the DIP Lenders to continue the LoyaltyScript®

Program and the replenishment of the Reimbursement Fund. See Exhibit A to the Interim Order

(I) Approving Debtor-In-Possession Financing Pursuant to 11 USC §§ 105(a), 362, and 364 and

Fed. R. Bankr. P. 2002, 4001 and 9014 and Local Bankruptcy Rule 4001-2; etc. [Dkt. No. 48]

(the “Interim DIP Financing Order”).

              10.     In addition to the obligations associated with the Reimbursement Funds, in

the ordinary course of business McKesson sends the Debtor a monthly invoice for the various

fees and other costs associated with the LoyaltyScript® Program. These monthly invoices (each

an “Administrative Fee Invoice”) are for payment of what the Program Service Agreement refers

to as the “Administrative Fees.” For the most part, and as set forth with specificity in the

Schedule of Fees, the Administrative Fees are calculated based on incremental services; e.g., so

much for each completed enrollment, so much for each rebate check, etc. The Administrative

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Fees are to be paid by wire transfer within 30 days of the date of the Administrative Fee Invoice.

The Administrative Fees average approximately $100,000 per month. The Administrative Fees

set forth in the February 2018 Administrative Fee Invoice totaled $91,801.89 and, as a result of

the intervening bankruptcy filing, have not been paid.

                11.     The Debtor believes that maintenance of the LoyaltyScript® Program is in

the best interest of creditors and the estate.

                       RELIEF REQUESTED AND BASIS FOR RELIEF

                12.     By this Motion, the Debtor seeks entry of an order under Bankruptcy Code

sections 105, 361, 363, and 503 authorizing the Debtor to enter into the Stipulation with

McKesson.

        A.      Summary of the Stipulation’s Key Terms

                13.     By the Stipulation and Order, the Debtor seeks to grant McKesson

adequate protection by the Debtor agreeing to make periodic cash payments to McKesson to pre-

fund estimated amounts to be paid by McKesson to pharmacies under the LoyaltyScript®

Program.3

                14.     Pursuant to the Stipulation, no less than 2 business days after entry of an

Order approving the Stipulation, which Order shall be in form and content acceptable to each of

the Parties, but in no event later than April 13, 2018, the Debtor shall make an initial payment to

McKesson of Six Million, Twenty-Seven Thousand, One Hundred and Fifty-Five Dollars

($6,027,155) to pay McKesson for the actual and projected amounts remitted or to be remitted by

McKesson under the LoyaltyScript® Program from the Petition Date through and including


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        This summary is qualified in its entirety by reference to the provisions of the Stipulation. In the
        event of a conflict between this summary and the Stipulation, the terms of the Stipulation control.


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April 8, 2018. For the avoidance of doubt, no payments under the Stipulation shall be on

account of or applied to the McKesson Prepetition Claim and the Parties reserve all rights,

whether arising in law or equity, with respect to the McKesson Prepetition Claim.

              15.     Weekly Payments to McKesson. Commencing on the first Monday after

entry of an order approving the Stipulation, and continuing on each Monday thereafter until the

occurrence of a Termination Event (defined below) the Debtor shall remit by ACH wire transfer

the “Weekly Payment” of One Million Six Hundred and Seventy-Five Thousand Dollars

($1,675,000), comprised of the sum of (i) One Million Six Hundred and Fifty Thousand Dollars

($1,650,000) to replenish the Reimbursement Funds, and (ii) Twenty-Five Thousand ($25,000)

to be applied to the Administrative Fee. If, for example, the Stipulation is approved by an order

of the Court entered on April 11, 2018, the first Weekly Payment shall be made on April 16,

2018. Every two weeks, the Parties shall meet and confer to consider whether to adjust the

amount of the Weekly Payment. If both of the Parties agree, then the amount of the Weekly

Payment shall change to the agreed amount, whether an increase or a decrease. The amount of

the Weekly Payment shall not change unless both of the Parties agree.

              16.     Settlement of Actual Amounts. The Parties acknowledge and agree that

the advance payment amounts provided in paragraph 15 of this Motion are the Parties’ good faith

estimates based on past performance and the Parties will reconcile such amounts with actual

amounts incurred by McKesson under the LoyaltyScript® Program on a monthly basis within a

week of the end of the preceding calendar month, which will result in a return by McKesson to

the Debtor of the unused portion of the estimate, or a true up payment from the Debtor to

McKesson, as applicable, unless otherwise agreed to by the Parties.




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               17.     Administrative Priority.       McKesson (a) will only seek administrative

priority under section 503 of the Bankruptcy Code for actual post-petition amounts incurred

under the LoyaltyScript® Program (b) shall return to the Debtor any unused post-petition funds

received under the Stipulation in excess of the post-petition obligations incurred by McKesson

under the LoyaltyScript® Program and (c) shall not seek administrative priority for such unused

funds. McKesson further agrees that any administrative priority claim it may have is junior in all

respects to the super-priority administrative claim of the DIP Lenders under that certain Debtor

in Possession Credit and Security Agreement dated as of March 12, 2018 (the “DIP Loan

Agreement”) and approved by the Bankruptcy Court in the Interim DIP Financing Order (D.I.

48) and any order approving the DIP Loan Agreement on a final basis.

               18.     Waiver of Set-off Right. McKesson will not assert against the Debtor any

post-petition right of setoff that it has or may have, whether any such right arises by virtue of

contract or law, with respect to claims arising under the Stipulation. For clarity, McKesson’s

waiver of post-petition setoff rights related to the Stipulation is limited to the situation in which

McKesson receives Weekly Payments in excess of the Debtor’s post-petition and pre-termination

obligations under the LoyaltyScript® Program (the “Excess Payments”). In the event any Excess

Payments exist, McKesson may not setoff such amounts against the McKesson Pre-Petition

Claim.

               19.     Termination. The Stipulation and the Program Service Agreement shall

continue in full force and effect until the first to occur of the following (each a “Termination

Event”): (a) the Debtor advises in writing that the LoyaltyScript® Program is no longer active;

(b) entry of an order of the Bankruptcy Court which provides for the rejection of the Program

Service Agreement under the Bankruptcy Code; (c) the Debtor fails to make one or more of the

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payments to McKesson as set forth in the Stipulation; (d) the closing date of a sale of all or

substantially all of the Debtor’s assets; and (e) entry of an order (i) dismissing the Bankruptcy

Case or (ii) converting the Bankruptcy Case to a case under chapter 7 of the Bankruptcy Code.

Immediately upon the occurrence of a Termination Event, (x) the Program Service Agreement

shall terminate, (y) McKesson shall be relieved of any obligation to perform under the Program

Service Agreement, and (z) McKesson shall no longer provide any support function for the

LoyaltyScript® Program. As soon as practicable after the Termination Event, McKesson will

return to the Debtor any Excess Payments received by McKesson under the LoyaltyScript®

Program before the Termination Date.

               20.    Strict Compliance with the Program Service Agreement.              Until the

occurrence of a Termination Event, the Debtor and McKesson shall fully and completely comply

in every material respect with each and all of the terms and conditions set forth in the Program

Service Agreement, except only to the extent the terms and conditions set forth in the Stipulation

are at material variance from those set forth in the Program Service Agreement and then only if

the Stipulation expressly advises that the terms are at material variance and shall amend the

Program Service Agreement. In that event, the Debtor and McKesson shall fully and completely

comply in every material respect with the terms and conditions of the Program Service

Agreement as expressly modified by the terms and conditions of the Stipulation.

               21.    No Prejudice to any claims held by McKesson. Performance under the

Stipulation and Order shall be without prejudice to any prepetition claim held by McKesson.

Specifically, and without modifying the foregoing general statement, McKesson expressly

reserves any and all claims of priority, collateral security, offset or otherwise. Without limiting

the foregoing, McKesson specifically reserves the right to assert that McKesson’s claim

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associated with the LoyaltyScript® Program is entitled to administrative priority to the extent

McKesson, after the Petition Date, makes payment to or otherwise reimburses pharmacies for

providing discounts to patients, whether the patient was given the discount by the pharmacy

before or after the Petition Date. The Debtor does not agree, and instead asserts that McKesson’s

claim associated with the LoyaltyScript® Program is entitled to administrative priority only to the

extent McKesson, after the Petition Date, makes payment to or otherwise reimburses pharmacies

for providing discounts to patients after the Petition Date. The Parties agree to work to resolve

this issue, but until such resolution, either by consent or court order, the Parties shall faithfully

comply with all provisions of the Stipulation and Order.

               22.     Payments under the Stipulation are Absolute and Final.           The Debtor

acknowledges that it received good and fair consideration in exchange for each payment made

after the Petition Date and under the terms of the Stipulation. Each payment made by the Debtor

under the authority of the Stipulation shall be absolute and final and not subject to any claim

based in whole or in part on any provision of the Bankruptcy Code including any claim of

disgorgement based on the claims provided under the DIP Loan Agreement and the associated

court orders approving that agreement. Further, and without limiting the foregoing, no payment

from the Debtor after the Petition Date shall be subject to any claim of avoidance under chapter 5

of the Bankruptcy Code or otherwise. The Debtor, any reorganized debtor, its estate, its affiliate

and any and all successors (collectively, the “Releasing Entities”) unconditionally, irrevocably,

absolutely and forever waives, releases and discharges McKesson, its officers, agents, and

principals of any liability that arises in whole or in part under chapter 5 of the Bankruptcy Code

(such claims are referred to collectively as “Avoidance Actions”), whether known or unknown,

fixed or contingent, existing or hereafter arising, in law, equity or otherwise, and including any

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Avoidance Actions that may be asserted as derivative claims on behalf of any of the Releasing

Entities.

                23.     Termination of Stipulation upon Assumption and Assignment.             If the

Debtor, under section 365 of the Bankruptcy Code, both assumes the Program Service

Agreement and assigns that agreement to a third party, then upon such assignment, the

Stipulation shall terminate.

        B.      The Debtor is Exercising Sound Business Judgment in Entering into the
                Stipulation.

                24.     The Debtor seeks approval, pursuant to sections 105(a) and 361, 363(b)

and 503 of the Bankruptcy Code to enter into the Stipulation. The Stipulation constitutes a

sound exercise of business judgment and is in the best interest of the Debtor.

                25.     Section 363(b)(1) of the Bankruptcy Code provides in relevant part that

“[t]he trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course

of business, property of the estate.” 11 U.S.C. § 363(b). Further, pursuant to section 105(a) of

the Bankruptcy Code, the “court may issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of this title.” Id. § 105(a).

                26.     Under applicable case law in this and other circuits, if a debtor’s proposed

use of its assets pursuant to section 363(b) of the Bankruptcy Code represents the exercise of the

debtor’s reasonable business judgment, such use should be approved. See Myers v. Martin (In re

Martin), 91 F.3d 389, 395 (3d Cir. 1996) (noting that, under normal circumstances, the court

defers to the trustee’s judgment so long as there is a “legitimate business justification”); In re

Del. & Hudson R.R., 124 B.R. 169, 176 (D. Del. 1991) (courts have applied the “sound business

purpose” test to evaluate motions brought pursuant to section 363(b)); Comm. of Equity Sec.



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Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983) (requiring an

“articulated business justification”).

               27.     If a valid business justification exists for the use or sale of property of the

estate, a debtor’s decision enjoys a strong presumption that “in making a business decision the

directors . . . acted on an informed basis, in good faith and in the honest belief that the action

taken was in the best interests of the company.” Official Comm. of Subordinated Bondholders v.

Integrated Res. Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting

Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985)); see also In re Bridgeport Holdings, Inc.,

388 B.R. 548, 567 (Bankr. D. Del. 2008) (stating that directors enjoy a presumption of honesty

and good faith with respect to negotiating and approving a transaction involving a sale of assets).

Indeed, when applying the “business judgment” standard, courts show great deference to a

debtor’s business decisions. See Stanziale v. Nachtomi (In re Tower Air, Inc.), 416 F.3d 229,

238 (3d Cir. 2005) (“Overcoming the presumptions of the business judgment rule on the merits is

a near-Herculean task. Delaware courts have said that it may be accomplished by showing either

irrationality or inattention.”); In re Global Home Prods., LLC, 369 B.R. 778, 783 (Bankr. D. Del.

2007) (applying the business judgment standard to transactions under section 363 of the

Bankruptcy Code).

               28.     Section 105(a) of the Bankruptcy Code further provides that the court

“may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a). Section 105(a) allows the bankruptcy court to “craft

flexible remedies that, while not expressly authorized by the [Bankruptcy] Code, effect the result

the [Bankruptcy] Code was designed to obtain.” In re Combustion Eng’g, Inc., 391 F.3d 190,




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235-36 (3d Cir. 2004) (citing Official Comm. of Unsecured Creditors of Cybergenics Corp. ex

rel. Cybergenics Corp. v. Chinery, 330 F.3d 548, 568 (3d Cir. 2003)).

                29.     Here, the Debtor’s decision to enter into the Stipulation satisfies the

business judgment test.      The Stipulation allows the Debtor to continue the LoyaltyScript®

Program without interruption. As stated above, the Debtor believes the LoyaltyScript® Program

is a critical component of its comprehensive marketing and sales strategy for the Covered Drug.

Accordingly, the Debtor’s decision to enter into the Stipulation is a sound exercise of its business

judgment and is in the best interest of the Debtor, its estate, creditors, and all parties in interest.

                30.     Moreover, to the extent that the Debtor’s entry into the Stipulation

implicates sections 361 or 503 of the Bankruptcy Code, the Debtor believes such relief is

appropriate given the importance of the LoyaltyScript® Program to the Debtor’s ongoing

business and customer relations.

                               REQUEST FOR WAIVER OF STAY

                31.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale,

or lease of property other than cash collateral is stayed until the expiration of 14 days after entry

of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). The Debtor requests

that any order approving the Motion be effective immediately upon entry by providing that the

14-day stay shall not apply. Immediate entry into the Stipulation is in the best interests of the

Debtor and its stakeholders.

                                               NOTICE

                32.     Notice of this Motion shall be given to: (i) the U.S. Trustee, (ii) counsel to

the Unsecured Creditors’ Committee; (iii) the parties included on the Debtor’s list of thirty (30)

largest unsecured creditors (iv) counsel to the DIP Administrative Agent, DIP Lenders,

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Prepetition Indenture Trustee and Secured Noteholders (each as defined in the First Day

Declaration) (v) the Delaware Secretary of State; (vi) the Delaware State Treasury; (vii) the

Internal Revenue Service; (viii) the Securities and Exchange Commission; (ix) counsel to

McKesson; and (x) any party that has requested notice pursuant to Bankruptcy Rule 2002. In

light of the nature of the relief requested in this Motion, the Debtor respectfully submits that no

further notice is necessary.

                33.     Additionally, this Motion is filed on shortened notice, given the exigent

nature of the relief request.

                                         CONCLUSION

                WHEREFORE, the Debtor respectfully requests that the Court enter the

Stipulation and Order, substantially in the form attached hereto as Exhibit 1, and grant the relief

requested and such other relief as is just and proper.


April 3, 2018                                     MORRIS, NICHOLS, ARSHT &
Wilmington, Delaware                              TUNNELL LLP


                                                  /s/     Jose F. Bibiloni
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                                                  - and -




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                                        john.beck@hoganlovells.com

                                        Proposed Counsel for Debtor and Debtor in
                                        Possession




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                    Chapter 11

 OREXIGEN THERAPEUTICS, INC.,                              Case No. 18-10518 (KG)

                                 Debtor. 1


          DEBTOR’S MOTION PURSUANT TO 11 U.S.C. §§ 361, 363 AND 105(A) FOR
            AUTHORITY TO ENTER INTO A STIPULATION WITH McKESSON
          CORPORATION AND McKESSON PATIENT RELATIONSHIP SOLUTIONS,
              A BUSINESS UNIT OF McKESSON SPECIALTY ARIZONA, INC.

                  Orexigen Therapeutics, Inc., the debtor and debtor-in-possession in the above-

 captioned case (the “Debtor”), hereby moves (the “Motion”), pursuant to sections 361, 363 and

 105 of title 11 of the United States Code (the “Bankruptcy Code”), as supplemented by Rules

 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for

 entry of an order (the “Order”), substantially in the form attached hereto as Exhibit 1 authorizing

 the Debtor to enter into a stipulation (the “Stipulation”) with McKesson Corporation

 (“McKesson”) and McKesson Patient Relationship Solutions, a business unit of McKesson

 Specialty Arizona, Inc. (“MPRS”, and together with McKesson and the Debtor, the “Parties” to

 the Stipulation) with respect to the McKesson Prepetition Distribution Agreement Receivable

 and the MPRS Prepetition Claim (both as defined below). In support of this Motion, the Debtor

 respectfully represents as follows:




 1
  The last four digits of the Debtor’s federal tax identification number are 8822. The Debtor’s mailing address for
 purposes of this Chapter 11 Case is 3344 North Torrey Pines Court, Suite 200, La Jolla, CA 92037.

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                                          JURISDICTION

                1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding

 pursuant to 28 U.S.C. § 157(b)(2).

                2.      The statutory predicates for the relief requested herein are sections 105(a),

 361 and 363 of the Bankruptcy Code, as supplemented by Bankruptcy Rules 4001 and 9014.

 The Debtor consents pursuant to Local Rule 9013-1(f) to the entry of a final order by the Court

 in connection with this Application to the extent that it is later determined that the Court, absent

 consent of the parties, cannot enter final orders or judgments in connection herewith consistent

 with Article III of the United States Constitution.

                                          BACKGROUND

                3.      On March 12, 2018 (the “Petition Date”), the Debtor filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code (this “Chapter 11 Case”). The

 Debtor continues to operate its business as debtor in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. No party has requested the appointment of a trustee or examiner.

 On March 27, 2018, the Office of the United States Trustee for the District of Delaware (the

 “U.S. Trustee”) appointed an official committee of unsecured creditors in this Chapter 11 Case

 (the “Committee”).

                4.      The Debtor is a biopharmaceutical company focused on the treatment of

 obesity and the commercialization of a single pharmaceutical drug for chronic weight

 management. The Debtor’s assets include certain rights related to the development and sale of

 Contrave®, a drug approved by the Food and Drug Administration for chronic weight

 management in certain adults. Additional details regarding the Debtor’s business and the facts

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 and circumstances supporting the relief requested herein are set forth in the Declaration of

 Michael A. Narachi in Support of First Day Relief (D.I. 3) (the “First Day Declaration”) and

 incorporated herein by reference.

                5.     As of the Petition Date, the Debtor was and remains a party to that certain

 Core Distribution Agreement dated as of June 9, 2016 (as amended, the “Distribution

 Agreement”), pursuant to which the Debtor and McKesson agreed that McKesson would operate

 as an authorized distributor of healthcare products (as defined in the Distribution Agreement, the

 the “Product(s)”) for the Debtor and provide certain core services related thereto. Additionally,

 the Debtor and MPRS remain parties to that certain Master Services Agreement dated as of July

 15, 2016 (as amended, the “LoyaltyScript® Agreement”) related to the processing of the

 Debtor’s LoyaltyScript® for patients to have the benefit of an array of discounts off of the

 purchase price of the Product through retail pharmacies (the “LoyaltyScript® Program”).

                6.     As of the Petition Date, the outstanding payable to the Debtor totaled six

 million, nine hundred thirty two thousand, eight hundred sixteen dollars and forty cents

 ($6,932,816.40) in prepetition amounts arising under the Distribution Agreement (the

 “McKesson Prepetition Distribution Agreement Receivable”). McKesson made payments to the

 Debtor after the Petition Date in the amount of $3,266,255.76 on account of the McKesson

 Prepetition Distribution Agreement Receivable but McKesson contends that the entirety of the

 McKesson Prepetition Distribution Agreement Receivable is subject to its contractual setoff,

 recoupment and withholding rights.      In order to preserve its rights under the Distribution

 Agreement, among other things, on March 30, 2018, McKesson imposed an “administrative

 hold” on $3,666,560.64 of prepetition amounts otherwise owing to the Debtor under the

 Distribution Agreement. McKesson also acknowledges that it owes and will continue to owe the

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 Debtor for post-petition purchases of additional Product under the Distribution Agreement (the

 “Post-Petition Distribution Agreement Receivables”).

                7.     The Debtor and MPRS previously entered into a stipulation (the “4.11.18

 Stipulation”) approved by the Court on April 11, 2018 (D.I. 176) (the “4.11.18 Order”) with

 respect to certain performance obligations under the LoyaltyScript® Agreement and the

 provision of adequate protection payments.

                8.     MPRS asserts that it holds a prepetition claim against the Debtor in the

 amount of approximately $8.5 million (the “MPRS Prepetition Claim”) under the

 LoyaltyScript® Agreement, and the Debtor reserves all rights and defenses whether arising in

 law or equity with respect to the MPRS Prepetition Claim. McKesson and MPRS each assert

 that as of the Petition Date and thereafter, they have a contractual right to set off the MPRS

 Prepetition Claim against the McKesson Prepetition Distribution Agreement Receivable. The

 Debtor disputes that McKesson or MPRS has the right to set off the MPRS Prepetition Claim

 against the McKesson Prepetition Distribution Agreement Receivable. The Debtor, and each of

 McKesson and MPRS, have ongoing post-petition obligations to one another under the

 Distribution Agreement and LoyaltyScript® Agreement.

                9.     The Debtor believes that entering the Stipulation is in the best interest of

 creditors and the estate, as it embodies the Parties’ efforts to resolve the outstanding balances

 owed under the Distribution Agreement and LoyaltyScript® Agreement and any disputes

 regarding those balances and their legal and equitable rights with respect to the same.

                      RELIEF REQUESTED AND BASIS FOR RELIEF

                10.    By this Motion, the Debtor seeks entry of an order under Bankruptcy Code

 sections 105, 361 and 363 authorizing the Debtor to enter into the Stipulation with McKesson.

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        A.      Summary of the Stipulation’s Key Terms

                11.     Within three (3) business days of the entry of an Order approving the

 Stipulation, McKesson shall make a payment (by wire or other electronic means), to the Debtor

 on account of any prepetition amounts withheld under the McKesson Prepetition Distribution

 Agreement Receivable, which is currently estimated to be in the amount of three million, six

 hundred sixty-six thousand, five hundred sixty dollars and sixty four cents ($3,666,560.64),

 which McKesson and the Debtor agree will be applied to the McKesson Prepetition Distribution

 Agreement Receivable subject to any reconciliation by the Parties for facts not known at the time

 of the Stipulation. With that payment, and the other payments made by McKesson after the

 Petition Date with respect to the McKesson Prepetition Distribution Agreement Receivable, and

 subject to any reconciliation contemplated above, McKesson shall have paid in full the entire

 McKesson Prepetition Distribution Agreement Receivable. Subject to the reservation of rights

 and other terms of this Stipulation, any and all offset rights, if any, held by McKesson and MPRS

 are preserved, notwithstanding such payments.

                12.     Each of the parties to the 4.11.18 Stipulation reserves all rights under the

 4.11.18 Stipulation and the 4.11.18 Order. Until such time as a Termination Event has occurred,

 as defined in the 4.11.18 Stipulation, McKesson and MPRS shall continue to perform under the

 terms of the LoyaltyScript® Agreement and Distribution Agreement, including by continuing to

 pay the Debtor monies owed under the Distribution Agreement in the ordinary course whether

 arising pre or post-petition. McKesson may continue to assert its right of setoff on a rolling basis

 over any monies owed to the Debtor and held by McKesson, including Post-Petition Distribution

 Agreement Receivables; provided that, all parties reserve all rights, claims, counter-claims,

 objections, defenses, and remedies with respect to the same.

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                13.    Upon the occurrence of a Termination Event, or if the MPRS Prepetition

 Claim is not otherwise satisfied in full, McKesson, MPRS or both of them shall file a motion in

 the Bankruptcy Court seeking an order authorizing them to set off the MPRS Prepetition Claim

 against the Debtor’s Post-Petition Distribution Agreement Receivables (“McKesson’s Setoff

 Motion”). The Debtor reserves all rights, counter-claims, objections, and defenses in connection

 with McKesson’s Setoff Motion.

                14.    If McKesson’s Setoff Motion is granted and an order is entered

 authorizing McKesson to set off the MPRS Prepetition Claim or requiring the Debtor to pay to

 MPRS all or any portion of the MPRS Prepetition Claim, within four (4) business days after

 entry of that order (unless the effect of the Order is stayed pending appeal) then, as applicable:

 (a) McKesson may set off the MPRS Prepetition Claim to the extent authorized by the Court

 against any Post-Petition Distribution Agreement Receivables; (b) to the extent that Post-Petition

 Distribution Agreement Receivables at the time of the order granting McKesson’s Setoff Motion

 under the Distribution Agreement are insufficient to allow for the required set off, the Debtor

 shall pay to MPRS the difference between the amount of setoff approved by the Court and Post-

 Petition Distribution Agreement Receivables then available for setoff; and (c) if such differential

 is not paid timely, MPRS shall, to the extent of any unpaid or insufficient amount, be granted a

 priority administrative claim under Section 503 of the Bankruptcy Code, which claim shall

 survive the Bankruptcy Case, including any terms of a confirmed plan in this case, and shall be

 due and payable by the Debtor or any reorganized debtor.

                15.    Unless specifically ordered by the Court, the Debtor, McKesson, and

 MPRS agree to honor all of their respective post-petition obligations due to the other party

 pursuant to the Distribution Agreement, LoyaltyScript® Agreement, the 4.11.18 Stipulation and

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 otherwise, in the ordinary course of business, including, but not limited to, all obligations under

 invoices issued to and from McKesson and MPRS on or after the Petition Date.

                16.     Nothing contained in the Stipulation, the Motion, or the Order shall be

 deemed a waiver or release by McKesson, MPRS, or the Debtor, of any claims asserted by

 McKesson or MPRS against the Debtor or by the Debtor against McKesson or MPRS.

 McKesson, MPRS, and the Debtor hereby expressly reserve all rights, claims, counter-claims,

 objections, defenses, and remedies with respect to the same. Nothing in the Stipulation, the

 Motion, or the Order shall be deemed to constitute the Debtor’s assumption of any agreement

 referenced herein. Nothing in the Stipulation, the Motion, or the Order constitutes a factual

 finding by the Court or an admission by any party. Nothing in the Stipulation, the Motion, or the

 Order shall be deemed to modify any of the rights and obligations of the parties under the

 4.11.18 Stipulation.

                17.     Nothing in the Stipulation, the Motion, or the Order shall be deemed to

 excuse McKesson, MPRS or any related entity from filing a proof of claim by any applicable bar

 date set pursuant to the Order (A) Establishing Bar Date For Filing Proofs Of Claim, (B)

 Approving The Form And Manner For Filing Proofs Of Claim, (C) Approving Notice Thereof,

 (D) Implementing Uniform Procedures Regarding 503(B)(9) Claims, And (E) Granting Related

 Relief (D.I. 170).

        B.      The Debtor is Exercising Sound Business Judgment in Entering into the
                Stipulation.

                18.     The Debtor seeks approval, pursuant to sections 105(a), 361, and 363(b) of

 the Bankruptcy Code to enter into the Stipulation. The Stipulation constitutes a sound exercise

 of business judgment and is in the best interest of the Debtor.



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                 19.     Section 363(b)(1) of the Bankruptcy Code provides in relevant part that

 “[t]he trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course

 of business, property of the estate.” 11 U.S.C. § 363(b). Further, pursuant to section 105(a) of

 the Bankruptcy Code, the “court may issue any order, process, or judgment that is necessary or

 appropriate to carry out the provisions of this title.” Id. § 105(a).

                 20.     Under applicable case law in this and other Circuits, if a debtor’s proposed

 use of its assets pursuant to section 363(b) of the Bankruptcy Code represents the exercise of the

 debtor’s reasonable business judgment, such use should be approved. See Myers v. Martin (In re

 Martin), 91 F.3d 389, 395 (3d Cir. 1996) (noting that, under normal circumstances, the court

 defers to the trustee’s judgment so long as there is a “legitimate business justification”); In re

 Del. & Hudson R.R., 124 B.R. 169, 176 (D. Del. 1991) (courts have applied the “sound business

 purpose” test to evaluate motions brought pursuant to section 363(b)); Comm. of Equity Sec.

 Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983) (requiring an

 “articulated business justification”).

                 21.     If a valid business justification exists for the use or sale of property of the

 estate, a debtor’s decision enjoys a strong presumption that “in making a business decision the

 directors . . . acted on an informed basis, in good faith and in the honest belief that the action

 taken was in the best interests of the company.” Official Comm. of Subordinated Bondholders v.

 Integrated Res. Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting

 Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985)); see also In re Bridgeport Holdings, Inc.,

 388 B.R. 548, 567 (Bankr. D. Del. 2008) (stating that directors enjoy a presumption of honesty

 and good faith with respect to negotiating and approving a transaction involving a sale of assets).

 Indeed, when applying the “business judgment” standard, courts show great deference to a

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 debtor’s business decisions. See Stanziale v. Nachtomi (In re Tower Air, Inc.), 416 F.3d 229,

 238 (3d Cir. 2005) (“Overcoming the presumptions of the business judgment rule on the merits is

 a near-Herculean task. Delaware courts have said that it may be accomplished by showing either

 irrationality or inattention.”); In re Global Home Prods., LLC, 369 B.R. 778, 783 (Bankr. D. Del.

 2007) (applying the business judgment standard to transactions under section 363 of the

 Bankruptcy Code).

                 22.     Section 105(a) of the Bankruptcy Code further provides that the court

 “may issue any order, process, or judgment that is necessary or appropriate to carry out the

 provisions of this title.” 11 U.S.C. § 105(a). Section 105(a) allows the bankruptcy court to

 “craft flexible remedies that, while not expressly authorized by the [Bankruptcy] Code, effect the

 result the [Bankruptcy] Code was designed to obtain.” In re Combustion Eng’g, Inc., 391 F.3d

 190, 235-36 (3d Cir. 2004) (citing Official Comm. of Unsecured Creditors of Cybergenics Corp.

 ex rel. Cybergenics Corp. v. Chinery, 330 F.3d 548, 568 (3d Cir. 2003)).

                 23.     Here, the Debtor’s decision to enter into the Stipulation satisfies the

 business judgment test. As stated above, the Parties have ongoing post-petition obligations to

 one another under the Distribution Agreement and LoyaltyScript® Agreement, which

 agreements implement programs that are critical components of the Debtor’s comprehensive

 marketing and sales strategy for the Product. The Stipulation embodies the Debtor’s efforts to

 increase liquidity while preserving the McKesson and MPRS’s ability to asset it has a valid right

 of set off and any disputes regarding their legal and equitable rights with respect to the same.

 Accordingly, the Debtor’s decision to enter into the Stipulation is a sound exercise of its business

 judgment and is in the best interest of the Debtor, its estate, creditors, and all parties in interest.




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                 24.     Moreover, to the extent that the Debtor’s entry into the Stipulation

 implicates sections 361 or 503 of the Bankruptcy Code, the Debtor believes such relief is

 appropriate given the importance of the Distribution Agreement and the LoyaltyScript®

 Agreement to the Debtor’s ongoing business and customer relations.

                                 REQUEST FOR WAIVER OF STAY

                 25.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale,

 or lease of property other than cash collateral is stayed until the expiration of 14 days after entry

 of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). The Debtor requests

 that any order approving the Motion be effective immediately upon entry by providing that the

 14-day stay shall not apply. Immediate entry into the Stipulation is in the best interests of the

 Debtor and its stakeholders.

                                               NOTICE

                 26.     Notice of this Motion shall be given to: (i) the U.S. Trustee, (ii) counsel to

 the Unsecured Creditors’ Committee; (iii) the parties included on the Debtor’s list of thirty (30)

 largest unsecured creditors (iv) counsel to the DIP Administrative Agent, DIP Lenders,

 Prepetition Indenture Trustee and Secured Noteholders (each as defined in the First Day

 Declaration) (v) the Delaware Secretary of State; (vi) the Delaware State Treasury; (vii) the

 Internal Revenue Service; (viii) the Securities and Exchange Commission; and (ix) any party that

 has requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of the relief

 requested in this Motion, the Debtor respectfully submits that no further notice is necessary.

                 27.     Additionally, this Motion is filed on shortened notice, given the exigent

 nature of the relief request.




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                                          CONCLUSION


                WHEREFORE, the Debtor respectfully requests that the Court enter the

 Stipulation and Order, substantially in the form attached hereto as Exhibit 1, and grant the relief

 requested and such other relief as is just and proper.

 May 10, 2018                        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
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                                     Counsel for Debtor and Debtor in Possession




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                         IN THE UNITED STATES BANKRUPTCY
                         COURT FOR THE DISTRICT OF DELAWARE

 In re:                                              Chapter 11

 OREXIGEN THERAPEUTICS, INC.,                        Case No. 18-10518 (KG)

                                   Debtor. 1         Hearing Date: July 17, 2018 at 10 a.m. [Requested]
                                                     Objection Deadline: July 13, 2018 at 4 p.m. [Requested]


                  OMNIBUS MOTION FOR ENTRY OF AN ORDER
     (I) AUTHORIZING THE DEBTOR TO REJECT CERTAIN CONTRACTS AND (II)
                    GRANTING CERTAIN RELATED RELIEF



                    PARTIES RECEIVING THIS MOTION SHOULD LOCATE
                     THEIR NAMES AND THEIR CONTRACTS LISTED ON
                             EXHIBIT A, ATTACHED HERETO.


                    The above-captioned debtor and debtor in possession (the “Debtor”) moves this

 Court for the entry of an order pursuant to sections 105(a) and 365 of the Bankruptcy Code: (i)

 authorizing the Debtor to reject certain contracts and (ii) granting certain related relief. In

 support of this motion (the “Motion”), the Debtor respectfully represents as follows:




 1
     The last four digits of the Debtor’s federal tax identification number are 8822. The Debtor’s mailing address for
     purposes of this Chapter 11 Case is 3344 North Torrey Pines Court, Suite 200, La Jolla, CA 92037.

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                                         BACKGROUND


                1.      On March 12, 2018 (the “Petition Date”), the Debtor filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code.

                2.      The Debtor continues to operate its businesses and manage its properties

 as a debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No

 trustee or examiner has been appointed in the Debtor’s cases.

                3.      An overview of the Debtor’s history and business, a summary of the

 events leading to the commencement of this chapter 11 case, and the facts supporting this Motion

 are set forth in the Declaration of Michael A. Narachi in Support of First Day Relief (the “First

 Day Declaration”) [Docket No. 3], filed on the Petition Date and incorporated by reference

 herein.

                4.      The Debtor is party to a significant number of prepetition executory

 contracts and unexpired leases (collectively, the “Contracts”). On June 28, 2018, the Court

 entered Order (I) Approving the Sale of Substantially All Assets of the Debtor Free and Clear of

 Liens, Encumbrances, Claims and Interests, (II) Approving the Assumption and Assignment of

 Designated Executory Contracts and Unexpired Leases, and (III) Granting Related Relief (the

 “Sale Order”) (Docket No. 438). Pursuant to the Sale Order, the Sale (as defined in the Sale

 Order) is scheduled to close on July 13, 2018. Accordingly, the Debtor’s day-to-day operations

 have changed significantly and the Debtor has identified certain Contracts that no longer provide

 meaningful value to the Debtor or its estate.




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                     5.       By this Motion the Debtors seek to reject the Contracts listed in Exhibit

 A. 2

        I.           REJECTION OF THE CONTRACTS IS A SOUND EXERCISE
                     OF THE DEBTOR’S BUSINESS JUDGMENT

                     6.       Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to

 the court’s approval, may assume or reject any executory contract or unexpired lease.” 11 U.S.C.

 § 365(a). Courts routinely approve motions to reject executory contracts or unexpired leases

 upon a showing that the debtor’s decision to take such action will benefit the debtor’s estate and

 is an exercise of sound business judgment. NLRB v. Bildisco & Bildisco, 465 U.S. 513, 523

 (1984) (stating that the traditional standard applied by courts to authorize the rejection of an

 executory contract is that of “business judgment”); see also In re Taylor, 913 F.2d 102 (3d. Cir.

 1990); In re Buckhead America Corp., 180 B.R. 83 (Bankr. D. Del. 1995).

                     7.       Courts generally will not second-guess a debtor’s business judgment

 concerning the rejection of an executory contract or unexpired lease. See In re Trans World

 Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (“A debtor’s decision to reject an

 executory contract must be summarily affirmed unless it is the product of bad faith, or whim or

 caprice.” (internal quotations omitted)). The “business judgment” test is not a strict standard; it

 merely requires a showing that either assumption or rejection of the executory contract or

 unexpired lease will benefit the debtor’s estate. N.L.R.B. v. Bildisco (In re Bildisco), 682 F.2d 72,

 79 (3rd Cir. 1982) (noting that the “usual test for rejection of an executory contract is simply

 whether rejection would benefit the estate”) aff’d, 465 U.S. 513. Further, “[s]ection 365 enables

 the trustee to maximize the value of the debtor’s estate by assuming executory contracts and


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             The Debtor reserves the right to remove any Contract from Exhibit A any time prior to the hearing on this
 Motion.

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 unexpired leases that benefit the estate and rejecting those that do not.” L.R.S.C. Co. v. Rickel

 Home Centers, Inc. (In re Rickel Home Centers, Inc.), 209 F.3d 291, 298 (3d Cir. 2000); see also

 Stewart Title Guar. Co. v. Old Republic Nat'l Title Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996)

 (section 365 of the Bankruptcy Code “allows a trustee to relieve the bankruptcy estate of

 burdensome agreements which have not been completely performed”).

                8.      The rejection of the Contracts is an appropriate exercise of the Debtor’s

 business judgment and will reduce the administrative burdens on its estate. The Contracts are

 financially burdensome and no longer necessary. Further, the Contracts have no marketable

 value that could be generated through assumption and assignment. Accordingly, the Debtor’s’

 continued performance under the Contracts would constitute an unnecessary depletion of value

 of the Debtor’s estates.

                9.      Further, the Debtor submits that it is appropriate for the Court to authorize

 rejection retroactive to July 13, 2018, i.e., the expected closing date of the Sale. Although section

 365 of the Bankruptcy Code does not address whether a court may order retroactive rejection,

 many courts have held that they are so empowered. See, e.g., SCS Co. v. Peter J. Schmitt Co.,

 No. 94-125-RRM, 1995 U.S. Dist. LEXIS 22163, at *5 (D. Del. May 15, 1995) (noting that a

 bankruptcy court has authority to select a retroactive date for the effective date of a lease’s

 rejection); In re Chi-Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004) (stating “the court’s

 power to grant retroactive relief is derived from the bankruptcy court’s equitable powers so long

 as it promotes the purposes of § 365(a)”); In re Mid Region Petroleum, Inc., 111 B.R. 968, 970

 (Bankr. N.D. Okla. 1990) (finding that the effective date for the rejection of leases was the date

 the trustee gave notice of intent to reject); In re Carlisle Homes, Inc., 103 B.R. 524, 535 (Bankr.




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 D.N.J. 1988) (finding that debtor may reject an executory contract by clearly communicating the

 intention to reject).]

                 10.      Courts in this jurisdiction have approved relief similar to that requested

 herein. See In re Quicksilver Res. Inc., No. 15-10585 (LSS) (Bankr. D. Del. Apr. 15, 2015)

 (authorizing rejection of executory contracts effective as of specified dates); In re QCE Fin.

 LLC, No. 14-10543 (PJW) (Bankr. D. Del. Apr. 9, 2014) (authorizing rejection of unexpired

 leases nunc pro tunc to the petition date); In re Longview Power, LLC, No. 13-12211 (BLS)

 (Bankr. D. Del. Feb. 26, 2014) (authorizing rejection of unexpired leases nunc pro tunc to prior

 notice date); In re Prommis Holdings, LLC, No. 13-10551 (BLS) (Bankr. D. Del. June 14, 2013)

 (same).

                 11.      The balance of equities favors the relief requested herein. Without a

 retroactive date of rejection, contractual counterparties may attempt to assert additional

 administrative expenses under the Contracts.             Given that the Debtor will have transferred

 substantially all of its assets to the Purchaser at the closing on July 13, 2018, the Debtor has no

 use for the Contracts after July 13, 2018. Therefore, the Debtors respectfully submit that it is fair

 and equitable for the Court to order that the Contracts be rejected retroactively as of July 13,

 2018.

      II.        COMPLIANCE WITH BANKRUPTCY RULE 6006(F)

                 12.      Bankruptcy Rule 6006(f) establishes requirements for a motion to reject

 multiple executory contracts or unexpired leases that are not each between the same parties. Rule

 6006(f) states, in part, that such a motion shall:

                       a. state in a conspicuous place that parties receiving the omnibus motion

                          should locate their names and their contracts or leases listed in the

                          motion;
                                                                                             Appendix A126

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                      b. list parties alphabetically and identify the corresponding contract or lease;

                      c. specify the terms, including the curing of defaults, for each requested

                         assumption or assignment;

                      d. specify the terms, including the identity of each assignee and the

                         adequate assurance of future performance by each assignee, for each

                         requested assignment;

                      e. be numbered consecutively with other omnibus motions to assume,

                         assign, or reject executory contracts or unexpired leases; and

                      f. be limited to no more than 100 executory contracts or unexpired leases.

                13.     Bankr. R. 6006(f). The Debtor respectfully submits that the relief

 requested in this motion complies with the requirements of Rule 6006(f).

     III.   REQUEST FOR IMMEDIATE RELIEF & WAIVER OF STAY

                14.     Pursuant to Rule 6004(h) of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), the Debtor seeks a waiver of any stay of the effectiveness of an order

 granting this motion, to the extent that it applies to the relief requested in this motion.

 Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale, or lease of property

 other than cash collateral is stayed until the expiration of 14 days after entry of the order, unless

 the court orders otherwise.” The relief requested herein is essential to avoid the potential accrual

 of unnecessary administrative expenses. Accordingly, the Debtor submits that, to the extent that

 Bankruptcy Rule 6004(h) applies, ample cause exists to justify a waiver of the fourteen-day stay.

                                   RESERVATION OF RIGHTS

                15.     Nothing in the Motion shall: (i) constitute an admission as to the validity

 or priority of any claim against the Debtor; (ii) constitute a waiver of the Debtor’s rights to


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 dispute any claim; or (iii) prejudice the Debtor’s rights to assert that any of the Contracts are not

 executory or unexpired within the meaning of section 365 of the Bankruptcy Code;

                                              NOTICE

                16.     Notice of this Motion shall be given to: (i) the U.S. Trustee, (ii) counsel to

 the Committee; (iii) the parties included on the Debtor’s list of thirty (30) largest unsecured

 creditors (iv) counsel to the DIP Administrative Agent, DIP Lenders, Prepetition Indenture

 Trustee and Secured Noteholders (each as defined in the First Day Declaration) (v) the Delaware

 Secretary of State; (vi) the Delaware State Treasury; (vii) the Internal Revenue Service; (viii) the

 Securities and Exchange Commission; (ix) contractual counterparties to the Contracts listed on

 Exhibit A; and (x) any party that has requested notice pursuant to Bankruptcy Rule 2002. Due

 to the nature of the relief requested herein, the Debtors respectfully submit that no further notice

 of this motion is necessary.

                WHEREFORE, the Debtor respectfully requests that the Court enter an order

 substantially in the form attached hereto as Exhibit B, granting: (i) the relief requested herein;

 and (ii) such other and further relief to the Debtor as the Court may deem proper.

 Dated: July 3, 2018                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP
 Wilmington, Delaware
                                     /s/ Andrew R. Remming
                                     Robert J. Dehney (No. 3578)
                                     Andrew R. Remming (No. 5120)
                                     1201 N. Market St., 16th Floor
                                     P.O. Box 1347
                                     Wilmington, DE 19899-1347
                                     Telephone: (302) 658-9200
                                     Facsimile: (302) 658-3989
                                     rdehney@mnat.com
                                     aremming@mnat.com




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                             - and -

                             Christopher R. Donoho, III (admitted pro hac vice)
                             Christopher R. Bryant (admitted pro hac vice)
                             John D. Beck (admitted pro hac vice)
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                             New York, NY 10022
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                             chris.donoho@hoganlovells.com
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                             john.beck@hoganlovells.com

                             Counsel for Debtor and Debtor in Possession

 12024005




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                      Chapter 11

 OREXIGEN THERAPEUTICS, INC.,                                Case No. 18-10518 (KG)

                                 Debtor.1                    Objections Due: August 21, 2018
                                                             Hearing Date: TBD


               McKESSON’S MOTION FOR AN ORDER DETERMINING THAT
                  McKESSON IS ENTITLED TO THE DISPUTED FUNDS

          McKesson Corporation (“McKesson Corp.” and together with McKesson Patient

 Relationship Solutions (“MPRS”), a business unit of McKesson Specialty Arizona, Inc., a

 wholly owned subsidiary of McKesson Corp., “McKesson”), by and through the undersigned

 counsel, hereby moves (the “Motion”) the Bankruptcy Court for entry of an order determining

 that McKesson has contract rights enforceable under applicable law which expressly provide

 McKesson Corp. the ability to apply amounts owed by the Debtor to MPRS under one agreement

 as a credit against obligations owed by McKesson Corp. to the Debtor under another agreement.

          The Motion is based on California law, as applicable under and preserved by section 553

 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), the

 facts and arguments set forth in the Motion, the Declaration of Erin Beesley (the “Beesley

 Decl.”) filed in support, any additional declarations, papers and pleadings filed in support of the

 Motion, and on such other and further information as the Bankruptcy Court may deem proper.

                                              INTRODUCTION

          1.      Orexigen Therapeutics, Inc. (the “Debtor”) was a pharmaceutical drug

 manufacturer with a single product, Contrave® (the “Product”). Ninety percent or more of the

 Product was sold to three wholesalers and product distributors: AmerisourceBergen, Cardinal

 1
  The last four digits of the Debtor’s federal tax identification number are 8822. The Debtor’s mailing address for
 purposes of this Chapter 11 Case is 3344 North Torrey Pines Court, Suite 200, La Jolla, CA 92037.
                                                                                                         Appendix A145

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 Healthcare, and McKesson. In fact, McKesson alone was responsible for the distribution of

 approximately 40% of the Product to pharmacies in the United States and elsewhere. As a result

 of the Debtor’s concentrated distribution strategy (which is standard in the pharmaceutical

 industry), at any particular time, the three wholesalers/distributors were also obligated to the

 Debtor for approximately 95% of the Debtor’s US accounts receivable.

         2.       As of March 12, 2018 (the “Petition Date”), the Debtor was a party to two

 separate agreements with McKesson: the “Distribution Agreement”2 and the “Master Services

 Agreement.”3 The Distribution Agreement and the Master Services Agreement are referred to

 collectively as the “McKesson Agreements.”

         3.       Under the Distribution Agreement, McKesson Corp. purchased the Product from

 the Debtor and McKesson distributed the Product to various pharmacies throughout the United

 States and McKesson, through its corporate family of companies, provided other services. Under

 the Master Services Agreement, MPRS managed the Debtor’s LoyaltyScript® program for

 patients to have access, through retail pharmacies at the point-of-sale, to an array of price

 discounts for the Product.




 2
   The “Core Distribution Agreement” by and between McKesson Corp. and the Debtor was effective as of July 1,
 2016, and amended several times. The Distribution Agreement defined the terms and conditions pursuant to which
 McKesson Corp. and others within the McKesson corporate family would distribute the Debtor’s product and
 provide certain “core” services. Beesley Decl. ¶ 3.
 3
   The “Master Services Agreement” by and between MPRS and the Debtor dated as of July 15, 2016, as amended
 from time to time. The Master Services Agreement defined the terms and conditions pursuant to which MPRS
 assisted the Debtor in managing the Debtor’s LoyaltyScript® program. Beesley Decl. ¶ 5.
                                                                                                       Appendix A146

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        4.      In the Distribution Agreement, the parties agreed that McKesson Corp. had

 certain rights to “set-off, recoup and apply amounts” owed between the Debtor and its affiliates

 on the one hand, and McKesson and its affiliates on the other. Specifically, the parties agreed:

                “VII. General

                       ...

                i.Notwithstanding anything to the contrary in this Agreement, each
                of McKesson Corporation and its affiliates is hereby authorized to
                set-off, recoup and apply any amounts owed by it to
                Manufacturer’s [the Debtor’s] affiliates against any all [sic]
                amounts owed by Manufacturer or its affiliates to any of
                McKesson Corporation or its affiliates, without prior written
                notice[.]”

                Beesley Decl. ¶ 4.

 The rights accorded McKesson under that provision are referred to as “McKesson’s Application

 Rights.” These rights are fully enforceable under controlling California law.

        5.      The Motion’s relevant issue arises in the intersection of the business operations

 under the two McKesson Agreements. As a result of the integrated distribution-related activities,

 McKesson Corp. owed the Debtor for Product purchased as of the Petition Date (less certain

 amounts owed by the Debtor for services provided under the Distribution Agreement) and

 McKesson and all of its affiliates had the contractual right to apply any payables for product

 purchases against amounts owed to McKesson and all of its affiliates. As a result of the

 management of the Debtor’s LoyaltyScript® program, the Debtor in turn owed MPRS for

 program-related costs that were advanced by MPRS and not reimbursed by the Debtor. This was

 the exact circumstance anticipated by both McKesson and the Debtor at the time the Distribution

 Agreement was entered into and, as a result, express provisions were included in the Distribution

 Agreement to govern this exact situation.


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        6.     As of the Petition Date, the Debtor owed MPRS approximately $9.1 million under

 the Master Services Agreement, and McKesson owed the Debtor approximately $6.9 million

 under the Distribution Agreement. In this Motion, McKesson seeks an order authorizing it to

 exercise McKesson’s Application Rights to these obligations.

          7.   The resolution of the issues raised in this Motion has nothing to do with the

 Debtor, the Bankruptcy Code, the terms and conditions under the DIP Loan Facility provided to

 the Lenders, or the terms of the sale of the Debtor’s assets. Instead, the determining factors

 relate to the enforceability under applicable California law of certain provisions in the

 McKesson Agreements (now rejected) which expressly provide McKesson with certain

 contractual rights—McKesson’s Application Rights. Based on controlling California law, there

 is no legal or factual basis to limit the application of the express terms of the agreement that

 grants to McKesson the right to apply the amounts owed. McKesson anticipates that the

 Lenders will assert that under section 553 of the Bankruptcy Code, McKesson’s Application

 Rights cannot be asserted, and McKesson acknowledges there is considerable authority

 supporting the Lenders’ assertion. McKesson responds, however, and posits that the Lenders’

 argument flies in the face of several fundamental premises of bankruptcy law: (i) property

 interests are created and defined by State law; and (ii) to analyze such interests in any other way

 requires a determination that there exists a substantial federal interest that requires a different

 result. Moreover, as explained in more detail below, it would be grossly inequitable to bestow

 on the Lenders greater rights vis-à-vis McKesson then these Lenders held outside of

 bankruptcy.

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                                          STATEMENT OF FACTS

         8.       The Debtor and McKesson have already addressed a number of the issues

 associated with the McKesson Agreements.4 As set forth more particularly in the two

 stipulations entered into between McKesson and the Debtor (collectively, the “McKesson

 Stipulations”) [D.I. 176-1; D.I. 319-1], under the terms of the McKesson Agreements,

 McKesson provided product distribution, logistical support and other services for the Debtor.

 Beesley Decl. ¶ 8. As of the Petition Date, the Debtor was in default in its performance

 obligations under the McKesson Agreements. Beesley Decl. ¶ 8. McKesson incorporates, and

 will not repeat, the factual underpinnings of the Court-approved McKesson Stipulations.

         The Stipulation Related to the Master Services Agreement.

         9.       On April 11, 2018, an order was entered [D.I. 176] that approved the McKesson

 Stipulation attached as Exhibit A thereto (the “April Stipulation”) that addressed, among other

 things, the Debtor’s obligations under the Master Services Agreement5 related to the processing


 4
   See, e.g., the “Order Granting Debtor’s Motion Pursuant to 11 U.S.C. §§ 361, 363, 503 and 105(a) for Authority
 to Enter into Stipulation Granting Adequate Protection to McKesson Specialty Arizona, Inc. and its Affiliates” [D.I.
 176] and the “Order Granting Debtor’s Motion Pursuant to 11 U.S.C. §§ 361, 363 and 105(a) for Authority to Enter
 into a Stipulation with McKesson Corporation and McKesson Patient Relationship Solutions, a Business Unit of
 McKesson Specialty Arizona, Inc.” [D.I. 319].
 5
   The Master Services Agreement was amended several times: (i) the “First Amendment Master Service
 Agreement” dated as of October 10, 2016; (ii) the Second Amendment Master Service Agreement” dated as of
 January 20, 2017; and (iii) the “Third Amendment Master Services Agreement” dated as of October 2, 2017.
 Beesley Decl. ¶ 5.

 The LoyaltyScript® Program is further described in “Schedule A1—Schedule of Services for LoyaltyScript®
 Program for Contrave®” signed by the Debtor and MPRS and dated on or about July 25, 2016 (“Schedule A1”). In
 turn, Schedule A1 attaches a “Schedule of Fees” (the “Fee Schedule”). Beesley Decl. ¶ 7. The prefatory paragraph
 of Schedule A1 provides:

                  “This Schedule of Services A1 described the Services to be performed by
                  McKesson . . . and [the Debtor] for the LoyaltyScript® Program for Contrave
                  (the “Program”). This Schedule of Services and the attached Schedule of Fees
                  (the “Schedule”) are pursuant to the Master Services Agreement . . .”
                  Beesley Decl. ¶ 7.

 As a result, both Schedule A1 and the Fee Schedule were entered into pursuant to the Master Services Agreement.
                                                                                                            Appendix A149

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 of the Debtor’s LoyaltyScript® program for patients to have the benefit of an array of discounts

 off of the purchase price of the Product through retail pharmacies (the “LoyaltyScript®

 Program”). Beesley Decl. ¶ 5.

         10.      As set forth in the April Stipulation, McKesson asserted that it held a prepetition

 claim against the Debtor in the amount of approximately $9.1 million (the “McKesson

 Prepetition Claim”) for MPRS continued payments to patients and pharmacies on account of

 the Debtor’s obligations under the LoyaltyScript® Program before the Petition Date without

 reimbursement from the Debtor.

         11.      In the April Stipulation, the Debtor agreed to make substantial payments to MPRS

 to fund the “Reimbursement Funds” under the LoyaltyScript® Program, but expressly provided

 that the payments made shall not be applied to the McKesson Prepetition Claim. The April

 Stipulation unambiguously sets forth that “no payments under this Stipulation shall be on

 account of or applied to the McKesson Prepetition Claim . . .” [D.I. 176-1, page 6 of 14].

         12.      In the April Stipulation, the Debtor agreed to make a “Catch-up Payment” in the

 form of an “initial payment” of approximately $6.027 million to MPRS for the actual and

 projected amounts remitted or to be remitted by MPRS under the LoyaltyScript® Program. The

 Debtor also agreed to make weekly payments of $1.675 million ($25,000 to be applied to an

 “Administrative Fee” due under the Master Services Agreement, with the balance to replenish

 the “Reimbursement Funds” due under that agreement). McKesson agreed that it would not

 assert against the Debtor offset rights with respect to weekly payments in excess of the Debtor’s

 post-petition and pre-termination obligations under the LoyaltyScript® Program, but McKesson’s



 Schedule A1 was amended several times: (i) the “First Amendment to Schedule of Services for LoyaltyScript®
 Program for Contrave®” dated on or about January 8, 2017; and (ii) the “Second Amendment to Schedule of
 Services for LoyaltyScript® Program for Contrave®” dated on or about November 16, 2017. Beesley Decl. ¶ 7.
                                                                                                      Appendix A150

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 waiver of post-petition setoff rights related to the April Stipulation is limited to the situation

 where the Debtor has made “Excess Payments” to McKesson. [D.I. 176-1, page 7 of 14].

           13.     The April Stipulation also provides [D.I. 176-1, page 8 of 14] that upon (a) “entry

 of an order of the Bankruptcy Court which provides for the rejection of the Program Service

 Agreement”6 or (b) “the closing date of a sale of all or substantially all of the Debtor’s assets”

 (each of which, under the April Stipulation, is a “Termination Event”), each of the following

 shall occur “immediately:” (i) the Master Services Agreement shall terminate; (ii) McKesson

 shall be relieved of any obligation to perform under the Master Services Agreement; and

 (iii) McKesson shall no long provide any support function for the LoyaltyScript® Program.

           14.     The McKesson Prepetition Claim was based upon MPRS continuing to pay third

 parties (pharmacies and patients) for discounts and other services that, under the LoyaltyScript®

 Program were entirely obligations of the Debtor. MPRS continued the process, knowing that if

 the reimbursements under the LoyaltyScript® Program were to cease, that would cause confusion

 and damage to the Product and its patient base. Indeed, in the April Stipulation, the Debtor

 acknowledged that it believed and represented that the LoyaltyScript® Program was “critically

 necessary for the success and viability of the Debtor’s business and its ability to preserve and

 maximize value for creditors.” [D.I. 176-1, page 3 of 14].

           The Stipulation Related to the Distribution Agreement.

           15.     On May 18, 2018, an order was entered [D.I. 319] that approved the McKesson

 Stipulation attached as Exhibit A thereto (the “May Stipulation”) [D.I. 319-1] that specifically

 addressed, among other things, the obligations arising under the Distribution Agreement.

 Beesley Decl. ¶ 9. Under the Distribution Agreement, McKesson was authorized to operate as a



 6
     The “Program Service Agreement” is another name for the Master Services Agreement. Beesley Decl. ¶ 6.
                                                                                                       Appendix A151

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 distributor of healthcare products (defined in the Distribution Agreement as “the Product(s)”) for

 the Debtor and provide certain core services related thereto. Beesley Decl. ¶ 3.

        16.     Under the May Stipulation, McKesson acknowledged that as of the Petition Date,

 its outstanding payable owed to the Debtor was approximately $6.9 million. [D.I. 319-1, page 3

 of 9]. The Debtor acknowledged that after the Petition Date, McKesson paid approximately

 $3.266 million on account of that payable. McKesson contended that the entire amount of

 approximately $6.9 million is subject to McKesson’s claim of contractual setoff, recoupment,

 application, and withhold rights. [D.I. 319-1, page 3 of 9]. Further, in accordance with

 McKesson’s Application Rights, McKesson asserted that it has a contractual right, enforceable

 under applicable California law, to apply the amounts owed to MPRS under the LoyaltyScript®

 Program. [D.I. 319-1, page 4 of 9].

        17.     Under the May Stipulation, subject to a reservation of offset and other rights,

 McKesson paid the Debtor on account of any prepetition amounts owed under the Distribution

 Agreement, approximately $3.666 million. Beesley Decl. ¶ 9. As a result of that payment, the

 Debtor agreed that McKesson has paid in full the entire prepetition amount due under the

 Distribution Agreement. [D.I. 319-1, page 5 of 9].

        18.     The parties agreed in the May Stipulation that: “McKesson may continue to

 assert its right of setoff on a rolling basis over any monies owed to the Debtor and held by

 McKesson, including Post-Petition Distribution Agreement Receivables; provided that all parties

 reserve all rights, claims, counter-claims, objections, defenses, and remedies with respect to the

 same.” [D.I. 319-1, page 5 of 9]. The provision was intended to preserve McKesson’s

 Application Rights. The May Stipulation goes on to provide as follows:




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                “4.     Upon the occurrence of a Termination Event, or if the
                MPRS Prepetition Claim is not otherwise satisfied in full,
                McKesson, MPRS or both of them shall file a motion in the
                Bankruptcy Court seeking an order authorizing them to set off the
                MPRS Prepetition Claim against the Debtor’s Post-Petition
                Distribution Agreement Receivables (“McKesson’s Setoff
                Motion”). The Debtor reserves all rights, counter-claims,
                objections, and defenses in connection with McKesson’s Setoff
                Motion.

                5.       If McKesson’s Setoff Motion is granted and an Order is
                entered authorizing McKesson to set off the MPRS Prepetition
                Claim or requiring the Debtor to pay to MPRS all or any portion of
                the MPRS Prepetition Claim, within four (4) business days after
                entry of that Order (unless the effect of the Order is stayed pending
                appeal) then, as applicable: (a) McKesson may set off the MPRS
                Prepetition Claim to the extent authorized by the Court against any
                Post-Petition Distribution Agreement Receivables; (b) to the extent
                that Post-Petition Distribution Agreement Receivables at the time
                of the Order granting McKesson’s Setoff Motion under the
                Distribution Agreement are insufficient to allow for the required
                set off, the Debtor shall pay to MPRS the difference between the
                amount of setoff approved by the Court and Post-Petition
                Distribution Agreement Receivables then available for setoff; and
                (c) if such differential is not paid timely, MPRS shall, to the extent
                of any unpaid or insufficient amount, be granted a priority
                administrative claim under Section 503 of the Bankruptcy Code,
                which claim shall survive the Bankruptcy Case, including the
                terms of a confirmed plan in this case, and shall be due and
                payable by the Debtor or reorganized debtor.”

                [D.I. 319-1, page 6 of 9]. (Emphasis in the original).

        19.     The Order approving the May Stipulation provides that “[t]he Stipulation and this

 Order and the transactions contemplated thereby and hereby shall be without prejudice to (i) any

 and all rights McKesson and MPRS may have to assert an offset as of the Petition Date of the

 MPRS Prepetition Claim against the McKesson Prepetition Distribution Agreement Receivable;

 and (ii) any and all rights the Debtor may have to dispute, object, and assert claims, counter-

 claims, defenses, and remedies with respect to any offset assertion raised by McKesson and



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 MPRS.” D.I. 319, page 2 of 2. This Motion is “McKesson’s Setoff Motion” referenced in the

 Order approving the May Stipulation, and seeks to enforce McKesson’s Application Rights.

          20.   The Debtor recently obtained approval of a motion to sell substantially all of its

 assets, including substantially all rights associated with the Product, to a newly-formed entity

 (the “Buyer”). The sale transaction closed on July 27, 2018. [D.I. 640]. Under the asset

 purchase agreement, the Buyer purchased all accounts receivable, including any amounts owed

 by McKesson. [D.I. 231-4, page 64 of 433]. Under the terms of an amendment to the asset

 purchase agreement, the cash amount of the consideration for substantially all of the Debtor’s

 assets is $73.5 million. [D.I. 633-1]. The entirety of the proceeds of sale of the Debtor’s assets

 are subject to the security interest of and allocated to the Lenders, except only a relatively small

 negotiated “carve-out” available for distribution to administrative and unsecured creditors.

 Details of the “carve-out” were announced during the sale approval hearing (held on June 28,

 2018). See June 28, 2018 Transcript. [D.I. 474].

          21.   In order to protect McKesson’s property interest in the Disputed Funds, i.e.,

 McKesson’s Application Rights, the parties entered into a stipulation approved by a court order

 [D.I. 592]. Under that stipulation, the Debtor segregated $6,932,816.40, the amount of the

 Disputed Funds, and is holding those funds for the parties’ benefit pending resolution of

 McKesson’s Disputed Rights under the Motion. To the extent this Court denies McKesson’s

 Motion, and that order becomes final, then the Disputed Funds, “as cash collateral of the

 Lenders” will be paid to the Debtor, subject to the Lender’s security interest. [D.I. 592-1, page 6

 of 9]. In the near term, the Debtor is expected to file a plan of liquidation consistent with these

 terms.




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        22.   Thus, while the Debtor is ostensibly a party to the Motion, in truth it is merely a

 stakeholder for a group of lenders (collectively the “Lenders”) who would reap any benefit from

 denial of enforceability of McKesson’s Application Rights. In addition to holding substantially

 all of the secured debt of the Debtor, certain of the Lenders are hold approximately 90% of the

 equity interest in the Buyer and as to the holder of the remaining 10%, McKesson understands

 certain of the Lenders are creditors holding security interests in that entity’s assets.

                                       LEGAL ARGUMENT

        The Enforceability of McKesson’s Application Rights are Governed by California
        Law.

        23.     Section VII.b. of the Distribution Agreement provides that “[t]his Agreement will

 be governed by and construed in accordance with the laws of California, without regard to or

 application of conflict of law, rules or principles.” Said differently, if any party seeks to assert

 that under applicable nonbankruptcy law, the express language describing McKesson’s

 Application Rights in the Distribution Agreement is anything other than fully enforceable in

 accordance with its terms, such assertion must be grounded in California law. As to the impact

 of bankruptcy law, the analysis begins with Butner.

        24.     As determined by Butner v. United States, 440 U.S. 48, 55 (1979):

              “Property interests are created and defined by state law. Unless some
              federal interest requires a different result, there is no reason why such
              interests should be analyzed differently simply because an interested party is
              involved in a bankruptcy proceeding. Uniform treatment of property
              interests by both state and federal courts within a State serves to reduce
              uncertainty, to discourage forum shopping, and to prevent a party from
              receiving ‘a windfall merely by reason of the happenstance of bankruptcy.’
              [Citation deleted]. The justifications for application of state law are not
              limited to ownership interests; they may apply with equal force to security
              interests, including the interest of a mortgagee in rents earned by mortgaged
              property.”



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        25.     Unless, as said in Butner, “. . . some federal interest requires a different result,”

 California law applies to construe the Distribution Agreement and define the rights and

 obligations of the parties, including the enforceability of McKesson’s Application Rights. While

 section 553 of the Bankruptcy Code imposes certain defined restrictions in order to fit into the

 context of a bankruptcy, a non-debtor party’s contractual rights are preserved under the

 Bankruptcy Code, McKesson asserts that there is no federal interest that would impose a federal

 gloss on the application of state law to these rights. Recognizing that there are a large number of

 cases to the contrary (which do not address the Supreme Court’s clear guidance in Butner and

 similarly-decided cases), McKesson maintains that the correct reading of section 553 is to

 conclude that the section does not create any federal right of setoff and that it does not interfere

 with McKesson’s rights under California law and the enforceability of McKesson’s Application

 Rights. See generally Butner, 440 U.S. at 54 n.9 (creditor’s rights under state law may be

 suspended only in the event of an “actual conflict with the system provided by [the Bankruptcy

 Code]”).

        26.     It should also be noted the McKesson Agreements involve only a parent and a

 wholly-owned subsidiary, each of which undertakes to support another entity (in this case, the

 Debtor) by providing completely integrated services (i.e., distribution of Product as compared

 with management and logistical support for the Debtor’s LoyaltyScript® Program). In light of

 current business structures, one can posit that in that context, if any federal interests are affected,

 recognition of McKesson’s Application Rights better serves the federal interest in this context of

 patient care and safety.

        27.     Finally, McKesson’s Application Rights do not relate exclusively to common law

 offset. Far from it. In fact, the provision grants to McKesson at least three separate rights,

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 claims or defenses. The language of the Distribution Agreement grants to McKesson authority

 “. . . to set-off, recoup and apply any amounts owed . . .” Under the Distribution Agreement,

 McKesson has the authority (i) to set-off, (ii) to recoup, and (iii) to apply any amounts owed.

 These contract rights are not synonymous. As the Court is well aware, the right to set-off is

 different from the right to recoup, and different from generalized contract authority to apply

 amounts owed.

        28.     As a result, without a clearly articulated federal interest that would be

 substantially and negatively impaired by recognition of McKesson’s Application Rights, the

 Court should rely upon California law and allow those rights to be enforced.

        State Law Governs Mutuality and California Law Permits Express Agreements to
        Confirm the Nature of Parents and Subsidiaries.

        29.     Because state law governs the right to setoff, and are preserved under section 553,

 controlling state law should be relied upon as to the conditions for setoff. “Mutuality of

 obligations is determined by state law.” In re Garden Ridge Corp., 338 B.R. 627, 633 (Bankr.

 D. Del. 2006) (applying Texas law) (quoting In re Czyzk, 297 B.R. 406, 409 (Bankr. D.N.J.

 2003)); In re Sunset Aviation, Inc., 468 B.R. 641, 647 (Bankr. D. Del. 2011) (“the right of setoff

 requires mutuality between the debtor and the creditor under the applicable state law”)

 (emphasis added); In re Bill Heard Enters., Inc., 438 B.R. 745, 750 (Bankr. N.D. Ala. 2010)

 (“state law must be examined to determine whether mutuality exists”); Levine v. Kenny (In re

 Flooring American, Inc.), 302 B.R. 403, 406 (Bankr. N.D. Ga. 2003) (“Whether mutuality exists

 is an issue of state law.”) (applying Georgia law); County of Orange v. County of Orange, 183

 B.R. 609, 615 (Bankr. C.D. Cal. 1995) (“Mutuality is generally an issue of state law.”); see

 generally In re Calore Exp. Co., Inc., 288 F. 3d 22, 43 (1st Cir. 2002) (“Setoff is a creature of the

 common law, and therefore in most cases a question of state law”); In re MCB Fin. Grp., Inc.,
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 No. 10-11176-WHD, 2011 WL 8609454, at *4 (Bankr. N.D. Ga. Mar. 31, 2011) (“application of

 section 553 to preserve a right of setoff presupposes the existence of a valid, prepetition right of

 setoff, the source of which must be applicable nonbankruptcy law.”) (emphasis added).7

         30.      In the context of offset and similar transactions, courts look to section 553 of the

 Bankruptcy Code for guidance. Section 553 in pertinent part provides:

                  [e]xcept as otherwise provided in this section and in sections 362
                  and 363 of this title, this title does not affect any right of a
                  creditor to offset a mutual debt owing by such creditor to the
                  debtor that arose before the commencement of the case under this
                  title against a claim of such creditor against the debtor that arose
                  before the commencement of the case . . . 11 U.S.C. § 553(a).
                  (emphasis added).

         31.      Section 553 does not create a right of setoff, but merely preserves the right of

 setoff available under applicable state law. The Supreme Court in Citizen’s Bank v. Strumpf, 516

 U.S. 16 (1995) said “[a]lthough no federal right of setoff is created by the Bankruptcy Code, 11

 U.S.C. § 553(a) provides that, with certain exceptions, whatever right of setoff otherwise exists

 is preserved in bankruptcy. Here it is undisputed that, prior to the bankruptcy filing, petitioner

 had the right under Maryland law to set off . . .” 516 U.S. at 18-19. The Supreme Court also

 referenced section “553(a)’s general rule that the Bankruptcy Code does not affect the right of

 setoff . . .” 516 U.S. at 19. See also In re Garden Ridge Corp., 338 B.R. 627, 632 (Bankr. D.

 Del. 2006). Instead of creating a right of setoff, section 553 preserves for a creditor’s benefit any

 setoff right that it may have under applicable nonbankruptcy law. In re SemCrude, L.P., 399

 B.R. 388, 393 (Bankr. D. Del. 2009) (hereinafter, “Semcrude”).

         32.      As the Third Circuit has recognized, “[s]etoff rights arise under the common law

 of equity. In re Garden Ridge Corp., 386 F. App'x 41, 43 (3d Cir. 2010). Notably, the Third

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   As the Bankruptcy Code does not define the term “mutuality,” state law governs the meaning of that term. See,
 e.g., Kaufman v. Chalk & Vermilion Fine Arts, LLC, 31 F. App'x 206 , 208 (2d Cir. 2002) (noting that “[b]ecause the
 Bankruptcy Code does not define 'interests in property,' state law controls”).
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 Circuit cited page 409 of the Czyzk decision in support of the Third Circuit’s statement that setoff

 rights arise under the common law. Id. (citing Czyzk, 297 B.R. at 409). On page 409, the Czyk

 court held that “[m]utuality of obligations is determined by state law.”

        33.     Here, the Distribution Agreement is governed by California law, and therefore,

 this Court must first look to the California Supreme Court to determine setoff rights, including

 mutuality. The State Supreme Court has articulated that if there is an express mutual agreement,

 then a corporate subsidiary can “be deemed a mutual debtor-creditor of the parent.” Prudential

 Reinsurance Co. v. Superior Court, 3 Cal. 4th 1118, 1137 (Cal. 1992).

        34.     The Distribution Agreement contains the requisite mutual agreement under

 Prudential Reinsurance such that McKesson Corporation and all of its corporate subsidiaries,

 including MPRS, are to be considered mutual so as to allow McKesson to “set-off, recoup, and

 apply any amounts owed.” [Distribution Agreement at section VII.i]. The Distribution

 Agreement expressly references the parties at issue here – the wholly owned subsidiary of

 McKesson. The McKesson Application Rights do not involve any entity outside of the close

 family of entities that comprises the McKesson business enterprise and contemplates the modern

 reality of corporate structures where a corporation could bring all activities within a single

 corporate entity but for a variety of tax, liability, and historical considerations utilizes wholly

 owned subsidiaries for a variety of undertakings, especially in the context of the integrated

 services provided by the closely-related McKesson entities.

        35.     Enforcing the McKesson entities’ setoff rights under California is consistent with

 the holding of then Circuit Court Judge Stephen Breyer (now Justice Breyer) that state law,

 rather than federal law, governs setoff rights.

                The threshold question is whether the Bank's setoff rights are to be
                determined by state or federal law. The parties and the courts
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                below had proceeded on the assumption that Massachusetts law
                governs, but the Bank now raises the possibility that § 68 of the
                former Bankruptcy Act imposes a federal standard. Assuming that
                the question may be presented for the first time on appeal, compare
                Dobb v. Baker, 505 F.2d 1041, 1044 (1st Cir. 1974), with Johnston
                v. Holiday Inns, Inc., 595 F.2d 890, 894 (1st Cir. 1979), we believe
                that the bankruptcy court and district court properly looked to the
                law of Massachusetts. We are aware of no case holding that
                federal rather than state law governs pre-petition setoffs.


 In re Saugus Gen. Hosp., Inc., 698 F.2d 42, 44 (1st Cir. 1983); see also In re Garden Ridge

 Corp., 386 F. App’x 41, 43 (3d Cir. 2010) (“Setoff rights arise under the common law of

 equity.”).

        36.     Then Circuit Judge Breyer also specifically recognized that parties are free to

 modify by contract state common law setoff right. Specifically Judge Breyer declared as

 follows: “The Bank’s setoff rights are governed by Massachusetts’ basic common-law setoff

 doctrines. While the parties are free to modify these common-law setoff rules by contract, they

 have not done so here.” Id. at 44-45.

        37.     In Saugus General Hospital, Judge Breyer was addressing section 68 of the

 former Bankruptcy Act of 1898. That provision also required “mutuality” of debts. See 11

 U.S.C. § 68a (repealed 1978) (“in all cases of mutual debts or mutual credits between the estate

 of a bankrupt and a creditor the account shall be stated and one debt shall be set off against the

 other, and the balance only shall be allowed or paid.”). The Supreme Court long ago interpreted

 section 68a as recognizing common law setoff, not creating a right of federal set off. See

 Cumberland Glass Mfg. Co. v. De Witt, 237 U.S. 447, 455 (1915) (“This statute recognizes the

 nature of set-off, as established in common law and equitable procedure.”).

        38.     When Congress enacted section 553, it did not evidence any intent to change the

 law regarding the source of setoff rights. Indeed, the language of section 553 disproves any such
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 intent. See 11 U.S.C. § 553(a) (“this title does not affect any right of a creditor to offset a mutual

 debt owing by such creditor to the debtor that arose before the commencement of the case.”).

 Accordingly, the interpretation of section 68a is instructive when interpreting section 553 of the

 Bankruptcy Code. See Dewsnup v. Timm, 502 U.S. 410, 419 (1992) (“When Congress amends

 the bankruptcy laws, it does not write ‘on a clean slate.’ Furthermore, this Court has been

 reluctant to accept arguments that would interpret the Code, however vague the particular

 language under consideration might be, to effect a major change in pre-Code practice that is not

 the subject of at least some discussion in the legislative history.”); Pennsylvania Dept. of Public

 Welfare v. Davenport, 495 U.S. 522, 563 (1990) (“We will not read the Bankruptcy Code to

 erode past bankruptcy practice absent a clear indication that Congress intended such a

 departure.”); Kelly v. Robinson, 479 U.S. 36, 44 and 46 (1986) (declaring that established pre-

 Code practice “informs our understanding of the language of the Code”); Midlantic Nat’l Bank v.

 NJ Dept. of Envtl. Prot., 474 U.S. 494, 501 (1986) (“The normal rule of statutory construction is

 that if Congress intends for legislation to change the interpretation of a judicially created

 concept, it makes that intent specific. The Court has followed this rule with particular care in

 construing the scope of bankruptcy codifications.”).

        39.     Here, the parties have reaffirmed governing California common law by

 contractually providing that the related McKesson entities should be treated as a single

 counterparty for purposes of setting off their claims against the Debtor and the Debtor’s debts to

 the McKesson entities, all of which relate to an integrated product distribution and customer

 loyalty program.

        40.     Moreover, this result is consistent with California decisions finding a connection

 between parents and subsidiaries. See, e.g. Dorel Industries, Inc. v. Superior Court, 134 Cal.

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 App. 4th 1267, 1275-76 (Cal. Ct. App. 2005) (finding parent subject to general jurisdiction in

 California through subsidiary). California courts have found a tight connection between parent

 and subsidiary in many different situations, including common scenarios such as for purposes of

 jurisdiction, see id., or to attach liability, Las Palmas Assoc. v. Las Palmas Center Assoc., 235

 Cal. App. 3d 1220, 1248-48 (Cal. Ct. App. 1991) (finding sister company liable for fraud of

 affiliate). The relationship of a parent and subsidiary can also create disqualifying conflicts of

 interest for California attorneys who do work for both parent and subsidiary. Morrison Knudsen

 Corp. v. Hancock, 69 Cal. App. 4th 223, 252-53 (Cal. Ct. App. 1999) (disqualifying an attorney

 because of the “close relationship” between corporate affiliates).

          Section 553’s Restrictions on Setoff Should be Limited to Those Integrating Setoff
          into the Context of Avoidance Actions.

          41.      McKesson acknowledges, of course, that section 553(a) imposes material

 restrictions on a non-debtor party’s state law rights. For the most part, those restrictions relate to

 integrating setoff rights into the context of possible avoidance actions related to setoffs

 effectuated prepetition.8 Such integration effectively limits common law offset as a way of

 avoiding otherwise avoidable prepetition transfers. See, e.g., In re Elcona Homes Corp., 863 F.

 2d 483, 487 (7th Cir. 1988) (buying a debt in order to claim offset rights “. . . is plainly evasive

 and easily rebuffed. Indeed, it will normally violate 11 USC § 553(a)(3) which was added in

 1978 to close a loophole that had allowed preferences in the form of set offs, and which forbids a

 set off where the debt was incurred within 90 days before bankruptcy, while the debtor was

 insolvent, and for the purposes of obtaining a set off against him.”) The court in In re Brook

 Farms, 70 B.R. 368 (Bankr. E. D. Wisc. 1987), noted “[t]he enactment of § 553 was an

 expression of the Congressional intent sanctioning the exercise of setoff as a permissible

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   It is not a coincidence that section 553 is in the Bankruptcy Code with section 547 (Preferences) and section 548
 (Fraudulent Transfers).
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 preference under certain circumstances.” 70 B.R. at 372-73. Some courts have expanded the

 additional restrictions on a creditor seeking setoff and at times, McKesson posits that an overly

 expansive view of the prepetition restrictions on setoff under section 553 flies in the face of both

 applicable State law and the economic realities in today’s increasingly complex business

 environment (particularly where, as here, a creditor did not effectuate a prepetition setoff).

        42.     The impact of section 553 has been construed to impose restrictions to offset that

 would, outside of a bankruptcy setting be perfectly enforceable. Those conditions have been

 described as “well settled” (See, e.g., SemCrude at 393) and McKesson acknowledges that there

 are a large number of decisions that impose such limits. For example, a number of courts have

 read section 553(a) to require that “[i]n order to effect a setoff in bankruptcy, courts construing

 the Code have long held that the debts to be offset must be mutual, prepetition debts.” Semcrude

 at 393. See, e.g., Semcrude at 393-94 (“Because of the mutuality requirement in section 553(a),

 courts have routinely held that triangular setoffs are impermissible in bankruptcy. Moreover,

 because each corporation is a separate entity from its sister corporations absent a piercing of the

 corporate veil, a subsidiary’s debt may not be set off against the credit of a parent or other

 subsidiary, or vice versa, because no mutuality exists under the circumstances. Allowing a

 creditor to offset a debt it owes to one corporation against funds owed to it by another

 corporation—even a wholly-owned subsidiary—would thus constitute an improper triangular

 setoff under the Code.”); In re Lehman Brothers Inc., 458 B.R. 134, 139 (Bankr. S.D.N.Y. 2011)

 (“Contrary to the assertion by UBS that section 553 of the Bankruptcy Code ‘is derived from,

 and preserves, common-law setoff rights, . . . the text of section 553 is not limited to common-

 law setoff and by its plain wording applies whenever a creditor seeks to exercise any purported

 setoff right—including one created by contract—in a case under the Bankruptcy Code.”); Sass v.

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 Barclays Bank PLC (In re Am. Home Mortgage, Inc.), 501 B.R. 44, 57 (Bank. D. Del., 2013)

 (concurring “entirely with Judge Shannon’s decision [Semcrude]”.) McKesson is confident that

 the Lenders will refer to similar decisions.

        43.     That said, McKesson asserts that the correct reading of section 553—under

 controlling Supreme Court precedent—does not lend itself to impose such requirements on what

 would otherwise be a perfectly enforceable contract right, especially if they are not related to

 setoff in the context of prepetition avoidance actions. In fact, substantially all of the language of

 section 553 is on exactly that point: to incorporate avoidance concepts and make those concepts

 applicable to common law setoffs.

        MPRS’s Status as a Third Party Beneficiary Satisfies any Mutuality Requirement.

        44.     There is no dispute that MPRS is a third party beneficiary of the Distribution

 Agreement. Here, both McKesson Corp. and the Debtor intended that MPRS benefit from the

 provisions of the Distribution Agreement and, in particular, the provision that McKesson could

 apply amounts due to the Debtor against the amounts owed to MPRS. Under California law, a

 third party qualifies as a beneﬁciary and a non-named party under a contract where the

 contracting parties must have intended to beneﬁt that individual and such intent appears from the

 terms of the agreement. Brinton v. Bankers Pension Servs., Inc. (1999) 76 Cal. App. 4th 550,

 558; see also Cal. Civ. Code § 1559. And, under California law, in order to be entitled to third

 party beneﬁciary status, there is no requirement that that the person be named in the contract.

 Harper v. Wausau Ins. Corp. (1997) 56 Cal. App. 4th 1079, 1086.

        45.     As the third party beneficiary of the Distribution Agreement, MPRS is a party to

 that agreement and may sue for damages under that agreement. This precise point has been

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 recognized by the Judicial Council of California in its adoption the California Civil Jury

 Instructions (the “CACI”). As set forth in the CACI:

                   [Name of plaintiff] is not a party to the contract. However, [name
                   of plaintiff] may be entitled to damages for breach of contract if
                   [he/she/it] proves that [insert names of the contracting parties]
                   intended for [name of plaintiff] to beneﬁt from their contract.

                   It is not necessary for [name of plaintiff] to have been named in
                   the contract. In deciding what [insert names of the contracting
                   parties] intended, you should consider the entire contract and the
                   circumstances under which it was made.9 (emphasis added).

          46.      Thus, as a legally recognized party to the Distribution Agreement, MPRS stands

 in a direct counter-contractual relationship with the Debtor on both contracts—the Distribution

 Agreement and the Master Services Agreement. This satisfies any mutuality requirement for

 effectuating setoff or application of funds. See e.g. In re Bacigalupi, Inc., 60 B.R. 442, 446 (9th

 Cir. BAP 1986) (applying California law, the Ninth Circuit Bankruptcy Appellate Panel stated

 that a setoff claim ‘cannot fail for lack of mutuality’ where complaint in other acts alleges third-

 party beneficiary status); see also Saudi Basic Indus. Corp. v. ExxonMobil Corp., 194 F. Supp.

 2d 378, 394-95 (D.N.J. 2002) (Exxon, as a third party beneficiary to a contract, can assert a

 setoff defense and the setoff defense does not fail for lack of mutuality).

          Even if the Court were to Determine that Bankruptcy Law Controls the
          Enforceability of McKesson’s Application Rights, the Bankruptcy Court Should
          Determine those Rights to be Fully Enforceable in Full Accordance with their
          Terms.

          47.      The Distribution Agreement is to be “governed and construed in accordance with

 the laws of the State of California, without regard to or application of conflict of law, rules or

 principles.” Distribution Agreement, section VII.a.

 9
   The CACI is the product of a California Supreme Court-created panel, whose charge is to write instructions that
 are legally accurate and understandable to the average juror. The current-version of the CACI is available on-line at
 the following address: http://www.courts.ca.gov/partners/documents/caci_2018_edition.pdf . The California Model
 Jury Instruction for third-party beneficiary is attached hereto as Exhibit A.
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        48.     But a review of the language of section VII.i, the basis for McKesson’s

 Application Rights, demonstrates that the parties intended not just common law offset, but to

 allow each of the following remedies as each may be applicable: (i) offset, (ii) recoupment, and

 (iii) contractual application to claims owed by any of the McKesson affiliates against any

 obligations owed by the Debtor. It is noteworthy that the Debtor expressly authorized each of

 McKesson’s Application Rights two years before the Petition Date. In other words, under the

 controlling agreement, the parties agreed that each McKesson entity that is a creditor of the

 Debtor may apply a credit against that obligation in order to “balance the books,” so to speak. At

 this late date, if the Debtor or the Lenders assert that the provisions forming the basis of

 McKesson’s Application Rights were not an important and material element of the agreement,

 such an assertion cannot be made with a straight face.

        49.     McKesson anticipates that the Lenders will claim that McKesson is seeking to

 rely upon common-law offset to assert what has been described as a “triangular” (and therefore

 non-mutual) set off. Both Delaware law and California law recognize the right of setoff

 between two parties for mutual debts. See 10 Del. C. § 8120; California Code of Civil Procedure

 § 431.70. And in the Distribution Agreement, effective as of July 1, 2016 (more than two years

 ago), McKesson’s Application Rights were expressly reserved. As McKesson’s Application

 Rights include, but are not limited to, common law offset, this Motion does not rely merely upon

 common law offset rights. Instead, McKesson asserts that under California law, the right of

 contracting parties to provide for application of credits as described in McKesson’s Application

 Rights should be respected and control.

        50.     The cases that criticize provisions that purport to assert a “triangular” setoff

 among a debtor, a creditor and an affiliate (such as SemCrude) and those cases relying upon

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 earlier decisions without meaningful analysis, are not controlling. Those cases are governed not

 by state law, but by section 553(a) of the Bankruptcy Code, and rely upon a finding that the

 proposed offset does not meet the mutuality requirements of that section.

         51.      But that line of cases is not controlling for at least two reasons. First, in a number

 of instances, those cases dealt with a debtor and its affiliate, not a corporate creditor and its

 corporate affiliate. And since there was no finding that the debtor and its affiliate were

 substantively consolidated or alter egos,10 the Court could rely upon section 553(a) of the

 Bankruptcy Code. Of course, the determinative facts applicable to the Motion do not include a

 debtor and its affiliate, but instead, a creditor and its corporate affiliate. The second reason is

 that as set forth above, under controlling California law, a setoff involving a parent and a

 subsidiary is enforceable.

         52.      It is also noteworthy that in In re Garden Ridge Corp., 338 B.R. at 634, the

 bankruptcy court noted an agreement that includes an express provision to allow a “triangular”

 setoff between related entities can create the mutuality required for setoff. Under exactly those

 circumstances, the parties in the instant case intended that the obligations owed by the Debtor to

 a McKesson affiliate would be available to apply against the obligations of another McKesson

 affiliate to the Debtor.

         Under Section 9404 of the California Commercial Code, All of the Lenders’ Rights
         In the Debtor’s McKesson-Related Accounts Receivable Are Subject to McKesson’s
         Contractual Defenses.

         53.      McKesson’s Application Rights are expressly preserved by section 9404 of the

 California Commercial Code. The statute provides that:




 10
   The record reflects that in Semcrude, the debtors’ cases were consolidated for procedural purposes only. 399
 B.R. at 390.
                                                                                                          Appendix A167

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                  [T]he rights of an assignee are subject to both of the following:

                  (1) All terms of the agreement between the account debtor and
                  assignor and any defense or claim in recoupment arising from the
                  transaction that gave rise to the contract.

                  (2) Any other defense or claim of the account debtor against the
                  assignor which accrues before the account debtor receives a
                  notification of the assignment authenticated by the assignor or the
                  assignee.”

                  See Cal. Com. Code § 9404(a).11

         54.      Thus, a party assigned or otherwise taking a security interest in the Debtor’s asset

 takes that security interest subject to all of McKesson’s contractual rights and defenses, including

 claims enforceable as McKesson’s Application Rights . See In re US Aeroteam, Inc., 327 B.R.

 852, 870-71 (Bankr. S.D. Ohio 2005) (finding a bank takes a security interest subject to a pre-

 existing right to set-off). Bankruptcy courts have not hesitated to apply section 9404 (and its old

 Article 9 predecessor, § 9-318) when analyzing contract rights similar to rights of offset. See In

 re Calore Express Co., Inc., 288 F. 3d 22, 45-47 (1st Cir. 2002) (determining relative rights in

 collateral well after the bankruptcy sale of those assets by applying UCC Article 9).

         55.      The California Commercial Code lays out only three exceptions to application of

 section 9404, none of which apply here: (1) the statute does not apply to health care receivables;

 (2) any claim of offset can only reduce the amount owed; and (3) the claims of offset cannot

 have been waived. See Cal. Com. Code § 9404. First, the asset in question is not a health care

 receivable and this exception does not apply. See Cal. Com. Code § 9404(e). Second,

 McKesson’s Application Rights are only being asserted to apply the debt owed by the Debtor to

 satisfy the debt owed by McKesson, satisfying the requirement of section 9404(b).



 11
   As discussed, California law governs the Distribution Agreement, and any dispute regarding various obligations,
 and defenses to those obligations, would be interpreted under California law.
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         56.     And since McKesson has gone to extraordinary lengths to insure that it never

 waived McKesson’s Application Rights, any rights under the Distribution Agreement or any

 claims of offset, the third exception is likewise inapplicable. On the contrary, in the May

 Stipulation and various pleadings, McKesson has already raised McKesson’s Application Rights,

 and other issues of contractually and statutorily preserved offset rights, including before the

 Court. At the June 28 hearing, McKesson argued to this Court that “McKesson would have, and

 still has, it’s [sic] 9404 rights.” (Transcript at 97:20-21).

         57.     Consequently, McKesson’s Application Rights and other contractual rights under

 the Distribution Agreement are protected by section 9-404 of the California Commercial Code.

 McKesson’s Application Rights continue against third parties granted new security interests or

 otherwise assigned assets against which McKesson is entitled to apply its defenses.

         58.     It should also be noted that this result should come as no surprise to the Lenders.

 Since 90% or more of the Debtor’s US accounts receivable are related to the three principal

 national drug wholesalers, the Lenders would have had very little difficulty asking McKesson

 and the other wholesalers to waive their rights under section 9-404 of the Uniform Commercial

 Code. The Lenders chose not to request a waiver, and instead made their credit decisions with

 the understanding that the overwhelming volume of the Debtor’s US accounts payable were

 subject to the three wholesalers’ defenses and counterclaims described in section 9-404.

         59.     As of the Petition Date, McKesson owed the Debtor $6,932,816.40. Also as of

 the Petition Date, the Debtor owed MPRS approximately $8.5 million under the Master Services

 Agreement. Had this bankruptcy case not filed, McKesson would have been entitled to apply

 one debt to reduce the other obligation, as expressly agreed to between the parties, and as fully in

 accord with McKesson’s Application Rights. The Lenders, with full knowledge of McKesson’s

                                                                                             Appendix A169

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 business dealings with the Debtor and McKesson’s position as the Debtor’s largest customer and

 account payor, opted to forego seeking to have McKesson waive its UCC Section 9-404 rights

 and defenses, and its Application Rights. Having made that lending decision, it would be grossly

 inequitable to allow the Lenders to use the Debtor’s bankruptcy case as sword against

 McKesson. Stated another way, as between McKesson and the Lenders, the equities weigh

 heavily in favor of McKesson.

                                          NOTICE

        60.     Notice has been provided to the Debtor, the United States Trustee, and parties

 who have filed a notice of appearance in this case. McKesson submits that in light of the nature

 of the relief requested, no further notice need be provided.

                                  NO PRIOR REQUEST

        61.     McKesson has not made a prior request for the relief requested in this Motion in

 this or any other court.

                                      CONCLUSION

        Based on the foregoing, McKesson respectfully requests the Court grant the Motion and

 enter an order substantially in the form attached hereto as Exhibit B: (i) authorizing McKesson

 to apply the obligations the Debtor owes MPRS under the Master Services Agreement against

 the obligations McKesson owes to the Debtor under the Distribution Agreement.; (ii) directing

 the Debtor to make payment in accordance with paragraph 5 of the May Stipulation; and (iii)

 such other and further relief as the Court may deem just and proper. The Lenders are not

 entitled to a windfall at the expense of McKesson, particularly when that windfall would not be

 available to the Lenders outside of bankruptcy.




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 Dated: July 30, 2018                  Respectfully submitted,
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        EXHIBIT A




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                           As approved at the
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    Preface to CACI Updates
       This edition of CACI includes a number of additions and changes to the instructions, which
    were ﬁrst published in 2003. In providing these updates, the Judicial Council Advisory
    Committee on Civil Jury Instructions is fulﬁlling its charge to maintain CACI. The committee
    is also striving to add instructions in new areas of the law and to augment existing areas.
      The impetus for the revisions came from several sources including CACI users who
    detected changes in the law or who simply sought to do a better job of explaining the law in
    plain English. Responding to feedback from users is consistent with the Advisory
    Committee’s goal to act as a vehicle for maintaining CACI as the work product of the legal
    community. We hope that our hundreds of contributors view our role in the same way and that
    they will continue to support us.

    November 2017
                     Hon. Martin J. Tangeman
                     Court of Appeal, Second District
                     Chair, Advisory Committee on Civil Jury Instructions

    ____________________________________________________________________________


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    Preface
       These instructions represent the work of a task force on jury instructions appointed by Chief
    Justice Ronald M. George in 1997. The task force’s charge was to write instructions that are
    legally accurate and understandable to the average juror. The six-year effort responded to a
    perceived need for instructions written in plain English and the speciﬁc recommendation of
    the Blue Ribbon Commission on Jury System Improvement.
       Jurors perform an invaluable service in our democracy, making important decisions that
    affect many aspects of our society. The Judicial Council instructions attempt to clarify the
    legal principles jurors must consider in reaching their decisions. The instructions were
    prepared by a statewide, broad-based task force consisting of court of appeal justices, trial
    judges, attorneys, academics, and lay people. They are approved by the Judicial Council as the
    state’s official jury instructions under the California Rules of Court (see now Cal. Rules of
    Court, Rule 2.1050(a)). The Rules of Court provide that the use of these instructions is
    strongly encouraged (see now Cal. Rules of Court, Rule 2.1050(e)).
       These instructions were prepared with a minimum of three steps: staff attorney drafts,
    subcommittee reﬁnement, and full task force consideration. Initial drafts of the instructions
    were prepared by staff attorneys in the former Administrative Office of the Courts (now Legal
    Services Office) in San Francisco, primarily Lyn Hinegardner. Lawyers throughout the state
    provided subject-matter expertise and, in some cases, sets of instructions from which the task
    force began its drafting. These instructions were submitted to the legal community for
    comment and, in responding, hundreds of attorneys and judges provided valuable assistance.
    Several organizations, most particularly State Bar sections, provided invaluable input. A list of
    people and organizations who contributed to this effort follows; we apologize to those who
    have been omitted through oversight.
      We are grateful to the publisher of this work. Representatives of LexisNexis Matthew
    Bender worked closely with us to prepare the jury instructions for publication. We appreciate
    their efficiency and courtesy.
      We would also like to express our appreciation to our predecessor. The people of California
    and the legal community have been well served for over 60 years by BAJI, California Jury
    Instructions, Civil, Book of Approved Jury Instructions, written by a committee of the Superior
    Court of California, County of Los Angeles. That we have taken a very different approach to
    drafting of instructions does not detract from the historic importance of work done by the
    BAJI committee.
       We believe that these instructions go a long way toward achieving the goal of a plain-
    English explanation of the law. These instructions, like the law, will be constantly changing.
    Change will come not only through appellate decisions and legislation but also through the
    observations and comments of the legal community. The Judicial Council Advisory
    Committee on Civil Jury Instructions, which has the responsibility of maintaining these
    instructions, welcomes your comments and suggestions for improvement.

    September 2003
                     James D. Ward, Former Associate Justice
                     Court of Appeal, Fourth Appellate District, Division Two



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                                  301. Third-Party Beneﬁciary


         [Name of plaintiff] is not a party to the contract. However, [name of
         plaintiff] may be entitled to damages for breach of contract if [he/she/it]
         proves that [insert names of the contracting parties] intended for [name of
         plaintiff] to beneﬁt from their contract.
         It is not necessary for [name of plaintiff] to have been named in the
         contract. In deciding what [insert names of the contracting parties]
         intended, you should consider the entire contract and the circumstances
         under which it was made.


         New September 2003
                                        Directions for Use
         This topic may or may not be a question for the jury to decide. Third-party
         beneﬁciary status may be determined as a question of law if there is no conﬂicting
         extrinsic evidence. (Kalmanovitz v. Bitting (1996) 43 Cal.App.4th 311, 315 [50
         Cal.Rptr.2d 332].)
         These pattern jury instructions may need to be modiﬁed in cases brought by
         plaintiffs who are third-party beneﬁciaries.
                                     Sources and Authority
         •   Contract for Beneﬁt of Third Person. Civil Code section 1559.
         •   A third party may qualify as a beneﬁciary under a contract where the
             contracting parties must have intended to beneﬁt that individual and such intent
             appears from the terms of the agreement. (Brinton v. Bankers Pension Services,
             Inc. (1999) 76 Cal.App.4th 550, 558 [90 Cal.Rptr.2d 469].) However, “[i]nsofar
             as intent to beneﬁt a third person is important in determining his right to bring
             an action under a contract, it is sufficient that the promisor must have
             understood that the promisee had such intent. No speciﬁc manifestation by the
             promisor of an intent to beneﬁt the third person is required.” (Lucas v. Hamm
             (1961) 56 Cal.2d 583, 591 [15 Cal.Rptr. 821, 364 P.2d 685].)
         •   “Traditional third party beneﬁciary principles do not require that the person to
             be beneﬁted be named in the contract.” (Harper v. Wausau Insurance Corp.
             (1997) 56 Cal.App.4th 1079, 1086 [66 Cal.Rptr.2d 64].)
         •   Civil Code section 1559 excludes enforcement of a contract by persons who are
             only incidentally or remotely beneﬁted by the agreement. (Lucas, supra, 56
             Cal.2d at p. 590.)
         •   “Whether a third party is an intended beneﬁciary or merely an incidental
             beneﬁciary to the contract involves construction of the parties’ intent, gleaned
             from reading the contract as a whole in light of the circumstances under which
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        CACI No. 301                                                             CONTRACTS

            it was entered. [Citation.]” (Jones v. Aetna Casualty & Surety Co. (1994) 26
            Cal.App.4th 1717, 1725 [33 Cal.Rptr.2d 291].)
        •   Restatement Second of Contracts, section 302, provides:
                 (1)   Unless otherwise agreed between promisor and promisee, a
                       beneﬁciary of a promise is an intended beneﬁciary if recognition of
                       a right to performance in the beneﬁciary is appropriate to effectuate
                       the intention of the parties and either
                       (a)   the performance of the promise will satisfy an obligation
                             of the promisee to pay money to the beneﬁciary; or
                       (b)   the circumstances indicate that the promisee intends to
                             give the beneﬁciary the beneﬁt of the promised performance.
                 (2)   An incidental beneﬁciary is a beneﬁciary who is not an intended
                       beneﬁciary.
            This section has been cited by California courts. (See, e.g., Outdoor Services v.
            Pabagold (1986) 185 Cal.App.3d 676, 684 [230 Cal.Rptr. 73].)
        •   The burden is on the third party “to prove that the performance [it] seeks was
            actually promised.” (Garcia v. Truck Insurance Exchange (1984) 36 Cal.3d 426,
            436 [204 Cal.Rptr. 435, 682 P.2d 1100]; Neverkovec v. Fredericks (1999) 74
            Cal.App.4th 337, 348–349 [87 Cal.Rptr.2d 856].)
        Secondary Sources
        1 Witkin, Summary of California Law (10th ed. 2005) Contracts, §§ 685–706
        13 California Forms of Pleading and Practice, Ch. 140, Contracts, §§ 140.83,
        140.103, 140.131 (Matthew Bender)
        5 California Points and Authorities, Ch. 50, Contracts, § 50.132 (Matthew Bender)
        27 California Legal Forms, Ch. 75, Formation of Contracts and Standard
        Contractual Provisions, § 75.11 (Matthew Bender)
        2 Matthew Bender Practice Guide: California Contract Litigation, Ch. 19, Seeking
        or Opposing Recovery As Third Party Beneﬁciary of Contract, 19.03–19.06




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         EXHIBIT B




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

  In re                                                         Chapter 11

  Orexigen Therapeutics, Inc.,                                  Case No. 18-10518 (KG)

                             Debtor.1                           Objection Deadline: August 21, 2018 at 4:00 p.m. (ET)
                                                                Re: Docket No. 654


       OPPOSITION TO MOTION FOR AN ORDER DETERMINING THAT
    MCKESSON SPECIALTY ARIZONA IS ENTITLED TO THE DISPUTED FUNDS

            The Baupost Group Securities, L.L.C., EcoR1 Capital Fund, L.P., EcoR1 Capital Fund

   Qualified, L.P., Biotechnology Value Trading Fund OS, LP, Biotechnology Value Fund LP,

   Biotechnology Value Fund II, LP, Investment 10, LLC, MSI BVF SPV LLC, and Roadrunner

   Co. (collectively, the “Noteholders”) hereby file this opposition (the “Opposition”) to McKesson

   Corporation’s (“McKesson”) and McKesson Patient Relationship Solutions’, a business unit of

   McKesson Specialty Arizona, Inc. (“MPRS” and “McKesson Arizona”) Motion for an Order

   Determining that McKesson Is Entitled to the Disputed Funds [Docket No. 654] (the “Motion”).

   In support of the Opposition, the Noteholders respectfully submit as follows.

                                                INTRODUCTION

          1.       MPRS requests relief that courts regularly deny – to set off amounts owed to the

 Debtor by one of MPRS’s affiliates against its claim against the Debtor, known as a “triangular”

 setoff. Acknowledging that bankruptcy case law is uniformly contrary to its position, MPRS

 asserts, remarkably, that its attempted triangular setoff has “nothing to do with the . . . Bankruptcy

 Code.” Motion ¶ 7. MPRS is wrong. The Motion has everything to do with the Bankruptcy Code,

 and under the well-settled law of this District, a triangular setoff is not permitted.


          1
                   The last four digits of the Debtor’s federal tax identification number are 8822. The Debtor’s mailing
 address for purposes of this Chapter 11 Case is 3344 North Torrey Pines Court, Suite 200, La Jolla, CA, 92037.
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        2.      Prepetition, McKesson and the Debtor entered into a Core Distribution Agreement

 (the “Distribution Agreement”) pursuant to which McKesson purchased and distributed the

 Debtor’s weight loss drug Contrave®. Also prepetition, McKesson Arizona, through its business

 unit MPRS, and the Debtor entered into a Master Services Agreement (the “Services Agreement”),

 pursuant to which MPRS managed certain retail discount programs for the Debtor. It is undisputed

 that McKesson and McKesson Arizona are affiliated, but distinct, legal entities.

        3.      As of the petition date, McKesson owed the Debtor approximately $6.9 million

 under the Distribution Agreement, and the Debtor owed MPRS approximately $8.5 million under

 the Services Agreement. The following chart outlines the parties’ relationships and claims:




        4.      Pursuant to a series of stipulations approved by the Court, McKesson paid what it

 owed under the Distribution Agreement to the Debtor, MPRS reserved any rights to set off its

 claim up to the amount McKesson paid, and the Debtor reserved its right to contest MPRS’s setoff

 claim on any basis. MPRS now seeks to use a triangular setoff to claw back McKesson’s payment.

 Its basis for this is language in the Distribution Agreement stating that McKesson’s “affiliates”

 may set off their claims against amounts McKesson owes the Debtor, i.e., perform a “triangular”

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 setoff. The question put before the Court in the Motion is whether section 553(a) of the Bankruptcy

 Code gives effect to this language.

          5.       It is settled law in this District that triangular setoffs are not permitted under Section

 553(a) of the Bankruptcy Code, and that parties cannot create a right to perform one via in a

 prepetition contract. In re SemCrude, L.P., 399 B.R. 388, 393-94 (Bankr. D. Del. 2009) (Shannon,

 J.) (“Allowing a creditor to offset a debt it owes to one corporation against funds owed to it by

 another corporation—even a wholly-owned subsidiary—would thus constitute an improper

 triangular setoff under the Code.”).2

          6.       MPRS is understandably unhappy with its status as an unsecured creditor in this

 case. But it impermissibly seeks to “cut the line” in not one but two ways. One is to try to get

 paid ahead of all other general unsecured creditors via it triangular setoff claim. The other is to

 cut ahead of the holders of the Debtor’s Prepetition Secured Notes (as hereinafter defined) whose

 rights in the proceeds of their collateral – the funds at issue here – have priority over any setoff

 claim of MPRS. In the Final DIP Order (defined below), the Court found that the liens securing

 the Prepetition Notes were not subject to “offsets, recoupments, defenses, impairments, claims,

 counterclaims or cross-claims of any kind or nature,” a finding binding on MPRS, McKesson, and

 all other parties in interest in the case. Final DIP Order ¶¶ 10, 42. For this additional reason, the

 Motion should be denied.




          2
              Three of the other five bankruptcy judges in this District, including this Court, have cited (and agreed)
 with SemCrude on this point. In re Am. Home Mortgage Holdings, Inc., 501 B.R. 44, 56 (Bankr. D. Del. 2013)
 (Sontchi, J.); see In re TSAWD Holdings, Inc., 565 B.R. 292, 301 (Bankr. D. Del. 2017) (Walrath, J.); In re Direct
 Response Media, Inc., 466 B.R. 626, 658 (Bankr. D. Del. 2012) (Gross, J.). These cases are discussed in greater detail
 below.
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                                      FACTUAL BACKGROUND

 The Debtor, the Distribution Agreement, and the Services Agreement

        7.      The Debtor is a publicly-traded biopharmaceutical company that is focused on

 treating obesity and has commercialized a single pharmaceutical drug for weight management –

 Contrave® (“Product”). Declaration of Michael A. Narachi in Support of First Day Relief [Docket

 No. 3] (“Narachi Decl.”) ¶¶ 8, 11. In March 2016, the Debtor closed an offering of $165 million

 in 0% Convertible Senior Secured Notes due 2020 (the “Prepetition Secured Notes”). Id. ¶ 13.

 The Baupost Group Securities, L.L.C. and the other Noteholders hold a majority of the Prepetition

 Secured Notes. Id.

        8.      On June 9, 2016, McKesson and the Debtor entered into the Distribution

 Agreement. See Stipulation Between Debtor, McKesson Corporation and McKesson Patient

 Relationship Solutions, a Business Unit of McKesson Specialty Arizona, Inc. [Docket No. 281-1]

 (the “May Stipulation”) at 1 (stipulating to certain facts between the parties); Stipulation Between

 Debtor, Certain Secured Creditors and McKesson Corporation Regarding Resolution of Certain

 Disputed Claims [Docket No. 592-1] (the “July Stipulation”) at 1. Under the Distribution

 Agreement, McKesson purchased the Product from the Debtor and distributed it to various

 pharmacies. Motion ¶ 3; July Stipulation at 1.

        9.      On July 5, 2016, MPRS and the Debtor entered into the Services Agreement. May

 Stipulation at 1; see Stipulation for Entry of Order Providing McKesson With Adequate Protection

 with Respect to the Debtor’s LoyaltyScript® Program [Docket No. 109-2] (the “April

 Stipulation”). Under the Services Agreement, MPRS managed the Debtor’s LoyaltyScript®

 program for patients to have access to price discounts from retail pharmacies at the point-of-sale.

 Motion ¶ 3; July Stipulation at 3.

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         10.       The Distribution Agreement states:3

                   Notwithstanding anything to the contrary in this Agreement, each of
                   McKesson Corporation and its affiliates is hereby authorized to set-off,
                   recoup and apply any amounts owed by it to [the Debtor’s] affiliates against
                   any all [sic] amounts owed by [the Debtor] or its affiliates to any McKesson
                   Corporation or its affiliates, without prior written notice.

 Motion ¶ 4; July Stipulation at 3.

         11.       As of the Petition Date (defined below): (1) McKesson owed the Debtor

 $6,932,816.40 under the Distribution Agreement (“McKesson Receivable”); and (2) the Debtor

 owed MPRS approximately $8.5 million under the Services Agreement (“MPRS Claim”).4

 The Bankruptcy Case

         12.       On March 12, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under chapter 11 of the Bankruptcy Code. That same day, it filed a Motion for Entry of

 Interim and Final Orders, (I) Approving Debtor-In-Possession Financing Pursuant to 11 U.S.C.

 §§ 105(a), 362, and 364, Fed. R. Bankr. P. 2002, 4001 and 9014 and Local Bankruptcy Rule 4001-

 2; (II) Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. §§ 105(a), 362, and 363 of the

 Bankruptcy Code; (III) Granting Adequate Protection and Super-Priority Administrative Claims;

 (IV) Scheduling a Final Hearing; and (V) Granting Related Relief [Docket No. 4] (the “DIP

 Motion”). The Debtor sought authority to obtain secured, super-priority postpetition financing of




         3
               McKesson did not attach or otherwise submit copies of the Distribution Agreement or the Services
 Agreement.
          4
               The amount of the MPRS Claim is unliquidated. McKesson asserts that the Debtor owed MPRS
 approximately $9.1 million as of the Petition Date, Motion ¶ 6, but later asserts that the Debtor owed MPRS
 approximately $8.5 million, id. ¶ 59. In the April Stipulation, the Debtor and McKesson Arizona stipulated that
 McKesson Arizona asserted a claim of approximately $9.1 million in connection with LoyaltyScript®. April
 Stipulation at 3. In the May Stipulation, McKesson agreed that MPRS held a pre-petition claim of approximately $8.5
 million. May Stipulation at 3. The Debtor scheduled MPRS as holding two general unsecured claims for $267,269.34
 (based on “Trade Payable”) and $8,309,155.46 (based on “Savings Card”). See Schedules of Assets and Liabilities at
 83-84 [Docket No. 287]. MPRS’s proof of claim asserted a claim for “at least $8,564,075.68.” See Claim No. 122,
 attached hereto as Exhibit A.
                                                                                                          Appendix A192
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 up to $70,350,000 (the “DIP Loans” and the “DIP Liens”), which included: (i) up to $35,000,000

 in new money loans; (ii) $35,000,000 of roll-up loans; and (iii) a $350,000 fee. DIP Motion ¶ 3.

 The Noteholders were among the lenders in the debtor-in-possession facility (the “DIP Lenders”).

 Schedule 1, Debtor-in-Possession Credit and Security Agreement dated as of March 12, 2018

 [Docket No. 4-1] (the “DIP Agreement”).

        13.       On March 27, 2018, the United States Trustee appointed the Official Committee

 of Unsecured Creditors (the “Committee”) [Docket No. 91]. McKesson Specialty Health is one

 of the three members of the Committee. Id. Following its appointment, the Committee actively

 addressed its concerns over the DIP Agreement. See, e.g., Docket No. 130 (reservation of rights

 regarding DIP Motion, stating “[f]ollowing extensive discussions among the parties, the

 Committee, the Debtor, and the DIP Lenders, the parties have agreed to substantial modifications

 to the DIP Facility”).

        14.     On April 13, 2018, the Court entered a final order granting the DIP Motion [Docket

 No. 189] (the “Final DIP Order”). The Final DIP Order provided that the Prepetition Secured

 Notes were “secured by first priority, fully-perfected security interests in and liens on all of [the

 Debtor’s] right, title and interest in, to and under the ‘Pledged Collateral’ as defined in the Security

 Agreement, dated as March 21, 2016” and that no “offsets, recoupments, challenges, objections,

 reductions, defenses, impairments, claims, counterclaims, or cross-claims of any kind or nature to

 any of the [Prepetition Secured Notes] by any person or entity exist . . . .” Final DIP Order at ¶

 10(a), (c)(i). The Final DIP Order further provided that the findings in the Final DIP Order,

 including those in Paragraph 10, “shall be binding upon all parties in interest in the Chapter 11

 Case . . . except to the extent that (a) a party in interest with standing, has timely commenced an

 adversary proceeding or contested matter asserting any claims or cause of action against the

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 Prepetition secured parties, objecting to the prepetition secured Parties’ claims or liens, or

 challenging any of the admissions set forth in Paragraph 10 of this Final DIP Order.” Id. ¶ 42.

          15.      On March 16, 2018, the Debtor filed a motion (the “Sale Motion”) seeking, among

 other things, approval of a sale of substantially all of its assets to a stalking horse purchaser (the

 “Purchaser”) [Docket No. 70].5 On June 11, 2018, McKesson filed a limited objection [Docket

 No. 365] to the Sale Motion, which objection was withdrawn pursuant to the July Stipulation (as

 set forth below). On June 28, 2018, the Court entered an order (the “Sale Order”) approving the

 sale to the Purchaser [Docket No. 438]. The Sale Order authorized the Debtor to sell substantially

 all of its assets to the Purchaser (the “Sale”) pursuant to the terms of the “Asset Purchase

 Agreement” (as amended from time to time, the “APA”), dated April 23, 2018. Id. The Sale

 closed on July 27, 2018 (the “Closing Date”).6

          16.      The Debtor anticipates filing a plan of liquidation that will establish a litigation

 trust vehicle to litigate certain estate causes of action, resolve disputed claims, liquidate the

 remaining proceeds from the Sale, and make distributions to creditors. Debtor’s Motion for Entry

 of an Order Authorizing the Appointment of Thomas P. Lynch as the Debtor’s Wind Down Officer

 ¶ 8 [Docket No. 626]. It anticipates there will be an approximately 45 to 100 day period from the

 close of the Sale to the effective date of the Plan (the “Effective Date”). Id. Distributions under

 the Plan will be funded principally by proceeds of the Sale (“Sale Proceeds”). See id.



          5
             McKesson and MPRS suggest that the Debtor is “merely a stakeholder” for certain of its lenders, who hold
 substantially all of the Debtor’s secured debt. Motion ¶ 22. They also state that certain of the Debtor’s lenders hold
 90% of the equity interests in the Purchaser, and security interests in the assets of the entity holding the remaining
 10%. Id. To be clear, the Noteholders filing this Motion do not have equity interests in the Purchaser.
          6
             Pursuant to the Final DIP Order, the Debtor was required to pay the DIP Obligations “[p]romptly upon”
 receipt of “net cash proceeds from any asset disposition of DIP Collateral.” Final DIP Order ¶ 37. As discussed
 below, the July Stipulation required the Debtor to segregate the amount of the funds at dispute pending resolution of
 this Motion. July Stipulation ¶ 3.

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 The Stipulations

           17.    McKesson and McKesson Arizona entered into three stipulations concerning the

 claims.

           18.    The April Stipulation7 – On April 3, 2018, the Debtor and McKesson Arizona

 entered into the April Stipulation. The April Stipulation provided that McKesson Arizona would

 estimate the amount required each month to fund projected discounts, and would advise the Debtor

 via a monthly invoice (the “Reimbursement Invoice”). April Stipulation at 3. It also provided that

 the most recent Reimbursement Invoice, which was dated March 12, 2018, was for $6.3 million,

 and that McKesson Arizona asserted a $9.1 million prepetition claim against the Debtor. Id.

 Pursuant to the April Stipulation, the Debtor made a payment of $6,027,155 for amounts remitted

 under the LoyaltyScript® program from the Petition Date through April 8, 2018. Id. at 5. The

 Debtor also agreed to make weekly payments of $1.675 million. Id. The April Stipulation was

 clear that no payments would be on account of the prepetition claim. Id. The Court entered an

 Order approving the April Stipulation on April 11, 2018 [Docket No. 176].

           19.    The May Stipulation8 – On May 8, 2018, the Debtor, McKesson, and MPRS

 entered into the May Stipulation. The May Stipulation provided that the McKesson Receivable

 under the Distribution Agreement was $6,932,816.40 as of the Petition Date. May Stipulation at

 2. According to the May Stipulation, McKesson made postpetition payments of $3,266,255.76 to

 the Debtor, but contended that the McKesson Receivable was subject to contractual setoff, and

 imposed an administrative hold on $3,666,560.54 of prepetition amounts owing to the Debtor. Id.




           7
            McKesson and MPRS acknowledge that the April Stipulation related to only the Services Agreement. See
 Motion at 5.
         8
            McKesson and MPRS acknowledge that the May Stipulation related to only the Distribution Agreement.
 See Motion at 7.
                                                                                                      Appendix A195
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 Pursuant to the May Stipulation, McKesson agreed to make the $3,666,560.54 payment, which

 would be applied to, and satisfy, the McKesson Receivable. Id. at 4. McKesson and MPRS

 reserved all rights to seek to set off the MPRS Claim against the McKesson Receivable. Id. at 4-

 5. The Court entered an Order approving the May Stipulation on May 18, 2018 [Docket No. 319].

        20.     The July Stipulation – On July 19, 2018, the Debtor, the Lenders, and McKesson

 entered into the July Stipulation. The July Stipulation authorized McKesson or MPRS to file this

 Motion, and required the Debtor to segregate $6,932,816.40 (the “Segregated Funds”) to be held

 pending its resolution. Under the Final DIP Order, the Segregated Funds are cash collateral of the

 Prepetition Secured Noteholders. Final DIP Order ¶ 22. The Court entered an Order approving

 the July Stipulation on July 20, 2018 [Docket No. 592].

                                            ARGUMENT

        21.     MPRS seeks to set off the MPRS Claim against the McKesson Receivable, thus

 receiving immediate payment from Sale Proceeds ahead of the holders of the Prepetition Secured

 Notes and other creditors. The Bankruptcy Code, however, does not authorize such relief. The

 MPRS Claim is asserted by MPRS under the July 2016 Services Agreement, which governed

 management of a discount program. The McKesson Receivable was owed by McKesson under

 the June 2016 Distribution Agreement, which governed purchase and distribution of the Product.

 McKesson Arizona, of which MPRS is part, and McKesson are distinct legal entities. As a result,

 the claims are not “mutual.” Under Section 553(a) of the Bankruptcy Code, a creditor’s right to

 set off is preserved only to the extent of mutual claims. 11 U.S.C. § 553(a) (“this title does not

 affect any right of a creditor to offset a mutual debt . . .) (emphasis added).

        22.     MPRS’s attempts to distance itself from the plain language of section 553(a)

 Bankruptcy Code are varied, but all must fail. The case law squarely holds that parties cannot

 contract around the limiting term “mutual” contained in section 553(a) of the Bankruptcy Code.
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 MPRS’s alternative arguments likewise lack merit. Lastly, it is simply wrong that the MPRS

 purported setoff claim has priority over the Noteholders’ interest in the Sale Proceeds. Under the

 plain meaning of the Final DIP order, the liens securing the Prepetition Secured Notes were

 expressly protected from setoff or similar rights, giving the Noteholders priority over all of the

 Sale Proceeds, including the Segregated Funds.

 The McKesson Receivable and the MPRS Claim Lack Mutuality.

        23.     Bankruptcy Code section 553(a) provides that “this title does not affect any right

 of a creditor to offset a mutual debt owing by such creditor to the debt that arose before the

 commencement of the case under this title against a claim of such creditor against the debtor that

 arose before the commencement of the case.”

        24.     Section 553 requires that “the offset debts must be mutual, prepetition debts.” In

 re Sentinel Prods. Corp., 192 B.R. 41, 45 (Bankr. N.D.N.Y. 1996); In re Westchester Structures,

 Inc., 181 B.R. 730, 739 (Bankr. S.D.N.Y. 1995). Mutual debts are “due to and from the same

 person in the same capacity.” Modern Settings, Inc. v. Prudential-Bache Sec., Inc., 936 F.2d 640,

 648 (2d Cir. 1991). The burden of proof is on the party asserting the right to set off, In re Garden

 Ridge Corp., 338 B.R. 627, 632 (Bankr. D. Del. 2006), and the mutuality requirement is “strictly

 construed against the party seeking set off.” Sentinel, 192 B.R. at 46.

        25.     Here, MPRS seeks to setoff the MPRS Claim (which is based on the July 2016

 Services Agreement and governs management of a discount program) against the McKesson

 Receivable (which was paid by McKesson pursuant to the June 2016 Distribution Agreement and

 governs purchase and distribution of the Product). Numerous courts have held that such a setoff

 is impermissible under section 553. In re SemCrude, L.P., 399 B.R. 388, 393 (Bankr. D. Del.

 2009) (“Because of the mutuality requirement in section 553(a), courts have routinely held that

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 triangular setoffs are impermissible in bankruptcy.”); see Matter of United Science of Am., Inc.,

 893 F.2d 720, 723 (5th Cir. 1990) (“The mutuality requirement is designed to protect against

 ‘triangular’ set-off; for example, where the creditor attempts to set off its debt to the debtor with

 the latter’s debt to a third party.”); MNC Commercial Corp. v. Joseph T. Ryerson & Son, Inc., 882

 F.2d 615, 618 n.2 (2d Cir. 1989) (“[U]nder federal bankruptcy law, a subsidiary’s debt may not be

 set off against the credit of a parent.”); In re Am. Home Mortg. Holdings, Inc., 501 B.R. 44, 56-57

 (Bankr. D. Del. 2013) (“This Court concurs entirely with [SemCrude].”); Sentinel, 192 B.R. at 46

 (“[A] subsidiary’s debt may not be set off against the credit of a parent or other subsidiary, or vice

 versa, because no mutuality exists under the circumstances.”); In re Lehman Bros. Inc., 2011 WL

 4553015, at *5 (Bankr. S.D.N.Y. Oct. 4, 2011) (“The clarity of [section 553(a)] is conclusive—

 mutuality quite literally is tied to the identity of a particular creditor that owes an offsetting debt.

 The right is personal, and there simply is no ability to get around this language.”).

        26.     Nor can parties contract around the mutuality requirement, as MPRS argues. Two

 judges in this district have explicitly rejected that argument. SemCrude, 399 B.R. at 393 (Shannon,

 J.) (“non-mutual debts cannot be transformed into a ‘mutual debt’ under section 553 simply

 because a multi-party agreement allows for setoff of non-mutual debts between the parties to the

 agreement”); Am. Home Mortg., 501 B.R. at 57 (Sontchi, J.) (“it is established that debts must be

 mutual to be setoff and parties cannot contract around this requirement”). Two other judges in this

 district, including this Court, have agreed with those holdings. In re TSAWD Holdings, Inc., 565

 B.R. 292, 301 (Bankr. D. Del. 2017) (Walrath, J.) (noting that courts cannot enforce contracts

 inconsistent with the UCC, and citing SemCrude for the proposition that non-mutual debts cannot

 be transformed into mutual debts by virtue of a contract); In re Direct Response Media, Inc., 466

 B.R. 626, 658 (Bankr. D. Del. 2012) (Gross, J.) (stating that savings clauses that attempt to contract

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 around core provisions of the Bankruptcy Code are invalid, and citing SemCrude for the

 proposition that is “impermissible to allow parties to contract around the mutuality requirement of

 § 553”). Numerous other courts also agree. See, e.g., In re Arcapita Bank B.S.C.(c), 2014 WL

 2109931, at *3-4 (Bankr. S.D.N.Y. May 20, 2014) (“triangular setoffs are commonly disallowed

 in bankruptcy due to a lack of mutuality [and] [t]he fact that the setoff was provided for by contract

 does not alter this conclusion”); Lehman, 2011 WL 4553015, at *7 (“The careful analysis in

 SemCrude is persuasive. There simply is no contract exception to section 553(a), because the

 statute itself does not allow for one.”).

         27.     Thus, the case law clearly demonstrates that MPRS is not entitled to setoff the

 MPRS Claim against the McKesson Receivable.

 MPRS’s Arguments to the Contrary Lack Merit.

         28.     MPRS acknowledges that “there is considerable authority” that triangular setoffs

 are not permitted. Motion ¶ 7. Nevertheless, it argues that SemCrude and the cases that follow

 SemCrude do not have “meaningful analysis [and] are not controlling” for multiple reasons. It

 argues that: (1) California law controls rather than the Bankruptcy Code and California law permits

 triangular setoffs; (2) SemCrude and the cases were incorrectly decided and distinguishable on

 their facts; and (3) third party beneficiary status satisfies the mutuality requirement. Each of these

 arguments lack merit.

 The Bankruptcy Code Governs Setoff.

         29.     MPRS devotes a considerable portion of the Motion to the argument that California

 law, and not the Bankruptcy Code, governs setoff. It runs the argument gamut, first asserting that

 the Bankruptcy Code does not control at all, then that the Bankruptcy Code merely preserves state




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 law setoff rights without more, and last that state law governs the mutuality requirement under

 section 553. Each of these arguments fail.

         30.     First, MPRS detours into an “interests test” choice of law analysis, overlooking the

 fact that adjudication its setoff claim turns directly on the interpretation of a federal statute, section

 553(a) of the Bankruptcy Code. It asserts that the Bankruptcy Code “does not interfere with [its]

 rights under California law” and that no federal interests “would be substantially and negatively

 impaired” by permitting the triangular setoff. Motion ¶¶ 23-26, 28. It cites Butner v. United States,

 440 U.S. 48, 55 (1979) for the uncontroversial proposition that property interests are created and

 defined by state law, but incorrectly argues that “there is no federal interest that would impose a

 federal gloss on the application of state law to [setoff] rights.” Motion ¶ 25. To the contrary,

 setoff under section 553 is strictly construed because it creates a preference. In re Chamblin, 107

 B.R. 122, 123 (Bankr. N.D. Tex. 1989) (“[B]ecause § 553 creates a permissible preference of one

 creditor over another, the provision must be strictly construed.”); see Matter of Bevill, Bresler &

 Schulman Asset Mgmt. Corp., 896 F.2d 54, 57 (3d Cir. 1990) (stating that setoff “is at odds with a

 fundamental policy of bankruptcy, equality among creditors, because . . . .in effect, the creditor

 receives a ‘preference.’”). Therefore, the argument that the Bankruptcy Code should not control

 because there is no “clearly articulated federal interest” is wrong.

         31.     Second, MPRS argues that section 553 does not create a right of setoff, but merely

 preserves whatever right exists under state law without more. Motion ¶¶ 31, 35-38. It fails to

 recognize, however, that the cases it cites explicitly state that section 553 imposes additional

 restrictions to the requirement of an existing right to setoff. Citizen’s Bank v. Strumpf, 516 U.S.

 16 (1995) (“Although no federal right of setoff is created by the Bankruptcy Code, 11 U.S.C. §

 553(a) provides that, with certain exceptions, whatever right of setoff otherwise exists is preserved

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 in bankruptcy”(emphasis added)); SemCrude, 399 B.R. at 393 (“[S]etoff is appropriate in

 bankruptcy only when a creditor both enjoys an independent right of setoff under applicable non-

 bankruptcy law, and meets the further Code-imposed requirements and limitations set forth

 in section 553”(emphasis added)); Garden Ridge, 338 B.R. at 632 (noting that a creditor must

 establish that “it has a right of setoff under nonbankruptcy law” and that “this right should be

 preserved in bankruptcy under § 553,” and that “the granting or denial of the right to a setoff

 depends upon the terms of section 553, and not upon the terms of state statutes or laws.”).

         32.      MPRS also asserts that the Bankruptcy Code merely preserves state law rights to

 setoff because it continued the practices of former Bankruptcy Act, which merely preserved state

 law setoff rights. Motion ¶¶ 35-38. This argument fares no better because MPRS’s cited cases

 only stand for the proposition that § 68a of the former Bankruptcy Act did not expand existing

 setoff rights. Cumberland Glass Mfg. Co. v. De Witt, 237 U.S. 447, 455 (1915) (“The provision . . .

 does not enlarge the doctrine of set-off . . . .”); In re Saugus Gen. Hosp., Inc., 698 F.2d 42 (1st Cir.

 1983) (“It would be ironic were we to construe § 68 to place the Bank in a better position by virtue

 of the Hospital's bankruptcy than it would have occupied had the Hospital defaulted on its loan but

 been able to stay out of bankruptcy court.”). Those cases did not analyze the additional “restrictive

 language of . . . the Bankruptcy Act . . . .”9 Thus, the argument that section 553 does nothing but

 preserve state law setoff rights is incorrect.

         33.      Third, realizing that the first two arguments lack merit, MPRS pivots, arguing that

 the mutuality requirement in section 553(a) is governed by state law. Motion ¶¶ 29-32, 35-38. It

 asserts that because the Bankruptcy Code does not define the term “mutual,” such term must be


         9
             Judge Shannon carefully and thoroughly analyzed former Bankruptcy Act arguments in SemCrude, holding
 that the cases recognizing a triangular setoff pursuant to a contract were decided under “state law or the common law
 of equitable receivership,” not “the more restrictive language of either the Bankruptcy Act or Code.” SemCrude, 399
 B.R. at 395.
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 governed by state law. Id. ¶ 29 & n.7. This argument is mistaken. When Congress does not define

 a term, courts look at its ordinary meaning. Ransom v. FIA Card Servs., N.A., 562 U.S. 61, 69

 (2011) (“Because the [Bankruptcy] Code does not define ‘applicable,’ we look to the ordinary

 meaning of the term.”). As explained in SemCrude, bankruptcy courts interpret the term “mutual”

 to mean “due to and from the same persons in the same capacity” and because “mutuality is strictly

 construed against the party seeking setoff,” courts must give the term the narrow construction that

 a party may only “collect in his own name against the debtor in his own right and severally.” 399

 B.R. at 396-97 (emphasis added).

          34.      Accepting the idea that the term “mutual” is governed by state law would render

 that term superfluous. Ransom, 562 U.S. at 74 (rejecting interpretation of the term “applicable”

 that would render it superfluous). That is because section 553 already requires an existing setoff

 right under state law. Carn v. Heesung PMTech Corp., 579 B.R. 282, 295 (M.D. Ala. 2017) (“[A]

 creditor must have both an independent right of setoff under applicable non-bankruptcy law, and

 further satisfy the additional requirements imposed under § 553(a).”); In re Westchester Structures,

 Inc., 181 B.R. 730, 739 (Bankr. S.D.N.Y. 1995) (stating that section 553 “preserves . . . any right

 to setoff that the creditor had under applicable nonbankruptcy law . . . and adds additional

 restrictions.”). MPRS would have the court define “mutual” in such a way that any party satisfying

 the first requirement of section 553 (existing right to setoff under state law) would necessarily

 satisfy the second (mutuality). That construction is contrary to settled principles of statutory

 interpretation.10


          10
              Kaufman v. Clak & Vermilion Fine Arts, LLC, 31 F. App’x 206, 208 (2002), which McKesson relies on,
 stands for the unremarkable proposition that “interests in property,” for the purposes of what property is included in
 the estate, depends on state law. Kaufman cites Barnhill v. Johnson, 503 U.S. 393, 398 (1992), which in turn cited
 Butner for the proposition that “property” is a “creature[] of state law.” Thus, Kaufman does not address statutory
 interpretation—it addresses the concept that state law generally “determin[es] property rights in the assets of a
 bankrupt’s estate.” Butner, 440 U.S. at 54.
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          35.      Further, the authorities cited for the proposition that mutuality is determined by

 state law are inapposite. MPRS trumpets the fact that the courts in In re Garden Ridge Corp., 338

 B.R. 627, 633 (Bankr. D. Del. 2006) and In re Garden Ridge Corp., 386 F. App’x 41, 43 (3d Cir.

 2010) cited In re Czyzk, 297 B.R. 406 (Bankr. D. N.J. 2003) for the proposition that “[m]utuality

 of obligations is determined by state law.” Motion ¶¶ 29-32. But Czyzk is inapposite because it

 did not involve any triangular setoff—it involved a bank setting off its claim against a debtor

 against the debtor’s claim against the bank.11 Moreover, one of the cases McKesson cites for the

 proposition that mutuality is determined by state law explicitly states that “courts apply federal

 bankruptcy precedent and rarely refer to state law to determine whether mutuality exists” and

 denied a setoff request because the county and county investment pool could not be treated as the

 same entity for mutuality purposes under section 553(a). In re County of Orange, 183 B.R. 609,

 615-17 (Bankr. C.D. Cal. 1995).12 For these reasons, MPRS’s argument has no merit.

          36.      Even if MPRS were correct that California law governed the meaning of the term

 “mutual”, it does not provide authority demonstrating that triangular setoff by contract would even

 be permitted in California. Motion ¶¶ 33-34, 39-40. The only case cited to support its position is

 Prudential Reinsurance Co. v. Superior Court, 3 Cal. 4th 1118, 1137 (1992). Prudential is not

 persuasive for at least two reasons. First, it “involves specific provisions of the [California]

 Insurance Code, not general principles of mutuality and set-off.” Resources Warehousing &


          11
              Many of the other cited authorities are also inapposite because they do not involve triangular setoffs. In
 re Sunset Aviation, Inc., 468 B.R. 641 (Bankr. D. Del. 2011) (ruling on nunc pro tunc application of substantive
 consolidation order); In re Bill Heard Enters., Inc., 428 B.R. 745 (Bankr. N.D. Ala. 2010) (bank could setoff its claim
 against debtor because bank owed debt to debtor and debtor was obligated to bank); In re Calore Exp. Co., Inc., 288
 F.3d 22 (1st Cir. 2002) (discussing waiver of setoff rights and court’s equitable powers); In re MCB Fin. Grp., Inc.,
 2011 WL 8609454, at *4 (Bankr. N.D. Ga. Mar. 31, 2011) (addressing whether non-matured debts can satisfy the
 mutuality requirement).
          12
              In another one of MPRS’s cited cases, the court held that a principal did not have a preexisting right to
 setoff because the relevant agreement was between the debtor and the principal’s corporation. In re Flooring Am.,
 Inc., 302 B.R. 403, 406 (Bankr. N.D. Ga. 2003).
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 Consol. Servs. of Cal. v. Hatzlachh Supply, Inc., 45 F.3d 436 (Table), 1994 WL 711912, at *3 n.1

 (9th Cir. Dec. 21, 1994); see In re Liquidation of Home Ins. Co., 913 A.2d 712, 719 (N.H. 2006)

 (stating that Prudential addressed “whether reinsurance debts and credits generated between a

 reinsurer and the original insurer under the terms of their reciprocal contracts may be set off when

 the original insurer becomes insolvent”). Second, the language MPRS relies on is dicta. In

 Prudential, the court held that subsidiaries of a reinsurer were not principal reinsurers that had

 mutual reinsurance debts and creditors. It noted that “[a]ccordingly, we refuse to expand the

 section 1031 setoff of debts in the absence of an express mutual agreement that the subsidiary

 would be deemed a mutual debtor-creditor of the parent.” 3 Cal. 4th at 1137. Thus, the language

 regarding an “express mutual agreement” was not implicated by the facts.                                    Additionally,

 Prudential’s reference to “express mutual agreement” was followed by a citation to In re Berger

 Steel Company, 327 F.2d 401 (7th 1964), which Judge Walrath has explained did not actually

 create a contract exception to the mutuality requirement. SemCrude, 399 B.R. at 395.

          37.       The remaining California cases do not address setoff, and are based on alter ego or

 similar findings.13 Thus, MPRS has failed to demonstrate that it is entitled to setoff under

 California law. Garden Ridge, 338 B.R. at 632 (burden of proof on party asserting right to setoff).

 MPRS’s Attempts to Limit Section 553 and Distinguish the Caselaw Fail.

          38.       MPRS next argues that section 553 does not apply because its restrictions “relate

 to integrating setoff rights into the context of possible avoidance actions related to setoffs


          13
               Dorel Indus., Inc. v. Superior Court, 134 Cal. App. 4th 1267, 1275-76 (2005) (parent subject to general
 jurisdiction in California under the representative services doctrine, which applies when a company’s representative
 “provides services . . . sufficiently important to the foreign corporation that if it did not have a representative to perform
 them, the corporation’s own officials would undertake to perform substantially similar services”); Morrison Knudsen
 Corp. v. Hancock, 69 Cal. App. 4th 223, 252-53 (1999) (attorney had conflict of interest with subsidiary based on
 substantial relationship between attorney and parent and evidence of unity of interests between parent and subsidiary);
 Las Palmas Assocs. v. Las Palmas Ctr. Assocs., 235 Cal. App. 3d 1220, 1249-50 (1991) (alter ego findings under
 single business enterprise theory).
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 effectuated prepetition.” Motion ¶ 41. It contends that courts that “have expanded the additional

 restrictions on a creditor seeking setoff” have flown in the face of “both applicable State law and

 the economic realities in today’s increasingly complex business environment.” Id. It asserts that

 the only correct reading of section 553 “does not lend itself to impose such requirements” and

 argue that the caselaw is distinguishable. Id. ¶¶ 43, 49-52. It is incorrect.

        39.     As an initial matter, merely because certain parts of section 553 address avoidance

 issues, that does not mean that section 553 is limited exclusively to avoidance actions. Section

 553 balances the competing interests of convenience and avoiding preferential payments. Citizens

 Bank of Md. v. Strumpf, 516 U.S. 16, 19 (1995) (setoff “allows entities that owe each other money

 to apply their mutual debts against each other, thereby avoiding ‘the absurdity of making A pay B

 when B owes A’”); Bevill, Bresler & Schulman, 896 F.2d at 57 (stating that setoff “is at odds with

 a fundamental policy of bankruptcy, equality among creditors, because . . . .in effect, the creditor

 receives a ‘preference.’”). Because MPRS will receive a preferential payment if it prevails, it must

 satisfy the requirements of section 553.

        40.     More importantly, it is MPRS who “flies in the face of” the applicable law—the

 Bankruptcy Code—by “fail[ing] to engage in any analysis demonstrating that the [contract]

 exception actually fits within the statutory scheme.” Lehman, 458 B.R. at 142. Thus, “[t]he careful

 analysis in SemCrude is persuasive. There simply is no contract exception to section 553(a),

 because the statute itself does not allow for one.” Lehman, 458 B.R. at 142.

        41.     Further, the attempts to distinguish SemCrude and all of the other cases with similar

 holdings fall woefully short. First, MPRS argues those cases are not controlling because they are

 governed by section 553(a) “and rely upon a finding that the proposed offset does not meet the

 mutuality requirements of that section.” Motion ¶ 50. But that is exactly the flaw with the

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 Motion—MPRS fails to engage with the Bankruptcy Code and expressly distances itself from

 section 553, the very same Code section that governs the relief it is seeking. Second, it argues that

 those courts relied on section 553(a) because a number of those cases involved a debtor and its

 affiliate rather than a creditor and its affiliate, and there was no alter ego or substantive

 consolidation finding. Motion ¶¶ 50, 51. This is a classic case of a distinction without a difference.

 Section 553(a), on its face, does not distinguish triangular setoffs based on which side of the

 transaction creates the triangle. For example, section 553(a)’s reference to “mutual” is not

 followed by “but only if it involves a debtor and its affiliates.” And the curious references to alter

 ego findings prove why the Motion must fail. McKesson and MPRS are separate legal entities,

 who are certainly not claiming to be alter egos of one another.

 Third Party Beneficiary Status Does Not Establish Mutuality.

        42.     MPRS last suggests that it was a third party beneficiary of the Distribution

 Agreement, which negates the mutuality requirement. Motion ¶¶ 44-46. This argument is

 unpersuasive for two reasons.

        43.     First, MPRS cites only two cases for the third party beneficiary argument. But both

 In re Bacigalupi, Inc., 60 B.R. 442, 446 (B.A.P. 9th Cir. 1986) and Saudi Basic Indus. Corp. v.

 ExxonMobil Corp., 194 F. Supp. 2d 378, 394-95 (D. N.J. 2002) are inapposite. In Bacigalupi, the

 bankruptcy appellate panel held that the bankruptcy court should have granted relief from stay to

 allow a creditor to assert setoff as a counterclaim in a pending state court proceeding. 60 B.R. at

 446. It explained that allegations in the state court complaint that the corporation was a third party

 beneficiary of a lease between the debtor and an individual were sufficient to allow the creditor to

 assert the setoff claim in state court. Id. In Saudi Basic, the court held that a third party had

 adequately pled third-party beneficiary status, and that it could not resolve factual questions on a

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 Federal Rule of Civil Procedure 12(c) motion. Neither of the cases are like the facts here, where

 MPRS seeks immediate priority payment of a general unsecured claim based on an agreement

 between its affiliate McKesson and the Debtor.

        44.     Second, MPRS has not met its burden of factually demonstrating that it is a third

 party beneficiary. It has not filed the entire Distribution Agreement, instead quoting seven (7)

 lines that do not mention MPRS, MPRS’s claim, the Services Agreement, or any other

 circumstances that would demonstrate the parties’ intent. Jones v. Aetna Casualty & Surety Co.,

 26 Cal. App. 4th 1717, 1725 (1994) (“Whether a third party is an intended beneficiary or merely

 an incidental beneficiary to the contract involves construction of the parties' intent, gleaned from

 reading the contract as a whole in light of the circumstances under which it was entered.”). Nor

 does it acknowledge that the parties entered into the Distribution Agreement and Services

 Agreement at different times, and that they achieve separate things—the June 2016 Distribution

 Agreement governs purchase and distribution of the Product, while the July 2016 Services

 Agreement governs management of a discount program. Thus, assuming California law applies,

 McKesson has not satisfied its burden of proof. Garden Ridge, 338 B.R. at 632 (burden of proof

 on party asserting right to setoff); Sentinel, 192 B.R. at 46 (mutuality requirement is “strictly

 construed against the party seeking setoff”).

 MPRS Does not Provide any Authority or Explanation Regarding Its Alleged Recoupment
 or “Application” Rights.

        45.     MPRS argues that in addition to setoff, it has claims for recoupment and

 “contractual application to claims owed by any of the McKesson affiliates against any obligations

 owed by the Debtor.” Motion ¶ 48. However, it does not provide any authority providing that

 “recoupment” or claimed rights “to apply any amounts owed” entitle it to immediate payment in

 full of the MPRS Claim from the Sale Proceeds.
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        46.     In any event, recoupment does not apply when the claims arise under separate

 contracts and separate transactions. In re University Med. Ctr., 973 F.2d 1065, 1079 (3d Cir. 1992)

 (recoupment “is the setting up of a demand arising from the same transaction as plaintiff’s claim”

 and applies “where the relevant claims arise out of a single contract”); Lee v. Schweiker, 739 F.2d

 870, 875 (3d Cir. 1984) (in bankruptcy, recoupment doctrine applied where the claims “arise out

 of the same contract”). Here, the MPRS Claim is based on the July 2016 Services Agreement,

 under which MPRS managed the Debtors’ discount program.               The McKesson Receivable,

 however, is based on the June 2016 Distribution Agreement, under which McKesson brought the

 Product from the Debtor and distributed it. University Med. Ctr., 973 F.2d at 1079 (the “fact that

 the same two parties are involved, and that a similar subject matter gave rise to both claims . . .

 does not mean that the two arose from the same transaction.”); see, e.g., In re FormTech Indus.,

 LLC, 439 B.R. 352, 362-63 (Bankr. D. Del. 2010) (alleged recoupment did not arise out of the

 same transaction even where there was a single contract because the creditor’s claim did not relate

 to delivered goods on which receivables were based, but rather to breach of future obligations, and

 thus creditor merely had claim for rejection damages). And, “application rights,” by its own terms,

 means a right to “apply” one debt against another—which is the same as the setoff which MPRS

 seeks but has no right to under the Bankruptcy Code.

 UCC 9-404 Does Not Put the MPRS Claim Ahead of the Prepetition Secured Notes

        47.     Last, MPRS argues that under California’s Uniform Commercial Code, California

 Commercial Code § 9404, the Noteholders took their security interests subject to all of MPRS’s

 contractual rights and defenses, which include claims related to its claimed “Application Rights.”

 Motion ¶¶ 53-59. It asserts that its Application Rights “continue against third parties granted new

 security interests.” Id. ¶ 57. The argument lacks merit for at least two reasons.

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         48.     First, the Noteholders pre-petition security interests arise by virtue of the

 Prepetition Secured Notes, pursuant to an indenture and security agreement dated March 21, 2016.

 DIP Agreement at 1; see Final DIP Order ¶ 10(a) (the Prepetition Secured Notes are “secured by

 first priority, fully-perfected security interests in and liens on all of [the Debtor’s] right, title and

 interest in, to and under the ‘Pledged Collateral’ as defined in the Security Agreement, dated as

 March 21, 2016”). The Debtor entered into the Distribution Agreement on June 9, 2016, and the

 Services Agreement on July 5, 2016. April Stipulation at 1; May Stipulation at 1. Because the

 Noteholders’ pre-petition security interest predates the Services Agreement and the MPRS Claim,

 the claimed Application Rights could not have existed when the Noteholders received their

 security interest. It does not make sense that the Noteholders’ prepetition security interests would

 be subject to non-existent “Application Rights.” In re Printz, 478 B.R. 876, 887 (Bankr. C.D. Ill.

 2012) (“[Section] 9-404(a) does not provide Trainor’s contractual setoff rights priority over CNH’s

 prior perfected security interests.”); InfinaQuest, LLC v. DirectBuy, Inc., 18 F. Supp. 3d 959, 965

 (N.D. Ind. 2014) (noting that “allowing a contractual set-off right created after a perfected security

 interest to take priority would allow an end-run around the contract granting the security interest.”).

         49.     Second, MPRS does not acknowledge the terms of the Final DIP Order on the

 priority of the Prepetition Secured Notes. The Final DIP Order included a finding that no “offsets,

 recoupments, challenges, objections, reductions, defenses, impairments, claims, counterclaims, or

 cross-claims of any kind or nature to any of the [Prepetition Secured Notes] by any person or entity

 exist . . . .” Final DIP Order ¶ 10(c)(1) (emphasis added). Further, the Court ordered that the DIP

 Liens constitute: 1) “valid, binding, continuing, enforceable, fully-perfected first priority senior

 security interest in and liens upon the DIP Collateral . . . ,” id. ¶ 17; and 2) “valid, binding,

 continuing, enforceable, fully-perfected, first priority, priming DIP Liens upon the DIP Collateral

                                                                                                 Appendix A209
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 subject to Lien as of the Petition Date, and which shall be senior to all Liens secured the Existing

 Primed DIP Secured Obligations,” id. ¶ 19. The DIP Agreement defined “Lien” to include

 “restriction[s] of any kind.” DIP Agreement at 11.

         50.      Further, neither McKesson nor MPRS nor any other party timely challenged these

 findings. The Final DIP Order provided that any party challenging any of the admissions in

 paragraph 10 was required to commence an adversary proceeding or contested matter by no later

 than May 28, 2018. Id. And, that if no such challenge was timely commenced, the findings in

 paragraph 10 “shall be binding and preclusive on . . . all . . . parties in interests in this chapter 11

 case,” the “Prepetition Liens and Prepetition Secured Obligation shall not be subject to

 subordination, counterclaims, set-off, defense, avoidance or any other or further challenge by any

 party in interest . . . ,” and that “the repayment of any Prepetition Secured Obligations

 (including . . . by means of the Roll-Up Loans) in accordance with the terms of this Final DIP

 Order and the Prepetition Note Documents shall constitute an indefeasible payment and shall be

 final and binding for all purposes.” Id.14

         51.      McKesson and MPRS had notice of the DIP Motion. See Affidavit of Service at 8,

 11, & 23 [Docket No. 69]. McKesson Arizona acknowledged several terms of the interim DIP

 Order in the April Stipulation. April Stipulation at 4, 6. McKesson Specialty Health was a member

 of the Committee that was involved in “extensive discussions” that resulted in “substantial

 modifications to the DIP Facility” [Docket No. 130]. The Final DIP Order was also served on

 McKesson Arizona’s counsel by email on April 13, 2018, and on McKesson Arizona, MPRS, and

 McKesson Specialty Health by first class mail on the same date [Docket No. 239]. Neither




          14
             As noted above, the Debtor was required to pay the DIP Obligations “[p]romptly upon” receipt of “net
 cash proceeds from any asset disposition of DIP Collateral.” Final DIP Order ¶ 37.
                                                                                                       Appendix A210
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 McKesson nor MPRS filed any challenge. Thus, they are bound by the terms of the Final DIP

 Order. Thus, even if MPRS could have exercised a contractual triangular setoff (which it cannot),

 by operation of the Final DIP Order, the Prepetition Noteholders’ claims and liens take priority.



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                                          CONCLUSION

        WHEREFORE, for the reasons stated above, the Noteholders respectfully request that the

 Court deny the Motion in its entirety.

 Dated: August 21, 2018                     Respectfully submitted,
        Wilmington, Delaware
                                             WHITEFORD, TAYLOR & PRESTON LLC

                                             /s/ Aaron H. Stulman
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                                             L. Katherine Good (No. 5101)
                                             Aaron H. Stulman (No. 5807)
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                                             EcoR1 Capital Fund, L.P.
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                                             Biotechnology Value Trading Fund OS, LP
                                             Biotechnology Value Fund LP
                                             Biotechnology Value Fund II, LP
                                             Investment 10, LLC
                                             MSI BVF SPV LLC
                                             Roadrunner Co.

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                       EXHIBIT A




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                                CERTIFICATE OF SERVICE

               I, Aaron H. Stulman, do hereby certify that on August 21, 2018, I caused a copy of the

 foregoing Opposition to Motion for an Order Determining That McKesson Specialty Arizona is

 Entitled to the Disputed Funds to be served on the parties listed on the attached in the manner

 indicated.



                                            /s/ Aaron H. Stulman
                                            Aaron H. Stulman (No. 5807)




                                                                                         Appendix A223

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  Lockbox 35
  Wilmington, DE 19801
  Hand Deliver




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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE


  In re:                                                   Chapter   11


  OREXIGEN THERAPEUTICS, [NC.,                             Case   No. 18-10518 (KG)

                                 Debtor.l
                                                           Hearing Date: Only if Required by the Court
                                                           Objections Due: August 21,2018


         DEBTOR'S OBJECTION TO MCKESSON'S MOTION FOR AN ORDER
      DETERMINING THAT MCKESSON IS ENTITLED TO THE DISPUTED FUNDS

            Orexigen Therapeutics, Inc. ("Orexigen" or the
                                                                       ooÞr")         respectfully submits this

 objection (the "Obiection") to McKesson's Motion             for an Order Determining that McKesson             is

 Entitled to the Disputed Funds [D.I. 654] (the "Motion") in the above-captioned matter. In

 further support thereot the Debtor relies on the following documents which are incorporated by

 reference: (i) Declaration of Michael A. Narachi in Support of First Day Relief [D.I. 3] (the

 "First Day Declaration"), (ii) Order Granting Debtor's Motion Pursuant to                   1I   U.S.C. $$ 3ó1,

 363, 503 and 105(A) for Authority to Enter Into a Stipulation Granting Adequate Protection to

 McKesson Specialty Arizona, Inc. and lts Affiliates [D.I. 176] (Exhibit A thereto is the "April

 Stipulation"),         (iii) Order Grønting Debtor's Motion Pursuant to         Il    U.S.C. $$ 3ó1, 363 and

 105(A)     þr      Authority to Enter Into a Stipulation with McKesson Corporation and McKesson

 Pqtient Relationship Solutions, a Business Unit of McKesson Specialty Arizona, Inc.                    lD.I.3l9l
 (Exhibit A thereto is the "May Stipulation"), (iv) Order Approving Stipulation Between Debtor,

 Certain Secured Creditors and McKesson Corporation Regarding Resolution                              of Certain
 Disputed Claims lD.I. 5921(Exhibit A thereto is the "July Stipulation"), and (v) Declaration                    of

 Thomas        P. Lynch in Support of Debtor's Objection to McKesson's Motion þr an Order
 l The last four digits of the Debtor's federal tax identification number are 8822. The Debtor's mailing address for
 purposes of this Chapter I I Case is 3344 North Torrey Pines Court, Suite 200, La Jolla, CA 92037 .
                                                                                                         Appendix A225

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 Determining that McKesson is Entitled to the Disputed Funds (the "Lynch Declaration") (filed

 contemporaneously herewitþ.

                                         PRELIMINARY STATEMENT2

               1.         Movants attempt by the Motion to persuade the Court to take a far-flung legal

 journey over a landscape littered with inapposite authority and irrelevant arguments, leading the

 Court      - they hope - to a destination       where the triangular setoff relief requested         will be granted.

 But the Court need not take even one step down this tortured path: settled and                             persuasive

 authority in this District under the SemCrude decision and others provides clear direction to

 dispose        of the setoff relief    requested    in the Motion. And that direction is as follows:                  the

 mutuality required by section 553 cannot be supplied by a multi-party agreement contemplating

 a    triangular setoff. Thus, setoff should not be permitted here.

              2.          The facts are largely undisputed. Prepetition, Orexigen entered into the

 Distribution Agreement for distribution services related to its Product with McKesson Corp.

 Several weeks later, Orexigen retained MPRS, a separate legal entity from McKesson Corp., to

 administer a rebate program unrelated                to the distribution of the Product, where              customers

 purchasing the Product presented a rebate card at retail pharmacies and obtained a discount.

 MPRS provided these services to the Debtor through the LoyaltyScript@ Agreement.

              3.          Under the Distribution Agreement, McKesson Corp. operated as a distributor of

 the Product. As of the Petition Date, McKesson Corp. owed Orexigen $6,932,816.40. Under the

 LoyaltyScript@ Agreement, Orexigen paid to MPRS reimbursements MPRS made to pharmacies

 for discounts extended to patients under the rebate card. MPRS contends that it has a prepetition




 2
     Except as otherwise provided, all capitalized terms in this Preliminary Statement are defined in the Objection.
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 claim under the LoyaltyScript@ Agreement of approximately $9.1 million. Movants3 assert in

 the Motion that based on the contractual language of the Distribution Agreement, triangular

 setoff is permitted in this case.

                 4.        Movants' principal argument has been considered and soundly rejected by well-

 reasoned authority in this District and elsewhere. Although Movants are correct that McKesson

 Corp. must first hold a right to setoff under applicable law (state or federal), section 553 imposes

 an additional, express condition of mutuality that cannot be satisfied under the facts here.

 Movants' attempts to distinguish settled, persuasive decisions and rely on an inapposite Supreme

 Court case fall far short of the mark. They fail to cite any controlling or even relevant authority

 that would permit a triangular setoff under section 553.

                 5.        Movants also assert alternative theories that are equally unavailing      -   collapsing   of

 corporate formalities and alleged third-party beneficiary status                - to avoid the insurmountable
 obstacle of mutuality under section 553. These arguments have been decisively rejected by other

 bankruptcy courts. Nor can Movants establish the affirmative defense of recoupment                               -   an

 assertion Movants make but fail to prove or even fully brief. Accordingly, the Motion should be

 denied.a

                                            JURISDICTION AND VENUE
                                                                                                oo&US")
                 6.        The United States Bankruptcy Court for the District of Delaware (the

 has jurisdiction over the Motion pursuant                to 28 U.S.C. $$ 157 and 1334 and the Amended

 Standing Order of Reference from the United States District Court                  for   the District of Delaware




 '   McKesson Corp. and MPRS are referred to collectively as the "Movants."

 a
   The Motion does not establish that MPRS has a claim in any exact amount or even in the approximate amount
 asserted, and fails to provide any evidence in support of this claim. The Debtor reserves the right to dispute that the
 claim is valid. Thus, even if the Court accepts Movants' setoff or recoupment arguments, Movants are not entitled
 to the Initial Disputed Funds since they have failed to prove the alleged amount owed by the Debtor to MPRS.
                                                                                                             Appendix A227
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 dated February                29,2012. This matter is a core proceeding within the meaning of 28 U.S.C.

 $ 157(bX2), and the Court may enter a final order consistent with Article                  III of the United   States


 Constitution. Venue is proper in this district pursuant to 28 U.S.C. $$ 1408 and 1409.

                                                     BACKGROUNI)

                 7.          On March 12, 2018 (the "Petition Date"), the Debtor commenced the above-

 captioned chapter I 1 case (the "Chapter              1   I Case") by filing a voluntary   petition for relief under

 chapter 11             of title 11 of the United States Code, 11 U.S.C. $ 101, et seq. (as amended or

 modified, the "Bankruptcy Code") with the Court.

                 8.          The Debtor continues to operate its business as a debtor-in-possession pursuant to

 Bankruptcy Code sections 1107(a) and 1108. As of the date of this Motion, no trustee or

 examiner has been appointed in the Chapter 11 Case.

                 9.          On March 27,2018, the office of the United States Trustee (the "U.S. Trustee")

 appointed an official committee of unsecured creditors (the "Committee") [D.I. 9].

                  10.        A detailed description of the circumstances leading to the commencement of the

 Chapter I I Case and information regarding the Debtor's business is set forth in the First Day

 Declaration.

                  11.        On or about March 21,2016, the Lenders5 were granted a first-priority security

 interest in substantially all of the Debtor's current and future assets. See First Day Decl.,                  fl   15;


 see also Orexigen Therapeutics, Inc., Quarterly Report Pursuant                    to Section 13 or 15d of          the

 Securities Exchange Act of 1934 (Form 10-Q), 14 (May 5,2016).6




 5
     Capitalizedterms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion.

 6
   A publicly filed copy of the document can be found at:
  https://www.sec,gov/Archivesledgarldatall3S29l l/0001 193125165799701d174935d10q.htm.
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                  A.        The McKesson Corp. Distribution Agreement

                  12.       On or about June 9, 2016, McKesson Corporation ("McKesson Corp.")                       and

 Orexigen entered into that certain Core Distribution Agreement (as amended, the "Distribution

 Agreement"),7 by which McKesson Corp. and Orexigen agreed, inter alia, that McKesson Corp.

 would operate as an authorized distributor of healthcare products (the "Product") for Orexigen

 and provide certain services with respect of distributing the Debtor's Product. May Stip., p. 1;

 Beesley Decl.,              !f 3. Specifically, McKesson Corp. provided services related to packing                and

 shipping, regulating inventory levels, electronic reporting regarding distribution metrics,

 processing returns, and similar services typically related                      to   distributing   a product.     See


 Distribution Agreement, $ I.a. Under the Distribution Agreement, McKesson Corp. was required

 to pay Orexigen various fees. Id., Attachment B.
                                                                                                        ooln
                  13.       The Distribution Agreement also provides, in relevant part:                        the event

 [Orexigen] requires services . . . that McKesson Specialty can provide, McKesson Specialty will

 be given the opportunity to bid on providing these services to [Orexigen] at the time they may be

 put out for bid, along with any other competitor(s) that fOrexigen] may so choose." Id., ç VII.g.

                  14.       The Distribution Agreement further states that 'oeach of McKesson Corporation

 and its affiliates is hereby authorized to set-off, recoup and apply any amounts owed by                           it   to

 [Orexigen]'s affiliates against any [sic] all amounts owed by [Orexigen] or its affiliates to any of

 McKesson Corporation or its affiliates . . . ." Id., $ VII.i.8




 7
     The Distribution Agreement is attached as   Elbit   A to the Lynch Declaration.
 sThe
          Distribution Agreement also provides that California law governs its interpretaiion. Id., $ VII.b
                                                                                                                Appendix A229
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             B.       The MPRS LoyaltyScript@ Agreement

             15.      More than six weeks after the Distribution Agreement was executed, Orexigen

 and McKesson Patient Relationship Solutions, a business unit of McKesson Specialty Arizona,

 Inc. ("MPRS") entered into that certain Master Services Agreement dated as of July 15, 2016 (as

 amended and supplemented, the "LoyaltyScript@ Agreement"). May Stip., p. 1; Beesley Decl., fl

 5.     The LoyaltyScript@ Agreement provides that MPRS would develop a retail rebate program

 and provide processing of coupons for discounts               off of the Product through retail pharmacies. It

 does not incorporate the Distribution Agreement and does not relate                    to distribution of the

 Product. See generaltyLoyaltyScript@ Agreement.e It ulro does not confer any benefits on third

 parties. Id., ç12.1.

             16.      Instead, the LoyaltyScript@ Agreement operated as a way                for   customers to

 receive rebates on the Product at the point of sale. See Apr. Stip., !f D. V/hen the pharmacy was

 presented with a Product rebate card, the pharmacy confirmed with MPRS that the card was

 valid. Following approval from MPRS, the pharmacy allowed the discount at the point of sale

 and tracked the discounts        it   had honored. See          id.   Each pharmacy remitted to MPRS for

 reimbursement the discounts it had honored, and MPRS submiued the amount of the discounts to

 the Debtor for payment. See id. The Debtor paid to MPRS the cost of the rebate, which in turn,

 was paid to the pharmacy. See id.

             17.      Movants concede that MPRS and McKesson Corp. are separate legal entities.

 MPRS is a wholly owned subsidiary of McKesson Corp. Beesley Decl., fl                  1.


             C.       The Stipulations

             18.      During the Chapter 11 Case, the Debtor, McKesson Corp. and MPRS negotiated

 stipulations with respect to each of the parties' rights and obligations regarding alleged amounts

 e
     The Loyaþscript@ Agreement is attached as   sþiþi!!   to the Lynch Declaration.
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 owed by the Debtor to MPRS under the LoyaltyScript@ Agreement and by McKesson Corp. to

 the Debtor under the Distribution Agreement.

                 19.       In the May Stipulation, ooMcKesson [Corp.] acknowledges that as of the Petition

 Date the outstanding payable to the Debtor totaled six million, nine hundred thirty two thousand,

 eight hundred sixteen dollars and forty cents ($6,932,816.40) in prepetition amounts arising

 under the Distribution Agreement" (the "McKesson Distribution Receivable"). May Stip., p. 2.

 McKesson Corp.paid to the Debtor 53,266,255.76 on account of the McKesson Distribution

 Receivable. .Id. McKesson also paid the additional $3,666,560.64 on which McKesson Corp.

 had placed an administrative hold and did not timely remit.                    Id. Accordingly,   the McKesson

 Distribution Receivable was paid in full, but the issue of whether McKesson Corp. has a setoff

 right was preserved. ld.,p.3.

                 20.       Additionally, "MPRS asserts that it holds   a   prepetition claim against the Debtor in

 the amount of approximately $8.5 million under the LoyaltyScript@ Agreement" (the "MPR$

 Rebate Payable").               Id. However,   in the April Stipulation and as alleged in the Motion, MPRS

 asserts that           it is owed approximately   $9.1   million. Apr. Stip., fl G; Mot., fl 10. The Motion

 contains no support for the actual amount of the alleged MPRS Rebate Payable.

                 21.        In the May Stipulation'oMcKesson [Corp.] and MPRS each assert that as of the

 Petition Date and thereafter, they have a contractual right to set off the IMPRS Rebate Payable]

 against the [McKesson Distribution Receivable]." May Stip., p.                     3.   The Debtor disputed this

 contention, and the parties agreed to brief the issue which resulted in the Motion. 1d

                 22.       By the July Stipulation, the Debtor agreed to segregate $6,932,816.40 (the "Initial

 Disputed Funds") and is holding those funds to be distributed following resolution of the Motion.

 July Stip., tTlTE, 3.

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                    23. By Order dated July 17, 2018, the Distribution Agreement                           and      the

 LoyaltyScript@ Agreement were deemed rejected immediately following the closing of the sale

 of substantially all of the Debtor's             assets that occurred   on July 27,2018. See [D.I. 561]; [D.I.

 6401.

                                                       ARGUMENT

                    24.       Movants'principal contention in support of the Motion -lhat triangular setoff to

 which parties consent by agreement is permitted under Bankruptcy Code section 553 - has been

 soundly rejected by the United States District Court for the District of Delaware (the "District

 Court") in Chevron Prods. Co. v. SemCrude, L.P. (n re SemCrude, L.P.),428 B.R. 590 (D. Del.

 2010), upholding Judge Shannon's opinion in In re SemCrude, L.P.,399 B.R. 388.(Bankr. D.

 Del. 2009). Judge Farnan held thatoothe mutuality required by Section 553 cannot be supplied by

 a multi-party agreement contemplating triangular setoff" noting that such conclusion "is not

 only consistent with the facts and applicable case law, but also with the general bankruptcy

 principles conceming the strict construction of mutuality against the party seeking setoff."

 SemCrude,428 B.R. at 594. Based on meticulous analysis in this and similar decisions, any

 setoff relief sought by the Motion should not be granted.

                    25.       Movants' alternative arguments are meritless. Movants argue to collapse (or,

 conveniently, blur the lines between) separate legal entities using theories that have been rejected

 by multiple courts and ignore basic corporate principles ingrained in the Bankruptcy Code.                      See,


 e.g., SemCrude,399 B.R. at 399 ("great. weight of authority hold[s] that there is no reason for

 enlarging the right to setoff beyond that allowed in the Code.") (internal citations omitted).

 Further, Movants' assertion that McKesson Corp. can recoup funds it paid to the Debtor is fatally

 infirm because this defense lacks any factual or legal basis.              See   Miller   v. Zurich Am. Ins. Co.   (n

                                                                                                           Appendix A232
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 re    WL Homes LLC), 563 B.R. 512, 518 (Bankr. D. Del. 2017) (recoupment is affirmative

 defense; as such, burden is on asserting              party). Likewise, Movants' assertion that the California

 Commercial Code preserves contractual defenses is without merit because Movants cannot

 satisff the timing requirement of the statute. See Cal. Com. Code $ 9-a0a(a). Finally, to the

 extent that the Court accepts any of Movants' altemative arguments, Movants have not proven

 the amount of the MPRS Rebate Payable. See In re Allegheny Int'L, Inc.,954F.2d 167,173 (3d

 Cir.1992).

 I.              Movants Cannot Satisfv the Requirements of Bankruptcv Code Section 553

                 26.       The Court's analysis need only begin and end with the express provisions of the
                                                              okhen Congress has made its
 Bankruptcy Code applied to the present facts. Fundamentally,

 intent known through explicit statutory language, the courts' task [to interpret the statute] is an

 easy     one." English v. Gen. Elec. Co.,496 U.S. 72,79 (1990). Section 553 provides, in relevant

 Part,

                           this title does not affect any right of ø creditor to offset a mutuøl
                           debt owing by such credítor to the debtor that arose beþre the
                           commencement of the cøse under this title against a claim of such
                           creditor against the debtor thal ørose beþre the commencement of
                           thecase....

 I   I U.S.C.        $ 553(a) (emphasis added).

                 27.       There is no dispute that section 553 does not create a right       of setoff, and   so


 Movants must first demonstrate that McKesson Corp. has a right                     of setoff under applicable

 nonbankruptcy law and then overcome the additional restrictions of section 553. SemCrude,399

 B.R. at 393 (citing Packaging Indus. Grp. Inc. v. Dennison Mfg. Co. Inc. (In re Sentinel Prod.

 Corp.),192 B.R. 41, 45 G\I.D.N.Y. 1996) (oosection 553 'preserves for the creditor's benefit any

 setoff right that               it   may have under applicable nonbankruptcy law,' and 'ímposes addìtíonal

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 restríctíons on a creditor seeking setoff that must be met to impose a setoff against a debtor in

 bankruptcy.") (emphasis added)); Sass v. Barclays Bank PLC (In re Am. Home Mortg., Holdings,

 Inc.),501 B.R. 44, 56 (Bankr. D. Del. 2013); In re Gørden Ridge Corp.,338 B.R. 627,632

 (Bank. D. Del. 2006) ("To enforce a setoff ríght,'a creditor must establish that (1) it has a right

 of setoff under nonbankruptcy law; and (2) this right should be preserved in bankruptcy under $

 553."') (intemal citations omitted).

                    28.       McKesson Corp. may have a general right of setoff under Califomia law, and the

 McKesson Distribution Receivable and MPRS Rebate Payable (to the extent proven) both arose

 prepetition. But this does not end the analysis. McKesson Corp. also must satis$r the statutory

 requirements                for setoff under the Bankruptcy Code by establishing that "the debtor's claim

 against the creditor and the debt owed to the creditor [are] mutual."             1l U.S.C. $ 553. Movants

 have failed to meet their burden to establish mutuality under controlling case                   law.   Garden

 Ridge,338 B.R. at 632 ("The burden of proof is on the party asserting the right to set-off.").

 Accordingly, any setoff relief must be denied.

                    A.        The McKesson Distribution Receivable and the MPRS Rebate Payable are
                              Not Mutual Debts

                    29.       The McKesson Distribution Receivable and the MPRS Rebate Payable are not

 mutual debts, and for this reason McKesson Corp. has no valid setoff claim. "The additional

 restrictions imposed by section 553 are well-settled. In order to effect a setoff in bankruptcy,

 courts construing the [Bankruptcy] Code have long held that the debts to be offset must be

 mutual, prepetition debts." SemCrude,399 B.R. at393.

                              The authorities are also clear that debts are considered 'mutual'
                              only when 'they are due to and from the same persons in the same
                              capacity.' Put another way, mutuality requires that 'each party
                              must own his claim in his own right severally, with the right to

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                           collect in his own name against the debtor in his own right and
                           severally.'

 Id. (inlemal citations omitted). The mutualþ requirement aligns with an important policy

 behind setoff, which is to avoid "the absurdity of making A pay B when B owes                4."   Citizens

 Bonkv. Strumpf,516 U.S. 16, 18 (1995) (internal quotationmarks and citations omitted). The

 Bankruptcy Code requires "the strict construction of mutuality against the party seeking setoff."

 SemCrude,428 B.R. at 594; In re Bevill, Bresler & Schulman Asset Mgmt. Corp,,896 F.2d. 54,

 57 (3d Cir. 1990) ("[S]etoff is at odds with a fundamental policy of bankruptcy, equality among

 creditors, because it permits a creditor to obtain full satisfaction of a claim by extinguishing an

 equal amount of the creditor's obligation to the debtor.") (internal quotation marks and citations

 omitted).

                 30.       The McKesson Distribution Receivable and the MPRS Rebate Payable are not

 mutual debts. Orexigen entered into two separate contracts with two separate legal entities:            (l)

 the Distribution Agreement, executed by Orexigen and McKesson Corp. and (2)                             the

 LoyaltyScript@ Agreement, executed by Orexigen and MPRS. See Beesley Decl., llfl 3,                      5.


 Movants admit that McKesson Corp. and MPRS are separate entities. Id.,n I.

                 31.       Under the Distribution Agreement, McKesson Corp. owes the Debtor

 56,932,816.40. May Stip., p.            2. MPRS alleges   that the Debtors owe approximately $8.5 million

 in prepetition obligations under the LoyaltyScript@ Agreement. Id.,            p.3.   As illustrated below,

 setoff here against the Debtor could only be triangular, which is impermissible under section

 553. See SemCrude,428 B.R. at 594.




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                                                             Debtor



                                                                                  \   '@
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                                                                                           å.*




                                    McKesson     Corp.                                MPRS


                  32.       Desperate     to dodge the immutable obstacle of mutuality, Movants argue that

 because under California                 law an express agreement can confer mutuality between a parent and

 subsidiary, the Court should only consider California law when determining mutuality. Mot., !f

 33. This argument has been wholly rejected by the District Court in SemCrude                         and numerous

 bankruptcy courts analyzingtriangular setoffs under section 553.

                  33.       In SemCrude, the "thoroughly analyzed" Bankruptcy Court decision affirmed by

 the District Court, 428 B.R. 590 (D. Del. 2010), and widely cited as the contemporary, seminal

 case,lO a          creditor relying on a multi-party contractual agreement sought to setoff debts owed to

 one debtor with money due from another debtor                     -   a triangular setoff. SemCrude,399 B.R. at

 391-92. The Court found the proposed setoff improper because                         it   lacked mutuality required

 under the Bankruptcy Code. Id. at 392-93; see also In re Lehman Bros.,458 B.R. 134,                            l4l
 (Bankr. S.D.N.Y.                 20ll)   ("[T]riangular setoff   is not (and never was) permitted        under the


 r0
    The Bankruptcy Court opinion in SemCrude has been cited with favor by courts sitting in eight of the
 eleven U.S. Circuit Courts of Appeat. See In re Taal,2016 Bankr. LEXIS 2013, No, I4-10163-JMD , at *37
 (Bankr. D. N.H. May 16, 2016); Lehman Bros.,458 B.R. at 140; Am. Home Mortg., 501 B.R. at 56; Mine Serv. Co
 v. James River Coal Co. (In re Jqmes River Coal Co.),534 B.R. 666, 670 (Bankr. E.D. Va. 2015); In re Eng. Motor
 Co.,426 B.R. 178, 189 (Bankr. N.D. Miss. 2010); Sam's NA, Inc. v. U.S. Small Bus. Admin. (In re Sam's NA, Inc.),
 2016 Bankr. LEXIS 3766, No. 13-90259-BHL-ll, at *44 (Bankr. S.D. Ind. Oct. 19, 2016); Steadfast Ins. Co. v.
 lloodside Group, LLC (n re lhoodside Group, LLC),2009 Bankr. LEXIS 4360, No. 6:08-bk-20682-PC, at *14
 (Bankr. C.D. Cal. Dec. 30, 2009); Edwards Specialties, Inc. v. Olive Props. (In re Eàuørds), 553 B.R. 902,910
 (Bankr. N.D. Ala. 2016).
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 Bankruptcy Code."); Matter of United Sciences of Am., Inc., 893 F.2d 720, 723 (5fh Cir. 1990)

 ("The mutuality requirement is designed to protect against 'triangular' set-off; for example,

 where the creditor attempts to set off its debt to the debtor with the latter's debt to a third

 party.")i Elcona Homes Corp. v. Green Tree Acceptance, Inc., 863 F.2d 483, 486 (7th Cir. 1988)

 (Bankruptcy Code refers to oomutual" debt and ootherefore precludes 'triangular' setoff."). Put

 simply, "[t]he mutuality required by Section 553 'cannot be supplied by a multi-party agreement

 contemplating a triangular setoff."' SemCrLtde,428 B.R. at 594 (internal citations omitted); Ç/

 Burtch v. Seaport Capital, LLC Qn re Direct Response Media, Inc.), 466 B.R. 626, 658 (Bankr.

 D. Del. 2012) (citing SemCrude with favor; parties cannot contract around core provisions of the

 Bankruptcy Code).

                    34.       Despite Movants' cursory assertion that SemCrude           is   inapposite because it

 involves one creditor seeking                  to setoff   amounts between two debtors, the conclusion is no

 different where multiple affiliate creditors seek to setoff debts with respect to the same debtor.

 See Am. Home                  Mortg.,501 B.R. at 50-51,    57; Lehman   Bros.,458 B.R. at 140. In fact, in Sass   v,


 Barclays Bank PLC                  (n   re Am. Home Mortg., Holdings, Inc.), Ju'dge Sontchi rejected the very

 same argument Movants make here.                      Inlm.    Home Mort., the Court held that mutuality did not

 exist where a creditor sought to setoff its debts owed to the debtor with amounts owed by the

 debtor to one of the creditor's affiliates, and importantly, that the parties could not contract

 around the mutuality requirement. 501 B.R. at 57,60.

                    35.       Likewise, in In re Lehman Bros. the Bankruptcy Court for the Southern District       of

 New York rejected altogether the argument made here by Movants that a creditor could setoff its

 debt owed to a debtor with the creditor's affiliate's payable. 458 B.R. at 140. There, the creditor

 argued that the debts between the creditor and the debtor, and the creditor's affiliate and the


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 debtor, o'should be viewed as mutual because of the express provision allowing [a creditor] to

 ofßet amounts owed to its affrliate, notwithstanding the fact that this affiliate is not a named

 party to the fcontract providing for setoff]."          1d     The court chancterized the creditor's position

 as 'ocollecting         all affiliates under the same corporate umbrella and treating them as if they were a

 single counterparty" and found that

                         [t]his attempt to override the independent status of [the creditor's
                         affiliate] disregards a consistent pattern of authority prescribing
                         that, even where a setoff right exists under applicable state law,
                         the Bankruptcy Code imposes its own strict requirements[,]
                         namely, that the debtor owos a pre-petition debt to the creditor, the
                         creditor has a pre-petition claim against the debtor, and the debt
                         and claim are mutual.

 Id. (emphasis added). To punctuate the point, the court stated that "the allegedly mutual               debts

 flunk the test that they must be 'in the same right and between the same parties, standing in the

 same capacity."'              Id. (internal citations omitted). Movants weakly argue that these     cases are

 wrongly decided and suggest (with no support) that the strict requirements of section 553 should

 be limited to those cases arising in the context of prepetition avoidance actions. Mot., fl 43.

 SemCrude states the settled law in this jurisdiction, Lehman Bros. ís highly persuasive, and

 Movants' arguments to the contrary             fail. Triangular   setoffs, even with contractual agreement   of

 all parties, are not permissible under the Bankruptcy Code.

                B.        Nor Can Movants 6rGin Up" the Mutuality Requirement Lacking Here

                36.       Faced with persuasive case law rejecting their arguments in support of triangular

 setoffs, Movants dump into their bathtub of creative but meritless arguments inapposite state and

 federal cases in a last attempt to manufacture a basis for mutuality. Movants assert that the

 Supreme Court's discussion in Butner v, United States,440 U.S. 48 (1979) controls this Court's

 analysis. Mot., 123. Butner is inapposite, as the decision only applies the noncontroversial legal

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 principle that property interests are created and defined by state law. Butner,440 U.S. at 55.

 Critically, Butner did not            addressn   refer too or even mention section 553 or setoff rights at

 all; it concerned a mortgagee's interest in the rents and profits generated by a property in             a

 bankrupt estate. Id. at             54.   The Butner Court found that state law applied to a mortgagee's

 interest in the rents and profits earned by a property in a bankrupt estate because "Congress ha[d]

 not chosen to exercise its power" to enact a statute that modified state law, and there was no

 compelling federal interest to warrant displacing state law. Id. at 54-56.

                37.       In stark contrast to the relevant Bankruptcy Code provisions examined in Butner,

 however, Congress has chosen to exercise its power with respect to setoff in the bankruptcy

 context through the enactment of section 533. Section 553 mandates express conditions to the

 application of the right of setoff in bankruptcy (i.e., mutuality and timing) that may not exist

 under state           law.     See SemCrude, 399   B.R. at 393 ("Section 553 'preserves for the creditor's

 benefit any setoff right that             it may have under applicable   nonbankruptcy law,' but 'imposes

 additional restrictions on a creditor seeking setoff that must be met to impose a setoff against a

 debtor in bankruptcy.") (internal citations omitted), øff'd, 428 B.R. 590 (D. Del. 2010). Thus,

 Butner is neither applicable nor controlling regarding Movants' attempt to affect a triangular

 setoff.

                38. Nor does Butner require that the Court conduct a 'ofederal interest" test as
 Movants suggest. Movants contend that Butner mandates that unless 'osome federal interest

 requires a different result," only state law applies to setoff rights in bankruptcy. Mot., fl      25. In

 that respect, Movants misconstrue the Butner decision where the Court considered a federal

 interest only in the absence of express language from Congress altering state law. Butner,440

 U.S. at 54. Moreover, Movants' misapprehension of Butner and misplaced reliance on only state

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  law decisions regarding the application of setoff writes section 553 out of the Bankruptcy Code                  -
  a notion that even Butner rejects. See id. at 54 n.9 ("The Federal Constitution, Article                    I, $ 8,
  gives Congress the power to establish uniform laws on the subject of bankruptcy throughout the

  United States."). Because Congress expressly set forth additional requirements for setoff in the

  bankruptcy context, the Court here need not even consider, let alone apply, a federal interest test.

             39.        Movants then endeavor             to concoct mutuality under       theories   of   collapsing

  corporate entities and purported third-party beneficiary status. Both theories should be rejected

  by this Court, just as other courts have done.

             40.        There is no dispute that McKesson Corp. and MPRS are separate legal entities.

  Beesley Decl., tl              L. In accord with   unanimous corporate law decisions, each corporate entity is

  treated separately regardless of whether               it is a subsidiary.   See United States v. Bestþods, 524

  U.S. 51,, 6t-62 (1998)               ("It is a general principle of corporate law deeply 'ingrained in our
  economic and legal system' that a parent corporation                    . . is not liable for the acts of its
  subsidiaries."). The analysis is no different for purposes of mutuality required by section 553.

  See, e.g., SemCrude, 399 B.R. at 393 ("[B]ecause each corporation is a separate entity                     from its

  sister corporations absent a piercing of the corporate veil, 'a subsidiary's debt may not be set off

  against the credit of a parent or other subsidiary, or vice versa, because no mutuality exists under

  the circumstances."') (internal citations omitted); see ølso                 In re Garden Ridge Corp.,386 F.
  App'x     4'1.,   44 (3d Cir. 2008) (mutuality not satisfied where record does not show two debtors

  were alter egos                of one another because they had "acted in           disregard   of their corporate
  separateness").

             41,.       Movants' reliance on "California decisions finding a connection between parents

  and subsidiaries," Mot., T 40, also does not establish mutuality under the Bankruptcy Code. See

  SemCrude, 399 B.R. at 3931' see also Lehman Bros.,458 B.R. aI" "1.40 (holding setoff between
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  creditor affiliates fails for mutuality); HAL, Inc. v. United States (In re HAL, Inc.), 196 B.R. 159,

  163 (9th Cir. BAP 1996) ("Thus,           in the corporate context, it is well-established that one
  subsidiary may not set off a debt owed to a bankrupt against a debt owing from the bankrupt to

  another subsidiary.") (internal citations omitted); Depositors Trust Co. v. Frati Enter., lnc.,590

  F.zd377,379 (1st Cir. 1979)("It is well established that one subsidiary may not setoff a debt

  owed to a bankrupt against a debt owing from the bankrupt to another subsidiary."); Inland Steel

  Co. v. Berger,327 F.2d 40L, 406 (7th Cir. L964) (affirming finding that parent corporation may

  not setoff a debt owed from an entity to its subsidiary against a debt         it   owes to the same

  entity); Garden Ridge,338 B.R. at 635-36 (collecting additional cases). Because McKesson

  Corp. and MRPS have not, in fact, been collapsed into one entity (and there is no basis on which

  to do so), each entity must stand on its own for purposes of a mutuality determination under the

  Bankruptcy Code.

            42.         Movants next try to fabricate mutuality by anointing MPRS with third-party

  beneficiary status under the Distribution Agreement, positing that MPRS "stands in a direct

  counter-contractual relationship with the Debtor on both contracts." Mot.,     1T   46. This   argument

  also fails for purposes of section      553. Bankruptcy courts   have held that a party's status as a

  third-party beneficiary (even where proven) does not satisfy mutuality of debt under section 553

  because third-party beneficiaries lack the requirement that the creditor act in the "same capacity"

  under the definition of mutuality. See, e.g., Lorlisiana, Office of Cmty. Dev. V. Celebrity Contrs.,

  Inc. (In re Celebrity Contrs., Inc.),524 B.R. 95, LIL (Bankr. E.D. La. 201,4) (corporation cannot

  use status as third-party beneficiary under contract to create mutuality under section 553 because

  third-party beneficiaries do not act in same capacity as direct contractual counterparties); In, re

  J.A. Clark Mech., Inc.,80 B.R. 430, 433 (Bankr. N.D. Ohio 1987) (Setoff under section 553 fails


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 for lack of mutuality because "[a]s third-party beneficiary, any right to recover would not be in

  the same right and capacity as the direct contractual obligation.").

                    43.       Each of the two cases cited by the Movants are readily distinguishable. ln In re

 Bacigalupi, Inc., a BAP held that the bankruptcy court should have allowed relief from stay to

  allow a creditor to assert setoff as a counterclaim in a pending state court proceeding. 60 B.R.

  442, 446 (B.A.P. 9th Cir. 1986). ln Ssudi Basic Indus. Corp. v. ExxonMobil Corp.,                  a patent case


  involving setoff outside of bankruptcy, the court held that a third party had adequately pled third-

  party beneficiary status, and that it could not resolve factual questions on a Federal Rule of Civil

  Procedure 1"2(c) motion. 194 F. Supp. 2d378,394-95 (D. N.J. 2002).

                    44.       And Movants have not proven that MPRS is a third-party beneficiary       - they just
  say that MPRS                      is one because of the language in the Distribution      Agreement generally

  preserving              setoff. The Distribution Agreement          does not confer, expressly or otherwise, any

  third-party beneficiary rights on MPRS; the contract simply notes that MPRS (assuming MPRS

  falls under the umbrella of "McKesson Specialty") may bid to provide services to the Debtor.

  Distribution Agreement, $                  VII.g. The Debtor   was free to contract with any party, however, to

  provide these services. And the facts here compel the conclusion that only McKesson Corp., not

  MPRS, stands                   to benefit under Movants' theory: only McKesson Corp. benefits if              the

  Distribution Receivable is setoff against the Debtor's obligation to pay the MPRS Rebate

  Payable, since MPRS's claim would be correspondingly reduced                        in a substantial amount with

  respect to this significant receivable.ll

                     45.       Policy grounds also exist for the Court to reject the subsidiary and the third-party

  beneficiary theories of mutuality. To accept either would improperly and disproportionately

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    M"K"rron Corp. cannot be a third-party beneficiary under the LoyaltyScript@ Agreement, because $12.1 of that
  contract expressly precludes any third-party beneficiaries.

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 confer on extended corporate families (such as McKesson Corp. and all its affiliates) enlarged

  rights not contemplated by the Bankruptcy Code. See SemCrude,399 B.R. at 399 (great weight

  of authority holds "there is no reason for enlarging the right to setoff beyond that allowed in the

  Code.") (internal citations omitted). The priority scheme currently set forth in the Bankruptcy

  Code could be manipulated by creditors that have extended corporate families without recourse

  for other creditors. Corporate parents could require in all contracts all-encompassing setoff

  clauses referencing all            of their affiliate entities to elevate their claims to the disadvantage of

  other creditors. That result is contrary to Congress's intent set forth in section 553 and the

  priority scheme generally. See, e.g., id. at397 (noting with respect to Congressional intent, "[i]n

  articulating who must owe whom a debt to effect a setoff under section 553(a), Congress used               a


  greater detail of precision than is seen in many other parts of the Code. This statutory language

  is of critical importance.").

                  46.       Movants' alternative arguments to contrive mutuality are baseless, without any

  support under the Bankruptcy Code. Thus, any setoff relief should be denied.

                 C.         No Contractual Exception to Bankruptcy Code Section 553 Exists

                 47.        Movants' contention that under California law an "express mutual agreement" can

  deem a corporate subsidiary a "mutual debtor-creditor of the parent" is not relevant to the inquiry

  into whether McKesson Corp. has met the statutory requirements of section 553. See Mot., 1133.

                  48.       The District Court has held that there is no contractual exception to the mutual

  debt requirement under the Bankruptcy Code. SemCrude, 428 B.R. at 594 ("[T]he mutuality

  required           by Section 553 cannot be supplied by a multi-party           agreement contemplating     a


  triangular setoffl'.); see ølso Lehman Bros.,458 B.R. at 142. ("There simply is no contract

  exception to section 553(a), because the statute itself does not allow for one.").


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                  49.       Judge Shannon concluded that      it would be improper to recognize a    contractual

  exception absent a clear indication from the text of the Code because "the law is settled that the

  bankruptcy court, in the guise of 'doing equity,' has no power to enlarge setoff rights beyond the

  dimensions... explicitly requiredby the Code." SemCntde,399 B.R. at399 (internal citations

  omitted). Moreover, the SemCrude Court's determination harmonizes with the overall policy

  underlying the Bankruptcy Code:

                             One of the primary goals - if not the primary goal - of the Code is
                             to ensure that similarly-situated creditors are treated fairly and
                             enjoy an equality of distribution from a debtor absent a compelling
                             reason to depart from this principle. By allowing parties to
                             contract around the mutuality requirement of section 553, one
                             creditor or a handful of creditors could unfairly obtain payment
                             from a debtor at the expense of the debtor's other creditors, thereby
                             upsetting the priority scheme of the Code and reducing the amount
                             available for distribution to all creditors. Such a result is clearly
                             contrary both to the text of the Code and to the principle of
                             equitable distribution that lies at the heart of the Code.

  Id.        Judge Shannon's analysis also was not predicated on the fact that there were two debtor

  entities and one creditor entity; rather, this well-reasoned opinion broadly concluded that

  mutuality must be strictly construed. Id. at396; see also Lehman Bros.,458 B.R. atl40 (strictly

  construing mutuality and holding triangular setoff impermissible where creditor sought to setoff

  debt owed to debtor with creditor's affiliate's payable due from debtor). Accordingly, Movants'

  attempt to distinguish the facts here based on the identification of the parties in the triangular

  setoff fails. And, this same contract-based argument by Movants was soundly rejected by Judge

  Sontchi for the same policy reasons, among others. See Am. Home Mortg.,50L B.R. at 59-60

  ("[W]hen a debtor is owed money and collects less due to offsets claimed by affiliates of its

  named contract-counterparty, the debtor's creditors are impacted by the reduction in amounts to

  be realized by the debtor's estate.")


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            50.         Movants rely heavily on       In re Saugus   Gen. Hosp., Lnc.,698 F.2d 42 (Lst Cir.

  1983) to support their theory that parties can contract around mutuality. Mot., ftf 35-37. Saugus,

  however, only dealt with whether setoff rights effectuated prepetition were valid under

  Massachusetts law, and whether setoff rights generally are determined by state law or federal

  law. 698 F.2d          at 44 ("We are aware of no case holding that federal rather than state law governs

  pre-petition setoffs."). The court then recognized the "parties are free to modify these common-

  law setoff rules by contract, but they have not done so here." Id. at 45. The critical distinction in

  Saugus, however, was             whether a prepetition setoff could be avoided, not whether the parties

  could contract around the requirements of section 553. Id. at 44. Saugus does not apply to the

  facts here    - whether      a   triangular postpetition setoff is permitted under section 553.

            51.          Movants also rely on     In re Garden Ridge Corp.,338 B.R. 627 (Bankr. D. Del.

  2006), for the notion that "an agreement that includes an express provision to allow a 'triangular'

  setoff between related entities can create the mutuality required for setoff." Mot.,              f 52. Contrary
  to Movants' argument, Garden Ridge did not hold that the purported contractual                         exception

  permitted triangular setoff. 338 B.R. at 636 ("This case does not present a permissible triangular

  setoff based upon an agreement between the related entities."). In SemCrttde, Jludge Shannon

  conducted a careful examination into the origin of the alleged contractual exception to triangular

  setoff.   See     SemCrude,399 B.R. at 394-96. Referring specifically to Garden Ridge, among other

  casss, Judge Shannon concluded that "each and every one                     of   these decisions have simply

  recognized [the contractual] exception in the course of denying the requested setoff or finding

  mutuality independent of the agreement . . . yet none actually permit[ed] a triangular setoff or

  address[ed] the merits of this purported [contractual] exception in a written opinion."                 Id.   And

  Judge Peck concluded likewise: "the so-called contract exception . . . actually was created by a


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  game          of 'whisper down the lane' from decision to decision," Lehman Bros.,458 B.R. at L42.

  Garden Ridge falls right into this bucket: the Court's language on the issue is only dicta; and, at

  bottom, even there the Court held that triangular setoff was not permitted. Garden Ridge,338

  B.R. at 636; see also Kirtsaeng v. John Wiley             &   Sons,   Inc., 568 U.S. 519, 548 (2013) (declining

  to follow dicta in prior decision interpreting federal statute).

                  52.      But most importantly, even if Garden. Ridge left open any possibility that parties

  could contract around the general prohibition of triangular setoff, Judge Fatnan's SemCrude

  decision firmly closed that door. See SemCrude, 428 B.R. at 594 ("As the Bankruptcy Court

  correctly recognized, the mutuality required by Section 553 cannot be supplied by a multi-

  party agreement contemplating a triangular setoff.") (emphasis added).

  IL             McKesson Corp. Has No Valid Defense of Recoupment

                 53.        Pivoting away from their untenable setoff arguments, Movants float (without

  thorough supporting argument, required evidence, or relevant legal authority) the idea that

  McKesson Corp. has a defense of recoupment that would prevent collection of what it owed the

  Debtor. Mot.,             ï11   4,27. Recoupment   does not exist under these facts and applicable   law. "The

  Third Circuit distinguishes the right [ofl set-off from the right of recoupment, although both

  permit a creditor that owes a debt to the debtor to reduce the amount of its debt by the amount of

  a debt owed by the debtor to the creditor, as the right to recoupment must arise out of the same

  transaction." Casino Caribbean, LLC v. Money Ctrs. Of Am., Inc. (In re Money Ctr. of Am., Inc.),

  565 B.R. 87, 106 (Bankr. D. Del. 2018). Specifically, "recoupment requires that the two debts

  arise from the same contract." HHI Formtech, LLC v. Magna Powertrain USA, Inc. (ln re

  FormTech Indus., LLC),439 B.R. 352,362 (Bankr. D. Del. 2OI0). Indeed, the Third Circuit has

  held in the bankruptcy context that


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                                 [a] mere logical relationship is not enough: the fact that the same
                                 fwo parties are involved, and that a similar subject matter gave rise
                                 to both claims, . . . does not mean that the two arose from the 'same
                                 transaction.' Rather, both debts must arise out of a single
                                 integrated transaction so that it would be inequitable for the debtor
                                 to enjoy the benefits of that transaction without also meetings its
                                 obligations.

 In re (Jniv. Med. Ctr.,973F.2d L065, 1081 (3d Cir.1992) (citations and internal quotation marks

  omitted). As the Court recently explained: "[u]se of this stricter standard for delineating                        the

 bounds              of a transaction in the context of recoupment is in accord with the principle that this
  doctrine, as a non-statutory, equitable exception to the automatic stay, should be narrowly

  construed." Casino Caribbean, 565 B.R. at 106 (citing Anes v. Dehart (ln re Anes),195 F.3d

  177,I82 (3d Cir. 1999).

                     54.         Recoupment does not exist here, and not surprisingly, Movants make no serious

  effort to persuade the Court otherwise. The Distribution Agreement and l-oyaltyScript@

  Agreement are not the same contract and do not share the same counterparties. See Beesley

  Decl., lltl 3,              5.       The contracts were executed over six weeks apart from one another. More

  importantly, the subject matter                    of   each contract   is   separate and   distinct. The Distribution

  Agreement governs the supply of the Debtor's Product through McKesson Corp. acting as the

  distributor of the Product. See Distribution Agreement, $ I.a. The InyaltyScript@ Agreement

  concerns a specialized retail pharmacy rebate program administered by MPRS. Apr. Stip., fl D.

  Neither contract includes any language suggesting, let alone proving, that one exists only as                        a


  consequence                   of the other or otherwise evidencing an integrated transaction.           Because these

  separate contracts have distinct counterparties and subject matter (and, not surprisingly, were

  executed weeks apart), the obligations cannot have arisen out of a single integrated transaction.

  There is no evidence to the contrary. See e.g., Univ. Med. Ctr.,973F.2d at L080 (requiringthat

  the "creditor's claim arises out of the identical transaction as the debtor's"); see also FormTech,


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 439 B.R. at 362 (rejecting creditor's argument to construe multiple contracts as a global

 agreement). Therefore, the Court should not recognize any recoupment defense here.l2

 ilI.              Movants Cannot Establish McKesson Corn.os Claimed Riehts under Section 9'404
                   of the California Commercial Code

                       55.       For the reasons set forth above, McKesson Corp. does not have a valid setoff right

 in bankruptcy.                            However,   if   the Court concludes otherwise, Movants cannot prove that

 McKesson Corp.'s setoff rights are senior to the lrnders' secured claims under section 9-404 of.

 the California Commercial Code ("Section 9-404"). To succeed on this claim, Movants must

 prove that when McKesson Corp. executed the Distribution Agreement in 20L6, it did not have

  notice of the Iænders' secured claims. See Cal. Com. Code $ 9-aÛa@). Orexigen is a public

  company and filed numerous SEC filings describing, among other things, the Lenders' senior

  secured claims. See e.g., Orexigen Therapeutics, Inc., Quarterly Report Pursuant to Section L3

  or L5d of the Securities Exchange Act of L934 (Form L0-Q), 14 (May 5,20t6). Having failed to

  satisfy the requirements of Section 9-404, even                         if   the Court were to conclude that McKesson

  Corp. has a valid right of setoff or a defense of recoupment, the Court cannot find that McKesson

  Corp. has a senior right to the Initial Disputed Funds.

  IV.                  Movants Have Not Proven the Amount of the MPRS Rebate Pavable

                       56.        Lastly, the Motion contains no evidence in support of Movants' contention that

  MPRS has a claim of "approximately $9.1-                              million." Mot., tl 6. In fact, this contention
  contradicts MPRS's assertion in the May Stipulation that it has a claim of "approximately $8.5

  million." May Stip., p. 3. MPRS has the burden to prove facts sufficient to support its claim.


  12
    Movants apparently believe there exists yet a third path to recovery (other than setoff or recoupment) through a
  novel "right to apply" amounts owed to or owed by the Debtor as they deem appropriate. Mot., f 27. No such right
  exists in common law or otherwise, as made clear by Movants' abject failure to provide the Court with any
  supporting legal authority for this new concept. A "right to apply" is nothing more than application or
  administration of the right of setoff or the defense of recoupment.
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 Allegheny, 954 F.2d at 173. To the extent the Court is inclined to accept any of Movants'

  arguments, neither setoff nor Íecoupment in any amount should be permitted since MPRS has

  failed to meet its burden of proof as to the actual amount of the MPRS Rebate Payable. The

  Debtor reserves all rights and defenses in connection therewith.

                                                       CONCLUSION

                 57.       For the foregoing reasons, the Debtor respectfully requests that the Court (i) deny

  the Motion in its entirety;          (ii) order that the Initial Disputed Funds     are property   of the Debtor's

  estate, and         (iii) grant such other   and further relief as is just and proper.




  Dated: August 2l,2OI8                                     LANDIS RATH & COBB LLP
  Wilmington, Delaware


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                                                            Conf'lict Counsel to the Debtor and Debtor-ln-
                                                            Possessiott




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELA\ryARE


 In re:                                                        Chapter L1

 OREXIGEN THERAPEUTICS, INC.,                                  Case No. 18-10518      (KG)

                               Debtor.l


  DECLARATION OF THOMAS P. LYNCH IN SUPPORT OF DEBTOR'S OBJECTION
       TO MCKESSON'S MOTION FOR AN ORDER DETERMINING TIIAT
            MCKESSON IS ENTITLED TO THE DISPUTED FUNDS

            Thomas P. Lynch, Esquire, hereby declares, under penalty of perjury, as follows:

             1.       I   am the Chief Administrative Officer, General Counsel, and Secretary to

 Orexigen Therapeutics, Inc., the Debtor and Debtor-In-Possession.                       I   submit this declaration,

 upon my personal knowledge or upon information and belief as stated herein, in support of the

 Debtor's Objection to McKesson's Motion for an Order Determining that McKesson is Entitled

 to the Disputed Funds (the "Objection").2

             2.      I    understand that prepetition Orexigen entered into the Distribution Agreement

 with McKesson Corp. A true and correct copy of the Distribution Agreement,                           as amended or

 modified, is attached hereto as Exhibit A.

             3.       I   also understand that prepetition Orexigen entered into the L,oyaltyScript@

 Agreement with MPRS. A true and correct copy of the LoyaltyScript@ Agreement, as amended

  or modified, is attached hereto as s[þ!1!.$.




  1
   The last four digits of the Debtor's federal tax identification number are 8822. The Debtor's mailing address for
  purposes of this Chapter 1,1 Case is3344 North Torrey Pines Court, Suite 200, La Jolla, C492031 .

  2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Objection.
                                                                                                             Appendix A250

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          I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.




 Executed this 2L't day of August, 20L8                lsl Thomas P. Lynch
                                                       Thomas P. Lynch, Esquire




                                                                                           Appendix A251
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                                  EXHIBIT A
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                                  EXHIBIT B
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                Chapter 11

 OREXIGEN THERAPEUTICS, INC.,                          Case No. 18-10518 (KG)

                                Debtor.                Reply Due: August 31, 2018
                                                       Hearing Date: TBD


     McKESSON’S REPLY IN SUPPORT OF MOTION FOR AN ORDER DETERMINING
            THAT McKESSON IS ENTITLED TO THE DISPUTED FUNDS

          McKesson Corporation (“McKesson Corp.” and together with McKesson Patient

 Relationship Solutions (“MPRS”), a business unit of McKesson Specialty Arizona, Inc., a

 wholly-owned subsidiary of McKesson Corp., “McKesson”), by and through the undersigned

 counsel, hereby replies to the following opposition pleadings:

          (i) the “Opposition to Motion for an Order Determining that McKesson Specialty Arizona

 in Entitled to the Disputed Funds” [D.I. 697] (“Lenders’ Opposition”) filed by Baupost Group,

 L.L.C., et al. (collectively, the “Lenders”); and

          (ii) the “Debtor’s Objection to McKesson’s Motion for an Order Determining that

 McKesson is Entitled to the Disputed Funds” [D.I. 698] (“Debtor’s Opposition,” and together

 with Lenders’ Opposition, the “Oppositions”) filed by Orexigen Therapeutics, Inc., debtor and

 debtor in possession (the “Debtor” and together with the Lenders, the “Lender Parties”).

 The Oppositions are with reference to McKesson’s “Motion for an Order Determining That

 McKesson is Entitled to the Disputed Funds” [D.I. 654] (the “Motion”).1 In reply to the

 Oppositions, McKesson respectfully responds as follows:




 1
     For consistency, McKesson uses the terms and phrases defined in the Motion.
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                                             INTRODUCTION

           1.      In the Oppositions, the Lender Parties miss the whole point of the Motion. They

 go on and on about the fact that there are a large number of published decisions that reach

 conclusions contrary to the relief requested in the Motion. That is not disputed; to the contrary,

 McKesson admits it in the Motion.2 There is no question that there are many court decisions that

 have considered and rejected some of the arguments made in the Motion. The question is,

 however, whether those decisions were based on proper application of controlling Supreme

 Court and Third Circuit precedent and governing principles. Instead of addressing that question,

 the Lender Parties merely repeat the same undisputed point: asserting over and over again that

 the relief requested in the Motion “has been soundly rejected” or words to that effect. See, e.g.,

 Debtor’s Opposition, ¶¶ 24, 25, 29, 32, 33, 34, 35, 36, 49, 51, and 52. Repetition, even with

 volume, is not a substitute for correct analysis.

           2.      The fundamental disconnect with the decisions relied on by the Lender Parties is

 that each of those decisions presumes that section 553 of the Bankruptcy Code includes

 substantive restrictions on otherwise legally enforceable creditors’ state-law rights; restrictions

 that simply are not there. Further, the case law-presumed substantive restrictions on such rights

 are constitutionally impermissible.

           3.      The lead-in sentence in section 553(a) reads in part as follows:

           “Except as otherwise provided in this section and in sections 362 and 363 of this title, this
           title does not affect any right of a creditor to offset a mutual debt owing by such creditor
           to the debtor that arose before the commencement of the case under this title against a
           claim of such creditor against the debtor that arose before the commencement of the case,
           except . . .”

 On its face then, section 553(a) says that it (and indeed all of title 11) does not affect certain

 described offset rights involving mutual debts that are not acquired in the preference period or
 2
     See, e.g., paragraph 42 of the Motion [D.I. 654 at page 19 of 27].
                                                                                               Appendix A255

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 post-petition.3 Section 553(a) is absolutely silent on the impact it may have on any other

 equitable offset and application rights, such as McKesson’s Application Rights, which are

 enforceable under California law.             Contrary to binding Supreme Court and Third Circuit

 precedent, the Lender Parties nevertheless read the prefatory language of section 553(a) as

 “explicit statutory language” that supports their position impairing the ability of a creditor to

 enforce offset rights that are enforceable under state law.

           4.       The Lender Parties read section 553(a) as prohibiting every other kind of offset

 right other than those between a debtor and one creditor. See, e.g., paragraph 21 of Lenders’

 Opposition: “Under Section 553(a) of the Bankruptcy Code, a creditor’s right to set off is

 preserved only to the extent of mutual claims. 11 U.S.C. § 553(a) (‘this title does not affect any

 right of a creditor to offset a mutual debt . . .) [sic] (emphasis added).” See also paragraph 27 of

 Debtor’s Opposition. Fairly put, the Lender Parties seem to suggest that section 553(a) should

 be construed to read as follows:

           Any and all equitable rights of offset, whether or not such rights are enforceable
           under applicable state law, are void as to the debtor, except (i) only the right to
           offset debts that arose prepetition between the debtor and the original
           counterparty that have not been transferred by agreement or otherwise, and (ii) to
           the extent that—.

 While the Lender Parties’ interpretation provides a viscerally attractive “bright line” test for

 enforceable offset rights, simply put, that is not the language of section 553(a) nor a reasonable

 construction of the combination of words that comprise section 553(a).

           5.       The Lender Parties make reference to an undisputed element of statutory

 construction. Paragraph 26 of Debtor’s Opposition quotes English v. Gen. Elec. Co., 496 US 72

 (1990), for the proposition that “when Congress has made its intent known through explicit

 statutory language, the courts’ task [to interpret the statute] is an easy one.” McKesson, of

 3
     As set forth below, the legislative history supports the intent to “preserve” state law offset rights.
                                                                                                         Appendix A256

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 course, does not dispute that proposition. That said, McKesson wonders where in section 553(a)

 a reasonable reader can find the “explicit statutory language” that supports the reading the

 Lender Parties suggest.

        6.      Instead, section 553(a) must be understood to mean what it says: that title 11 does

 not affect any creditor’s rights except only as expressly provided. While the parties agree on that

 point, the Lender Parties repeatedly reference “express” provisions in section 553 that frankly are

 not “expressed” at all. Except only the provisions in section 553(a)(1)-(3) (collectively, the

 “Avoidance-Conforming Provisions”), nothing in section 553 can be fairly construed to

 provide that the exercise of any offset rights are impaired at all. Nowhere in section 553, for

 example, is it expressed that offset rights that are enforceable under state law are not enforceable

 in the context of a bankruptcy. Without such an express provision, state law is determinative on

 issues that affect property rights, including what debts are considered “mutual.”

        7.      The preferred definition of the word “expressly” in www.Merriam-Webster.com

 is “explicitly.” So then the question is what is explicitly provided in section 553(a) that impairs

 the exercise of offset rights. On that question, the parties are in substantial disagreement.

 Relying on the opinion of Judge Shannon, In re SemCrude, L.P., 399 B.R. 388, 393 (Bankr. D.

 Del. 2009) (“SemCrude”), the Lender Parties claim that section 553(a) expressly imposes a

 condition of exact “mutuality,” between two entities even if a contract provision is fully

 enforceable under applicable state law. Debtor’s Opposition, ¶ 4. There is no doubt that

 SemCrude makes that assertion, but there is substantial doubt as to whether that assertion is

 “expressly” found in section 553.

        8.      In summary, McKesson asserts that section 553(a) has been widely understood for

 a proposition that while it may be attractive as a simple, clear distinction between enforceable

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 and unenforceable offset rights, does not stand up to scrutiny. Instead of the understanding

 followed by many court decisions, McKesson suggests that the words in section 553(a) should be

 read and understood to mean what they say; that title 11 does not affect any right of offset

 enforceable under applicable state law, including a right of a creditor to offset a mutual debt as

 long as both obligations are prepetition. The only exception to the previous statement is with

 regard to the Avoidance-Conforming Provisions in section 553(a)(1)-(3).

           9.      With all of this said, the correct analysis under controlling Supreme Court and

 Third Circuit precedent is whether there is “mutuality” under the state law governing the

 contractual relationships between the parties. See e.g., In re Garden Ridge Corp., 338 BR 627,

 633 (Bankr. D. Del. 2006) (“Mutuality of obligations is determined by state law.”). Here, that

 state law is California. And, under i) controlling California Supreme Court precedent, ii) the

 express contractual terms between the Debtor and McKesson, and iii) California’s third part

 beneficiary law, there is mutuality. As a result, McKesson is entitled to utilize its Application

 Rights.

                                         LEGAL ARGUMENT

           10.     In the Motion, McKesson makes several points. First, McKesson’s Application

 Rights are property rights and enforceable under applicable California law.              As such, the

 Supreme Court in Butner v. United States, 440 U.S. 48, 55 (1979) (“Butner”) instructs as

 follows:

                  i.   “Property interests are created and defined by state law.” 4

                 ii.   “Unless some federal interest requires a different result, there is no reason
                       why such interests should be analyzed differently simply because an interested
                       party is involved in a bankruptcy proceeding.”

 4
   Lenders’ Opposition called this principle “uncontroversial” (Lenders’ Opposition, ¶ 30), and indeed it
 should be. Yet, the Lender Parties proceed to present a substantial controversy as to the application of
 that principle.
                                                                                                Appendix A258

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                iii.   “Uniform treatment of property interests by both state and federal courts
                       within a State serves to reduce uncertainty, to discourage forum shopping, and
                       to prevent a party from receiving ‘a windfall merely by reason of the
                       happenstance of bankruptcy.’”

          11.      In the Motion, McKesson argues that these principles from Butner govern the

 analysis of section 553(a) and particularly its impact on McKesson’s Application Rights.

 Specifically, McKesson asserts that (i) McKesson’s Application Rights are enforceable under

 California law; (ii) those rights are enforceable against a debtor in a bankruptcy case unless a

 federal interest requires a different result; and (iii) such enforcement serves to provide uniform

 treatment of property interests in both the state and federal courts, reduce uncertainty, discourage

 forum shopping and prevent, in this case, the Lenders from receiving a windfall.

          12.      The Debtor, on the other hand, suggests that Butner should be limited to its facts,

 and limited only to a secured creditor’s interest in rents. The Debtor called it “critical” that that

 Butner did not mention section 553 or setoff rights, emphasizing that point in boldface.5

 Butner’s governing principles are far broader. While acknowledging that Congress had the

 constitutional ability to define the secured creditor’s rights with respect to rents, the Supreme

 Court noted that Congress did exactly that with reference to provisions invalidating certain

 security interests as fraudulent, or as improper preferences over general creditors.

 440 U.S. 48, 54.      Apart from these provisions, however, Butner noted that Congress has

 generally left the determination of all types of property rights in the assets of a debtor’s estate to

 state law. Id.

          13.      Contrary to the Lender Parties’ plea for an extremely limited reading of Butner,

 the Supreme Court and the Third Circuit have adopted an expansive view. One example of this

 expansive view is Raleigh v. Ill. Dep’t of Rev., 530 U.S. 15 (2000). At issue in Raleigh was not


 5
     Debtor’s Opposition, ¶ 37.
                                                                                              Appendix A259

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 an interest in any specific asset of the debtor; rather, it was the extent of a claim. Specifically,

 the Raleigh court addressed the question of whether nonbankruptcy law determined the burden

 of proof on a tax claim. In ruling that state law governs the burden of proof, the Raleigh court

 made the following pronouncements: “Creditors’ entitlements in bankruptcy arise in the first

 instance from the underlying substantive law creating the debtor’s obligation, subject to any

 qualifying or contrary provisions of the Bankruptcy Code. [citing Butner] The ‘basic federal

 rule’ in bankruptcy is that state law governs the substance of claims [again citing Butner]”

 (internal citations omitted) (emphasis added). 530 U.S. at 20. See also Nobleman v. American

 Savings Bank, 508 U.S. 324 (1993). In Nobleman case, the Supreme Court underscored the

 expansive application of Butner in addressing the question of whether a chapter 13 plan could

 bifurcate an undersecured home mortgage. The Nobelman Court cited Butner in ruling that “[i]n

 the absence of a controlling federal rule,” state law determines property rights. Id. at 329.

          14.   The Third Circuit has cited Butner and applied an expansive reading of its “state

 law” language in the following cases:

        (i)     In re Nejberger, 934 F.2d 1300 (3d Cir. 1991 (as to whether a liquor license is a

                property interest under Pennsylvania law);

        (ii)    Universal Bonding Ins. Co. v. Gittens & Sprinkle Enterprises, Inc., 960 F.2d 366

                (3d Cir. 1992)) (whether contract balances owed by state and municipal agencies

                constitute trust funds under New Jersey law);

        (iii)   Commerce Bank v. Mt. View Vill., 5 F.3d 34 (3d Cir. 1993) (“The property

                interests of mortgagor and mortgagee are created and defined by state law.”)

                (citing Butner and applying Pennsylvania law to rights of mortgagors);




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       (iv)    First Indem. of Am. Ins. Co. v. Modular Structures (In re Modular Structures), 27

               F.3d 72 (3d Cir. 1994) (whether funds held are property of the estate by analyzing

               contract performance under New Jersey law);

       (v)     West Virginia State Dep't of Tax & Revenue v. IRS (In re Columbia Gas

               Transmission Corp.), 37 F.3d 982 (3d Cir. 1994) (The court determining a

               property tax obligation under West Virginia law) (citing Butner):

       (vi)    First Fidelity Bank, N.A. v. Jason Realty, L.P. (In re Jason Realty, L.P.), 59 F.3d

               423 (3d Cir. 1995) (Citing Butner, the court looked to New Jersey law to

               determine that assignment of rents passes title to the assignee);

       (vii)   Integrated Solutions v. Serv. Support Specialties, 124 F.3d 487 (3d Cir. 1997)

               (The court used Butner as part of the reasoning to find that a trustee lacked

               authority to assign state law tort claims (the transfer of the relevant claims is

               prohibited under New Jersey law));

       (viii) Krebs Chrysler-Plymouth, Inc. v. Valley Motors, 141 F.3d 490 (3d Cir. 1998)

               (Relying on Butner, the court used Pennsylvania law to determine that franchises

               are an interest in property);

       (ix)    O'Dowd v. Trueger (In re O'Dowd), 233 F.3d 197 (3d Cir. 2000) (Determining

               that whether a malpractice claim was property of the estate by determining the

               date the litigation claim accrued under New Jersey law) (citing Butner);

       (x)     Westmoreland Human Opportunities, Inc. v. Walsh, 246 F.3d 233 (3d Cir. 2001)

               (Applying Pennsylvania law under Butner to determine that “ordinary contract

               rights” are property interests);




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        (xi)    1st 2nd Mortgage Co. of N.J., Inc. v. Ferandos (In re Ferandos), 402 F.3d 147

                (3d Cir. 2005) (Defining “real property” pursuant to New Jersey state law (citing

                Butner));

        (xii)   Sovereign Bank v. Schwab, 414 F.3d 450 (3d Cir. 2005) (Property interest of

                mortgagor and mortgagee defined by Pennsylvania state law);

        (xiii) In re Brannon, 476 F.3d 170 (3d Cir. 2007) (Determining tenancy in the entirety

                under Pennsylvania law) (citing Butner);

        (xiv)   In re Kane, 628 F.3d 631 (3d Cir. 2010) (Citing a D.N.J. case (which cites

                Butner), the court looked to New Jersey law to determine interest in equitable

                distribution of marital property after a divorce);

        (xv)    Majestic Star Casino, LLC v. Barden Dev., Inc. (In re Majestic Star Casino,

                LLC), 716 F.3d 736 (3d Cir. 2013) (Citing Butner, the court found an overriding

                federal interest in determining whether an entity is a corporation (because of tax

                revenue implications), and applied the Internal Revenue Code, not state law); and

        (xvi)   In re Ruitenberg, 745 F.3d 647 (3d Cir. 2014) (Finding no conflict with New

                Jersey law as to determination of interest in marital property, the court “thereby

                disregards the rule of Butner”).

 This litany of Third Circuit cases, all of which applied Butner principles in a wide variety of

 situations, proves that the teachings of Butner are given a very expansive reading, contrary to the

 positions advanced by the Lender Parties.

        15.     While admittedly dealing with different property rights, the factual lead-in

 parallels between Butner, Raleigh, and the present Motion are striking. Like in Butner and

 Raleigh, Congress has the ability to define creditor’s rights with respect to offset, and in section

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 553(a), like in Butner, Congress invalidated certain provisions, but expressly limited

 enforcement in order to fit within the provisions of generally applicable avoidance actions.

 Congress could have expressly defined certain creditors’ rights and claims as unenforceable in

 bankruptcy, but it did not generally so provide. Instead, it determined that certain enforcement

 activities are invalid (such as fraudulent transfers and avoidable preferences). As discussed

 further below, any argument that section 553(a) generally furthers a “federal interest” requiring a

 federal definition of “mutual” is belied by the legislative history, which actually evidences (with

 exceptions irrelevant here) congressional intent to “preserve” rights of setoff under section 553.

        16.     Instead of approaching the issues through the Supreme Court’s lens of Butner and

 Raleigh, the courts cited by the Lender Parties have adopted the “bright line” test as detailed in

 SemCrude. With all due respect, the presumptions underlying the SemCrude analysis do not

 meet the requirements under Butner and Raleigh. Except only with respect to the Avoidance-

 Conforming Provisions, nowhere in section 553 is there an “express” provision impairing a

 creditor’s offset rights. The Supreme Court noted in Citizens Bank v. Strumpf, 516 U.S. 16

 (1995) that “[s]ection 553(a), in turn, sets forth a general rule, with certain exceptions, that any

 right of setoff that a creditor possessed prior to the debtor’s filing for bankruptcy is not affected

 by the Bankruptcy Code.” 516 U.S. at 20. As a result, enforceable state law remedies, including

 McKesson’s Application Rights, must be recognized and enforced.

        Reply to Debtor’s Opposition.

 The Debtor Has No Standing to Oppose the Motion.

        17.     With regard to the Debtor, the first question that comes up is whether it has

 standing to oppose the Motion. As provided in paragraph 4 of the July Stipulation, approved by

 an order entered on July 20, 2018 [D.I. 592], to the extent an order is entered that denies the

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 Motion, upon that order becoming a Final Order, “. . . the Disputed Funds, as cash collateral of

 the Lenders, shall be paid to the Debtor . . .” Since the Lenders are substantially undersecured,

 and the Debtor has sold its business operations, the Debtor has no real economic interest in the

 Disputed Funds.6 It would appear that the only reasons the Debtor’s Opposition was filed were

 to i) placate the Lenders, who directly or indirectly own or control the Debtor, and ii) give the

 Lender Parties a second bite at the apple. That said, for the most part, the Debtor’s Opposition

 ignores the substance of the arguments in the Motion, and merely repeats what is acknowledged

 in the Motion, to wit, there are many decisions that have denied the relief requested.

 The Debtor Fails to Reference Applicable State Law.

        18.     First, using many florid descriptive phrases, the Debtor goes on at length on the

 acknowledged fact that there is substantial authority that supports the position of the Lender

 Parties. That fact alone is both admitted and not determinative. What is determinative is

 whether controlling law is well-reasoned. The Debtor did not address that question, and instead

 merely repeats references to numerous cases that presume that the language in section 553(a)

 was sufficiently “express” as to determine unenforceable a number of creditor rights that, under

 applicable nonbankruptcy law, would have been enforceable.

 Without Regard to Applicable State Law, the Debtor Presumes that Contractual Offset
 Provisions Cannot Be Enforceable.

        19.     The second assertion in Debtor’s Opposition is comparable, choosing to ignore

 any analysis that supports the exercise of setoff involving contractual set off transactions with a


 6
    The obvious question is why is the Debtor advocating for the Lenders. The Lenders have already
 agreed to the carveout for the other creditors, including unsecured creditors. A ruling in favor of
 McKesson simply reduces the Lenders’ recovery on their secured claim, without any impact to the other
 remaining creditors. On the other hand, a ruling in favor of McKesson reduces the aggregate amount of
 unsecured creditors and thereby increases the ultimate recovery by other unsecured creditors. Given
 these facts and circumstances, the Debtor’s decision to advocate for the Lenders must be questioned.
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 parent and wholly-owned subsidiary, and instead stating that “setoff to which parties consent by

 agreement . . . has been soundly rejected . . .”7 Debtor’s Opposition, ¶ 24.

         20.     In reply, McKesson notes that the Court must apply California law. That law

 recognizes as enforceable contractual setoff provisions involving the non-debtor corporate parent

 and its wholly-owned subsidiary. In the Motion, McKesson cited the controlling California

 Supreme Court decision of Prudential Reinsurance Co. v. Superior Court, 3 Cal. 4th 1118

 (1992) (“Prudential”) for the proposition that an express, mutual agreement that an affiliate

 would be deemed a mutual debtor-creditor of a parent and would be sufficient to support offset

 by an affiliate against a third party (i.e., “mutuality”). Ibid. at 1137.

         21.     Nothing in section 553 expressly voids contractual provisions, such as

 McKesson’s Application Rights, and as they are enforceable under California law as “mutual

 debts,” they must be recognized and enforced within a bankruptcy case.

 Again, the Debtor Presumes that a Third-Party Beneficiary Cannot Claim Offset Rights.

         22.     As to the third assertion in Debtor’s Opposition, the Debtor conflates several

 concepts, but again relies on section 553 to determine that MPRS, as a wholly-owned subsidiary

 of McKesson, could not effectively assert an offset as an intended third-party beneficiary of the

 Distribution Agreement. The Debtor again does not rely on the controlling law of California but

 instead relied entirely on section 553 and the cases that have erroneously determined that section

 553 imposes a separate, federal requirement of mutuality to determine whether a claim of offset

 is enforceable. The Debtor references “theories that have been rejected by multiple courts and

 ignore basic corporate principles ingrained in the Bankruptcy Code.” Debtor’s Opposition, ¶ 25.

 7
   On this point, it is noteworthy that while the Debtor claims that offset by agreement has been “soundly
 rejected,” a case cited by the Lenders, InfinaQuest, LLC v. DirectBuy, Inc., 18 F. Supp. 3d 959 (N.D. Ind.,
 2012) dealt with two separate agreements, each involving offsets by agreement, and the enforceability of
 such provisions was determinative but not even questioned in the opinion. This case is discussed in
 greater detail below.
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 McKesson replies by noting that under Butner, Raleigh and their progeny, the Court is required

 to apply controlling, applicable California law governing “mutuality” and “third party

 beneficiary,” and that the basic corporate principles ingrained in California law govern whether,

 for the purposes of offset, the wholly-owned subsidiary of a non-debtor parent is entitled to

 exercise setoff as an intended third-party beneficiary. Ibid.

         23.     The Debtor argues that the “Distribution Agreement does not confer, expressly or

 otherwise, any third-party beneficiary rights on MPRS.” Debtor’s Opposition, ¶ 44. But the

 Debtor fails to address paragraph VII.i, the paragraph that provided to McKesson’s affiliates,

 including MPRS, the right of offset as evidencing such rights.8                Then, to compound the

 misunderstanding, the Debtor claims that if MPRS were to exercise offset rights any such benefit

 would inure only McKesson, the parent, and not the subsidiary, since MPRS’s claim against the

 Debtor would be reduced. Debtor’s Opposition, ¶ 44. Setting aside relevancy for the moment,

 the Debtor’s argument just falls flat. MPRS’s claim would be reduced, of course, because it

 would be paid or otherwise credited from funds payable by McKesson.

         24.     Finally, the Debtor argues that the Court should deny MPRS third-party

 beneficiary status for policy reasons, asserting (in conclusory fashion) that it would “confer on

 extended corporate families . . . enlarged rights not contemplated by the Bankruptcy Code.”

 Debtor’s Opposition, ¶ 45. Once again, the Debtor argues that the Bankruptcy Code should

 dominate the corporate relationships among a parent and its subsidiaries. But, as the Supreme

 Court has made clear state law governs this issue (i.e., Butner and Raleigh). And, if Congress

 does not agree with this result, it is free to amend the Bankruptcy Code.

 8
   It is notable that the Debtor does not offer any evidence that MPRS was not an intended third party
 beneficiary of the Application Rights provision of the Distribution Agreement at the time this agreement
 was entered into. But, if the Lender Parties truly dispute MPRS’s capacity as an intended third-party
 beneficiary of the relevant provisions of the Distribution Agreement, then this is a disputed factual issue
 which cannot be resolved at this time.
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 The Debtor Argues Erroneously that the Motion Seeks Recoupment.

        25.     The final point the Debtor tries to make is odd. It is even more curious that the

 Lenders also argue the same point. Referencing two paragraphs in the Motion (paragraphs 4 and

 27), the Debtor devotes almost two pages in the Debtor’s Opposition (pages 22-24) and the

 Lenders another page (pages 20-21 in the Lenders’ Opposition) to argue that McKesson cannot

 assert recoupment as a defense. So it is clear: McKesson does not assert recoupment as a

 defense.

        26.   The only reason the word recoupment is even mentioned in the Motion is because

 the word “recoup” is in paragraph VII.i of the Distribution Agreement, the paragraph that

 memorializes McKesson’s Application Rights. Under the Distribution Agreement, McKesson’s

 Application Rights include, among other creditor rights, the right to recoup. But again, that does

 not mean that McKesson believes it is entitled to recoup under the circumstances described in the

 Motion. In fact, McKesson does not claim that recoupment has anything whatsoever to do with

 the rights it seeks to enforce in the Motion except only that it is part of the rights that are

 described as McKesson’s Application Rights which, under California law, are enforceable.

        27.   In sum, Debtor’s Opposition asserts that section 553: (i) expressly alters state law

 and that without reference to California law, governs the enforceability of McKesson’s

 Application Rights; (ii) is determinative on any question of mutuality by way of a third-party

 beneficiary; and (iii) prevents the efficacy of an express mutual agreement (such as the

 Distribution Agreement) that provides for McKesson’s Application Rights.              The Debtor’s

 assertions are reliant entirely on the strength of the assessment that section 553 provides the

 “explicit statutory language” that directs that all equitable offset claims are void unless they meet

 some amorphous mutuality test (which is not codified in any Federal statute). To the contrary,

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 and as stated in the Motion, properly decided case law holds that “mutuality”—which is not

 defined in the Bankruptcy Code—is determined exclusively under state law. See, e.g., In re

 Garden Ridge Corp., 338 B.R. 627, 633 (Bankr. D. Del. 2006) (“Mutuality of obligations is

 determined by state law.”) (applying Texas law) (quoting In re Czyzk, 297 B.R. 406, 409 (Bankr.

 D.N.J. 2003)); In re Sunset Aviation, Inc., 468 B.R. 641, 647 (Bankr. D. Del. 2011) (“the right of

 setoff requires mutuality between the debtor and the creditor under the applicable state law”)

 (emphasis added); Levine v. Kenny (In re Flooring America, Inc.), 302 B.R. 403, 406 (Bankr.

 N.D. Ga. 2003) (“Whether mutuality exists is an issue of state law.”) (applying Georgia law).9

 Here, controlling California case law and third party beneficiary law provides the requisite

 mutuality.

         Reply to the Lenders’ Opposition.

         28.   In some respects, the Lenders’ arguments are comparable to those asserted by the

 Debtor, and such instances will not be addressed at length. The Lenders grouped their comments

 into two broad categories. First, the Lenders raise a number of assertions based on the position

 that section 553(a) controls any issues related to offset. The second broad category of arguments

 from the Lenders take more of a scattershot approach, and raise several unconnected arguments,

 such as: (i) recoupment, (ii) the effect of California Commercial Code section 9404; and (iii) the

 impact of the terms of the order approving the DIP Loan (which has been paid in full and no

 longer exists).

         29.   As to the first category, and the Lenders’ arguments based on the position that

 section 553(a) controls any issues related to offset, the Lenders go so far as to declare that “[t]he

 Bankruptcy Code Governs Setoff.” Lenders’ Opposition, page 12 (emphasis in the original).

 9
    As the Bankruptcy Code does not define the term “mutuality,” state law governs the meaning of that
 term. See, e.g., Kaufman v. Chalk & Vermilion Fine Arts, LLC, 31 F. App’x 206 , 208 (2d Cir. 2002)
 (noting that “[b]ecause the Bankruptcy Code does not define ‘interests in property,’ state law controls”).
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 That is certainly the argument relied upon by a number of court decisions but, as articulated in

 the Motion, is not consistent with Butner, Raleigh and the plethora of cases holding that state law

 determines “mutuality” as a term not defined in the Bankruptcy Code. It should also be noted

 that under section 506(a)(1), “[a]n allowed claim of a creditor secured with a lien on property in

 which the estate has an interest, or that is subject to setoff under section 553 of this title, is a

 secured claim to the extent of the value of such creditor’s interest in the estate’s interest in such

 property, or to the extent of the amount subject to setoff . . .” As offset is akin to a creditor

 holding a secured claim, any attempt to read into the Bankruptcy Code a statutory interpretation

 that effectively wrests the value of that secured claim away from the creditor must be

 unambiguously grounded in binding authority.10

         30.   To support their assertion that section 553(a) controls, the Lenders claim:

 (i) section 553 is supported by a “clearly articulated federal interest,” referencing the claim that

 offset per se creates a preference. Lenders’ Opposition, ¶ 30; (ii) section 553 imposes additional

 restrictions over and above the Avoidance-Conforming Provisions described in section

 553(a)(1), (2) and (3) which McKesson agrees are requirements introduced in section 553(a) so

 that offset rights fit within the avoidance expectations of the Bankruptcy Code; (iii) section

 553(a) introduces an additional requirement of “mutuality” as a federally-construed concept that

 ignores state law;11 and (iv) if “mutuality” is to be evaluated based on state law, the Motion fails

 to provide persuasive authority that California law would allow McKesson’s Application Rights.

 As set forth below, in each instance, the Lenders’ arguments fall short.



 10
     Because of the express inclusion of setoff within Section 506(a), the principles enunciated in Butner
 and Raleigh apply with equal force to setoff rights.
 11
     In this position, the Lenders also ignore the numerous cases that uniformly state that “Mutuality of
 obligations is determined by state law.” In re Garden Ridge Corp., 338 BR at 633; In re Czyzk, 297 B.R.
 at 409. See also the other cases cited in paragraph 29 of the Motion.
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           31.   After the first scattershot arguments, the second broad category of claims in the

 Lenders’ Opposition assert several other arguments, each of which is similarly wrong or

 irrelevant: (a) a third party beneficiary cannot meet the mutuality requirement for offset (just

 wrong under California law); (b) the Motion seeks recoupment (again, simply wrong);12

 (c) under California Commercial Code section 9404, the Lenders’ interests are senior in time,

 and therefore, impermeable from any argument from McKesson (asserting that the Lenders’

 senior security interest entitles the Lenders to greater rights than those available to the Debtor);

 and (d) somehow the fact that the court-approved DIP Loan was found to be “free and clear” of

 counterclaims, defenses, etc. precludes McKesson’s assertion of offset rights, even though the

 DIP Loan has been extinguished as paid in full.

 Section 553(a) Is Not Supported By a Clearly Defined Federal Interest and Therefore Should Not
 Be Understood to Affect Property Rights that Are Enforceable under California Law.

           32.      Under Butner and Raleigh, in order to modify otherwise applicable state law

 respecting property interests and the claim allowability, a federal statute must set forth a clearly

 defined federal interest. Without such, then state law governs the scope and application of the

 property interest. The Lenders assert that ignoring applicable state law, and elevating section

 553 to the position of exercising complete control over offset rights would prevent “preferences”

 and would preserve equality among creditors. Lenders’ Opposition, ¶ 30. It is true that section

 553(a) imposes restrictions on the exercise of offset rights acquired in the 90 days prior to the

 petition date or post-petition for purposes of setoff. Such limitations are Avoidance-Conforming

 Provisions intended to prevent preferential or post-petition acquisition of setoff rights. Compare

 11 USC § 553(a)(1)-(3) and (b)(1), all of which are preference-related provisions.              The

 Avoidance-Conforming Provisions are not at issue in the situation presented in the Motion.


 12
      As to this nonissue, this Reply addressed it above, and will not discuss it further.
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        33.     Any argument that section 553(a) furthers a “federal interest” requiring a federal

 definition of “mutuality” is belied by the legislative history, which actually evidences

 congressional intent to “preserve” (with preference-type restrictions irrelevant here) in

 bankruptcy rights of setoff under section 553. The Senate Report accompanying section 553

 explains that “[t]his section [553] preserves, with some changes, the right of setoff in bankruptcy

 cases.” S.Rep. No. 95-989, 95th Cong., 2d Sess., at 91 (1978) (emphasis added), reprinted in

 1978 U.S.C.C.A.N. 5787, 5877.

        34.     Moreover, the policy of equality among creditors in bankruptcy applies only to

 creditors who are similarly situated. Equality is not applicable, for example, if one creditor has

 been granted rights different from another creditor, and those rights come into play to modify

 any entitlement to distributions.    The relief requested in the Motion is based on express

 provisions in agreements among the affected parties (both California-headquartered

 corporations) that were agreed to and enforceable under applicable state law (California). The

 policy of equality among creditors does not extend so far as to require that such provisions be

 ignored, especially where Congress has indicated its contrary intent in the legislative history

 accompanying section 553 to “preserve” rights of setoff.        Indeed there are many contract

 provisions that have an impact that can effectively differentiate among creditors. Presumably the

 Lenders do not suggest that all such contract provisions are void due to non-codified and

 amorphous “public policy” reasons.

 Section 553(a) Introduces Additional Requirements, But Only As Expressly Proscribed in the
 Avoidance-Conforming Provisions of Section 553(a)(1), (2) and (3).

        35.   There is no doubt that section 553(a) affects the right to exercise setoff of a debt

 preferentially acquired in the 90-day preference period or post-petition for purposes of setoff.

 The Avoidance-Conforming Provisions in section 553(a)(1)-(3) impose clear and express
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 restrictions on the use of claims preferentially obtained in the 90-days prior to the bankruptcy

 filing or post-petition for purposes of setoff. Such restrictions are irrelevant here, and the

 Objectors do not contend otherwise.

        36.   The Lenders, however, assert that section 553 also requires a federal gloss on

 “mutuality” even though under Butner and Raleigh, the concept of “mutuality” is not expressly

 defined in the Bankruptcy Code. The Lenders argue that the cases correctly holding that state

 law governs “mutuality” are irrelevant. For example, the Lenders attempt to reject In re Czyzk,

 297 B.R. 406 (Bankr. D. N.J., 2003) because that case involved only a one-to-one offset claim.

 There is no basis to assume that the state law-based analysis with regard to mutuality undertaken

 by Czyzk would be different when a proposed offset is something other than one-to-one.

 Section 553(a) Does Not Introduce “Mutuality” as a Federally-Construed Restriction to an Offset
 Right That Is Otherwise Fully Enforceable Under California Law.

        37.   The Lenders are wrong for several reasons. First, the concept of “mutuality” is

 integral to the enforceability of offset rights under state law. The Motion refers to a number of

 cases in which “mutuality” was determined solely based on state law. See, Motion, ¶¶ 29 and

 30. The Lenders argue that those decisions are distinguishable because they do not involve

 offset rights through consensual contract provisions or third party beneficiary.          Lenders’

 Opposition, ¶ 35. Nowhere in any of the frequently-cited cases relied upon by the Lenders is

 there a citation to a case relying upon the state law of California. There are no California-reliant

 cases cited by SemCrude. In addition, the court in In re Lehman Bros., 458 B.R. 134 (Bankr.

 S.D. N.Y. 2011) does not cite to any decision that relies on California state law. Even if

 California state law is unique in respect of offset by agreement or as an intended third party

 beneficiary, that in no way excuses a court from following the principles laid out in Butner and



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 Raleigh.     As set forth below, under settled California law, offset rights under consensual

 agreement or by third party beneficiary are fully enforceable.

 Under California law, McKesson’s Application Rights Are Fully Enforceable.

        38.     California authority supports the assertion that McKesson’s Application Rights are

 enforceable by way of contract or an intended third party beneficiary. In either situation,

 California law recognizes that the right of offset is enforceable on the basis there are mutual

 parties and debts.

        Contract Provisions are Effective to Allow for Offset.

        39.     As to enforcement by way of contract provisions, in the Motion, McKesson relies

 on Prudential. In Prudential, the California Supreme Court directly stated that if there is an

 express agreement, then a corporate subsidiary can “be deemed a mutual debtor-creditor of the

 parent.” 3 Cal 4th at 1137 (emphasis added). The McKesson Application Rights plainly fall

 within “mutuality” as determined in Prudential. Nevertheless, the Lenders argue there are two

 reasons why this California Supreme Court decision does not control. The Lenders are wrong on

 both counts.

        40.     First, the Lenders try to distinguish Prudential as reliant upon certain provisions of

 the California Insurance Code and not general principles of mutuality and offset. Lender’s

 Opposition, ¶ 36. What the Lenders fail to mention, however, is that those so-called specific

 insurance provisions were, in fact, patterned after the federal Bankruptcy Act of 1898. As noted

 in Prudential, “[s]ection 1031 [of the California Insurance Code] allows the setoff of all mutual

 debts and creditors in the course of liquidation proceedings and is patterned after the federal

 Bankruptcy Act of 1898 . . . [citations deleted]. The federal . . . provisions were in turn derived




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 from the equitable right of setoff established in 17th Century England and later adopted in early

 federal court cases allowing equitable setoff in the insurance context.” 3 Cal 4th at 1123-24.

           41.   The Lenders’ second attempt to distinguish Prudential is to argue that the language

 quoted in the Motion is dicta. Lenders’ Opposition, ¶ 36. In Prudential, the California Supreme

 Court denied plaintiffs’ attempt to expand offset rights among affiliated entities when there was

 no express mutual agreement to so provide, but acknowledged that offset among affiliated

 entities was proper, with an “express mutual agreement.” 3 Cal 4th at 1137.

           42.   The Lenders also cite In re County of Orange, 183 B.R. 609 (Bankr. C.D. Cal.

 1995) to support its position that closely-related entities (the County itself and the “Orange

 County Investment Pools” (the “OCIP”)) did not meet the “mutuality” requirement. Lenders’

 Opposition, ¶ 35. The facts involved in the County of Orange case are as different as night and

 day from the facts and issues involving the Motion. Notably, there were no contract provisions

 between the County of Orange and the OCIP comparable to the McKesson Application Rights.

           43.   Further, the Lenders failed to disclose is that in the County of Orange case, at the

 same time that relief from stay was denied,13 the Court dismissed the OCIP as a debtor, after

 determining that “the OCIP had outstanding accounts for 190 participants aggregating

 approximately $7.6 billion. These funds were invested and managed by the Treasurer for the

 benefit of the participants.” In re County of Orange, 183 B.R. 594, 599 (Bankr. C.D. Cal 1995).

 The County of Orange court determined that the OCIP “is a creation of the County and the

 Treasurer. It is an investment vehicle formed by the County and administered by the Treasurer

 to receive, commingle, invest, hold, account for and distribute funds of the participants who are

 authorized by state law to deposit their excess funds with the Treasurer.” 183 B.R. at 602. It



 13
      Actually four days later.
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 could hardly be argued that the OCIP is a wholly-owned subsidiary of the County of Orange or

 that its relationship is in any other way comparable to that of McKesson and MPRS.

        Offset Rights as a Third Party Beneficiary.

        44.   As to satisfaction of the “mutuality” requirement by a third party beneficiary, the

 Motion establishes that under California law an intended third party beneficiary has the right to

 sue for damages arising from breach of the agreement inuring to its benefit (such as the setoff

 provisions of that agreement). See, e.g. In re Bacigalupi, Inc., 60 B.R. 442, 446 (9th Cir. BAP

 1986) (applying California law, the Ninth Circuit Bankruptcy Appellate Panel stated that a setoff

 claim “cannot fail for lack of mutuality” where complaint alleges third-party beneficiary status);

 see also Saudi Basic Industries Corp. v. ExxonMobil Corp., 194 F. Supp. 2d 378, 394-95 (D.N.J.

 2002) (Exxon, as a third party beneficiary to a contract, can assert a setoff defense and the setoff

 defense does not fail for lack of mutuality).

        45.   Again, the Lenders seek to distance this case from those decisions by noting factual

 distinctions that are without a difference. The Lenders seem to suggest that despite California

 state law to the contrary, any effort to assert offset as a third party beneficiary is per se void.

 The Lenders are wrong. California law enforces mutuality and setoff rights that run in favor of

 third party beneficiaries to a setoff agreement.

 Under Section 9404 of the California Commercial Code, the Lenders’ Rights in the Debtor’s
 Accounts Receivable Are Subject to McKesson’s Contractual Defenses.

        46.   As set forth in the Motion, under section 9404 of the California Commercial Code,

 any rights of the Lenders as assignee of the Debtor’s accounts receivable, are subject to any

 defenses and claims that McKesson may assert. The Lenders rely upon the terms of the Final

 DIP Order for the proposition that any offset or other claims sought to be asserted by McKesson

 as an account debtor of the Debtor have been washed away, and that the terms of the Final DIP
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 Order immunize the Lenders (for their pre-petition security interest) from any impediment that

 might be raised to question the validity and amount owed by every account debtor. The Lenders’

 argument is wrong on many levels. McKesson is not aware of any court decision that holds that

 a DIP order effectively waives account debtor defenses, making a debtor’s books and records the

 indisputable and unquestioned determinant as to a debtor’s accounts receivable.

        47.   In opposition, the Lenders reference two cases, both of which have facts that are

 substantially different than those involving in this case.

        48.   In In re Printz, 478 B.R. 876 (Bankr. C.D. Ill. 2012), two creditors each asserted

 priority over the claims of the other. One creditor (called “Trainor”), a grain elevator company,

 released its UCC lien over the debtor’s crops at the request of CNH, the other creditor, a lender.

 Trainor then filed a new one in order to make it clear that CNH’s security interest was prior.

 CNH’s senior security interest was not disputed. Trainor, however, then bought farm products

 from the debtor but did not pay for them, and instead asserted first that it was a “buyer in the

 ordinary course of business” under the Food Security Act of 1985 and therefore entitled to take

 possession of the farm products free of CNH’s security interest. On that point, the court ruled in

 favor of Trainor, but went on to determine that Trainor took possession not just of the farm

 products, but also the proceeds of sale of CNH’s security interest. As to the proceeds, Trainor

 was required to make payment. 478 B.R. at 887. What appeared to be determinative in this case

 were the steps taken by Trainor to take back what it had agreed to give up, i.e., the priority of

 CNH’s lien rights.

        49.   The second case cited by the Lenders is InfinaQuest, LLC v. DirectBuy, Inc.,

 18 F. Supp. 3d 959 (N.D. Ill. 2014). In the Lenders’ Opposition, the Lenders first quote dicta




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 from this case14 but fail to disclose that the quoted language was determined by that court, in the

 next sentence, to be “inapplicable.” 18 F. Supp. 3d at 964. In that case, JDB owed DirectBuy

 under the terms of a franchise agreement, and owed Beta under the terms of a financing

 agreement. DirectBuy and Beta are sister entities, both wholly-owned subsidiaries of another

 entity. 18 F. Supp. 3d at 961.

           50.   Under an agreement with JDB, DirectBuy and its affiliates (including Beta) had the

 right to apply or offset. 18 F. Supp. 3d at 963. And in an agreement with JDB, Beta and its

 affiliates (including DirectBuy) had the right to hold and apply any payments due to JDB with

 respect to any indebtedness due to Beta, DirectBuy or any of their affiliates. Ibid. So under each

 of the franchise agreement and the financing agreement, JDB consented to offset rights to be

 exercised by any affiliate of DirectBuy or Beta. And nowhere in the decision is there any

 suggestion that these two offsets by agreement are anything but fully enforceable.

           51.   JDB also entered into an agreement with InfinaQuest granting a security interest in

 JDB’s receivables. When JDB became insolvent, InfinaQuest sought to recover in advance of

 Beta and DirectBuy. The court ruled in favor of Beta and DirectBuy because, among other

 reasons, “[t]he set-off provision is a term of the Franchise Agreement, and—as an assignee—

 InfinaQuest took its security interest subject to that provision.” 18 F. Supp. 3d at 965. Further,

 the Court added that “. . . this analysis is consistent with the common law maxim . . . (no one

 can give what he does not have) since JDB’s interest in the account was subject to DirectBuy’s

 contractual set off.” Ibid.

           52. So each of the cases relied upon by the Lenders actually supports the relief

 requested by McKesson in the Motion.



 14
      Citing to page 965 of the decision, instead of the correct page, 964.
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        53.   Nevertheless, the Lenders argue under the terms of the Final DIP Order, any

 account debtor and any other entity asserting a counterclaim against its obligation to the Debtor

 has waived each such claim, offset, etc. Lenders’ Opposition, ¶ 49. As set forth, the Final DIP

 Order included a finding that no “offsets, recoupments, challenges, objections, reductions,

 defenses, impairments, claims, counterclaims, or cross-claims of any kind or nature to any of the

 [Prepetition Secured Notes] by any person or entity exist . . .” Final DIP Order ¶ 10(c)(1).

        54.     The Lenders, however, misinterpret the Final DIP Order because no McKesson

 entity seeks to assert a right of offset to any liability on account of the Prepetition Secured Notes.

 Neither of the two McKesson entities is liable on such notes.

        55.     In addition, the Lenders ignore Judge Walrath’s ruling in In re Reichold Holdings,

 US, Inc., 556 BR 107, 111 (Bankr. D. Del. 2016), that “[t]he function of a lien is to secure a debt;

 once that debt is repaid, the lien and the rights of the lien-holder terminate.” The findings

 referenced by the Lenders were in support of the DIP Loan which has been fully repaid. Thus,

 the Lenders’ rights under the Final DIP Order have terminated.

                                           CONCLUSION

        Based on the foregoing, McKesson respectfully requests the Court grant the Motion and

 enter an order substantially in the form attached to the Motion as Exhibit A: (i) authorizing

 McKesson to apply the obligations the Debtor owes MPRS under the Master Services

 Agreement against the obligations McKesson owes to the Debtor under the Distribution

 Agreement.; (ii) directing the Debtor to make payment in accordance with paragraph 5 of the

 May Stipulation; and (iii) such other and further relief as the Court may deem just and proper.




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 The Lenders should not be awarded a windfall at the expense of McKesson, particularly when

 that windfall would not be available to the Lenders outside of bankruptcy.

 Dated: August 31, 2018                       Respectfully submitted,
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                                             business unit of McKesson Specialty
                                             Arizona, Inc.




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    1                       UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE
    2
                                        .            Chapter 11
    3   IN RE:                          .
                                        .            Case No. 18-10518 (KG)
    4
        OREXIGEN THERAPEUTICS, INC.     .
    5                                   .
                                        .           Courtroom No. 3
    6                                   .           824 North Market Street
                                        .           Wilmington, Delaware 19801
    7                                   .
                           Debtors.     .          October 24, 2018
    8   . . . . . . . . . . . . . . . . .          11:00 A.M.

    9                            TRANSCRIPT OF HEARING
                           BEFORE THE HONORABLE KEVIN GROSS
   10                       UNITED STATES BANKRUPTCY JUDGE
   11
        APPEARANCES:
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   25

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    4   Entitled to The Disputed Funds (D.I. 653, filed 7/30/18

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    1           (Proceedings commence at 11:04 a.m.)

    2           (Call to order of the Court)

    3                 THE COURT:     Good morning everyone.       Thank you.

    4   You may be seated.       We’ve got an interesting argument ahead

    5   of us don’t we, Mr. Remming?

    6                 MR. REMMING:     We do.

    7                 THE COURT:     Good morning.

    8                 MR. REMMING:     Good morning, Your Honor; Andrew

    9   Remming for the Company.

   10                 THE COURT:     Yes, sir.

   11                 MR. REMMING:     It’s a pleasure to be in front of

   12   Your Honor.

   13                 THE COURT:     Good to have you here.

   14                 MR. REMMING:     Thank you.

   15                 We are working off of the agenda that we filed at

   16   docket item 794.

   17                 THE COURT:     Yes.

   18                 MR. REMMING:     There are five items on that agenda.

   19   The first two are omnibus claim objections and Your Honor

   20   previously entered orders on those.           We thank you for that.

   21                 THE COURT:     That’s right.

   22                 MR. REMMING:     The second two items are fee

   23   application matters and Your Honor also entered orders on

   24   those two.     On behalf of all the retained professionals I

   25   thank you for your consideration.

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    1                 THE COURT:     Absolutely.     I did review them

    2   carefully and I reached the conclusions that I did.

    3                 MR. REMMING:     Thank you, Your Honor.

    4                 THE COURT:     Yes.

    5                 MR. REMMING:     The fifth item is being handled by

    6   conflict’s counsel and I’ll cede the podium.

    7                 THE COURT:     All right.     Thank you, Mr. Remming.

    8                 MR. REMMING:     Thank you.

    9                 THE COURT:     Mr. Garfinkle, good morning.

   10                 MR. ANGELO:     Quickly, Your Honor.       Good morning.

   11                 THE COURT:     Yes.   Good morning.

   12                 MR. ANGELO:     It’s a pleasure to be in front of

   13   you.    Jason Angelo of Reed Smith --

   14                 THE COURT:     Yes, sir.

   15                 MR. ANGELO:     -- and Mr. Jeffrey Garfinkle.         I will

   16   cede the podium to him.

   17                 THE COURT:     Thank you.     Good to see you.

   18                 Mr. Garfinkle, you’re back.

   19                 MR. GARFINKLE:      I am, Your Honor.      It’s a pleasure

   20   to be back.

   21                 THE COURT:     Good to have you back.

   22                 MR. GARFINKLE:      Thank you.     Jeff Garfinkle,

   23   Buchalter, for McKesson and McKesson Specialty Arizona.

   24                 THE COURT:     Yes.

   25                 MR. GARFINKLE:      Your Honor, I know the court is

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    1   familiar with the briefs so I --

    2                 THE COURT:     Yes, I’ve read them.

    3                 MR. GARFINKLE:        -- won’t belabor the facts.       I

    4   think the court is familiar the debtor is holding roughly 6.9

    5   million.     This motion involves those funds.

    6                 THE COURT:     I don’t think there’s much dispute on

    7   the facts, is there?

    8                 MR. GARFINKLE:       No.

    9                 THE COURT:     No.

   10                 MR. GARFINKLE:       Other than whether McKesson

   11   Specialty Arizona is a third-party beneficiary of the

   12   distribution agreement.        On that point I’d just like to just

   13   point out one additional item that wasn’t specifically

   14   referenced in the brief.

   15                 THE COURT:     Okay.

   16                 MR. GARFINKLE:       Attached to the declaration of

   17   Thomas Lynch are the agreements.          They were filed under seal.

   18                 THE COURT:     Yes.

   19                 MR. GARFINKLE:       And in those agreements, one is

   20   the core distribution agreement and the other is the

   21   marketing of the loyalty agreement.           I want to turn to the

   22   core distribution agreement just to point out one item so the

   23   court is aware of it.

   24                 THE COURT:     Okay.

   25                 MR. GARFINKLE:       In Section 7 of the core

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    1   distribution agreement it is the section titled “General.”

    2   And throughout the argument there are three relevant portions

    3   of that section of the agreement.           Number one is the choice

    4   of law.

    5                 THE COURT:     Yes.

    6                 MR. GARFINKLE:      We have a California debtor, based

    7   in San Diego, contracting with McKesson Corporation, based in

    8   San Francisco, and they chose California law to govern their

    9   contract.

   10                 THE COURT:     Yes.

   11                 MR. GARFINKLE:      That is in Section 7(b).

   12                 Interestingly, in 7(g), which is not really

   13   addressed in the brief, it is certainly part of the record,

   14   and I’ll read it for the record.

   15                 “In the event manufacturer, Orexigen, requires

   16                 services, i.e. distribution, pharmacy, marketing

   17                 or logistics that McKesson Specialty can provide,

   18                 McKesson Specialty will be given the opportunity

   19                 to bid on providing those services to Orexigen at

   20                 the time they may be put out for bid along with

   21                 any other competitors that Orexigen so choose.”

   22                 Okay.   So, basically, McKesson had the right to

   23   bid for logistics.       It’s a pharmacy manufacturer.         As the

   24   court may recall with Cardinal, Cardinal was doing their

   25   logistics.     It’s a very interesting business and industry as

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    1   the court has witnessed.        I think it’s the first pharma case

    2   that the court has had in my recollection, but Cardinal was

    3   providing logistics; meaning that they provided the packaging

    4   and getting the product to McKesson at its distribution

    5   centers.     So, they were providing services, but McKesson was

    6   providing the marketing services.

    7                 THE COURT:     Yes.

    8                 MR. GARFINKLE:      Basically, the coupons which

    9   doctors would -- Orexigen would hand-out to patients to,

   10   otherwise, induce them to take Contrave.

   11                 Lastly, is the section of the contract which is at

   12   issue here, is Section (i) and that is the section which

   13   allows McKesson or its affiliates to setoff, recoup or apply.

   14   Basically, a netting at some point.

   15                 Now, I am quite familiar with all the case law in

   16   this circuit and elsewhere --

   17                 THE COURT:     SemCrude, Lehman Brothers; yes.

   18                 MR. GARFINKLE:        I was not involved in the

   19   arguments in any of them.

   20                 THE COURT:     Okay.

   21                 MR. GARFINKLE:        I did not have a chance on behalf

   22   of McKesson or any of my other clients to suggest that the

   23   analytical framework that those courts employed was

   24   inconsistent with the Supreme Court’s teachings in Butner and

   25   Rowley, and I believe they are for the reasons that we put in

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    1   our briefs that the court, as dictated by Butner and Rowley

    2   must undertake a State law analysis.           That is consistent with

    3   the definition of mutuality which almost all the courts

    4   including the Garden Ridge case and others within this

    5   district say to determine mutuality we look to State law.

    6                 So, let’s throw-out this hypothetical to the

    7   court.    Let’s say tomorrow the California Legislature defines

    8   mutuality in a parent corporate setting -- in the corporate

    9   setting to include all affiliates.           We define mutuality in

   10   that sense.

   11                 THE COURT:     Yes.

   12                 MR. GARFINKLE:      Then the court would be under

   13   Butner and Rowley, and would be bound by that determination

   14   in our view.

   15                 Now, the Supreme Court, mostly in diversity cases,

   16   has instructed lower courts when they are required to

   17   interpret State law to do a predictive analysis.              Predict how

   18   the State Court would, otherwise, rule on the analysis.                I’m

   19   not going to belabor the court and burden the court with all

   20   the case law; it’s certainly easily obtainable as to the

   21   standards, but the starting point in that predictive analysis

   22   is the state’s highest court.

   23                 THE COURT:     Right.

   24                 MR. GARFINKLE:      In this case the California

   25   Supreme Court.      Interestingly, I can’t speak to any other

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     1   state beyond California, California has actually -- the

     2   Supreme Court has addressed this issue, albeit in an

     3   insurance liquidation, modeled after the 1898 Act.               And they

     4   addressed the question of whether affiliated corporations

     5   could set-off in the absence of a written agreement or some

     6   sort of agreement that allows the netting, or mutual setoff

     7   or whatever you want to call it.

     8                The Supreme Court in California in the Prudential

     9   Reinsurance case made clear in the absence of a written

   10    agreement you can’t do it, but if there is an agreement, in

   11    the limited situation of affiliated corporations, then you

   12    can.

   13                 THE COURT:      Isn’t that dicta?

   14                 MR. GARFINKLE:       It is dicta, but for a predictive

   15    analysis it’s the only guidance the court has as to how a

   16    California Court would rule on this.            So, I would suggest to

   17    the court that even though it is dicta under the standards

   18    the Supreme Court has done for predictive decision-making by

   19    the Trial Courts as to State law that the court must abide by

   20    that.

   21                 Generally, when we’re looking at predictive

   22    analysis of how a State Court would rule we start with the

   23    Supreme Court, and then you go to the intermediate level

   24    Appellate Courts and then to other State Courts.               That’s the

   25    guidance that the Supreme Court has had.

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     1                At this point the only case it provided the court

     2   and the only case that we’re aware of is the Prudential

     3   Reinsurance case.      So, at this point, in light of that

     4   guidance by the California Supreme Court, the analytics are

     5   that if there is an agreement among the parties, which

     6   includes a parent and subsidiary corporation to allow for the

     7   setoff then there is mutuality.

     8                So, once you get to that point there is mutuality

     9   then this becomes a very simple issue.            We have a contract,

   10    we have a payable at 6.9 million against which McKesson

   11    Specialty Arizona is owed well in excess of that; 8.5

   12    roughly.

   13                 THE COURT:      All right.

   14                 MR. GARFINKLE:       So, that money goes to McKesson.

   15    McKesson can keep that money and however they do it

   16    internally at accounting can drop it down to a subsidiary

   17    through an internal accounting process.

   18                 Now, when we look at SemCrude, when we look at

   19    American Home Mortgage, when we look at Lehman Brothers you

   20    will not see any reference whatsoever to any State law.

   21                 THE COURT:      That’s right.

   22                 MR. GARFINKLE:       None.    It’s as if they make this

   23    pronouncement we look to mutuality to determine State law and

   24    then never do it.      They never engage in the analysis that

   25    Butner and Rowley require.         And once you engage in that

                                                                            Appendix A290
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     1   analysis then in this limited case McKesson prevails.                 Its

     2   entitled to the 6.9 million just as it would have been

     3   outside of bankruptcy.

     4                On that point I want to emphasize something and

     5   almost concede a point.        At the end of the day the other

     6   creditors of this estate aren’t getting that money.                 The only

     7   money is going to Baupost and the lenders.             Who by the way,

     8   Baupost is one of McKesson’s -- this is all public record.

     9   Baupost just happens to be one of McKesson’s largest

   10    shareholders through an affiliate.           So, it’s kind of an

   11    interesting dynamic here with Baupost, but anyway.

   12                 If McKesson gets the 6.9 million we concede that

   13    Baupost and the lenders can still sue McKesson under whatever

   14    theory of conversion or whatever theory in State Court or

   15    Federal Court that they want to do outside of bankruptcy.

   16    You improperly got that money, you shouldn’t have set it off.

   17    We have senior rights vis-à-vis that money.              McKesson

   18    concedes that they have all those rights.             Those rights

   19    should be preserved and if they want to go prosecute McKesson

   20    in some sort of conversion action or other lien priority

   21    dispute outside of bankruptcy they are free to do so.

   22                 We think we will prevail under 9404.             If Baupost

   23    wanted to underwrite this loan and fully aware that the

   24    debtor only had three primary vendors -- buyers.               They

   25    represent 90 percent of their revenue source.              They were

                                                                             Appendix A291
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     1   fully aware of these contracts.          They were fully aware of the

     2   setoff rights or should have been.           And if they wanted

     3   McKesson to waive those rights, or Cardinal or

     4   AmerisourceBergen to waive those rights -- again, as I

     5   mentioned, it’s part of the record in the bankruptcy case.

     6   Cardinal is providing logistic services and was owed a

     7   considerable amount of money at the outset of this case.

     8   This was an issue that they had as well.

     9                Certainly anyone lending to a pharma company,

   10    doing asset based lending, is fully aware of the nature of

   11    this industry and how the wholesalers, McKesson, Cardinal and

   12    AmerisourceBergen, have multiple relationships with the

   13    pharma companies and there’s always a netting going on at

   14    multiple different levels both within the contract itself.

   15                 By way of example McKesson uses outside vendors to

   16    deliver products and they can pass those products through to

   17    services.    They use internal accounting processes.             All that

   18    is happening on a daily and hourly basis under these

   19    contracts. And if the lenders did not want that netting to

   20    occur then they could have asked for that waiver consistent

   21    with 9404.     I don’t know how McKesson would have reacted if

   22    that request had been made, but it was never made and

   23    McKesson never waived its rights under 9404 and its defenses.

   24                 I think I’ve addressed most of the points.              I’m

   25    happy to address one -- let me point out one other thing.

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     1   When we look at this there are two statutes at play here.

     2                THE COURT:      Yes.

     3                MR. GARFINKLE:       We have 553 --

     4                THE COURT:      Right.

     5                MR. GARFINKLE:       -- which we’ve talked about and

     6   506(a).    Those are the only two statutes in the bankruptcy

     7   code that contain the word setoff.           506(a) says it is a --

     8   you have a secured claim for the amount of your setoff right

     9   subject to 553.

   10                 THE COURT:      Right.

   11                 MR. GARFINKLE:       So, it’s a secured claim.         Again,

   12    we go back to the circular issue that once you have a secured

   13    claim, and you determine the amount of that secured claim or

   14    the extent of that secured claim you then put yourself within

   15    Butner and Rowley and that whole Supreme Court analytical

   16    framework that is required.         That is applied with the same

   17    force to 553.

   18                 Again, 553, as we pointed out very aptly in our

   19    reply brief, does not contain any express provisions that

   20    have now found their way into the rulings of SemCrude, this

   21    whole doctrine of somehow that setoff under the bankruptcy

   22    code is judicially created and is not found within the

   23    statute.    There are lots of provisions of the bankruptcy code

   24    which give parties preferred rights.

   25                 The Supreme Court in Butner and Rowley continue

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     1   that recognition by saying that unless it’s expressly set

     2   forth in the bankrutpcy code that all State law rights will

     3   exist in bankrutpcy.       Nothing in the language of 553 changes

     4   that.   So, all those words about what’s expressly there we

     5   challenge all the parties, I have copies of 553 with me, show

     6   me where in that statute that that doctrine is set forth. It

     7   doesn’t exist.

     8                So, in the absence of express language we’re back

     9   to Rowley and Butner and the analytical framework to apply

   10    State law and the Prudential Reinsurance case.              Again, that

   11    is the only case that’s on point.           It’s the only predictive

   12    analysis of how a California Court would rule on this issue.

   13    We would suggest to the court that it is required to follow

   14    that decision.

   15                 THE COURT:      So, Mr. Garfinkle, your point is that

   16    if the courts in SemCrude and Lehman Brothers had properly

   17    decided the case, if you had been there arguing those cases,

   18    that the court would have come out perhaps with a different

   19    result?

   20                 MR. GARFINKLE:       I’d have to look at the State law

   21    --

   22                 THE COURT:      That’s right.

   23                 MR. GARFINKLE:       -- of those dates for which we

   24    don’t have any guidance from.          In fact, when I looked at

   25    SemCrude and all of the cases that are widely cited,

                                                                            Appendix A294
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     1   SemCrude, American Home, I couldn’t even find which state

     2   would be applied.

     3                THE COURT:      There were various cases in SemCrude.

     4                MR. GARFINKLE:       I understand, but I couldn’t find

     5   -- SemCrude was, I think that was Chevron.             I don’t know what

     6   choice of law was in their contracts.            I just don’t know.

     7                Here we are clear, we have California law.              None

     8   of the cases that we were able to find addressed California

     9   law.   In fact, when I looked at the 553 Case Law in

   10    triangular setoff, what is called triangular setoff --

   11                 THE COURT:      Yes.

   12                 MR. GARFINKLE:         -- there’s not a case that even

   13    cross-references Butner or Rowley.

   14                 THE COURT:      Right.

   15                 MR. GARFINKLE:       I’m curious to know why that

   16    argument was never made by somebody, but it’s always been

   17    there since the Supreme Court issued Butner several decades

   18    ago, but I wasn’t there, I didn’t get a chance to argue it

   19    and there’s no controlling authority within the Third Circuit

   20    that says one way or the other.          So, I would suggest in the

   21    absence of controlling Third Circuit Law the court has to

   22    apply the Supreme Court’s requirements and tests as set forth

   23    in Butner and Rowley.

   24                 THE COURT:      Okay.    All right.

   25                 MR. GARFINKLE:       I will answer any other questions

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     1   the court may have.

     2                THE COURT:      No.    Thank you, Mr. Garfinkle.        Thank

     3   you for your argument.        And the briefing was very fine.

     4                MR. GARFINKLE:        Yes.   Thank you.

     5                THE COURT:      Good morning.

     6                MS. MUMFORD:      Good morning, Your Honor; Kerri

     7   Mumford from Landis Rath & Cobb.           Your Honor, we’re special

     8   counsel to the debtors.

     9                THE COURT:      Yes.

   10                 MS. MUMFORD:      Your Honor, the issue before you is,

   11    frankly, very straight-forward.           Can you contract around the

   12    mutuality requirement of the bankruptcy code?              And there is

   13    express language in the bankrutcy code that says no.                You

   14    don’t need to break new law here, Your Honor.              Several

   15    courts, including those in this district, have looked at this

   16    same issue raised by the movants and concluded after

   17    extensive and thorough analysis that Bankruptcy Code Section

   18    553 does not have a triangular setoff contractual exception.

   19                 Judge Farnan says it quite clearly,

   20                 “The mutuality requirement required by Section 553

   21                 cannot be supplied by a multi-party agreement

   22                 contemplating a triangular setoff.”

   23                 Your Honor, what’s not straight-forward here is

   24    the convoluted arguments McKesson is raising in front of Your

   25    Honor to steer away from this controlling law.              Your Honor,

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     1   they suggested in their briefs that,

     2                “The resolution of the issues raised in this

     3                motion has nothing to do with the debtor, the

     4                bankruptcy code, the terms and conditions under

     5                the DIP facility provided to the lenders or the

     6                terms of the debtor of the sales assets.”

     7                That’s in their motion at Paragraph 7.

     8                THE COURT:      Yes.

     9                MS. MUMFORD:      Your Honor, they’re saying that this

   10    has nothing to do with the bankruptcy code or the debtor.

   11    The question before Your Honor is whether McKesson, who owes

   12    the debtor in excess of $6 million dollars, can set-off its

   13    subsidiary alleged claim against the debtor.              The only way

   14    they can set that off is under Section 553 of the Bankruptcy

   15    Code.   Your Honor, the analysis begins and ends with Section

   16    553 of the Bankruptcy Code.

   17                 Your Honor, they don’t address this in any

   18    meaningful way other then what they just said is that these

   19    judges got it wrong.       Your Honor, they did not get it wrong.

   20                 Your Honor, you are correct that the facts are not

   21    disputed, but I do just want to highlight them because as I

   22    go through my analysis I do think that they are important to

   23    distinguish.

   24                 THE COURT:      Okay.

   25                 MS. MUMFORD:      Your Honor, as we all agree, there’s

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     1   a distribution agreement.         That agreement is between McKesson

     2   and the debtor.

     3                THE COURT:      Right.

     4                MS. MUMFORD:      Your Honor, in that agreement it

     5   gives the right of MPRS to bid to provide the loyalty script

     6   services.    It does require it.        It does not say that they are

     7   automatically entitled to it.          And six weeks after they

     8   entered into that distribution agreement the debtor and its

     9   McKesson Patient Relation Services, a business unit of

   10    McKesson Specialty Arizona, counsel referred to it as

   11    McKesson Specialty Arizona, I refer to it as MPRS, entered

   12    into that rebate program which we refer to as the loyalty

   13    script.    McKesson has agreed that MPRS is a separate legal

   14    entity from McKesson.        That is in their Beazley declaration

   15    at Paragraph 1.

   16                 Your Honor, McKesson is not a creditor of the

   17    debtor.    MPRS has asserted a claim in this case, Your Honor,

   18    but they provided Your Honor with no factual support in

   19    support of that claim.        When the objectors raised this it was

   20    not raised either in their reply today or in front of Your

   21    Honor.

   22                 Your Honor, it is McKesson who is seeking to set

   23    off MPRS’s alleged claim against the debtor.              None of that is

   24    disputed.

   25                 THE COURT:      A non-creditor.

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     1                 MS. MUMFORD:     A non-creditor.

     2                 Your Honor, so I think I was challenged and so I

     3   will go directly to Section 553 and I’ll point Your Honor to

     4   the express language that supports our argument.

     5                 THE COURT:     All right.

     6                 MS. MUMFORD:     Your Honor, Section 553 states, and

     7   I’ll quote,

     8                 “This title does not affect any right of a

     9                 creditor to offset a mutual debt owing by such

   10                  creditor to the debtor that arose before the

   11                  commencement of the case under this title against

   12                  a claim of such creditor against the debtor that

   13                  arose before the commencement of this case.”

   14                  Again, Your Honor, McKesson, non-creditor, seeking

   15    to set off MPRS’s alleged claim.

   16                  THE COURT:     Yes.

   17                  MS. MUMFORD:     There is no mutual debt, Your Honor.

   18    The MPRS claim arises under the loyalty script agreement.

   19    McKesson’s debtor owes McKesson under the distribution

   20    agreement.     Those debts aren’t mutual.

   21                  So, how does McKesson try to get around this

   22    express language, Your Honor.          First, they say it’s not

   23    express.     It is.   Your Honor, I think we can all agree that

   24    the language that they’re citing to, including Garden Ridge,

   25    Garden Ridge actually says, you know, yes they take one quote

                                                                            Appendix A299
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     1   and it says you look to State law to determine mutuality, but

     2   the fact that the courts look to mutuality is because you

     3   have to have a setoff right under State law to begin the

     4   analysis.     I don’t think any of the parties dispute that.                I

     5   don’t think Your Honor disputes that.

     6                 THE COURT:     No.

     7                 MS. MUMFORD:     That is not the end of the analysis.

     8   That is why SemCrude doesn’t talk about it, that’s why

     9   American Home Mortgage doesn’t talk about it, but, Your

   10    Honor, I will get there in a moment.            Lehman Brothers

   11    directly talks about it and they actually argue that New York

   12    State Law applies.

   13                  Your Honor, what McKesson is actually asking you

   14    to do is read out express provisions of the bankrutpcy code.

   15    They suggest 553 is,

   16                  “Absolutely silent on the impact it may have on

   17                  other equitable offset and application rights.”

   18                  That is reply Paragraph 3.         And argues to Your

   19    Honor that,

   20           `      “Section 553’s restrictions on setoff should be

   21                  limited to those integrating setoff in the context

   22                  of avoidance actions, i.e. only those provisions

   23                  in (a)(1) through (a)(3).”

   24                  Your Honor, they then ask Your Honor, as they

   25    suggested prior, Your Honor, that the cases that are directly

                                                                            Appendix A300
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     1   on point,

     2                “Do not stand-up to scrutiny.”

     3                And this court shall rule that,

     4                “Title 9 does not affect any offset enforceable

     5                under applicable State law including the right of

     6                a creditor as long as both obligations are

     7                prepetition.”

     8                Your Honor, I certainly get why McKesson is

     9   arguing that.     I certainly understand why they want that to

   10    be the fact.     They want Your Honor to strip these provisions

   11    of the bankruptcy code but that’s not what the code says.

   12    Sections (a)(1) through (3) and the prepetition requirement

   13    are not the only exceptions in 553.           It requires the right of

   14    a creditor to offset to be respect the mutual debt owed to

   15    the debtor by such creditor.

   16                 Your Honor, Judge Shannon even noted that the

   17    precise language here, the terminology of creditor and mutual

   18    debt are far more precise then you see in other provisions of

   19    the code.    So, what McKesson is asking Your Honor to do is

   20    just strip the language, creditor and mutual debt out of the

   21    code all together based on State contractual law.

   22                 Your Honor, I would just propose where does that

   23    end?   Can you contract around the prepetition requirement?

   24    Can you contract around the priority scheme and the code all

   25    together?    Of course not, Your Honor, and that’s why you have

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     1   this compelling State arguments to the contrary.

     2                Your Honor, I’d be happy to dive into the analysis

     3   of the code and the analysis that Judge Sontchi and Judge

     4   Peck did with respect to there’s a contractual exception, but

     5   I think that’s been fully briefed.

     6                THE COURT:      It has, yes.

     7                MS. MUMFORD:      And, Your Honor, I think we say in

     8   our brief, but I do want to note that it’s not just those

     9   three courts.     Several courts have spoken on this, Your

   10    Honor; the Fifth Circuit, the Seventh Circuit, the Ninth

   11    Circuit BAP, Judge Walter of the Southern District of Ohio,

   12    Judge Williams of the Northern District of Ohio, Judge

   13    Altenburg Central District of Illinois, Judge Dreier District

   14    of Minnesota.     All of those courts and judges have held that

   15    the mutuality requirement required by Section 553 cannot be

   16    supplied by a multi-party agreement contemplating a

   17    triangular setoff.

   18                 THE COURT:      But none of those courts address the

   19    argument that Mr. Garfinkle has made, is that right?                The

   20    application of Butner to this matter or if it applies.

   21                 MS. MUMFORD:      Your Honor, they -- I will -- I

   22    think I will quote to you directly from Lehman Brothers

   23    because, yes, the same exact argument that McKesson is

   24    raising here was raised there.

   25                 THE COURT:      Okay.

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     1                MS. MUMFORD:      Whether under New York State Law,

     2   New York State Law permits a triangular setoff.               They argued

     3   the same facts.      It’s the same party scenario; parent

     4   subsidiary seeking to set off against singular debtor.                Your

     5   Honor, they don’t address it because Butner doesn’t apply

     6   here.   Butner stands for the simple proposition that the

     7   court looks to State law to determine property rights.

     8                THE COURT:      Yes.

     9                MS. MUMFORD:      What McKesson completely ignores,

   10    Your Honor, is that Butner also says that Congress has the

   11    ability to act.      If Congress did not exercise its power to,

   12                 “Fashion any such rule.”

   13                 Your Honor, has a rule here; its Bankruptcy Code

   14    Section 553 and the express provisions regarding a

   15    creditor/debtor relationship.

   16                 Your Honor, like I said, Lehman Brothers is, I

   17    think, particularly instructive to Your Honor and it

   18    addresses the State law issue that Your Honor has questioned.

   19    Your Honor, this is 458 B.R., Pages 140 to 141.               Your Honor,

   20    according to -- this is all quote.

   21                 “According to UBS the debts between LBI and UBS

   22                 securities should be viewed as mutual because of

   23                 the express provision allowing UBS to offset

   24                 amounts owed to its affiliate, notwithstanding the

   25                 fact that this affiliate is not a named party to

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     1                the agreement.       The theory is that the contract

     2                supplies a required mutuality by collecting all

     3                affiliates under the same corporate umbrella and

     4                treating them as if they were a single

     5                counterparty.      This attempt to override the

     6                independent status of UBS Securities disregards a

     7                consistent pattern of authority describing that

     8                even where a setoff right exists under applicable

     9                State law the bankruptcy code imposes its own

   10                 strict requirements, namely that the debtor owes a

   11                 prepetition debt to the creditor, the creditor has

   12                 a prepetition claim against the debtor, and the

   13                 debtor and claim are mutual.”

   14                 Your Honor, I will skip the internal quotations.

   15    Going on,

   16                 “The argument advanced by UBS fails because the

   17                 allegedly mutual debts flunk the test that they

   18                 must be in the same right, and between the same

   19                 parties standing in the same capacity.”

   20                 Your Honor, the same argument raised by McKesson,

   21                 “UBS also asserts that because it was free to

   22                 contract with LBI for triangular setoff rights

   23                 under New York law and because the parties

   24                 intended for these rights to be valid and

   25                 enforceable even in bankruptcy the court should

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     1                honor the agreement and allow the triangular

     2                setoff.     This argument is neutralized by the plain

     3                language of Section 553.         Section 553 expressly

     4                preserves the right of a creditor to offset a

     5                mutual debt owing by such creditor to the debtor

     6                against a claim of such creditor against a debtor.

     7                The clarity of this language is conclusive.

     8                Mutuality, quite literally, is tied to the

     9                identity of a particular creditor that owes an

   10                 offsetting debt.       The right is personal and there

   11                 simply is no ability to get around this language.

   12                 Parties may freely contract for triangular

   13                 setoffs, but not in derogation of these mandates

   14                 of the bankrutpcy code.”

   15                 Your Honor, I don’t think that we could be lucky

   16    to find anymore language that is directly on point.                It is

   17    the exact argument that McKesson is raising here.               Judge

   18    Peck, just like Judge Sontchi, Judge Farnan, Judge Shannon

   19    have all held that first step look to State law to determine

   20    whether or not there is a right of setoff that includes

   21    whether, you know, mutuality is implicit in setoff and then

   22    you look to the express provisions of the bankruptc code.

   23    McKesson is not a creditor here and, therefore, they cannot

   24    assert a setoff right.

   25                 THE COURT:      Yes.

                                                                            Appendix A305
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     1                MS. MUMFORD:      Your Honor, I already talked about

     2   Butner.

     3                Your Honor, with respect to Prudential McKesson is

     4   now arguing that they agree that with the objectors that its

     5   dicta.    That is certainly not what they argued in their

     6   brief.    They repeatedly refer to it as controlling Supreme

     7   Court precedent. It is dicta, Your Honor.             It does not stand

     8   for the general proposition under State law that there is an

     9   exception to the mutuality agreement that allows for parties

   10    to contract and for a triangular setoff.

   11                 Your Honor, I think it’s also important to note

   12    that this language that their relying to, this dicta

   13    language, it refers to Berger.

   14                 THE COURT:      Yes.

   15                 MS. MUMFORD:      And Berger is the case where when

   16    you boil down, as Judge Shannon did in SemCrude, is the

   17    genesis of this so-called contractual exception to mutuality.

   18    And as Judge Shannon did in Berger and I won’t do for Your

   19    Honor because I know Your Honor is familiar with that

   20    opinion, the cases that Berger relied on do not actually

   21    stand for that proposition and there never was a finding of a

   22    triangular setoff permitted under the bankruptcy code.

   23                 Your Honor, I also think its noteworthy since they

   24    rely so heavily on Prudential now noting that its dicta is

   25    that Prudential, itself, suggests that a parent cannot offset

                                                                            Appendix A306
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     1   a subsidiaries debt.       Then the dicta is where they say we

     2   won’t do so unless an agreement otherwise.

     3                The Supreme Court of California is recognizing

     4   that that is an exception, Your Honor; as an exception to the

     5   general rule that you cannot have a triangular setoff.

     6   McKesson doesn’t argue that to Your Honor.             They just say

     7   that under California State law it’s allowed.              They haven’t

     8   cited one case that stands for that proposition.

     9                Your Honor, it’s quite extraordinary that they say

   10    that all these judges, the Fifth Circuit, the Seventh

   11    Circuit, the Ninth Circuit BAP all got it wrong and that they

   12    have this right under California law that there’s this

   13    exception under California law, but yet haven’t provided Your

   14    Honor any guidance as to where Your Honor can rely on that

   15    exception.

   16                 Your Honor, they didn’t address it in their brief,

   17    but I do think it’s important for, at least, completeness of

   18    the record to go through some of the other arguments that

   19    McKesson raised in their motion.

   20                 THE COURT:      Fine.   Yes.

   21                 MS. MUMFORD:      Your Honor, they argue that there is

   22    no federal interest regarding setoff in bankruptcy.                Again,

   23    Your Honor, I think Judge Shannon says it better than I ever

   24    could.

   25                 “One of the primary goals, if not the primary

                                                                            Appendix A307
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     1                goal, of the code is to ensure that similarly

     2                situated creditors are treated fairly and enjoy an

     3                equality of distribution from a debtor absent a

     4                compelling reason to depart from this principal.

     5                By allowing parties to contract around the

     6                mutuality of Section 553 one creditor or a handful

     7                of creditors could unfairly obtain payment from a

     8                debtor at the express of the debtor’s other

     9                creditors, thereby upsetting the priority scheme

   10                 of the code and reducing the amount available to

   11                 the distribution of all creditors.            Such a result

   12                 is clearly contrary to both the text of the code

   13                 and to the principal of equitable distribution

   14                 that lies in the heart of the code.”

   15                 Your Honor, even if Butner was the sole case that

   16    should apply here I think it’s very clear that there is a

   17    federal interest here.        The whole code is premised and the

   18    tenant is equal treatment around creditors.              All of the case

   19    law notes that setoff is an exception to that, an

   20    extraordinary exception and it should be strictly construed.

   21                 Your Honor, again, third-party beneficiary. I’m

   22    not sure I understood counsel’s argument that pointing out to

   23    the provision where it says that MPRS has the right to bid

   24    for these services.       The debtor actually points that out in

   25    their objection and says that that does not give it a right

                                                                            Appendix A308
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     1   for third-party status, beneficiary status.

     2                Your Honor, this is a dispute of fact.             McKesson

     3   hasn’t provided any facts in front of Your Honor.               And

     4   curiously note that the debtor -- I’ll quote their reply.

     5                “It is noticeable that the debtor does not offer

     6                any evidence that MPRS was not an attentive third-

     7                party beneficiary.”

     8                Of course, its McKesson’s burden to do this not

     9   ours.

   10                 THE COURT:      Right.

   11                 MS. MUMFORD:      And then they go onto note, Your

   12    Honor, that this is a fact dispute that cannot be resolved at

   13    this time.     Well, Your Honor, we’re here.          It was their

   14    argument that they’re a third-party beneficiary.               This is the

   15    time to prove that up.

   16                 Your Honor, the third-party beneficiary argument

   17    is quite convoluted in itself.          Essentially, what McKesson is

   18    arguing is that because MPRS is a third-party beneficiary

   19    under the distribution agreement it could make a claim for a

   20    breach under that distribution agreement that somehow

   21    establishes McKesson’s right to offset MPRS’s alleged claim

   22    under the loyalty scripts agreement.            Your Honor, that is

   23    mental gymnastics that I’m not sure I follow, but there is

   24    nothing, no case cited, that confers third-party beneficiary

   25    status to get around the express mutuality requirements under

                                                                            Appendix A309
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     1   the bankruptcy code.

     2                 Your Honor, a couple of last quick points that

     3   were raised in the motion.

     4                 THE COURT:     Yes.   Take your time, Ms. Mumford.

     5                 MS. MUMFORD:     McKesson argues that because

     6   California law recognizes,

     7                 “A connection between parents and subsidiaries,”

     8                 McKesson and all of its affiliates should be

     9                 treated as a single counterparty for purposes of

   10                  settling their claims against the debtor.”

   11                 Your Honor, that’s in their motion in Paragraphs

   12    39 and 40.

   13                 Again, Your Honor, I can certainly understand why

   14    McKesson does not want to pay the debtor the money that it

   15    owes, but this is one of the more shocking arguments raised

   16    by McKesson.     All of its subsidiaries can and should be claps

   17    under State law so they can exercise setoff rights.

   18                  THE COURT:     Am I correct that McKesson has paid

   19    the debtor?

   20                  MR. GARFINKLE:      Yes, Your Honor.

   21                  THE COURT:     The $6.9 million dollars?

   22                  MR. GARFINKLE:      Can I answer that, Your Honor.

   23                  THE COURT:     How about when it’s your turn.          I’ll

   24    give you another chance.

   25                  MS. MUMFORD:     Your Honor, it was paid and the

                                                                            Appendix A310
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     1   money is being held from sale proceeds.

     2                THE COURT:      Right.

     3                MS. MUMFORD:      Such issue is being determined.

     4                THE COURT:      Right.

     5                MS. MUMFORD:      Your Honor, there is, obviously, no

     6   California law, State Court law, law in this jurisdiction

     7   that stands for the proposition that corporations should be

     8   collapsed so that one party can set-off its subsidiaries

     9   claim.

   10                 Your Honor, McKesson argues in their reply,

   11                 “The debtor has no standing to oppose this

   12                 motion.”

   13                 I am confident that Your Honor will agree with me

   14    that the debtor has standing here; although, I have to say,

   15    Your Honor, I am curious as to whether you’ve ever heard that

   16    argument.    I, myself, have not heard it in 17 years of

   17    practice, but Section 1109 expressly gives the debtor

   18    standing and we can be heard on this issue.

   19                 Lastly, Your Honor, I just wanted to address the

   20    reply and the allegations in connection with recoupment.

   21    Your Honor, McKesson suggests that it is “odd” that the

   22    debtor addressed recoupment in its objection and “even more

   23    curious that the lenders also argued the same point.”

   24                 Your Honor, it’s not odd or curious because the

   25    motion, itself, defines McKesson’s application rights as the

                                                                            Appendix A311
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     1   right to setoff, recoup and apply amounts under the

     2   distribution agreement.        That’s at motion Paragraph 4.          Your

     3   Honor, they go again and expressly ask this court to enforce

     4   the distribution agreement in accordance with its terms

     5   seeking to,

     6                  “Allow each of the following remedies as each may

     7                 be applicable; offset, recoupment and contractual

     8                 obligation to claims.”

     9                 Motion Paragraph 4.       Your Honor, they did waive

   10    that argument in their replay and I wouldn’t typically raise

   11    it, Your Honor, but I do think raising it before Your Honor

   12    and using the language odd and curious when the objectors

   13    responded is indicative of what McKesson is doing here.                 It’s

   14    their slate of hand arguments that have no application in law

   15    of in fact, and all of these arguments should be rejected,

   16    Your Honor.

   17                  McKesson doesn’t get to pick and choose what

   18    Sections of 553 apply.        Butner does not require the court to

   19    ignore the express language of Section 553 and, Your Honor,

   20    even if it did it expressly states that if there is a federal

   21    interest the court should look to bankruptcy law.

   22                  THE COURT:     Right.

   23                  MS. MUMFORD:     Your Honor, I don’t think that there

   24    is anyone here that will dispute that one of the paramount

   25    interests in the bankruptcy code is similarly situated

                                                                            Appendix A312
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     1    creditors treated similarly.

     2                THE COURT:      It was a mouthful.

     3                MS. MUMFORD:      It was a mouthful.

     4                Your Honor, I respectfully submit, notwithstanding

     5   McKesson’s assertion that all Your Honor’s colleagues got it

     6   wrong those persuasive authorities is consistent with the

     7   express language of the bankruptcy code and McKesson’s motion

     8   should be denied.

     9                THE COURT:      All right.

   10                 MS. MUMFORD:      Does Your Honor have any questions?

   11                 THE COURT:      Thank you, Ms. Mumford.        I don’t have

   12    any questions for you.        You made a very thorough argument.

   13    Thank you.

   14                 MS. MUMFORD:      Thank you, Your Honor.

   15                 THE COURT:      Mr. Murphy, good morning still.

   16                 MR. MURPHY:      It is good morning, Your Honor.

   17    Happy to be here.

   18                 THE COURT:      Good to have you here, Mr. Murphy.

   19                 MR. MURPHY:      Just on that the court’s -- well, for

   20    the record Bennett Murphy of Quinn Emanuel for the secured

   21    noteholders shown in our papers who are also DIP lenders or

   22    were DIP lenders before they were repaid --

   23                 THE COURT:      Yes.

   24                 MR. MURPHY:      -- under the DIP facility and in both

   25    contexts comprise a majority of the noteholders and lenders.

                                                                            Appendix A313
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     1                Your Honor, simply put the relief sought by

     2   McKesson Corporation today is not available under Section

     3   553.   Sometimes it is a good idea before an argument to

     4   actually go back and read the entire statutory provision one

     5   more time.     I did.    Here’s what it says; this title,

     6                “Does not affect any right of a creditor to offset

     7                a mutual debt owing by such creditor that arose

     8                before the commencement of the case under this

     9                title against a claim of such creditor that arose

   10                 before the commencement of the case.”

   11                 I’m going to start with the words that are easy to

   12    wiz by which this title does not effect.             Then it goes onto

   13    say what the right is that is not effected and erect some

   14    limitations as to what right is not effected.              Well, the

   15    negative proposition there is the right is effected unless

   16    these criteria are all satisfied.

   17                 The bankruptcy code does effect State law rights

   18    of creditors, how those rights are implemented, how they are

   19    applied in the course of a restricting proceeding and it

   20    isn’t just Section 553.        When I get to the Butner case I’ll

   21    say more about that.

   22                 THE COURT:      Okay.

   23                 MR. MURPHY:      Moving past those first five words,

   24    and I don’t want to belabor the point, but some of those I

   25    count six things that have to follow and I think they’ve got

                                                                            Appendix A314
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     1   three.    There is a party that’s asserting a right to offset;

     2   that’s McKesson Corporation.

     3                THE COURT:      Right.    Which is not a creditor.

     4                MR. MURPHY:      There is a debt owing by that party,

     5   the party who wishes to assert, and that’s the $6.9 million

     6   dollar debt.     By the way, Your Honor, the procedural setting

     7   today was agreed to by the parties.

     8                THE COURT:      Okay.

     9                MR. MURPHY:      That is that the funds were paid by

   10    McKesson, both sides reserving all of their rights including

   11    rights that I’ll address earlier under the -- later, rather,

   12    under the DIP order.       Then when the closing happened the

   13    noteholders and the company said, well, we’ll keep you status

   14    quo, basically, by setting aside the amount of money that you

   15    say you have a setoff right too.

   16                 THE COURT:      Okay.

   17                 MR. MURPHY:      So, continuing.      So, we do have a

   18    debt that’s owed by McKesson.          There is a claim against which

   19    McKesson wants to assert a right of setoff.              Here are their

   20    problems.    Firstly, as noted, the party that’s asserting the

   21    right to setoff is not a creditor.           Secondly, that the right

   22    of setoff is not based on a claim of such creditor, meaning

   23    of McKesson.     It is based, instead, on a claim of another

   24    entity; MPRS as we’ve called it.           And lastly, and this is the

   25    last point, that it isn’t mutual.           In other words, they fail

                                                                            Appendix A315
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     1   before they even get to the mutual requirement that has been

     2   addressed by the case law.

     3                 Now, the McKessons’, and I use the plural, say

     4   that none of this matters; an agreement reached beforehand.

     5   Well, the ability to setoff under that agreement, which may

     6   or may not be fully enforceable under State law, let’s say it

     7   is, is effected by Section 553 in the manner that we have

     8   identified.     It is effected because the courts have

     9   recognized throughout that the definition of setoff that was

   10    used by Justice Scalia in the Citizens Bank vs. Strumpf case

   11    is the one that ought to apply.          That case is the famous

   12    administrative freeze case that says where there is a

   13    perfectly clear right of setoff that as a bank, as a

   14    depository institution, has a debt to the debtor on its

   15    deposit account, but the debtor also has a debt going the

   16    other way under a loan that that bank can freeze pending

   17    request for relief from the automatic stay, preserving the

   18    status quo; something that was in doubt before, ain’t in

   19    doubt now.

   20                  THE COURT:     That is a mutual.

   21                  MR. MURPHY:     Well that is exactly right.          And that

   22    is how Justice Scalia defined what setoff is.

   23                  And here’s the quote.

   24                  THE COURT:     Yes.

   25                  MR. MURPHY:     This is at 516 U.S. 18.

                                                                            Appendix A316
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     1                THE COURT:      Okay.

     2                MR. MURPHY:      The decision but 16 (indiscernible).

     3                THE COURT:      All right.

     4                MR. MURPHY:      “Setoff allows entities that owe each

     5   other money to apply their mutual debts against each other,

     6   thereby avoiding the absurdity of making A pay B when B owes

     7   A.”

     8                THE COURT:      Right.

     9                MR. MURPHY:      Well, the McKesson’s have a problem.

   10    There’s a party C that’s intruded into this picture.

   11                 THE COURT:      Yes.

   12                 MR. MURPHY:      And for all they do to try to

   13    overcome that problem, the fact is that it’s the Scalia

   14    definition that shows up precisely in the cases that reject

   15    the triangular setoff theory where there’s a contract.

   16                 A, B, B, A triangular, there’s a -- that’s not A

   17    and B.    There’s somebody else; therefore, it’s a problem.

   18    And, therefore, 553 does affect the right of setoff.                It

   19    means you can’t enforce it.

   20                 Now, I would submit that actually triangular

   21    setoff is an oxymoron; that setoff by definition doesn’t

   22    involve a party C.       And that simply is the proposition that

   23    the courts have recognized.

   24                 THE COURT:      That’s right.

   25

                                                                            Appendix A317
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     1                MR. MURPHY:      And the rejection of this contractual

     2   setoff notion has been uniform. And it’s independent of, you

     3   know, the fact that a setoff right, such as may exist under

     4   state law, doesn’t survive Section 553 unless you meet those

     5   criteria is independent under the case law of whether there

     6   is a contract between B and C that says, in this case, you

     7   can use an affiliate’s obligation.           It’s independent of the

     8   closeness of A and C in the corporate organization chart.

     9   And it’s independent of whether A might be a third-party

   10    beneficiary of the agreement between B and C.

   11                 There’s no law that says any of those things

   12    change the result under 553 if the right of the claims right

   13    of setoff is effective and, here, it’s just not available

   14    under Section 553.

   15                 THE COURT:      If Mr. Garfinkle is right and we don’t

   16    apply 553 based upon Butner, and we have this agreement in

   17    place, doesn’t that enforce his position?

   18                 MR. MURPHY:      Well let’s address -- let me address

   19    a few --

   20                 THE COURT:      And I didn’t mean to interrupt your

   21    argument.

   22                 MR. MURPHY:      I always called it Butner but your

   23    Judge, so I want to call it Butner for the rest of my

   24    argument.

   25

                                                                            Appendix A318
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     1                THE COURT:      Butner, okay.      I’m sorry.     Butner is

     2   fine.   Butner is fine.

     3                MR. MURPHY:      Well, either way.

     4                But flipping ahead to my discussion.             It’s not a

     5   setoff case.     But it’s a very interesting one and I think it

     6   actually undoes their argument completely.

     7                THE COURT:      Okay.

     8                MR. MURPHY:      This is an act -- this involves a

     9   chapter Roman Numeral XI under the act.

   10                 THE COURT:      Right.

   11                 MR. MURPHY:      And I had to read this very

   12    carefully, but apparently one could begin a case, file a

   13    chapter Roman XI plan without being adjudicated a bankrupt,

   14    but that would come later.

   15                 And, of course, now in our filing of the petition

   16    is the adjudication.

   17                 THE COURT:      Right.

   18                 MR. MURPHY:      And there is a bankruptcy case

   19    commenced.     But, here, there was a phase in which there was a

   20    Chapter 11 plan filed, but the debtor hadn’t been adjudicated

   21    bankrupt.

   22                 What was at issue was the question of the rights

   23    of a mortgagee and the rents that’s earned on real property.

   24    And before the debtor was adjudicated bankrupt, the

   25    bankruptcy court had appointed an agent to collect the rent.

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     1                 THE COURT:     Okay.

     2                 MR. MURPHY:     Now, it was state law there and it

     3   still is in most states that a mortgagee’s rights to rents

     4   due require perfection, in some fashion, by possession,

     5   typically by a receiver that the rights to rents, that’s when

     6   the receiver takes possession of the rent and that’s when the

     7   mortgagee’s rights apply.

     8                 Now before the adjudication, as I mentioned, there

     9   was an agent appointed. The bankruptcy court said that that

   10    was enough.     And under North Carolina law, a bankruptcy court

   11    appointed agent was the same thing as a receiver; hence,

   12    later when the debtor was adjudicated all those rents were

   13    part of the mortgagee’s collateral.

   14                  District Court agreed.        Court of Appeal said, no.

   15    Under North Carolina law, an agent is not the same as a

   16    receiver.    Then it goes up to the Supreme Court.             And the

   17    first thing that Justice Stevens says is, we are not going to

   18    decide today whether the Court of Appeals correctly applied

   19    North Carolina law.       That’s not why we’re here.

   20                  We’re here because these other circuits, the

   21    Seventh and, I’m going to say this carefully, the Third had

   22    made a mistake and we’re going to reconcile the law of the

   23    circuits.    Here’s the mistake that Justice Stevens said they

   24    made.

   25                  THE COURT:     Yes.

                                                                            Appendix A320
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     1                MR. MURPHY:      Firstly, the act was silent.          Now,

     2   counsel, like Ms. Mumford, the act was silent as to this

     3   question of what kind of possession, if any, needed to be in

     4   place before rents became collateral.

     5                Those two circuits had said it doesn’t matter that

     6   under a federal equitable principle, it would be unfair to

     7   require any possession to have taken place before

     8   adjudication because the stay is in place.             And, therefore,

     9   it’s just not fair to say this important thing of whether a

   10    stream of rents becomes collateral or not should depend on

   11    something you’re stayed from doing.

   12                 Okay.    Those circuits law was overturned by

   13    Justice Stevens, holding not that the Bankruptcy Code or the

   14    Bankruptcy Act, in that case, can’t do this, but because

   15    courts can’t do it.       They can’t apply an equitable general

   16    principle to override the requirement of possession by

   17    perfection -- I’m sorry; perfection by possession the stream

   18    of rents.

   19                 That was the law.       In 1994, when the Bankruptcy

   20    Code was amended, it was amended in Section 552(b)(2) to

   21    provide that a stream of rents is collateral, regardless of

   22    whether a state law requirement is of possession has been

   23    satisfied.

   24                 THE COURT:      Okay.

   25

                                                                            Appendix A321
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     1                MR. MURPHY:      In other words, the right is

     2   affected.    It’s affected clearly by a federal statute.              Under

     3   McKesson, the McKesson’s oral view of Butner, Section

     4   552(b)(2) is unenforceable as well.

     5                THE COURT:      Yes.

     6                MR. MURPHY:       But, of course, it’s enforceable.

     7   And, of course, Section 553 is enforceable because whatever

     8   the state law rights are, there can be language in the

     9   Federal Bankruptcy Code that tells you, Your Honor, what you

   10    should do with them.       And what every bankruptcy judge should

   11    do with them.

   12                 And the rule under Section 553 has consistently

   13    been recognized to have a federal limiting concept in it.

   14    The federal limiting concept says if you want to have a right

   15    to setoff that is not affected by the Bankruptcy Code, like

   16    same as the Bankruptcy Code affects all these other rights,

   17    and you want to have a right of setoff that’s not affected by

   18    the Bankruptcy Code, it’s got to be mutual.              It’s got to

   19    involve a debt of the creditor who has the claim.

   20                 THE COURT:      Yes.

   21                 MR. MURPHY:      Those things have to be satisfied.

   22                 You know, there are two cases that are cited in

   23    the moving papers with some, I would submit dicta that the

   24    mutual element is a matter of -- we look to state law to find

   25    out what that is as opposed to Justice Scalia.              And I don’t

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     1   think either of the courts actually said that.              I want to

     2   make that clear.

     3                 One is Gordon Ridge.        This is where Judge Baxter,

     4   sitting in this district, that took me back.

     5                 THE COURT:     Yes.   I remember Judge Baxter.

     6                 MR. MURPHY:     Yes, sir.

     7                 This case does not involve a contractual setoff

     8   right at all.     It had to do with whether two debtors, the

     9   open jaw was at that end of the relationship, not that there

   10    were two entities, two McKesson’s here, but two debtors.

   11    Whether those debtors should be collapsed by reason of Texas

   12    alter ego law.

   13                  And, in fact, Judge Baxter said the conditions for

   14    Texas alter ego law aren’t met so any -- that case is, you

   15    know, easier to distinguish went the wrong from their

   16    standpoint.

   17                  And, similarly, under Sunset Aviation, there was a

   18    -- this is where Judge Walsh looked at the fact that two

   19    debtors during the case had been substantively consolidated.

   20    And, again, the open jaw was on the debtor’s side.

   21                  And he concluded that you don’t relate back

   22    substantive consolidation to collapse a transaction and

   23    create mutuality.      But neither of these has anything to do

   24    with a contractual setoff.

   25

                                                                            Appendix A323
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     1                 And, importantly, you know, when you have a party

     2   such as McKesson just arguing so strongly that state law

     3   applies and the bankruptcy, you think that they’d have some

     4   state law for you.       They really don’t.

     5                 Prudential --

     6                 THE COURT:     Yes, that’s it.

     7                 MR. MURPHY:     Let me just -- it is different.           And

     8   they’ve acknowledged it.        Let me read you the holding from

     9   that case.     And this is 3 Cal.4th 1118 at 1143.

   10                  Conclusion:

   11                  “Once the commissioner” --

   12                  And that’s the insurance commissioner of

   13    California.     That’s an elective position, by the way.

   14                  “declared Mission” --

   15                  That’s the primary insurer --

   16                  -- “insolvent, Prudential Reinsurance” --

   17                  The reinsurer.

   18                  -- “had a legal statutory right to setoff unearned

   19                  premiums against the amount it owed Missions.              In

   20                  other words, the reinsure owes money in the

   21                  unearned premiums to setoff.”

   22                  THE COURT:     Yes.

   23                  MR. MURPHY:     Here’s the clincher.        The mere fact

   24    that a liquidator was appointed did not impair or affect that

   25    right.

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     1                So, the fact that the primary insurer went into a

     2   state insolvency proceeding didn’t change the statutory right

     3   and the regulatory scheme involving insurers and reinsurers.

     4   Okay.   What has that got to do with an alleged triangular

     5   setoff contract?

     6                Simply put, nothing.

     7                Now, when -- it’s important to go back to the -- I

     8   know there were three stipulators in the case.              I mentioned

     9   the third one which was when the money from the proceeds were

   10    of sale were set aside.        But the ones the preceded and

   11    there’s one with NPRS and there was one with McKesson.

   12                 The one with McKesson did represent a big benefit

   13    to the estate.      And it was an important thing.          And my

   14    clients were involved and they appreciated that McKesson

   15    agreed to put the funds into the estate while reserving its

   16    rights.

   17                 THE COURT:      Yes.

   18                 MR. MURPHY:      Cash flow in a bankruptcy case is

   19    very important.

   20                 THE COURT:      Absolutely.

   21                 MR. MURPHY:      When the DIP facility was put in

   22    place -- well, here’s a question.

   23                 The reservation of rights by all parties was

   24    complete.    And we have indicated in our papers, and there’s

   25    really not much response, a detailed response at all from

                                                                            Appendix A325
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     1   McKesson that, in fact, under the terms of the DIP facility

     2   the receivable that my clients lent against, the same

     3   receivable, the $6.9 million which at the time of the DIP

     4   facility hadn’t been paid --

     5                THE COURT:      That’s right.

     6                MR. MURPHY:      -- that receivable is granted as

     7   collateral to my clients and the other DIP lenders, and it

     8   was granted -- our clients were granted a first-priority lien

     9   superior to any right of setoff.           And that is in Your Honor’s

   10    order.

   11                 That was done on full notice to McKesson.

   12    McKesson had an opportunity to object, and they did not.

   13    This isn’t a gotcha at all.         Why was that there?

   14                 From a business standpoint, there was no assurance

   15    that McKesson would ever pay $6.9 million dollars.               The DIP

   16    facility that was agreed to had, in fact, interim

   17    availability that was designed to cover the cash flow

   18    shortage from McKesson.

   19                 As I mentioned, they’re really important here.

   20    They distributed a whole lot of the product.              And when you

   21    distribute the product, that means the oxygen, the money that

   22    makes this company survive, pay its employees, was McKesson’s

   23    money that they might withhold.          The DIP lender said if that

   24    happens, we’re going to make money available right up front

   25    to cover the shortfall that you might have from McKesson.

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     1                And, ultimately, the $35 million-dollar facility

     2   was put in place to make sure that there would be adequate

     3   cash for the entirety of the case.           Well, it was as bargain

     4   for a right by the DIP lenders that McKesson’s receivable

     5   would be its collateral without regard to any setoff or

     6   recoupment or defenses whatsoever.

     7                Now, Your Honor, I’ve been in plenty of case where

     8   -- in this building, many of them -- a DIP facility is

     9   proposed and a party believes its setoff rights might be

   10    affected, appears and objects.

   11                 THE COURT:      Yes.

   12                 MR. MURPHY:      And, you know, there would have been

   13    maybe some work and maybe we would have had that 6.9 advance

   14    then, you know, as a resolution of an objection to the DIP

   15    facility.    And we might have advanced this whole process of

   16    stipulation to keep the company alive and keep their rights

   17    preserved.

   18                 But the reservation of rights was totaled.              There

   19    was no objection to the DIP order.           It’s a final order.        And

   20    by its own language says the rights of the DIP lenders were

   21    superior to McKesson’s.

   22                 THE COURT:      Isn’t that the answer, in your view,

   23    to the issues involved here today?

   24                 MR. MURPHY:      Sure.    But it’s good to have more

   25    than one answer.

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     1                 THE COURT:     Sure.

     2                 MR. MURPHY:     And what I would suggest to the

     3   meaning of this is that, you know, there’s an opportunity to

     4   stand up and be heard before this court always.

     5                 THE COURT:     Absolutely.

     6                 MR. MURPHY:     You are always available.

     7                 THE COURT:     Yes.

     8                 MR. MURPHY:     And if there had been a need to

     9   reserve these rights that the rights would have been reserved

   10    by a proper objection.

   11                  Unless we adjudicated -- there’s that word again -

   12    - unless we resolved all of the issues regarding setoff at

   13    the DIP hearing, which I don’t think we would have -- same as

   14    we didn’t at the sale hearing.          And we could have done that

   15    too, right?

   16                  THE COURT:     Yes.

   17                  MR. MURPHY:     But here we are today.

   18                  But, look, I don’t think that you need that.

   19    Quite frankly, you need that an interpretation of the DIP

   20    order.    You know, I think its crystal clear.            I don’t know

   21    how you get around it.        But the fact is that the clear

   22    language of the Bankruptcy Code, whatever the order.                I think

   23    the order is clear too.

   24                  But the Bankruptcy Code, Congress, same as it did

   25

                                                                            Appendix A328
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     1   with 552(b)(2) tells you that the claim right of setoff is

     2   affected by the Bankruptcy Code.           It’s affected by being

     3   eliminated because the claimed right of setoff is not based

     4   on the mutual obligation where the debt is owed by the

     5   creditor who has the claim.           That’s what 553 requires.

     6                And unless you meet the requirements, Federal law

     7   says that your setoff is not available.

     8                THE COURT:      Okay.

     9                MR. MURPHY:      With that, unless there are

   10    questions.

   11                 THE COURT:      No, thank you, Mr. Murphy.         Thank you,

   12    sir.

   13                 All right, yes.         Mr. Garfinkle.

   14                 MR. GARFINKLE:       Let me go in reverse order.

   15                 First, as to the DIP loan argument, Your Honor.

   16                 THE COURT:      Yes.

   17                 MR. GARFINKLE:       Mr. Murphy is not here

   18    representing the DIP lender.          The DIP’s been paid off as part

   19    of the sale proceeds.

   20                 THE COURT:      Right.

   21                 MR. GARFINKLE:       We’re dealing with the debtor’s

   22    prepetition secured lender who doesn’t enjoy the protections

   23    that were afforded the DIP lender.           So, all this argument

   24    about the protections the DIP lender, it’s a red herring.

   25                 And I go back to paragraph 55 of our reply, Judge

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     1   Walrath’s decision in Reichhold which follows McKesson’s

     2   victory at the Sixth Circuit in Phar-Mor, which I argued and

     3   convinced them not to apply Dairy Mart and Dana as to what

     4   reclamation and Judge Walrath finally applied it within this

     5   District.

     6                She made the note, once the DIP loan is paid,

     7   poof, it no longer exists.          All the rights -- actual words in

     8   her decision, poof -- all those rights no longer exist.

     9                THE COURT:      That’s right.      Yeah.

   10                 MR. GARFINKLE:       All this stuff about DIP loans and

   11    setoff, waivers, red herring.          And we made that point in our

   12    reply brief and it applied with equal force now -- poof.

   13                 The argument that was made -- and I want to go

   14    back to the -- about 553.           First is an argument made that

   15    McKesson is not a creditor.

   16                 Wrong -- dead wrong.

   17                 I direct the court’s attention to the core

   18    distribution agreement.        On the petition date, McKesson was a

   19    creditor.    And I give the court the just recent agreement

   20    which is in front of the court, part of the record.                There’s

   21    a fee schedule that talks about how pharmaceutical

   22    distribution actually works and gets compensated.

   23                 McKesson buys the products.

   24                 THE COURT:      Yes.

   25                 MR. GARFINKLE:       But the manufacturer pays McKesson

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     1   to distribute that product.         And there’s a fee schedule as

     2   attached as Exhibit B to the core distribution agreement

     3   which sets forth different fees that McKesson charges

     4   Orexigen over time.

     5                So, when the petition was filed the net amount,

     6   the net amount was $6.9 million.           It was not just for

     7   purchases, but there was a netting, even within that number.

     8   And that’s reflected in the first stipulation that was

     9   entered into early in the case.

   10                 I’m not going to go into the entire fee schedule

   11    on the record.      It’s confidential.       But it’s there.

   12                 THE COURT:      Right, right.

   13                 MR. GARFINKLE:       So, McKesson was a creditor.

   14                 Now, let’s turn to 553 because that seems to be

   15    the central focus of the argument.

   16                 553 has a preparatory clause, Except as otherwise

   17    provided in this section and in sections 362 and 363, this

   18    title does not affect.        Okay.    But it does not say -- it does

   19    not say that other netting setoff or recoupment is prohibited

   20    under the Bankruptcy Code.         All it says is what it does not

   21    affect.

   22                 Now Congress could have written this statute much

   23    differently. It could have said all setoffs are prohibited.

   24    It could have said X, Y, Z setoffs are prohibited.               It

   25    didn’t.    Let’s make that clear what this language says.

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     1                 It says these aren’t, but there’s a whole subset

     2   of other setoffs and other rights which aren’t affected.                 And

     3   this turns into what are McKesson’s and McKesson’s Specialty

     4   Arizona’s property rights on the petition date.               What were

     5   its rights on the petition date under Butner?

     6                 And I’ve heard a lot of discussion about how

     7   Butner came to be, but we’re still left with the language of

     8   Butner which is quoted in our motion.

     9                 THE COURT:     Yes.

   10                  MR. GARFINKLE:      We quote it because it’s so apt

   11    and applicable and it’s been cited in and applied almost

   12    twenty times by the Third Circuit in decisions. And I can’t

   13    speak to how many bankruptcy -- we didn’t go through all the

   14    bankruptcy court decisions.

   15                  But we just said let’s look at the Third Circuit

   16    and how they applied the teachings of this.             Property

   17    interest are created and defined by state law.              Unless some

   18    federal interest requires a different result, there’s no

   19    reason why such interest should be analyzed differently

   20    simply because interested parties involved in a bankruptcy

   21    proceeding.

   22                  THE COURT:     Well isn’t the federal interest the

   23    distribution to creditors?

   24                  MR. GARFINKLE:      Possibly yes, but possibly no.

   25    There’s lots of situations where creditors are preferred in

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     1   bankruptcy.     We have situations where contracts are assumed.

     2   We have critical vendor motions.           We have -- there’s a whole

     3   host of issues that are temporal in nature where creditors

     4   get benefits that are, otherwise, not set forth in the code.

     5                 But this is a property right that McKesson

     6   enjoyed.    And when I say McKesson, McKesson’s, McKesson and

     7   its affiliates.

     8                 THE COURT:     Right.

     9                 MR. GARFINKLE:      Enjoyed pre-bankruptcy.

   10                  We contracted property rights.          Had this company

   11    not gone into bankruptcy and defaulted on its distribution --

   12    on its obligations under the royalty agreement, McKesson

   13    would have netted.       That right exists both in the

   14    distribution agreement and it exists in Section 3.4 of the

   15    royalty agreement.       It’s in both.      Both agreements had this

   16    netting concept out there.         And this should not come as a

   17    surprise to other creditors who are transacting with the

   18    debtor.

   19                  They always knew as Mr. Murphy so aptly said when

   20    they were negotiating the DIP loan, they knew that McKesson

   21    was buying 40 percent of the debtor’s product that had 40

   22    percent of the receivables.           They knew McKesson was out there

   23    and was going to have cost amounts that are going to be owed

   24    including under the distribution agreement for distribution

   25    services.    And they factored it into their borrowing

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     1   calculations.     None of this comes as a surprise to the

     2   creditors.

     3                 Now, at the end of the day, while we said the

     4   debtor doesn’t have standing here, at the end of the day, the

     5   debtors not getting his money.          This money is going to the

     6   lenders.     It’s not going to the debtor and the other

     7   creditors.     If there was some sort of sharing arrangement,

     8   perhaps, that would apply.         But that’s not the case here.

     9                 It’s the lenders who are getting the windfall.

   10    Let me be clear about that.         We strongly believe that 9404

   11    gives us a protection, vis-à-vis, the lenders, should they

   12    ever bring an action saying you improperly netted.

   13                  We had perfected first.        You knew of our

   14    perfection, or constructively knew, and you couldn’t do that.

   15    And our response was no.        California law in Prudential

   16    Reinsurance says we can.        And you’re subject to that.

   17                  We had a contractual right.         You knew of our

   18    contractual right. That’s a property interest under 506(a),

   19    it’s under Butner, and we prevail in that scenario.

   20                  And, again, who’s the loser here?           It’s the lender

   21    who is getting the same situation it was pre-bankruptcy that

   22    it gets post-bankruptcy.        Otherwise, they’re getting the

   23    windfall of bankruptcy.        That’s not fair to McKesson.

   24                  So, this question about equality of distribution

   25    or things, it doesn’t exist in this case.             Th lender has

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     1   agreed to a carve-out.        It’s on the record.        We cited the

     2   transcript where they have agreed to a carve-out to pay in

     3   this, otherwise, insolvent estate a fund to pay creditors.

     4   That’s done.     Done.    Everything else that comes out of this,

     5   it’s there’s.

     6                What we’re suggesting to the court is that Butner

     7   and Rowley, which wasn’t cited by any of the parties, because

     8   Rowley is subsequent to an act case.            Rowley was an

     9   application of burdens of proof for tax claims in saying

   10    we’re going to look to state law and that we have Nobleman

   11    following on that which the Chapter 13 bifurcation of an

   12    under-secured mortgage, again applying the Butner principles

   13    in a different context.

   14                 All these are McKesson’s property interest.              And

   15    those need to be preserved and protected.             And none of the

   16    cases that are out there have addressed this situation.

   17    None.

   18                 And I’ve read Lehman and I know Lehman applied to

   19    New York law, but they didn’t look at it from a property

   20    interest standpoint under Butner.           And I think everyone

   21    concedes that.      And that’s the doctrine and where the court

   22    needs to go in our opinion.

   23                 And, again 553 does not change that result.              It

   24    does not articulate a federal -- using the words -- a federal

   25    interest.    Because if there was a federal interest, Congress

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     1   would have written into 553 that prohibits these types of

     2   transactions.

     3                 Certainly, the Seven Circuit’s decision in, I

     4   think, the Barger Steel case was well-known.              And although

     5   Judge Sontchi has kind of dived down to suggest that that may

     6   not have been the correct reading of that, certainly in 1964.

     7   when that decision was issued.          It was fourteen years before

     8   the Bankruptcy Code was enacted in 1978 and the drafts of the

     9   Code could have written around that scenario had they wanted

   10    to change 553 read differently, or put in a provision into

   11    362 or 363 that would, otherwise, prohibit this property

   12    right that McKesson enjoys.

   13                  So, with that, Your Honor, I’m happy to address

   14    any other questions the court may have.

   15                  THE COURT:     I don’t.    (inaudible)

   16                  MR. GARFINKLE:      I will say this because I did

   17    mention this.     When I argued Phar-Mor, again, to the Sixth

   18    Circuit, which is the Reichhold decision, I was faced with a

   19    number of decisions out there -- Dana, Dairy Mart, which had

   20    all held that the floating lien on inventory trumps the

   21    reclamation right.

   22                  And the bankruptcy court said you’re looking at

   23    this wrong.     I wasn’t involved in none of these decisions.

   24    Let me give you a different analytical framework.

   25                  And, ultimately, the bankruptcy court in the Sixth

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     1   Circuit agreed with me and Judge Walrath had the independence

     2   to say, you know, the other courts they’ve looked at it, but

     3   I’m going to look at it afresh.          I’m going to look at it

     4   through a different lens.

     5                And I hope the court will take this opportunity to

     6   say that SemCrude, and a well-reasoned decision, but they may

     7   not have been argued with the full extent of the law.                And

     8   with that, McKesson rests, Your Honor.

     9                THE COURT:      All right.

   10                 MR. GARFINKLE:       Let me -- I’m sorry; one other

   11    thing about third-party beneficiary.

   12                 THE COURT:      Yes.

   13                 MR. GARFINKLE:       Because it was raised here.

   14                 Clearly, McKesson is a third-party beneficiary.

   15    We provided the court actually, we thought it would be

   16    helpful with the California model jury instructions about

   17    third-party beneficiary law.          This is not a, per se,

   18    convoluted argument.       This, again, goes to McKesson property

   19    rights.

   20                 McKesson is a third-party beneficiary of the

   21    contract.

   22                 THE COURT:      Right.

   23                 MR. GARFINKLE:       Outside of bankruptcy, it would

   24    have been able to go into court, had there been demand by

   25    Orexigen, to say pay us this money.           And McKesson actually

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     1   would have had the right to go in and say no, no, no, no, no.

     2                Both contracts have a netting.           Both contracts --

     3   3.4, a royalty agreement; 7(i) of the core distribution

     4   agreement.     We’re a third-party beneficiary of the core

     5   distribution agreement.        That’s our property right.          The

     6   money comes to us.       It’s our money.

     7                And that’s the point we’re getting at here in

     8   terms of why there is this mutuality within the context of

     9   553 because of the recognition under California law of third-

   10    party beneficiary.       And we cited a couple of cases that go to

   11    this point that you can satisfy mutuality under the third-

   12    party beneficiary doctrine.         And that’s where we were getting

   13    at on that, Your Honor.

   14                 THE COURT:      All right.

   15                 MR. GARFINKLE:       Thank you.

   16                 THE COURT:      Thank you, Mr. Garfinkle.

   17           (participants conferring regarding audio)]

   18                 THE COURT:      Maybe it’s just too far.         Is that

   19    better?

   20                 THE CLERK: Yes.

   21                 THE COURT:      That’s better.      Okay.    Good. Thank

   22    you.

   23                 Ms. Mumford, yes.

   24                 MS. MUMFORD:      Your Honor, I’m sitting here and I’m

   25    reminded of that commercial where they go in after vacation

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     1   and the woman has all these pictures up on her wall saying

     2   with a little like on here.         And her friend her goes.         Your

     3   Honor, that’s not this works.          That’s not how any of this

     4   works.

     5                 And looking at everybody else, so confused because

     6   they’re saying this is how it is.           And the other party is

     7   sitting there going that’s not how this works.              Your Honor,

     8   everything that McKesson said is not how it works.               The

     9   Bankruptcy Code is clear.

   10                  Let’s start with their now claim that they are, in

   11    fact, a creditor.

   12                  THE COURT:     Yes.

   13                  MS. MUMFORD:     The Bankruptcy Code defines

   14    creditor.    The term creditor means, An entity that has a

   15    claim against the debtor that arose at the time of or before

   16    the petition date for relief concerning the debtor.

   17                  They admitted in their argument, Your Honor, that

   18    that amount has been paid.

   19                  THE COURT:     Yes.

   20                  MS. MUMFORD:     They are now seeking a right of

   21    setoff.     They are no longer a creditor.         They don’t have a

   22    right to payment.

   23                  It’s very simple, Your Honor, they can put any

   24    bells and whistles that are on it.           McKesson is not a

   25    creditor.    They are not owed anything from the debtor’s

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     1   estates.

     2                THE COURT:      Were they ever owed anything from the

     3   debtor’s estate?      I don’t know.

     4                MS. MUMFORD:      Your Honor, I do think they were

     5   owed de minimis amounts for services, but those have been

     6   paid.

     7                THE COURT:      Okay.

     8                MS. MUMFORD:      And I’m looking at my client who’s

     9   agreeing.

   10                 THE COURT:      All right.

   11                 MS. MUMFORD:      Your Honor -- I’m sorry, Your Honor,

   12    I’m looking at the wrong page.

   13                 They’re not a creditor.         They cannot say that

   14    they’re a creditor now in connection with 553 of the

   15    Bankruptcy Code.

   16                 Your Honor, we asked the question whether there’s

   17    a federal interest.       The response was possibly yes, possibly

   18    no.   Your Honor, I think we need to start giving meaning to

   19    the words in the Code meaning in all the jurisprudence in

   20    front of Your Honor.       There absolutely is a federal interest

   21    here.

   22                 It is crystal clear.         I’m sure, Your Honor, we

   23    could cite hundreds, if not thousands, of cases that stand

   24    for the proposition that similar -- creditors should be

   25    treated similarly under the Bankruptcy Code.

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     1                Now, there’s sancrosanctum (ph), Your Honor; the

     2   priority of the Bankruptcy Code.           Just because here the

     3   lenders are senior to McKesson or NPRS as a general unsecured

     4   creditor doesn’t change that analysis.            Butner has nothing to

     5   do with this case, Your Honor.          Congress spoke.       They enacted

     6   Section 553.

     7                Your Honor, I’m not going to go through the Butner

     8   analysis again.      Mr. Murphy did it far better than I did.

     9   But it doesn’t apply here.         And there’s no separate lens that

   10    Your Honor needs to look at through a state law analysis.

   11                 Lehman Brothers is directly on point.             All of

   12    these so-called exceptions have to rely on state law because

   13    they’re soundly rejected under bankruptcy court and Supreme

   14    Court authority.      So, to say that none of them looked at it

   15    through this lens ignores the argument altogether.               There has

   16    to be an exception.       That exception is not found in the

   17    expressed terms of the Bankruptcy Code.            It’s not found in

   18    the Supreme Court’s decision which was referenced to Your

   19    Honor before saying that mutuality requires A owes B and B

   20    owes A, right, Your Honor.

   21                 So, to say that none of these decisions dealt at

   22    all with state law, that’s the only place where you would

   23    find such an exception. And that exception does not exist

   24    under jurisprudence.       It does not exist under Bankruptcy

   25    Section 553.

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     1                And, Your Honor, with respect to the third-party

     2   beneficiary, again, there is a lot of we’s, us, McKesson.

     3   Frankly, I’m not sure who they were referring to, Your Honor,

     4   but they have not established that NPRS is a third-party

     5   beneficiary under the distribution agreement.

     6                I think I heard them say that McKesson is a third-

     7   party beneficiary.       In fact, Your Honor, the LoyaltyScript

     8   services has express language which is why they do not cite

     9   to it that expressly says there is no third-party

   10    beneficiaries in this agreement.           And, here, McKesson is

   11    seeking to write the payment under the LoyaltyScript

   12    agreement and, instead, they have to reverse it and say no,

   13    it’s NPRS doing it under the distribution agreement because

   14    they’re a third-party beneficiary.

   15                 They’re not.      McKesson is the one who is seeking

   16    the right of setoff.         McKesson is clearly not a creditor.

   17    They are not owed anything here today.            Counsel can come up

   18    and say to Your Honor that they are a creditor, but they’re

   19    completely ignoring, not only in this instance, but every

   20    instance of their argument, the expressed provisions of the

   21    Bankruptcy Code.

   22                 THE COURT:      Thank you, Ms. Mumford.

   23                 Mr. Murphy, yes.

   24                 MR. MURPHY:      Yes, Your Honor, I have just, I think

   25    it’s three quick points with clarification, if I may.

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     1                You know the idea that 553 should spell out what

     2   the federal interest is, why Congress put the word mutual in

     3   there is sort of interesting.          I think Your Honor identified

     4   it, and it’s very clear.        And that is the principal of

     5   creditors, like situated creditors receiving like treatment.

     6                THE COURT:      Yes.

     7                MR. MURPHY:      The difference could not be starker

     8   here.   If this triangular setoff, again a contradiction in

     9   terms, that’s been rejected so roundly is somehow given life

   10    after death, the result will be that NPRS, which is an

   11    unsecured creditor for $8.5 million, a claim that has not

   12    been allowed and adjudicated by the court.

   13                 It’s a, I think, point the debtor raised that’s

   14    still not clear, but it’s NPRS that would receive a hundred

   15    percent payment on like all of the other unsecured creditors

   16    who would receive nothing except the settlement amount, if

   17    the settlement is approved, which we hope it would be, with

   18    the unsecured creditors committee.           The unsecured creditors

   19    will receive only what’s been allocated by the secured

   20    noteholders who have received just cents on the dollar as

   21    first priority secured creditors.

   22                 THE COURT:      Sure.

   23                 MR. MURPHY:      That have agreed to resolve issues in

   24    the challenge period, under the DIP order.             By the way, their

   25    rights didn’t go away under the DIP order either, I don’t

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     1   think, so that’s still -- that’s a federal interest.                It’s

     2   between zero and a hundred, and it couldn’t be clearer.

     3                And so, I don’t see why, like the other provisions

     4   of the Bankruptcy Code, where courts look at it and conclude

     5   what the interest is that somehow in 553 Congress should have

     6   laid out an order, you know, said there would be interest.

     7                And, two, on the DIP loan, look maybe I wasn’t

     8   clear, but the security interest superior, first lien

     9   security interest superior to setoff was also given as

   10    replacement lien to the noteholders as noteholders.                And I

   11    don’t know if that matters, but it is true. And those rights

   12    exist today to secure the diminution collateral value from,

   13    among other things, what’s before the court today.

   14                 THE COURT:      Yes.

   15                 MR. MURPHY:      So, I don’t think that it’s quite so

   16    easy to dispose of or for McKesson to dispose of the problem

   17    it created for itself by not stepping up to reserve its

   18    rights when the DIP was before the court.

   19                 And I understand -- and this question are they a

   20    creditor or not.      Well, remember the statute says not only

   21    that they need to be a creditor, but that they need -- that

   22    the mutual debt is owed to the creditor --

   23                 THE COURT:      To the creditor, yes.

   24                 MR. MURPHY:      -- it’s claim.      And NPRS is a

   25    creditor to whom the claim is owed.           So, the mutual debt is

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     1   not of that creditor.

     2                But, again, look the -- it’s their burden.              If

     3   they want to show that they’re a creditor, they needed to

     4   come before you today.        It’s always the -- the Courts are

     5   clear it’s the burden of the party claiming setoff, again,

     6   because it’s this on zero to a hundred percent difference.

     7                It’s their burden to say we’re a creditor.              What

     8   I’m advised is that while they may have been owed prepetition

     9   amounts under the stipulations that brought us today that was

   10    all paid. So that’s been netted out and resolved -- oh, I

   11    shouldn’t use the word netted out, but that was resolved in

   12    the stipulations that are before the court.

   13                 Okay.    Finally, on this question of third-party

   14    beneficiary, again, you’d think if they’re working so hard to

   15    tell you look at California law as to whether third-party

   16    beneficiary gives rise to a triangular setoff, you’d think

   17    there’d be something there.         And we heard today, well, that’s

   18    more hand waving.      There is no case cited by California court

   19    in their pleadings for that proposition.

   20                 There is this odd ball Ninth Circuit BAP case that

   21    has to do with litigation trust established in a Chapter 7.

   22    The landlord -- you know, the lease for delicatessen was in

   23    the husband’s name and the wife and the husband and the deli

   24    were all in Chapter 7.         I don’t know, nothing to do with

   25    this case.     So, they don’t have anything there either.

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     1                 So, thank you, Your Honor.

     2                 THE COURT:     All right.     Mr. Garfinkle, it’s your

     3   motion, if you want the last word, you’ve got it.

     4                 MR. GARFINKLE:      I think the court heard enough ad

     5   --

     6                 THE COURT:     And I’ve read a lot, obviously, and I

     7   want to go back and do some more reading because this is a

     8   decision that, I think, requires a written opinion and not

     9   ruling from the bench.        And it certainly is a serious matter

   10    and the court takes it very seriously.            And I will issue an

   11    opinion.

   12                  So, I’m going to reserve decision.           I don’t think

   13    it’s the kind of decision that ought to come quickly from the

   14    bench.     And I don’t think it requires, you know, an immediate

   15    decision as well.

   16                  So, I appreciate the arguments.          I appreciate the

   17    briefing.    It was all excellent.         And it gave me some

   18    thoughts, and I’ll share them with you in the opinion.                And I

   19    thank you very much.

   20             (A Chorus of Thank you, Your Honor)

   21                  THE COURT:     Safe travel, everyone and good day to

   22    you.

   23             (Proceedings conclude at 12:23 p.m.)

   24

   25

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     1                                   CERTIFICATE

     2

     3   I certify that the foregoing is a correct transcript from the
     4   electronic sound recording of the proceedings in the above-
     5
         entitled matter.
     6
         /s/Mary Zajaczkowski                               October 25, 2018
     7   Mary Zajaczkowski, CET**D-531
     8

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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                                )     Chapter 11
                                                       )
 OREXIGEN THERAPEUTICS, INC.,                          )     Case No. 18-10518 (KG)
                                                       )
                          Debtor.                      )     Re: D.I. 654
                                                       )

                                              OPINION

          The Court is ruling on McKesson Corporation’s (“McKesson”) and its wholly

 owned subsidiary McKesson Patient Relationship Solutions’ (“MPRS”) Motion for an

 Order Determining that McKesson is Entitled to the Disputed Funds (the “Motion”) (D.I.

 654). McKesson seeks to affect a setoff under section 553 of the Bankruptcy Code.1

 Specifically, McKesson asks to offset its $6,932,816.40 debt to the Debtor under the Core

 Distribution       Agreement       (“Distribution   Agreement”)    based    on    the   Debtor’s

 approximately $9,100,000 2 debt to MPRS under the Master Services Agreement (“Services

 Agreement”). For the reasons that follow, the Court finds that McKesson is seeking a

 triangular setoff which is prohibited in bankruptcy due to the lack of mutuality. An

 enforceable contractual right allowing a parent and its subsidiary corporation to affect a



          1   11 U.S.C. §§ 101—1532.
          2 McKesson argues the Debtor owes MPRS approximately $9,100,000. Motion, ¶ 6.
 However, the Noteholders and Debtor instead claim the Debtor owes MPRS approximately
 $8,500,000. Opposition to Motion for an Order that McKesson Specialty Arizona [MPRS] is
 Entitled to the Disputed Funds (“Debtor’s Opposition”) ¶ 3 (D.I. 697); Debtor’s Opposition, ¶ 20
 (D.I. 698). The papers present a dispute as to the amount of MPRS’s claim pursuant to the Services
 Agreement. The amount of MPRS’s debt is not dispositive of the merits of the Motion. Therefore,
 the Court proceeds with the $9,100,000 figure based on the Motion. The Court is not deciding the
 amount of the Debtor’s debt to MPRS and will address that issue separately should the issue later
 arise.
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 prepetition triangular setoff under state law does not supply the strict mutuality required

 in bankruptcy. The Court will therefore deny the Motion for the reasons that follow.

                                         BACKGROUND

        The material facts are relatively undisputed. The Debtor was 3 a biopharmaceutical

 company that manufactured Contrave®, a drug that treats obesity. Declaration of

 Michael A. Narachi (“Narachi Dec.”), D.I. No. 3, ¶¶ 8, 11. The United States Food and

 Drug Administration approved Contrave® in 2014. Id. ¶ 8. Prepetition, the Debtor

 entered into two agreements relevant here: one with McKesson, and one with MPRS.

 Declaration of Erin Beesley (“Beesley Dec.”), D.I. No. 655, ¶ A-3-5. McKesson is the

 parent corporation and MPRS is its subsidiary corporation. Beesley Dec. ¶ 1. It is

 undisputed that McKesson and MPRS are legally distinct entities.

        On June 9, 2016, effective June 1, 2016, the Debtor entered into the Distribution

 Agreement with McKesson, which contemplated that McKesson would purchase and

 distribute Contrave® to various pharmacies in the United States. The parties agreed that

 California law would control the terms of the agreement:




        3 On June 28, 2018, the Court entered an Order (I) Approving the Sale of Substantially All
 Assets of the Debtor Free and Clear of Liens, Encumbrances, Claims and Interests, (II) Approving
 the Assumption and Assignment of Designated Executory Contracts and Unexpired Leases, and
 (III) Granting Related Relief (D.I. 438). On July 27, 2018, the sale closed. (D.I. 640). Post-closing,
 the Debtor is expected to file a plan of liquidation. Motion, ¶ 21; see also Debtor’s Motion for Entry
 of an Order Authorizing the Appointment of Thomas P. Lynch as the Debtor’s Wind Down
 Officer, ¶ 8 (D.I. 626) (“The Debtor anticipates filing a plan of liquidation . . . [to] liquidate the
 remaining proceeds from the Sale and make distribution to creditors.”).
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               VII. General
                      ...
               b. This Agreement will be governed by and construed in accordance
               with the laws of California, without regard to or application of
               conflict of law, rules or principles.

 Motion, ¶ 23. More pertinently, the parties agreed that McKesson had certain rights,

 including a right to set off debts owed between the Debtor and its affiliates against debts

 owed between McKesson and its affiliates:

               VII. General
                       ...
               i. Notwithstanding anything to the contrary in this Agreement, each
               of McKesson Corporation and its affiliates is hereby authorized to
               set-off, recoup and apply any amounts owed by it to Manufacturer’s
               [the Debtor’s] affiliates against any all [sic] amounts owed by
               Manufacturer or its affiliates to any of McKesson Corporation or its
               affiliates, without prior written notice[.]

 Motion, ¶ 4 (emphasis added) (citation omitted). As of the petition date, McKesson owed

 the Debtor $6,932,816.40 under the Distribution Agreement. Motion, ¶ 16.

        On July 15, 2016, the Debtor entered into the Services Agreement with MPRS,

 which contemplated that MPRS would manage the Debtor’s LoyaltyScript® program.

 Beesely Dec. ¶ 5. The LoyaltyScript® program enabled patients to receive price discounts

 on Contrave® from retail pharmacies. MPRS would pay the retail pharmacies and

 patients for the Contrave® price discounts and other services under the LoyaltyScript®

 program. Consequently, the Debtor would reimburse MPRS. The Services Agreement

 does not incorporate or relate to the Distribution Agreement; they are wholly distinct. As




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 of the petition date, the Debtor owed MPRS approximately $9,100,000 (see footnote 2,

 supra).

           On March 12, 2018, the Debtor voluntarily filed a petition for relief under Chapter

 11. Thereafter, the Debtor, McKesson, and MPRS entered into three stipulations that

 culminated in the Motion at issue here. On April 11, 2018, the Court entered an order

 approving a stipulation between the Debtor and MPRS (the “April Stipulation”) (D.I. 176-

 1). The April Stipulation provided, inter alia, that: the Debtor would pay MPRS the sum

 of $6,027,155 on account of the post-petition reimbursements MPRS remitted under the

 LoyaltyScript® program (Id., Ex. 1, at ¶ 1); the Debtor would make weekly payments of

 $1,675,000 to MPRS (Id., at ¶ 2); but none of the foregoing payments would apply to

 MPRS’s prepetition claim (Id., at ¶ 1); and MPRS holds a prepetition claim of

 approximately $9,100,000 against the Debtor under the Services Agreement (Id., at ¶ G).

           On May 18, 2018, the Court entered an order approving a stipulation between the

 Debtor, McKesson and MPRS (the “May Stipulation”) (D.I. 319-1). The May Stipulation

 provided, inter alia, that as of the petition date, McKesson owed the Debtor $6,932,816.40

 under the Distribution Agreement (Id., at 2). Post-petition, the Debtor paid McKesson

 $3,266,255.76 on account of such debt but reserved its right to offset the entire

 $6,932,816.40 amount (Id.). McKesson agreed to pay the remaining $3,666,560.64

 satisfying its entire prepetition obligation under the Distribution Agreement subject to

 preservation of its setoff right concerning the debt owed to MPRS against McKesson’s

 debt to the Debtor (Id., ¶¶ 2, 4, and 5).


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        On July 20, 2018, the Court entered an order approving a stipulation between the

 Debtor, McKesson, and the Lenders 4 (the “July Stipulation”) (D.I. 592-1). The July

 Stipulation provided, inter alia, that McKesson would be allowed to file the Motion at

 issue here (Id., ¶ 2); and the Debtor would segregate $6,932,816.40 (the “Disputed Funds”)

 pending resolution of McKesson’s Motion (Id., ¶ 3).

        On July 30, 2018, pursuant to the terms of the July Stipulation, McKesson filed the

 Motion at issue along with the Declaration of Erin Beesley in Support of Motion for an

 Order Determining that McKesson is Entitled to the Disputed Funds (D.I. 655). On

 August 21, 2018, the Noteholders 5 filed their opposition to the Motion in which

 McKesson sought a ruling that McKesson Specialty Arizona (“MPRS”) was entitled to the

 disputed funds (D.I. 697). On the same day, the Debtor filed the Debtor’s Objection to the

 Motion (D.I. 698) along with the Declaration of Thomas P. Lynch in Support of Debtor’s

 Objection to the Motion. (D.I. 699). On August 31, 2018, McKesson filed McKesson’s

 Reply (D.I. 710). On October 24, 2018, the Court heard oral argument from

 McKesson/MPRS, the Debtor, and the Noteholders on the Motion. The Motion has been

 fully briefed and was well argued. Thus, the Motion is ripe for the Court’s decision.




        4 The Lenders consist of the following entities: Baupost Group Securities, L.L.C.; EcoR1
 Capital Fund, L.P.; and EcoR1 Capital Fund Qualified L.P (D.I. 592, at 1).
        5  The Noteholders consist of the following entities: Baupost Group Securities, L.L.C.;
 EcoR1 Capital Fund, L.P.; Biotechnology Value Trading Fund OS, LP; Biotechnology Value Fund
 LP; Biotechnology Value Fund II, LP; Investment 10, LLC; MSI BVF SPV LLC; and Roadrunner
 Co. (D.I. 697).
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                                         JURISDICTION

        The Court has jurisdiction over this matter and the judicial authority to enter a

 final order pursuant to 28 U.S.C. §§ 1334(b), 157(a), and (b)(1). Venue is proper in the

 District of Delaware pursuant to 28 U.S.C. §§ 1408 and 1409. Consideration of this motion

 is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (B), and (O).

                                         DISCUSSION

        Setoff is a contractual or equitable right that “allows entities that owe each other

 money to apply their mutual debts against each other, thereby avoiding ‘the absurdity of

 making A pay B when B owes A.’” Citizens Bank of Maryland v. Strumpf, 516 U.S. 16, 18

 (1995) (quoting Studley v. Boylston Nat’l Bank, 229 U.S. 523, 528 (1913)). The Bankruptcy

 Code’s Section 553(a) does not create a federal right of setoff but merely recognizes such

 party’s right under state law. Id. Section 553(a) “sets forth a general rule, with certain

 exceptions, that any right of setoff that a creditor possessed prior to the debtor’s filing for

 bankruptcy is not affected by the Bankruptcy Code.” Id. at 20 (emphasis added). Section

 553(a) states in relevant part, that:

        Except as otherwise provided in this section and in sections 362 and 363 of
        this title, this title does not affect any right of a creditor to offset a mutual
        debt owing by such creditor to the debtor that arose before the
        commencement of the case under this title against a claim of such creditor
        against the debtor that arose before the commencement of the case . . . .

 (Emphasis added).

        Whether a party has a setoff right under section 553 is a twofold inquiry. First, the

 party seeking setoff must acquire such right prepetition under applicable nonbankruptcy

 law. In re Lehman Bros. Inc., 458 B.R. 134, 139 (Bankr. S.D.N.Y. 2011) (“‘section 553 . . .
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 preserve[s] any right of setoff that may exist under applicable nonbankruptcy law.’”)

 (quoting In re Lehman Bros. Holdings, Inc., 433 B.R. 101, 107 (Bankr. S.D.N.Y. 2010) (citation

 omitted); accord In re Am. Home Mortgage, Holdings, Inc., 501 B.R. 44, 55 (Bankr. D. Del.

 2013) (citation omitted). Second, once a party establishes its setoff right, that party must

 then “meet[] the further code-imposed requirements and limitations set forth in section

 553.” In re SemCrude, L.P., 399 B.R. 388, 393 (Bankr. D. Del. 2009) (citing Packaging Indus.

 Grp. Inc. v. Dennison Mfg. Co. Inc. (In re Sentinel Prod. Corp. Inc.), 192 B.R. 41, 45 (N.D.N.Y.

 1996)) (emphasis added).

                   Setoff Right Under Applicable Nonbankruptcy Law

        The parties do not dispute that McKesson had a prepetition setoff right pursuant

 to section VII.i. of the Distribution Agreement. Because the Debtor and the Noteholders

 do not dispute McKesson’s prepetition setoff right under California law, the Court

 proceeds with the assumption that McKesson had such right.

                                    Section 553(a) Analysis

        McKesson must now meet the further requirements of Section 553(a) that: (1) the

 party seeking setoff must be a “creditor;” and (2) that party must have a “mutual debt”

 where that party’s debt to the debtor arose prepetition and that party’s claim against that

 same debtor arose prepetition.

                               “Creditor” under Section 553(a)

        Section 101(10)(A) defines a “creditor” as an “entity that has a claim against the

 debtor that arose at the time of or before the order for relief concerning the debtor.” Under

 section 101(5)(A), a “claim” is a “right to payment.” In the Motion, McKesson seems to
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 assume it is a creditor. In their objections, the Debtor and the Noteholders did not

 extensively argue that McKesson is not a creditor. However, during oral argument, the

 Debtor made the argument that McKesson was not. See Tr. of Hr’g on Oct. 24, 2018 (D.I.

 804, at 19-20) (“Ms. Mumford: 6 . . . Again, Your Honor, McKesson, [a] non-creditor, [is]

 seeking to set off MPRS’s alleged claim.”)). The Noteholders made the same argument.

 (Id., at 36) (“Mr. Murphy: 7 . . . Firstly, as noted, the party that’s asserting the right to setoff

 is not a creditor.”)). Unsurprisingly, McKesson opposed such view. (Id., at 51) (“Mr.

 Garfinkle: 8 . . . First is an argument made that McKesson is not a creditor. Wrong – dead

 wrong. I direct the court’s attention to the core distribution agreement. On the petition

 date, McKesson was a creditor.”)).

        Distilling the merits, McKesson asserts it is a creditor because, as of the petition

 date, it had a $6,932,816.40 claim against the Debtor under the Distribution Agreement.

 However, the Debtor and the Noteholders contend McKesson is not a creditor because

 pursuant to the May Stipulation, McKesson paid off this debt to the Debtor, thus

 extinguishing its claim. (D.I. 804, at 31) (“The Court: Am I correct that McKesson has paid

 the debtor? Mr. Garfinkle: Yes, Your Honor. The Court: The $6.9 million dollars? . . . Ms.

 Mumford: Your Honor, it was paid and the money is being held from [the] sale

 proceeds.”)); (Id., at 36) (“Mr. Murphy: That is that the funds [the $6.9 million] were paid

 by McKesson . . .”)).



        6   Ms. Mumford is the Debtor’s counsel.
        7   Mr. Murphy is the Noteholders’ counsel.
        8   Mr. Garfinkle is McKesson’s and MPRS’s counsel.
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           “[C]ourts have held that a setoff cannot exist when the creditor pays the debt

 because ‘[o]nce a debt is paid it is no longer owed, and therefore the required mutual

 debts do not exist.’ United States v. Morris (In re McCormick), 1993 WL 246001, at *2 (D.

 Kan. 1993); Nat’l Bank of Boaz v. Royal Crown Bottling Co. of Boaz, Inc. (In re Royal Crown

 Bottling Co. of Boaz, Inc.), 29 B.R. 52, 54 (Bankr. N.D. Ala. 1981) (any right of setoff ‘was a

 right which could be exercised only before [payment of the] sum to the trustee, which is

 another way of saying that this payment by [the bank] extinguished any such right which

 it might have had.’).” In re Reliance Acceptance Grp., Inc., 2000 WL 33712305, at *3 (Bankr.

 D. Del. Dec. 6, 2000). McKesson no longer had a “claim” against the Debtor when it paid

 the Debtor $6,932,816.40 under the Distribution Agreement. At that time, McKesson,

 lacking a “claim,” could not be a “creditor” under section 101(10)(A) and thus section

 553(a).

           The court’s decision by Judge Walsh in Reliance Acceptance is not entirely fatal to

 McKesson. There, the issue was whether Williams had a setoff right against Reliance after

 paying off his debt. Judge Walsh opined: “it seems clear to me that Williams lost his right

 to assert a setoff when he voluntarily paid his loan to Reliance in full. By paying his

 indebtedness Williams extinguished his liability to Reliance. . .” Id. However, Judge

 Walsh determined that Williams’ repayment was voluntary and not at the direction of a

 bankruptcy court order or at a bankruptcy trustee’s request. Id. He qualified his holding

 by finding that “a creditor’s right to assert setoff may survive [where] there is no intent

 to extinguish[] the underlying liability which gives rise to the requisite mutuality of

 obligation. See, e.g., In re Public Serv. Co. of New Hampshire v. New Hampshire Elec. Coop.,
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 Inc. (In re Public Serv. Co. of New Hampshire), 884 F.2d 11, 13 (1st Cir. 1989) (payment of

 indebtedness pursuant to a bankruptcy court judgment does not render the creditor

 ineligible to seek setoff where creditor otherwise asserted and maintained its rights).” Id. 9

        McKesson’s position is saved by the May and July Stipulations. The May

 Stipulation provides that McKesson’s payment in satisfaction of the Distribution

 Agreement is subject to its preservation of its setoff right as to the entire Disputed Funds.

 (D.I. 319-1, ¶¶ 2, 4, and 5). The July Stipulation provides for the segregation of the

 Disputed Funds so McKesson/MPRS can file the Motion at issue. (D.I. 592-1, ¶¶ 2 & 3).

 McKesson agreed to pay off its debt to the Debtor and thereby extinguish its claim only

 because it could preserve its setoff right, reserve its ability to file the Motion, and have

 the Disputed Funds segregated. Given the factual posture, McKesson would likely not

 have paid off its entire prepetition debt under the Distribution Agreement but for such

 reservation of rights. While this case can be distinguished from Reliance Acceptance

 because McKesson did not intend to extinguish its debt by stipulation as opposed to a

 bankruptcy court order or at the direction of the bankruptcy trustee, the Court finds that

 Judge Walsh’s overarching point in Reliance Acceptance is well-taken.

        For those reasons, the Court finds that McKesson may have been a “creditor.”

 Although the parties did dispute whether McKesson was a “creditor,” they gave short-

 shrift in their papers to the issue compared to the mutuality arguments which the Court

 discusses below. They did not fully brief this issue. It is only fair to consider McKesson



        9It is important to observe that in Reliance Acceptance, Judge Walsh wrote of the “requisite
 mutuality of obligation.” The requirement of mutuality is discussed below.
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 to be a “creditor” given the May and July Stipulations without which the Court would

 not deem McKesson to be a creditor.

                                 Mutuality under Section 553(a)

        Once a party has a prepetition setoff right under applicable nonbankruptcy law,

 that party must then meet “[t]he additional restrictions imposed by section 553 [which

 are] well-settled.” SemCrude, 339 B.R. 393 (citing Scherling v. Hellman Elec. Corp. (In re

 Westchester Structures, Inc.), 181 B.R. 730, 738-39 (Bankr. S.D.N.Y. 1995)). The plain

 language of Section 553(a) only allows a creditor to offset a “mutual debt.” There is no

 statutory definition of “mutuality” or a “mutual debt” under the Bankruptcy Code.

 However, state 10 and federal courts have found to a fare-thee-well that debts are

 “‘mutual’ only when ‘they are due to and from the same persons in the same capacity.’”

 Id. (citing Westinghouse Credit Corp. v. D’Urso, 278 F.3d 138, 149 (2d. Cir. 2002) (citing

 Westchester Structures, 181 B.R. at 740)); Lehman Bros., 458 B.R. at 140 (citing Lines v. Bank



        10  See, e.g., In re Garden Ridge Corp., 338 B.R. 627, 633 (Bankr. D. Del. 2006) (citing among
 other Texas cases Mullen v. Cheatham, 1999 WL 1095917, at *3 (Tex. App. 1999) (“Under Texas and
 Federal law, ‘[m]utuality of obligation exists when debts are owing between the same parties in
 the same right or capacity.’”); In re Czyzk, 297 B.R. 406, 409 (Bankr. D.N.J. 2003) (“In New Jersey,
 obligations are mutual where the debts involve the same parties standing in the same capacities.”)
 (citation omitted). Moreover, McKesson’s chief case is: Prudential Reinsurance Co. v. Superior Court,
 842 P.2d 48 (Cal. 1992). There, the California Supreme Court dealt with setoff under Insurance
 Code section 1031. As established above the line, setoff under state and federal law garner the
 same mutuality requirement and, in turn, identical definitions of mutuality. After all, “[s]ection
 1031 allows the setoff of all mutual debts and credits in the course of liquidating proceedings and
 is patterned after the federal Bankruptcy Act of 1898 (11 U.S.C. § 108, repealed and reenacted as
 11 U.S.C. § 553), and an identical New York statute that has been adopted by several states.” Id.
 at 50. Indeed, the California Supreme Court explicitly said “[t]he key to setoff is the requirement
 of mutuality. Justice Benjamin Cardozo defined mutuality as follows: ‘[t]o be mutual, [the debts]
 must be due to and from the same persons in the same capacity.’ . . . ‘[S]uch debts must exist
 between the same persons or entities in order to establish mutuality of identities.’” Id. at 53
 (citations omitted).
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 of Am. Nat’l Trust & Sav. Ass’n, 743 F. Supp. 176, 183 (S.D.N.Y. 1990) (internal quotation

 marks and citations omitted) (“The Bankruptcy Code does not define mutuality, but

 courts consistently find debts to be mutual only when they are ‘in the same right and

 between the same parties, standing in the same capacity.’”)); In re Garden Ridge Corp., 338

 B.R. 627, 634 (Bankr. D. Del. 2006) (citing Braniff Airways, Inc. v. Exxon Co., U.S.A., 814 F.2d

 1030, 1036 (5th Cir. 1987) (“‘For mutuality to exist, each party must own his own right

 severally, with the right to collect in his own name against the debtor in his own right

 and severally.’”); see also Newbery Corp. v. Fireman’s Fund Ins. Co., 95 F.3d 1392, 1398-99

 (9th Cir. 1996) (same); Davidovich v. Welton (In re Davidovich), 901 F.2d 1533, 1537 (10th

 Cir. 1990) (same).

        Under section 553(a), “mutuality is strictly construed against the party seeking

 setoff.” SemCrude, 399 B.R. at 396 (citation omitted); Garden Ridge, 338 B.R. at 634 (citation

 omitted) (same); In re Am. Home Mortgage Holdings, Inc., 501 B.R. 44, 56 (2013) (citation

 omitted) (same). Moreover, the creditor seeking setoff has the burden of proof on the

 mutuality requirement. Garden Ridge, 338 B.R. at 632 (citing In re Lason, Inc., 314 B.R. 296,

 305 (Bankr. D. Del. 2004); In re Bennett Funding Grp., Inc., 212 B.R. 206, 212 (2d Cir. BAP

 1997)); see also Lehman Bros., 158 B.R. at 140 (citation omitted) (same). The Bankruptcy

 Court’s sound discretion governs the allowance of a setoff. Garden Ridge, 338 B.R. at 632

 (citing In re Cont’l Airlines, 218 B.R. 324, 328 (D. Del. 1997) (citing United States, Internal

 Revenue Service v. Norton, 717 F.2d 767, 772 (3d Cir. 1983)) (additional citations omitted)).

        Here, under the foregoing authorities, McKesson does not have a mutual debt

 under section 553(a). As of the petition date, McKesson owed the Debtor $6,932,816.40
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 and the Debtor owed MPRS approximately $9,100,000. Post-petition, McKesson paid the

 debt in its entirety. Now, McKesson seeks to claw back its payment through a triangular

 setoff. A triangular setoff is a setoff between an affiliate of a contractual party and the

 counter-contractual party. McKesson’s argument is that because the Debtor owes MPRS

 in excess of the amount of the Disputed Funds under the Services Agreement, section

 553(a) enables McKesson to set off the MPRS claim against McKesson’s payment under

 the Distribution Agreement. However, McKesson runs into fatal contrary bankruptcy

 precedent. A triangular setoff is impermissible under section 553(a) without mutuality.

 In SemCrude, Judge Shannon’s explanation is instructive and the Court agrees:

       Because of the mutuality requirement in section 553(a), courts have
       routinely held that triangular setoffs are impermissible in bankruptcy; See,
       e.g., Matter of United Sciences of Am., Inc., 893 F.2d 720, 723 (5th Cir. 1990)
       (‘The mutuality requirement is designed to protect against ‘triangular’ set-
       off; for example, where the creditor attempts to setoff debt to the debtor
       with the latter’s debt to a third party.’); In re Elcona Homes Corp. (Green Tree
       Acceptance, Inc.), 863 F.2d 483, 486 (7th Cir. 1988) (holding that the Code
       speaks of ‘mutual debt’ and ‘therefore precludes ‘triangular’ set offs’).

 SemCrude, 339 B.R. at 393. The District Court agreed and affirmed Judge Shannon. See In

 re SemCrude, L.P., 428 B.R. 590, 594 (D. Del. 2010) (“As the Bankruptcy Court correctly

 recognized, the mutuality required by Section 553 ‘cannot be supplied by a multi-party

 agreement contemplating a triangular setoff.’”) (citation omitted).

       Furthermore, McKesson is the parent corporation and MPRS is its subsidiary

 corporation. They are legally distinct entities. Thus, their corporate structure poses

 another issue preventing McKesson from affecting a triangular setoff. The Court wholly

 agrees with Judge Shannon’s assessment on this point:

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        Moreover, because each corporation is a separate entity from its sister
        corporations absent a piercing of the corporate veil, a ‘subsidiary’s debt
        may not be set off against the credit of a parent or other subsidiary, or vice
        versa, because no mutuality exists under the circumstances.’ Sentinel
        Products Corp., 192 B.R. [41,] 46 [(N.D.N.Y. 1996)] (citing MNC Commercial
        Corp. v. Joseph T. Ryerson & Son, Inc., 882 F.2d 615, 618 n. 2 (2d Cir. 1989)).
        Allowing a creditor to offset a debt it owes to one corporation against funds
        owed to it by another corporation—even a wholly-owned subsidiary—
        would thus constitute an improper triangular setoff under the Code.

 Id. at 393-94 (emphasis added). 11 McKesson recognizes this problem as it cites SemCrude

 and Lehman Bros. for propositions that setoff under section 553(a) requires a mutual debt

 and that triangular setoffs are improper under the Bankruptcy Code. See Motion, ¶ 42

 (“McKesson is confident that the Lenders will refer to similar decisions.”); McKesson’s

 Reply in Support of Motion for an Order Determining that McKesson is Entitled to the Disputed

 Funds (the “Reply”), ¶ 1 (citing its Motion in the footnote, from which the Court just

 quoted) (“[The Lender Parties] go on and on about the fact that there are a large number

 of published decisions that reach conclusions contrary to the relief requested in the

 Motion. That is undisputed; to the contrary, McKesson admits it in the Motion.”).

 However, McKesson mistakenly contends that those decisions were not based “on proper

 controlling Supreme Court and Third Circuit precedent and governing principles.” Id.

        Mutuality is defined under state law. Garden Ridge, 338 B.R. at 633 (citing In re

 Czyzk, 297 B.R. 406, 409 (Bankr. D. N.J. 2003)); In re Sunset Aviation, 468 B.R. 641, 647

 (Bankr. D. Del. 2011) (“[T]he right of setoff requires mutuality between the debtor and



        11  Note that in SemCrude, Judge Shannon dealt with three debtors and one creditor. The
 creditor sought to set off a debt it owed to one debtor against a claim against another debtor.
 Here, we have two creditors and one debtor. However, this minor distinction in form does not
 alter the substance of the law.
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 the creditor under the applicable state law.”). However, several state and federal courts

 consistently define “mutual debt” or “mutuality” uniformly. In a nutshell, McKesson

 argues that when a creditor seeks to affect a setoff, the Bankruptcy Court’s inquiry must

 begin and end with state law. That is, state law determines whether a creditor has a setoff

 right and also governs whether mutuality exists. Thus, McKesson’s view that because

 California law governs the Distribution Agreement and California, according to

 McKesson, allows for an agreement between a parent and subsidiary to supply the

 requisite mutuality the latter needs to “be deemed a mutual debtor-creditor of the

 parent,” a triangular setoff is permitted under section 553(a). Motion, ¶ 15 (citation

 omitted). For the following reasons, the Court rejects McKesson’s argument as a matter

 of law and policy.

       McKesson’s point of departure is a precedential bankruptcy case, Butner v. United

 States, 440 U.S. 48, 55 (1979). Butner held that state law, not a federal law or a rule of

 equity, determined whether a security interest in property extends to rents and profits

 derived from the property. Id. at 48. Butner is eminent for its proposition that state law

 rights are respected in bankruptcy absent a contrary bankruptcy rule or policy. In its

 analysis, the Supreme Court explained with the oft-cited language:

       Property interests are created and defined by state law. Unless some
       federal interest requires a different result, there is no reason why such
       interests should be analyzed differently simply because an interested
       party is involved in a bankruptcy proceeding. Uniform treatment of
       property interests by both state and federal courts within a State serves to
       reduce uncertainty, to discourage forum shopping, and to prevent a party
       from receiving a ‘windfall merely by reason of the happenstance of
       bankruptcy.’

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 Id. at 55 (emphasis added) (citation omitted).

        The Court agrees that McKesson had a prepetition setoff right. McKesson, lacking

 the mutuality requirement, uses Butner to support its assertion that its Distribution

 Agreement under California law permits a triangular setoff in bankruptcy. McKesson

 relies on a California Supreme Court case, Prudential Reinsurance Co. v. Superior Court, 842

 P.2d 48 (Cal. 1992). Extraordinarily, McKesson relies on one sentence, which is dicta: 12

 “Accordingly, we refuse to expand the section 1031 setoff of debts in the absence of an

 express mutual agreement that the subsidiary would be deemed a mutual debtor-creditor

 of the parent (See, e.g., In re Berger Steel Company (7th Cir. 1964) 327 F.2d 401; Black &

 Decker Mfg. Co. v. Union Trust Co. (1936) 53 OhioApp. 356 [4 N.E.2d 929].).” Id. at 60.

        In Prudential Reinsurance, the California Supreme Court held in the affirmative

 concerning “whether reinsurance debts and credits generated between a reinsurer and

 the original reinsurer, under the terms of their reciprocal reinsurance contracts, may be

 set off pursuant to section 1031 [of the Insurance Code], when the original insurer

 becomes insolvent.” Id. at 50 & 52. Most aptly, the court explained “the key to setoff



        12  At oral argument, McKesson agreed that it relies on dicta from Prudential Reinsurance.
 “The Court: Isn’t that dicta? Mr. Garfinkle: It is dicta, but for a predictive analysis it’s the only
 guidance the court has as to how a California Court would rule on this.” Tr. of Hr’g on Oct. 24,
 2018, at 10, lines 13-16 (D.I. 804) (emphasis added). The Court finds this argument unavailing for
 three reasons. First, it is dicta because the language McKesson cites is not necessary to the
 holding. Friedman’s Liquidating Trust v. Roth Staffing Cos. (In re Friedman’s Inc.), 738 F.3d 547, 552
 (3d. Cir. 2013) (When statements are not germane to a court’s analysis, the language is dicta and
 not binding). The Court declines to do a “predictive analysis” or give stronger weight to the cited
 dicta in this case in light of the two next countervailing reasons. Second, as reiterated above the
 line, California aligns with the majority of state and federal courts defining mutuality. Third, as
 the Court will discuss below, section 553(a) imposes additional restrictions on a creditor’s ability to
 setoff, which nullifies McKesson’s entire Butner argument as a matter of bankruptcy law and
 policy.
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 [under Insurance Code section 1031] is the requirement of mutuality, under which the

 debts must be due to and from the same persons in the same capacity.” Id. at 53.

 Moreover, the California Court held that the debts must be mutual in three respects: (1)

 “the debts must be owed contemporaneously with, or prior to issuance of, the liquidation

 order;” id. (citation omitted) (2) “such debts must exist between the same persons or

 entities in order to establish mutuality of identities;” id. (emphasis added) (citation

 omitted) and (3) “setoff can occur only between persons or entities of equal capacity.” Id.

 (citation omitted). Thus, despite McKesson’s reliance on Prudential Reinsurance, California

 defines mutuality consistently with the authorities the Court relies upon.

        Moreover, the dicta McKesson relies upon cites to an inapposite Seventh Circuit

 case, In re Berger Steel Co., 327 F.2d 401 (7th Cir. 1964) and an inappropriate Ohio Court

 of Appeals case, Black & Decker Mfg. Co. v. Union Trust Co., 4 N.E.2d 929 (Ohio Ct. App.

 1936). In SemCrude, Judge Shannon analyzed Berger Steel and explained it did not provide

 a contractual exception to mutuality. The Court agrees and adopts that analysis. In Berger

 Steel, the court dealt with whether “a party attempting to effect a triangular setoff, and

 contending that an oral agreement between it and two other parties created sufficient

 mutuality of amounts owing and owed to make a triangular setoff proper between the

 parties under the Bankruptcy Act.” SemCrude, 39 B.R. at 395 (citing Berger Steel, 327 F.2d

 at 404). The Seventh Circuit found no such agreement existed and rejected the argument.

 Id. (citing Berger Steel, 327 F.2d at 404-05). While the Seventh Circuit found that some cases

 allowed a contractual right of triangular setoff, such rights derived from “state law or the


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 common law of equitable receivership, and none [] were decided under the more

 restrictive language of either the Bankruptcy Act or the Code.” Id.

        In SemCrude, the court found that the Seventh Circuit did not “address[] the

 broader question of whether a triangular setoff was permissible under the Bankruptcy

 Act if a contract signed by the parties to the proposed setoff contemplated such a

 remedy.” Id. However, the court read Berger Steel and its progeny to allow an “exception

 to the strict mutuality requirement [] in the Bankruptcy Act.” Id. The Bankruptcy Court

 of the Southern District of New York (Judge Peck) also adopted Judge Shannon’s analysis

 of Berger Steel. In fact, no court has “actually permit[ed] a triangular setoff or address[ed]

 the merits of this purported exception in a written opinion as it relates to section 553(a).”

 SemCrude, 399 B.R. at 396. Any section 553(a) mutuality exception via contract was merely

 “created by a game of ‘whisper down the lane’ from decision to decision.” Lehman Bros.,

 458 B.R. at 142. In sum, the plain language of section 553(a) is clear and there is no

 contractual exception to mutuality. Id.

        McKesson cites to Black & Decker in support of its attempt to establish mutuality.

 However, that case is inapposite for two reasons. First, it dealt with setoff outside of

 bankruptcy. Second, the court allowed a parent to “set off the accounts of its subsidiary

 corporations in an insolvent bank against its debt to such bank” because the parties

 intended that the parent and its subsidiaries were treated as one corporation. Black &

 Decker, 4 N.E.2d at 929. Here, McKesson is the parent and MPRS is its subsidiary, and it

 is undisputed that they are legally distinct entities.


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        McKesson also argues that Butner’s “federal interest” exception is inapplicable

 here. Specifically, McKesson “asserts that there is no federal interest that would impose

 a federal gloss on the application of state law to these [setoff] rights . . . . [T]he correct

 reading of section 553 is to conclude that the section does not create any federal right of

 setoff and it does not interfere with McKesson’s rights under California law.” Motion, ¶

 25. The Court disagrees.

        Congress in enacting section 553(a) recognized a federal interest. The statutory

 language is the point of departure for statutory interpretation. Marx v. Gen. Revenue Corp.,

 568 U.S. 371, 388 (2013). “[W]here . . . the statute’s language is plain, ‘the sole function of

 the courts is to enforce it according to its terms.’” SemCrude, 399 B.R. at 398 (citing United

 States v. Ron Pair Enters., Inc., 489 U.S. 235, 241 (1989) (quoting Caminetti v. United States,

 242 U.S. 470, 485 (1917)). When statutory language is clear, “judicial inquiry is complete.”

 Demarest v. Manspeaker, 498 U.S. 184, 190 (1991).

        Here, section 553(a) is unambiguous in providing that a “mutual debt” must be

 “owing by such creditor to the debtor that arose before the commencement of the case

 under this title against a claim of such creditor against the debtor that arose before the

 commencement of the case” subject to certain exceptions. However, none of those

 exceptions state or imply a multi-party contractual exception exists to the mutuality

 requirement allowing a triangular setoff. See Section 553(a)(1)-(3) and (b). A contractual

 exception to mutuality would be incongruent with the express provision of section 553(a).

 McKesson is the creditor seeking to offset a debt of $6,932,816.40 it owes to the Debtor that


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 arose prepetition under the Distribution Agreement against a $9,100,00 claim of MPRS

 against the debtor that arose prepetition. Statutorily speaking, that cannot happen.

        Furthermore, section 553(a) aligns with the fundamental bankruptcy policy of

 ensuring similarly-situated creditors receive an equal distribution from the debtor’s

 estate. If parties can contract around section 553(a)’s mutuality requirement, a creditor

 could receive a greater distribution than other equal-footed creditors and thus dilute the

 entire estate to the detriment of all creditors. SemCrude, 399 B.R. at 399. Mutuality is the

 lynchpin of setoff under section 553(a). Thus, the cases the Court relies upon, SemCrude

 and Lehman Bros., are not inconsistent with Butner. The Court refuses to read a contractual

 exception to strict mutuality allowing for triangular setoff in the face of contrary

 bankruptcy precedent and policy. 13

                                    Third-Party Beneficiary

        McKesson argues that the contractual third-party beneficiary doctrine provides it

 with the required mutuality. A third-party beneficiary to a contract is a party who directly

 or incidentally benefits from a contract between two other parties. See, Solutia Inc. v. FMC

 Corp., 385 F. Supp. 2d 324, 336-37 (S.D.N.Y. 2005). McKesson’s argument is that MPRS is

 a third-party beneficiary of the Distribution Agreement and “[t]hus, as a legally

 recognized party to the Distribution Agreement, MPRS stands in a direct counter-


        13  The District Court in affirming SemCrude agreed: “This conclusion [concerning
 triangular setoffs] is not only consistent under the facts and applicable case law, but also with
 general bankruptcy principles concerning the strict construction of mutuality against the party
 seeking setoff. In addition, the Court concludes that the Bankruptcy Court correctly determined
 that a ‘contract exception’ to the mutuality requirement does not exist based upon the plain
 language of Section 553 . . . [because] the primary goal of the Bankruptcy Code is to ensure equal
 and fair treatment among similarly situated creditors.” SemCrude, 428 B.R. at 594.
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 contractual relationship with the Debtor on both contracts—the Distribution Agreement

 and the Master Services Agreement. This satisfies any mutuality requirement for

 effectuating setoff.” Motion, ¶¶ 44-46 (citations omitted). The Court once again disagrees.

        McKesson cites two cases for the proposition that a third-party beneficiary to a

 contract has the requisite mutuality for setoff under section 553(a). Both are inapposite.

 First is In re Bacigalupi, Inc., 60 B.R. 442, 446 (9th Cir. BAP 1986). McKesson only provides

 a mere parenthetical referring to the Ninth Circuit Bankruptcy Appellate Panel’s

 statement that a setoff claim ‘cannot fail for lack of mutuality’ where complaint alleges

 third-party beneficiary status. Motion, ¶ 46 (citing Bacigalupi, 60 B.R. at 446). However,

 the panel only found that the bankruptcy court abused its discretion in refusing to modify

 relief from stay to allow a creditor to plead setoff under a state court proceeding.

 Bacigalupi, 60 B.R. at 447. Moreover, while the panel referenced mutuality, it did not

 examine setoff in the bankruptcy context or hold that third-party beneficiary status is an

 exception to the strict application of mutuality under section 553(a).

        The second case which McKesson cites is Saudi Basic Indus. Corp. v. Exxonmobil

 Corp., 194 F. Supp. 2d 378 (D.N.J. 2002). McKesson provides a mere parenthetical stating

 “Exxon, as a third[-]party beneficiary to a contract, can assert a setoff defense and the

 setoff defense does not fail for lack of mutuality.” Motion, ¶ 46. The quoted language is

 misleading. Saudi did not deal with section 553(a). The district court held, inter alia, that

 Exxon’s third-party beneficiary status was sufficiently pled, but the third-party status for

 setoff purposes could not be resolved on a motion brought pursuant to Federal Rule of

 Civil Procedure 12(c). Saudi, 194 F. Supp. 2d at 394-95.
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        Some bankruptcy courts have rejected third-party beneficiary status as sufficient

 to create mutuality under section 553(a). See State of Louisiana v. Celebrity Contractors, Inc.

 (In re Celebrity Contractors, Inc.), 524 B.R. 95, 110-11 (Bankr. E.D. La 2014) (finding that

 mutuality under section 553 requires the off-setting obligations to be held by the same

 parties in the same capacity and thus the latter is not met where the “State’s debt to

 Celebrity is owed not in Celebrity’s corporate capacity . . . but rather in its capacity as a

 third-party beneficiary . . . to the State’s debt to homeowners . . .”); see also In re J.A. Clark

 Mech., Inc., 80 B.R. 430, 433 (Bankr. N.D. Ohio 1987) (“CWRU’s alleged status as third-

 party beneficiary of the contract . . . would not satisfy the mutuality requirement. As

 third-party beneficiary, any right to recover would not be in the same right and capacity

 as the direct contractual obligation . . . [s]etoff on this basis, is, accordingly,

 inappropriate.”). The Court recognizes that the third-party beneficiary doctrine is

 contrary to the strict mutuality requirement.

        As a matter of policy, McKesson’s third-party beneficiary status argument is just

 as unavailing as its attempt to distort Butner in interpreting California law as legalizing a

 contractual exception to mutuality in bankruptcy. If there were a contractual third-party

 beneficiary status exception, parties would merely add language intending that a third-

 party be a third-party beneficiary of a contract allowing for triangular setoff. The Court

 refuses to open the door to such circumvention of the Bankruptcy Code. Thus, the Court

 rejects McKesson’s third-party beneficiary status argument.




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                         California Commercial Code Section 9404

        Section 9404 of the California Commercial Code states in relevant part, that:

        (a) Unless an account debtor has made an enforceable agreement not to
            assert defenses or claims . . . the rights of an assignee are subject to both
            of the following:
              (1) All terms of the agreement between the account debtor and
                  assignor and any defense or claim in recoupment arising
                  from the transaction that gave rise to the contract.
              (2) Any other defense or claim of the account debtor against the
                  assignor which accrues before the account debtor receives a
                  notification of the assignment authenticated by the assignor
                  or the assignee.

        McKesson argues that section 9404 preserves its setoff right and affords it priority

 over all of the Lenders’ secured claims. Any prepetition or post-petition “party assigned

 or otherwise taking a security interest in the debtor’s asset takes that security interest

 subject to all of McKesson’s contractual rights . . . including [its setoff] rights.” Motion, ¶

 54. As the Court extensively analyzed above, McKesson lacks the required mutuality for

 setoff in bankruptcy. Regardless of whether McKesson’s section 9404 argument is

 meritorious, such argument does not supply the requisite mutuality for section 553(a).

 Thus, the Court finds this argument unavailing.




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                                       CONCLUSION

        For the foregoing reasons, the Court finds that McKesson, even if it was a creditor,

 did not have a mutual debt where its debt to the debtor arose prepetition and its claim

 against that same debtor arose prepetition. The Court further finds that McKesson’s

 argument that there is a contractual exception to section 553(a)’s mutuality requirement

 under California law allowing for triangular setoff is not persuasive in light of highly

 persuasive precedent, section 553(a)’s plain language, and the Bankruptcy Code’s policy.

 McKesson is correct that Butner provides that state law creates and defines property

 rights, but Butner is also clear that a federal interest may require a different result. Setoff

 under section 553(a) is a case in point. McKesson’s use of Butner in a creative attempt to

 convolute a well-settled bankruptcy issue created a pause but it cannot carry the day.

 Accordingly, the Court denies the Motion and will issue an Order.




 Dated: November 13, 2018                   __________________________________________
                                            KEVIN GROSS, U.S.B.J.




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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

 In re:                                        )    Chapter 11
                                               )
 OREXIGEN THERAPEUTICS, INC.,                  )    Case No. 18-10518 (KG)
                                               )
                      Debtor.                  )    Re: D.I. 654
                                               )


                                       ORDER

          McKesson Corporation and McKesson Patient Relationship Solutions filed a

 Motion for an Order Determining that McKesson is Entitled to the Disputed Funds (the

 “Motion”) by way of a setoff under Bankruptcy Code Section 553. For the reasons the

 Court provided in the accompanying Opinion,

          IT IS HEREBY ORDERED that the Court denies the Motion.




 Dated: November 13, 2018               __________________________________________
                                        KEVIN GROSS, U.S.B.J.




                                                                             Appendix A372
